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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov

In re:
CFRA HOLDINGS, LLC                                         Case No. 8:20-bk-03608-CPM
                                                           Chapter 11

                                                           Jointly Administered with:
CFRA, LLC
CFRA TRI-CITIES, LLC                                       Case No. 8:20-bk-03609-CPM
                                                           Case No. 8:20-bk-03610-CPM

                                Debtors.
                                                     /

                GLOBAL NOTES REGARDING DEBTORS’ SCHEDULES OF
           ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial
Affairs (the “SOFA” and, collectively with the Schedules, the “Schedules and Statements”)
filed herewith by the debtors (the “Debtors”) in the above-captioned cases were prepared
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by the Debtors
and have not been subject to audit, review or any similar financial analysis. While the Debtors
have made every reasonable effort to ensure that the Schedules and Statements are accurate and
complete based upon information that was available to them at the time of preparation, there can
be no assurance as to their accuracy and completeness, and the subsequent receipt of information
may result in material changes to the financial data and other information contained therein. The
Debtors’ management consists solely of the Debtors’ Chief Restructuring Officer, who relied
entirely on the books and records of the Debtors as provided by the Debtors’ prior management
and/or the corporate owners of the Debtors in preparing the Schedules and Statements. The
Debtors used their best efforts to present the information set forth in the Schedules and
Statements from these books and records that were, to the best of the Debtors’ knowledge and
understanding, maintained in the ordinary course of business. The Debtors reserves the right to
amend the Schedules and Statements from time to time as may be necessary or appropriate.
These Global Notes Regarding Debtors’ Schedules of Assets and Liabilities and Statement of
Financial Affairs (the “Global Notes”) are incorporated by reference in, and comprise an integral
part of, the Schedules and Statements, and should be referred to and reviewed in connection with
any review of the Schedules and Statements.

        1.      Description of the Cases and “as of” Information Date. Unless otherwise
indicated in the Schedules or Statements or herein, the asset and liability information provided is
as of the date upon which the Debtors filed voluntary petitions under chapter 11 of the
Bankruptcy Code (the “Petition Date”) with the United States Bankruptcy Court for the Middle



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District of Florida (the “Bankruptcy Court”).

        2.      Basis of Presentation. Although, as noted above, the Debtors have used their best
efforts to present accurate information, the amount of the Debtors’ actual assets and liabilities
could differ from the amounts set forth in the Schedules and Statements. In addition, some of the
Debtors’ scheduled assets and liabilities are unknown and/or unliquidated at this time. In such
cases, the amounts may be listed as “unknown” or, with respect to certain assets, may be listed at
net book value. Amounts listed as “unknown” are ascribed a $0 value when calculating
summaries and subtotals (i.e., lines 80 through 92 on Schedule A/B for each Debtor), which
should not be taken as an indication by the Debtors’ that any such assets have no value; all such
summaries and subtotals are calculated automatically and are for informational purposes only.
Given the differences between the information requested in the Schedules and Statements and
the presentation of the financial information under generally accepted accounting principles in
the United States (“GAAP”), the aggregate asset values and claim amounts set forth in the
Schedules and Statements do not necessarily reflect the amounts that would be set forth in a
balance sheet prepared in accordance with GAAP.

       3.     Summary of Significant Reporting Policies. The following conventions were
adopted by the Debtors in the preparation of the Schedules and Statements:

                    (a)       Accounts Receivable. Accounts Receivable generally are presented on a
             gross basis.

                    (b)     Causes of Action. The Debtors are still investigating the existence of any
             potential causes of action that may be listed on Questions 74 and 75 of Schedule A/B.
             The Debtors reserve all rights with respect to any such claims or causes of action it may
             have and neither these Global Notes nor the Schedules and Statements shall be deemed a
             waiver of any such causes of action.

                     (c)    Schedule D - Secured Claims. The Debtors have not included on
             Schedule D claims that may be secured through setoff rights, deposits posted by or on
             behalf of the Debtors, or inchoate statutory lien rights. Such counterparties, if any, have
             been listed on Schedule F or Schedule G, as applicable. The Debtors reserve the right to
             dispute or challenge the extent, validity, perfection or immunity from avoidance of any
             lien purported to be granted or perfected in any specific asset to a secured creditor listed
             on Schedule D. Secured claim amounts have been listed on Schedule D without regard to
             the value of assets securing such claims. No attempt was made by the Debtors to
             estimate the fair market value as of the Petition Date of assets pledged pursuant to a
             secured obligation. No claim set forth on Schedule D of any Debtor is intended to
             acknowledge claims of creditors that are otherwise satisfied or discharged by other
             entities. The descriptions provided in Schedule D are intended only to be a summary.
             Reference to the applicable loan agreements and related documents is necessary for a
             complete description of the collateral and the nature, extent and priority of any liens.
             Nothing in the Global Notes or the Schedules and Statements shall be deemed a
             modification or interpretation of the terms of such agreements.

                        (d)   Schedule E/F – Priority and Unsecured Claims. Although the Debtors


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             may have scheduled claims of various creditors as priority claims, the Debtors reserve all
             rights to dispute or challenge the priority treatment of any such creditor’s claim (or
             portion thereof) or the characterization of the structure of any such transaction or any
             document or instrument related to such creditor’s claim. The claims of individual
             creditors for, among other things, goods, services, or taxes are listed at the amounts listed
             on the Debtors’ books and records and may not reflect credits or allowances due from
             such creditor, or any additional amounts that might be owed to such creditor as a result of
             either unbilled or unprocessed invoices. The dollar amounts listed may also be exclusive
             of contingent and unliquidated amounts. The Debtors expressly incorporate by reference
             into Schedule E/F all parties to pending and potential pending litigation with the Debtors,
             as listed in the Debtors’ Statements, as contingent, unliquidated, and disputed claims to
             the extent not already listed in the schedule.

                     (e)      Schedule G - Executory Contracts/Unexpired Leases. While every
             reasonable effort has been made to ensure the accuracy of Schedule G regarding
             executory contracts and unexpired leases, inadvertent errors or omissions may have
             occurred. Without limitation of the foregoing, the contracts, agreements, and leases listed
             on Schedule G may have expired or may have been modified, amended, supplemented or
             terminated from time to time by various amendments, restatements, waivers, estoppel
             certificates, letters, and other documents, instruments, and agreements which may not be
             listed therein. Certain of the leases and contracts listed on Schedule G may contain
             certain renewal options, guarantees of payment, options to purchase, rights of first
             refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations are
             not set forth on Schedule G. Certain of the Debtors’ executory agreements may not have
             been memorialized in writing and could be subject to dispute. The presence of a contract
             or agreement on Schedule G does not constitute an admission that such contract or
             agreement is an executory contract or unexpired lease. Similarly, the absence of a
             contract or agreement on Schedule G does not constitute an admission that any other
             contract or agreement to which a Debtor is a party is not executory. Parties to executory
             contracts and unexpired leases were not listed on Schedule E/F, except where past due
             amounts were recorded in the Debtors’ accounts payable. The Debtors have not listed on
             Schedule E/F landlords and executory contract counterparties which may have claims
             related to contract/lease rejection or other damages.

        4.     Global Notes Control. In the event that the Schedules and Statements differ from
the foregoing Global Notes, the Global Notes shall control.




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 Fill in this information to identify the case:

 Debtor name            CFRA, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               8:20-bk-03609-CPM
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        1,427,821.66

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        1,427,821.66


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      19,545,656.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            44,670.11

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        4,719,823.26


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        24,310,149.37




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          CFRA, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03609-CPM
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo                                            Checking                         4199                                  $62,195.75




            3.2.     Wells Fargo                                            Checking                         4215                                           $0.00




            3.3.     Wells Fargo                                            Checking                         7976                                           $0.00




            3.4.     Wells Fargo                                            Checking                         7984                                    $1,706.91



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $63,902.66
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor           CFRA, LLC                                                                  Case number (If known) 8:20-bk-03609-CPM
                  Name

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.    Town of Christiansburg                                                                                                 $550.00




           7.2.    Smyrna Utilities                                                                                                       $939.00




           7.3.    Town of Mooresville                                                                                                     $50.00




           7.4.    Middle Tennessee Electric                                                                                             $2,500.00




           7.5.    Middle Tennessee Electric                                                                                             $4,300.00




           7.6.    Town of Boone                                                                                                          $225.00




           7.7.    Frontier National Gas                                                                                                     $0.00




           7.8.    CDE Lightband                                                                                                         $2,500.00




           7.9.    Clarksville Gas & Water                                                                                                $900.00



           7.10
           .    CDE Lightband (parking lot lights)                                                                                        $528.00



           7.11
           .    Progress Energy                                                                                                          $5,614.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.    Prepaid Business Licenses                                                                                            $15,565.00




           8.2.    Advances at IHOP                                                                                                 $125,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 2
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 Debtor            CFRA, LLC                                                                    Case number (If known) 8:20-bk-03609-CPM
                   Name




            8.3.     Prepaid insurance                                                                                                     $77,539.00




            8.4.     Prepaid Advertising                                                                                                 $603,030.00




            8.5.     Prepaid Micros Contracts                                                                                                $4,206.00




            8.6.     Prepaid Sales Taxes                                                                                                 $133,000.00




 9.         Total of Part 2.                                                                                                           $976,446.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           421,069.00    -                          33,596.00 = ....                $387,473.00
                                              face amount                         doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                           $387,473.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.

 Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No.   Go to Part 7.
       Yes Fill in the information below.

 Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         CFRA, LLC                                                                     Case number (If known) 8:20-bk-03609-CPM
                Name


     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture - fixed assets report attached                            $50,143.00     N/A                                 Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment - fixed assets report
           attached                                                                  $328,226.00     N/A                                 Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Restaurant Equipment - fixed assets report
           attached                                                                  $839,735.00     N/A                                 Unknown




 51.       Total of Part 8.                                                                                                               $0.00
           Add lines 47 through 50. Copy the total to line 87.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         CFRA, LLC                                                                       Case number (If known) 8:20-bk-03609-CPM
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 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and            Net book value of      Valuation method used   Current value of
            property                                      extent of             debtor's interest      for current value       debtor's interest
            Include street address or other               debtor's interest     (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Leased and
                     subleased restaurant
                     locations - see                      Lease/Subleas
                     Schedule G                           e                              Unknown       N/A                                  Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                                 Net book value of      Valuation method used    Current value of
                                                                                debtor's interest      for current value        debtor's interest
                                                                                (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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                Name



 65.        Goodwill
            Goodwill                                                               $4,453,400.00     N/A                                Unknown



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Construction Costs - $151,560 net book value                                                                                Unknown



            Leasehold Improvements - $4,563,583 net book value                                                                          Unknown



            remodel - $3,377,445 net book value                                                                                         Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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           Construction In Process- $633,207 net book value                                                                             Unknown




 78.       Total of Part 11.                                                                                                              $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 7
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 Debtor          CFRA, LLC                                                                                           Case number (If known) 8:20-bk-03609-CPM
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $63,902.66

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $976,446.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $387,473.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,427,821.66            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,427,821.66




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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                                                                                    Case No. 8:20-bk-03609-CPM
                                                                                    Attachment to Schedule A/B

CFRA, LLC
Depreciation Expense Report
As of March 31, 2020
Book = Internal
FYE Month = December
                                                                 In Svc        Acquired            Current Accum
Co Asset                                                         Date          Value               Depreciation
No


Location = Desc                                                  Svc Date      Acquired Value      Acc Dep
Class = CO
4137       Dell Lattitude 4gb Computer                              06/08/16           1,291.00              968.25
4138       Dell Lattitude 4gb Computer                              06/08/16           1,291.00              968.25
4139       Dell Lattitude 256gb 8GB Computer                        09/09/16           1,728.00            1,296.00
4140       Dell Lattitude 256gb 8GB Computer                        09/09/16           1,728.00            1,296.00
4141       Computer Equipment (Need Invoices)                       10/01/16          45,511.00           34,133.25
4144       Dell Lattitude E7470 4GB Computer                        12/06/16           1,200.00              900.00
4145       Dell Lattitude E7470 4GB Computer                        12/06/16           1,200.00              900.00
4176       Dell Optiplex 3040 Micro Form 8GB Computers (24)         01/01/17           1,555.86              855.72
4487       xCeed Video Controller w/Touchscreen                     01/01/17           5,567.45            3,062.10
4530       Dell Optiplex 3040 Micro Form 8GB Computer               01/01/17           1,616.24              888.93
4543       Dell Latitude 5580 Computer                              08/01/17           1,262.67              694.46
4587       HP Laserjet Pro Printers                                 11/16/17           1,425.17              783.84
4590       POS Micros Workstation w/Touchscreen ‐ Spare             11/17/17           1,028.97              565.93
4591       POS Micros Workstation w/Touchscreen ‐ Spare             11/17/17           1,028.96              565.93
4612       Dell Latitude 5580 8GB Laptop                            01/01/18           1,246.49              436.28
4613       Dell Latitude 5580 8GB Laptop                            01/01/18           1,246.49              436.28
4959       Ipads w/Data (60)                                        03/27/19          19,194.00            2,879.10
Class = CO                                                                            89,121.30           51,630.32
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          89,121.30           51,630.32


Location = 0000                                                                       89,121.30           51,630.32
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          89,121.30           51,630.32


Location = 0408
Class = CO
           419 COMPUTER EQUIPMENT                                   01/06/14          24,939.58           24,939.58
           2014 Micros Upgrade                                      06/01/14             500.00              500.00
           WIFI HARDWARE                                            10/15/15             897.25              807.52
           Micros Workstation                                       10/13/16           2,292.17            2,292.17
4177       Kitchen Display System Install                           01/01/17           3,652.00            2,008.60
4283       Dell Optiplex 3040 8GB Computer                          01/01/17             777.87              427.82
4546       Optiplex 7050 Micro Upgrade                              08/31/17           1,486.44              817.54
4716       EMV Transaction Minilink                                 08/23/18           1,217.00              425.95
Class = CO                                                                            35,762.31           32,219.18
Less disposals and transfers                                                         (24,939.58)         (24,939.58)




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Net Subtotal                                                                       10,822.73            7,279.60


Class = FU
           419 FURNITURE                                         01/06/14          53,228.81           53,228.81
Class = FU                                                                         53,228.81           53,228.81
Less disposals and transfers                                                            0.00

Net Subtotal                                                                       53,228.81           53,228.81


Class = LI
             419 COST SEG 39 YEAR PROPERTY                       01/06/14         384,624.56         160,260.22
             GANUS                                               09/16/14             670.52             670.52
4773         Coil and Compressors ‐ HVAC                         09/20/18           4,725.00             551.24
Class = LI                                                                        390,020.08         161,481.98
Less disposals and transfers                                                            0.00

Net Subtotal                                                                      390,020.08         161,481.98


Class = ME
             CCTV System Equipment                               02/28/14           2,000.00           2,000.00
             419 COST SEG 5 YR PROPERTY                          01/06/14         395,634.18         395,634.18
             419 COST SEG 15 YR PROPERTY                         01/06/14          37,907.00          15,794.56
             419 EQUIPMENT                                       01/06/14         206,645.74         206,645.74
             Equipment                                           05/13/14           1,650.00           1,650.00
             WAFFLE IRON                                         11/06/14             703.50             703.50
             WAFFLE IRON                                         12/09/14             702.00             702.00
             Compressor Repair                                   08/29/16           2,067.84           1,481.96
4387         Dipperwell w/Timer                                  05/25/17             950.16             522.59
4763         WIC Storage Racks                                   08/28/18           1,295.00             453.25
4902         Smile Logo 24in Sign ‐ Remodel                      01/17/19           1,793.00             268.95
4903         Smile 26in Rev Lit Sign ‐ Remodel                   01/17/19           3,587.00             538.05
4904         Sign Faces ‐ Remodel                                01/17/19           6,575.00             986.25
4910         Hamilton Beach Milkshake Machine                    02/01/19             679.00             101.85
4920         Evaporator Assembly ‐ Ice Machine                   02/15/19           4,086.00             612.90
5043         Bunn Axiom Coffee Brewer                            09/18/19           1,517.00             227.54
5053         Shelving ‐ WIF                                      11/19/19           1,795.00             269.25
Class = ME                                                                        669,587.42         628,592.57
Less disposals and transfers                                                       (2,000.00)         (2,000.00)

Net Subtotal                                                                      667,587.42         626,592.57




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Class = RE
4956       Booth Recover ‐ Remodel                                    01/17/19          11,725.00            1,758.75
4957       Remodel Rise and Shine ‐ 419                               01/17/19          79,435.00            3,971.75
Class = RE                                                                              91,160.00            5,730.50
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            91,160.00            5,730.50


Location = 0419                                                                      1,881,758.62        1,485,281.35
Less disposals and transfers                                                           (26,939.58)         (26,939.58)

Net Subtotal                                                                         1,854,819.04        1,458,341.77


Location = 0470
Class = CL
1567       Rest Equip ‐Capital Lease 0470                             05/13/05          24,421.00           24,421.00
1567.1     Rest Equip ‐Capital Lease 0470                             05/13/05               0.00                0.00
Class = CL                                                                              24,421.00           24,421.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            24,421.00           24,421.00


Class = CO
2560       DELL COMPUTER                                              02/07/11           1,458.00            1,458.00
2560.1     DELL COMPUTER                                              02/07/11               0.00                0.00
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           3 MICROS WORK STATIONS 5                                   11/26/14           3,105.00            3,105.00
4284       Dell Optiplex 3040 8GB Computer                            01/01/17           1,027.87              565.32
4493       Micros Upgrade                                             08/31/17           3,216.47            1,769.05
4717       EMV Transaction Minilink                                   08/23/18           3,047.00            1,066.44
4921       EMV Transaction Mini Link ‐ Additional Costs               02/20/19           1,101.00              165.15
Class = CO                                                                              13,455.34            8,628.96
Less disposals and transfers                                                            (1,458.00)          (1,458.00)

Net Subtotal                                                                            11,997.34            7,170.96


Class = FU
2647         NEW BOOTH                                                05/03/11              766.00            766.00
2647.1       NEW BOOTH                                                05/03/11                0.00              0.00
2839         BOOTH SEATS                                              11/21/11              768.00            768.00
2839.1       BOOTH SEATS                                              11/21/11                0.00              0.00



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3103       NEW BOOTH                                      06/02/12              1,142.00           1,142.00
3103.1     NEW BOOTH                                      06/02/12                  0.00               0.00
Class = FU                                                                      2,676.00           2,676.00
Less disposals and transfers                                                        0.00

Net Subtotal                                                                    2,676.00           2,676.00


Class = LI
1977         Door                                         09/12/08           2,916.00              2,916.00
1977.1       Door                                         09/12/08               0.00                  0.00
2172         LAVA ROCKS AND INSTALL                       04/15/10           2,254.00              2,254.00
2172.1       LAVA ROCKS AND INSTALL                       04/15/10               0.00                  0.00
2333         LAVA ROCKS & INSTALL                         12/01/10             400.00                400.00
2333.1       LAVA ROCKS & INSTALL                         12/01/10               0.00                  0.00
2675         LEASEHOLD ABELL                              06/21/11           1,232.00              1,232.00
2675.1       LEASEHOLD ABELL                              06/21/11               0.00                  0.00
3263         POLE LIGHTING                                11/26/12           2,577.00              2,577.00
3263.1       POLE LIGHTING                                11/26/12               0.00                  0.00
3524         CLOSER FOR INTERIOR DOORS                    03/20/13             765.00                765.00
             Replace Roof                                 10/04/16          28,820.00             20,174.00
             Replace Door                                 10/17/16           2,225.91              1,521.04
4146         Paving & Sealcoating                         12/14/16           5,986.00              1,496.51
4248         100G Water Heater                            02/16/17          13,962.13              7,679.18
4366         5 Ton GE HVAC                                06/26/17           5,205.82                954.42
4439         Compressor 5 Ton ‐ HVAC DR                   08/04/17           1,905.00              1,047.75
4694         Store Front Windows                          06/27/18             996.00                116.20
Class = LI                                                                  69,244.86             43,133.10
Less disposals and transfers                                                     0.00

Net Subtotal                                                                69,244.86             43,133.10


Class = ME
15         OJ MACHINE                                     08/27/09                862.00             862.00
15.1       OJ MACHINE                                     08/27/09                  0.00               0.00
44         NEW THERMOSTAT                                 11/16/09              1,356.00           1,356.00
44.1       NEW THERMOSTAT                                 11/16/09                  0.00               0.00
1172       TABLETOPS                                      05/13/05              4,532.00           4,532.00
1172.1     TABLETOPS                                      05/13/05                  0.00               0.00
1338       Survallience                                   08/26/08              4,006.00           4,006.00
1338.1     Survallience                                   08/26/08                  0.00               0.00
1502       SIGN                                           09/13/05              7,541.00           7,541.00
1502.1     SIGN                                           09/13/05                  0.00               0.00
1536       Sandwich Prep Pan                              05/31/06              2,318.00           2,318.00



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1536.1     Sandwich Prep Pan                                        05/31/06                  0.00               0.00
1677       Worktop Freezer                                          02/21/07              1,497.00           1,497.00
1677.1     Worktop Freezer                                          02/21/07                  0.00               0.00
1681       Flood Lights on Roof                                     02/28/07              1,833.00           1,833.00
1681.1     Flood Lights on Roof                                     02/28/07                  0.00               0.00
2044       Safe                                                     01/29/09              1,621.00           1,621.00
2044.1     Safe                                                     01/29/09                  0.00               0.00
2221       REFRIDGERATOR                                            06/08/10              2,398.00           2,398.00
2221.1     REFRIDGERATOR                                            06/08/10                  0.00               0.00
2586       HEAT EXCHANGER                                           02/11/11              2,763.00           2,763.00
2586.1     HEAT EXCHANGER                                           02/11/11                  0.00               0.00
2654       EQUIPMENT XXXXX                                          05/11/11              1,326.00           1,326.00
2654.1     EQUIPMENT XXXXX                                          05/11/11                  0.00               0.00
2655       EQUIPMENT XXXXX                                          05/26/11                664.00             664.00
2655.1     EQUIPMENT XXXXX                                          05/26/11                  0.00               0.00
2686       EQUIPMENT ABELL                                          06/21/11                931.00             931.00
2686.1     EQUIPMENT ABELL                                          06/21/11                  0.00               0.00
2789       NEW MOTOR                                                09/20/11              1,381.00           1,381.00
2789.1     NEW MOTOR                                                09/20/11                  0.00               0.00
2803       DISH MACHINE INSTALL                                     10/04/11                673.00             673.00
2803.1     DISH MACHINE INSTALL                                     10/04/11                  0.00               0.00
2869       FREEZER                                                  12/22/11              2,619.00           2,619.00
2869.1     FREEZER                                                  12/22/11                  0.00               0.00
2870       PASS THRU WINDOW WARMER                                  12/29/11                693.00             693.00
2870.1     PASS THRU WINDOW WARMER                                  12/29/11                  0.00               0.00
3028       NEW EVAPORATOR                                           03/29/12              1,855.00           1,855.00
3028.1     NEW EVAPORATOR                                           03/29/12                  0.00               0.00
3195       ZURN HYDRANT                                             08/07/12              1,346.00           1,346.00
3195.1     ZURN HYDRANT                                             08/07/12                  0.00               0.00
3218       THERMOSTAT                                               09/17/12                685.00             685.00
3218.1     THERMOSTAT                                               09/17/12                  0.00               0.00
3261       REFRIDGERATOE                                            11/26/12              2,595.00           2,595.00
3261.1     REFRIDGERATOE                                            11/26/12                  0.00               0.00
3336       FRYER                                                    12/05/12                806.00             806.00
3336.1     FRYER                                                    12/05/12                  0.00               0.00
3613       Abell Mechanical/Compress                                07/11/13              1,103.00           1,103.00
           Equipment                                                04/22/14                839.59             839.59
           Plumbing Equipment                                       05/15/14                800.00             800.00
           Walk in freezer compressor                               06/01/14              3,721.45           3,721.45
           Equipment                                                06/03/14                627.77             627.77
           THERMO PART ON PANCAKE GRILL                             08/19/14              1,088.72           1,088.72
           REACH IN REFRIGERATOR                                    01/21/15              2,981.28           2,981.28
           Bunn Axiom 4/2 Twin Brewer                               03/13/15              1,280.41           1,280.41
           Replaced Compressor Dryer in Fryer Freezer               04/08/15              1,189.69           1,189.69
           Dining Room AC Unit                                      09/01/15              9,430.00           8,644.17



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           470 Compressor                                           11/27/15           2,723.17            2,360.07
           AC Unit                                                  08/03/16           6,500.00            4,766.67
470 Ansul Ansul System                                              11/14/16           3,895.30            2,661.79
4192       Compressor ‐ Freezer                                     01/01/17           3,197.10            1,758.39
4269       CCTV Security System                                     03/27/17           1,792.00              985.60
4389       Dipperwell w/Timer                                       05/25/17             950.16              522.59
4475       Cuber Ice Machine                                        10/05/17           7,922.17            4,357.19
4592       CCTV Camera System                                       11/21/17           1,092.50              600.88
4702       Compressor ‐ WIC                                         07/28/18           4,134.00            1,446.90
4706       Bunn Axiom Coffee Maker                                  08/07/18           1,535.00              537.25
4807       Excellence Ice Cream Cabinet                             11/01/18           1,236.00              432.60
4827       Hamilton Beach 3 Speed Triple Spindle Blender            11/11/18             692.00              242.20
4987       LED Upgrade ‐ Sign                                       05/23/19           1,130.00              169.50
5001       Turbo Super Deluxe Sandwich Cooler                       06/10/19           3,400.00              510.00
5037       Compressor ‐ WIC                                         08/01/19           1,811.00              271.65
5067       Turbo Super Deluxe Reach In Freezer                      01/01/20           3,247.00               81.18
5068       Turbo Super Deluxe Reach In Refrigerator                 01/01/20           2,657.00               66.43
Class = ME                                                                           117,277.31           90,347.97
Less disposals and transfers                                                          (5,017.00)          (5,017.00)

Net Subtotal                                                                         112,260.31           85,330.97


Class = RE
4271       24in Channel Letter Sign                                 04/04/17           3,494.00            1,921.70
4272       Booth Refurbish ‐ Remodel                                04/04/17           5,228.00            2,875.40
4273       65in x 140in Monument Cabinet                            04/04/17           7,426.00            4,084.30
4274       Tile ‐ Remodel                                           04/04/17           9,900.00            5,445.00
4275       Remodel ‐ 0470                                           04/04/17         122,704.20           67,487.31
4275.2     Add'l Furniture & Decor ‐ Remodel 470                    04/04/17          18,444.00           10,144.20
Class = RE                                                                           167,196.20           91,957.91
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         167,196.20           91,957.91


Location = 0470                                                                    1,329,270.71         806,590.32
Less disposals and transfers                                                          (6,475.00)         (6,475.00)

Net Subtotal                                                                       1,322,795.71         800,115.32


Location = 0476
Class = CL
1568       Rest Equip ‐Capital Lease 0476                           05/13/05          24,421.00           24,421.00



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1568.1     Rest Equip ‐Capital Lease 0476                    05/13/05               0.00                  0.00
Class = CL                                                                     24,421.00             24,421.00
Less disposals and transfers                                                        0.00

Net Subtotal                                                                   24,421.00             24,421.00


Class = CO
2561       DELL COMPUTER                                     02/07/11           1,458.00              1,458.00
2561.1     DELL COMPUTER                                     02/07/11               0.00                  0.00
           2014 Micros Upgrade                               06/01/14             500.00                500.00
           Computer Equipment                                06/03/14           1,003.90              1,003.90
           2 MICROS WORKSTATION 5                            11/26/14           2,070.00              2,070.00
4170       POS Micro Touchscreen Terminal                    07/19/16             961.00                720.75
4285       Dell Optiplex 3040 8GB Computer                   01/01/17           1,027.87                565.32
4494       Micros Upgrade                                    08/31/17           2,459.63              1,352.78
4718       EMV Transaction Minilink                          08/23/18           2,784.00                974.40
Class = CO                                                                     12,264.40              8,645.15
Less disposals and transfers                                                   (1,458.00)            (1,458.00)

Net Subtotal                                                                   10,806.40              7,187.15


Class = FU
2626       NEW BOOTH                                         04/19/11                824.00             824.00
2626.1     NEW BOOTH                                         04/19/11                  0.00               0.00
2648       NEW BOOTH                                         05/03/11                846.00             846.00
2648.1     NEW BOOTH                                         05/03/11                  0.00               0.00
3006       NEW BOOTH                                         02/20/12                743.00             743.00
3006.1     NEW BOOTH                                         02/20/12                  0.00               0.00
3106       NEW BOOTH                                         06/21/12                539.00             539.00
3106.1     NEW BOOTH                                         06/21/12                  0.00               0.00
3148       NEW BOOTH                                         07/12/12                488.00             488.00
3148.1     NEW BOOTH                                         07/12/12                  0.00               0.00
3462       NEW BOOTH                                         11/01/12                787.00             787.00
3462.1     NEW BOOTH                                         11/01/12                  0.00               0.00
Class = FU                                                                         4,227.00           4,227.00
Less disposals and transfers                                                           0.00

Net Subtotal                                                                       4,227.00           4,227.00


Class = LI
1858       Lighting                                          01/11/08              4,037.00           4,037.00
1858.1     Lighting                                          01/11/08                  0.00               0.00



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1883       Signs                                          03/26/08           2,400.00              2,400.00
1883.1     Signs                                          03/26/08               0.00                  0.00
2027       Exterior Lighting                              12/31/08           1,902.00              1,902.00
2027.1     Exterior Lighting                              12/31/08               0.00                  0.00
2153       NEW PLUMBING LINES                             03/26/10           3,820.00              3,820.00
2153.1     NEW PLUMBING LINES                             03/26/10               0.00                  0.00
2173       LAVA ROCKS AND INSTALL                         04/15/10           1,738.00              1,738.00
2173.1     LAVA ROCKS AND INSTALL                         04/15/10               0.00                  0.00
3262       BATHROOM STALL                                 11/01/12             644.00                644.00
3262.1     BATHROOM STALL                                 11/01/12               0.00                  0.00
3461       POLE LIGHTING                                  12/31/12           1,500.00              1,500.00
3461.1     POLE LIGHTING                                  12/31/12               0.00                  0.00
           Roof                                           10/04/16          31,465.00             22,025.50
476 New DNew Door                                         11/14/16           2,542.44              1,737.34
4147       Parking Lot Upgrade                            12/15/16          15,808.00              3,952.01
4186       17ft ADA Ramp                                  01/11/17           3,900.00                715.00
4210       5 Ton GE HVAC                                  01/28/17           4,267.00                782.29
4211       7.5 Ton GE HVAC                                01/28/17           6,445.00              1,181.58
4212       7.5 Ton GE HVAC                                01/28/17           4,388.00                804.46
4277       Glass Replacement                              04/07/17           1,384.00                253.74
4384       Paving Parking Lot                             04/24/17           6,923.70              1,269.35
4605       York 5 Ton HVAC R Fr DR                        12/08/17           5,606.91              1,027.93
4868       Tile Upgrade                                   09/17/18           1,669.00                194.72
Class = LI                                                                 100,440.05             49,984.92
Less disposals and transfers                                                     0.00

Net Subtotal                                                               100,440.05             49,984.92


Class = ME
16         GAS FRYER                                      08/27/09                934.00             934.00
16.1       GAS FRYER                                      08/27/09                  0.00               0.00
1173       TABLETOPS                                      05/13/05              4,532.00           4,532.00
1173.1     TABLETOPS                                      05/13/05                  0.00               0.00
1339       Security System                                08/26/08              5,243.00           5,243.00
1339.1     Security System                                08/26/08                  0.00               0.00
1594       2 Dean Fryers & Fryercasters                   08/30/06              1,925.00           1,925.00
1594.1     2 Dean Fryers & Fryercasters                   08/30/06                  0.00               0.00
1700       Lighting & Sign                                03/30/07              1,653.00           1,653.00
1700.1     Lighting & Sign                                03/30/07                  0.00               0.00
1716       Safe                                           05/29/07              1,370.00           1,370.00
1716.1     Safe                                           05/29/07                  0.00               0.00
1894       Sandwich Prep                                  03/18/08              2,446.00           2,446.00
1894.1     Sandwich Prep                                  03/18/08                  0.00               0.00
1926       Equipment                                      05/07/08                983.00             983.00



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1926.1    Equipment                                          05/07/08               0.00               0.00
1965      Water Heater                                       08/12/08          10,449.00          10,449.00
1965.1    Water Heater                                       08/12/08               0.00               0.00
2061      Compressor                                         09/16/08           1,227.00           1,227.00
2061.1    Compressor                                         09/16/08               0.00               0.00
2080      Compressor                                         08/27/08           2,218.00           2,218.00
2080.1    Compressor                                         08/27/08               0.00               0.00
2117      Grease Trap Repair                                 12/12/06           1,500.00           1,500.00
2117.1    Grease Trap Repair                                 12/12/06               0.00               0.00
2222      NEW WATER PUMP                                     06/08/10             810.00             810.00
2222.1    NEW WATER PUMP                                     06/08/10               0.00               0.00
2630      HOCKENBERG EQUIPMENT                               04/26/11           2,143.00           2,143.00
2630.1    HOCKENBERG EQUIPMENT                               04/26/11               0.00               0.00
2656      EQUIPMENT XXXXX                                    05/13/11             958.00             958.00
2656.1    EQUIPMENT XXXXX                                    05/13/11               0.00               0.00
2700      SALAD COOLER                                       07/01/11             863.00             863.00
2700.1    SALAD COOLER                                       07/01/11               0.00               0.00
2807      DISH MACHINE INSTALL                               10/27/11             606.00             606.00
2807.1    DISH MACHINE INSTALL                               10/27/11               0.00               0.00
3077      NEW COMPRESSOR                                     05/07/12           1,829.00           1,829.00
3077.1    NEW COMPRESSOR                                     05/07/12               0.00               0.00
3078      LIGHTING                                           05/07/12           1,094.00           1,094.00
3078.1    LIGHTING                                           05/07/12               0.00               0.00
3079      CONDENSOR                                          05/21/12             597.00             597.00
3079.1    CONDENSOR                                          05/21/12               0.00               0.00
3196      DOOR CLOSER                                        08/02/12             975.00             975.00
3196.1    DOOR CLOSER                                        08/02/12               0.00               0.00
3337      WATER PUMP                                         12/05/12             931.00             931.00
3337.1    WATER PUMP                                         12/05/12               0.00               0.00
3525      DECAFF MACHINE                                     03/25/13             740.00             740.00
3772      Fan Motor                                          10/14/13           1,419.00           1,419.00
3787      Condensing fan motors, capacitors, freon           11/04/13           1,202.00           1,202.00
          Changed out blower                                 03/07/14           1,593.53           1,593.53
          Walk‐in freezer repair                             06/03/14             801.18             801.18
          MOBILE WARMER STAND                                08/07/14           1,390.25           1,390.25
          ABELL MECHANICAL SERVICE                           09/08/14           1,019.09           1,019.09
          Blower Wheel & Shaft                               02/11/15           1,459.00           1,459.00
          REPLACEMENT OF BAD WATER HEATER(LEAKING)           06/01/15           8,407.21           8,126.96
          H&K MISSING                                        08/05/15           2,524.21           2,355.92
          476 Plumbing                                       12/01/15           1,607.50           1,393.17
          Replace heat exchanger                             03/15/16           2,763.51           2,256.87
          AC Unit                                            10/11/16          16,562.94          11,594.07
476 Ansul Ansul System                                       11/04/16           4,347.04           2,970.48
4246      Cuber 1340 Ice Machine                             01/28/17           8,101.58           4,455.88
4390      Dipperwell w/Timer                                 05/25/17             950.16             522.59



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4828       Hamilton Beach 3 Speed Triple Spindle Blender            11/11/18             692.00                242.20
4888       Gas Griddle                                              12/18/18           5,967.00              2,088.45
5069       Turbo Super Deluxe Reach In Freezer                      01/01/20           3,355.00                 83.88
Class = ME                                                                           110,188.20             91,000.52
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         110,188.20             91,000.52


Class = RE
4208       24in IHOP Channel Letter Sign                            01/28/17           2,134.00              1,173.70
4209       118in x 240in Pylon Cabinet Sign                         01/28/17          13,113.00              7,212.15
4213       Storage Shelving ‐ Remodel                               01/28/17           3,420.00              1,881.00
4214       Booth Recover ‐ Remodel                                  01/28/17           5,950.00              3,272.50
4215       Divider Walls ‐ Remodel                                  01/28/17           4,069.00              2,237.95
4216       Remodel ‐ 0476                                           01/28/17         114,294.96             62,862.23
4216.2     Add'l Furniture & Decor ‐ Remodel 476                    01/28/17          13,152.00              7,233.60
Class = RE                                                                           156,132.96             85,873.13
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         156,132.96             85,873.13


Location = 0476                                                                    1,476,673.61           883,690.61
Less disposals and transfers                                                          (1,458.00)           (1,458.00)

Net Subtotal                                                                       1,475,215.61           882,232.61


Location = 0477
Class = CL
1569       Rest Equip ‐Capital Lease 0477                           05/13/05          24,920.00             24,920.00
1569.1     Rest Equip ‐Capital Lease 0477                           05/13/05               0.00                  0.00
Class = CL                                                                            24,920.00             24,920.00
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          24,920.00             24,920.00


Class = CO
2723       SECURITY CAMERA & INSTALL                                07/20/11              7,813.00           7,813.00
2723.1     SECURITY CAMERA & INSTALL                                07/20/11                  0.00               0.00
2956       DELL COMPUTER                                            12/01/11              1,458.00           1,458.00
2956.1     DELL COMPUTER                                            12/01/11                  0.00               0.00
2960       COMPUTER SOFTWARE                                        12/01/11                870.00             870.00



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2960.1       COMPUTER SOFTWARE                                         12/01/11               0.00                  0.00
             2014 Micros Upgrade                                       06/01/14             500.00                500.00
             MICROS WORK STATIONS                                      10/16/14           1,043.36              1,043.36
             3 MICROS WS5A WITH STAND                                  11/26/14           3,126.42              3,126.42
             1 Micros WS5A                                             03/09/15             972.52                972.52
             WIFI HARDWARE                                             10/15/15             898.25                808.42
             477 Computer Equipment                                    07/19/16           8,078.69              8,078.69
4286         Dell Optiplex 3040 8GB Computer                           01/01/17             777.87                427.82
4547         Micro Upgrade                                             08/31/17           2,094.76              1,152.08
4551         Optiplex 7050 Computer                                    09/14/17           1,138.81                626.34
4719         EMV Transaction Minilink                                  08/23/18           2,256.00                789.60
Class = CO                                                                               31,027.68             27,666.25
Less disposals and transfers                                                             (2,328.00)            (2,328.00)

Net Subtotal                                                                             28,699.68             25,338.25


Class = LI
1516         Beechwood Side Chairs w/ Upholstered Seats Waymar         01/31/06           4,809.00              4,809.00
1516.1       Beechwood Side Chairs w/ Upholstered Seats Waymar         01/31/06               0.00                  0.00
1521         Carpet                                                    01/31/06           6,394.00              6,394.00
1521.1       Carpet                                                    01/31/06               0.00                  0.00
1770         Restripe Parking Lot                                      08/01/07             750.00                750.00
1770.1       Restripe Parking Lot                                      08/01/07               0.00                  0.00
2138         Grease Trap                                               09/23/08          10,970.00             10,970.00
2138.1       Grease Trap                                               09/23/08               0.00                  0.00
2174         LAVA ROCKS AND INSTALL                                    04/15/10           4,146.00              4,146.00
2174.1       LAVA ROCKS AND INSTALL                                    04/15/10               0.00                  0.00
3469         DRAIN REPAIR                                              01/30/13           1,192.00              1,192.00
             Leasehold                                                 07/01/14             735.00                735.00
             LEASEHOLD                                                 07/03/14           2,638.35              2,638.35
             Outdoor Lighting                                          10/26/16           2,933.64              2,004.66
4178         7.5 Ton Carrier HVAC ‐                                    01/01/17           8,011.00              1,468.69
4446         ADA Stenciling                                            04/20/17           1,800.00                330.00
4659         PRV Replacement                                           05/31/18           1,295.34                151.13
4665         7.5 Ton GE HVAC                                           06/07/18           7,213.47                841.58
4666         4 Ton GE HVAC                                             06/07/18           4,809.00                561.05
Class = LI                                                                               57,696.80             36,991.46
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             57,696.80             36,991.46


Class = ME
1706       Water Heater                                                11/30/06              2,075.00           2,075.00



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1706.1     Water Heater                                          11/30/06               0.00                0.00
1781       PCB Blower Ignitor                                    08/01/07           1,143.00            1,143.00
1781.1     PCB Blower Ignitor                                    08/01/07               0.00                0.00
1951       Pressuring Reducing Valve                             07/09/08           1,017.00            1,017.00
1951.1     Pressuring Reducing Valve                             07/09/08               0.00                0.00
2606       EQUIPMENT XXXXX                                       03/15/11             712.00              712.00
2606.1     EQUIPMENT XXXXX                                       03/15/11               0.00                0.00
2982       VOYAGER HEATER                                        01/30/12             814.00              814.00
2982.1     VOYAGER HEATER                                        01/30/12               0.00                0.00
3007       NEW COMPRESSOR                                        02/07/12           1,429.00            1,429.00
3007.1     NEW COMPRESSOR                                        02/07/12               0.00                0.00
3080       CONDENSING UNIT                                       05/08/12             880.00              880.00
3080.1     CONDENSING UNIT                                       05/08/12               0.00                0.00
3219       NEW COMPRESSOR                                        09/01/12           2,203.00            2,203.00
3219.1     NEW COMPRESSOR                                        09/01/12               0.00                0.00
3220       HIGH PRESSURE SWITCH                                  09/01/12             965.00              965.00
3220.1     HIGH PRESSURE SWITCH                                  09/01/12               0.00                0.00
3468       THERMOSTAT                                            01/29/13           1,438.00            1,438.00
3485       GRILL PARTS                                           02/11/13             703.00              703.00
3526       THERMOSTAT                                            03/04/13             763.00              763.00
3557       FREEZER, HALF DOORS, RIGHT HINGED                     04/09/13           2,323.00            2,323.00
3592       Hockenbergs/Prep Table                                06/03/13           2,543.00            2,543.00
3644       Carolina Sheet Metal/Compressor                       08/19/13           2,882.00            2,882.00
           974 York 5‐Ton Gas/Elec Unit                          07/15/14           3,786.57            3,786.57
           Waring Waffle Baker                                   07/15/14           1,127.28            1,127.28
           WAFFLE BAKER                                          09/02/14             691.81              691.81
           SANDWICH UNIT                                         11/06/14           2,687.68            2,687.68
           WAFFLE IRON                                           11/12/14             697.31              697.31
           FRYER                                                 12/03/14             918.92              918.92
           Water Heater                                          04/20/15          12,320.25           12,114.91
           HVAC Unit                                             10/15/15           7,285.00            6,556.50
4270       Evaporator ‐ WIC                                      03/31/17           2,846.00            1,565.30
4313       Gas Griddle                                           04/28/17           5,883.83            3,236.11
4339       Upright Refrigerator Right Hinge                      04/11/17           2,157.11            1,186.39
4340       Upright Refrigerator Left Hinge                       04/11/17           2,157.11            1,186.39
4391       Dipperwell w/Timer                                    05/25/17             950.16              522.59
4615       Egg Range                                             02/08/18           1,442.53              504.88
4701       Bunn Axiom Coffee Brewer                              07/17/18           1,507.00              527.45
4707       Turbo Super Deluxe Reach In Freezer                   08/13/18           2,878.00            1,007.30
4875       Drop In Ice Cream Freezer                             12/05/18           2,413.00              844.55
4911       Hamilton Beach Milkshake Machine                      02/01/19             642.00               96.30
4989       Pylon Cabinet ‐ PY                                    01/01/19           7,022.00            1,053.30
Class = ME                                                                         81,303.56           62,201.54
Less disposals and transfers                                                       (2,075.00)          (2,075.00)




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Net Subtotal                                                                            79,228.56           60,126.54


Class = RE
           REMODEL 477                                                09/01/15          87,915.70           80,589.39
Class = RE                                                                              87,915.70           80,589.39
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            87,915.70           80,589.39


Location = 0477                                                                      1,021,863.74         657,892.10
Less disposals and transfers                                                            (4,403.00)         (4,403.00)

Net Subtotal                                                                         1,017,460.74         653,489.10


Location = 0491
Class = CL
1570       Rest Equip ‐Capital Lease 0491                             05/13/05          34,799.00           34,799.00
1570.1     Rest Equip ‐Capital Lease 0491                             05/13/05               0.00                0.00
Class = CL                                                                              34,799.00           34,799.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            34,799.00           34,799.00


Class = CO
24         SECURITY CAMERAS                                           10/01/09           3,994.00            3,994.00
24.1       SECURITY CAMERAS                                           10/01/09               0.00                0.00
2562       DELL COMPUTER                                              02/07/11           1,458.00            1,458.00
2562.1     DELL COMPUTER                                              02/07/11               0.00                0.00
3107       CCTV SYSTEM                                                06/07/12           1,649.00            1,649.00
3107.1     CCTV SYSTEM                                                06/07/12               0.00                0.00
           Computer Equipment                                         05/14/14           1,408.31            1,408.31
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           3 MICROS WS5A W/STAND                                      11/26/14           3,126.45            3,126.45
4157       POS Equipment                                              01/01/16             958.00              718.50
4287       Dell Optiplex 3040 8GB Computer                            01/01/17             777.87              427.82
4495       Optiplex 7050 Micro Upgrade                                08/31/17           1,959.41            1,077.67
4581       POS Micros Workstation w/Touchscreen                       11/02/17           1,133.41              623.37
4720       EMV Transaction Minilink                                   08/23/18           2,903.00            1,016.05
4922       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             646.00               96.90
Class = CO                                                                              20,513.45           16,096.07
Less disposals and transfers                                                            (1,458.00)          (1,458.00)



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Net Subtotal                                                                       19,055.45             14,638.07


Class = LI
32           NEW DISPLAY SIGN                                    10/23/09           9,583.00              6,654.90
32.1         NEW DISPLAY SIGN                                    10/23/09               0.00                  0.00
63           NEW FENCE                                           12/31/09           2,173.00              1,484.92
63.1         NEW FENCE                                           12/31/09               0.00                  0.00
84           NEW DISPLAY SIGN                                    12/31/09          10,470.00              7,154.50
84.1         NEW DISPLAY SIGN                                    12/31/09               0.00                  0.00
2132         Dumpster Wall Repairs                               11/07/07           1,100.00              1,100.00
2132.1       Dumpster Wall Repairs                               11/07/07               0.00                  0.00
2141         Leasehold Improvement                               11/25/08           1,650.00              1,650.00
2141.1       Leasehold Improvement                               11/25/08               0.00                  0.00
2154         NEW SITE LIGHTING                                   03/12/10          10,685.00             10,685.00
2154.1       NEW SITE LIGHTING                                   03/12/10               0.00                  0.00
2175         LAVA ROCKS AND INSTALL                              04/15/10             759.00                759.00
2175.1       LAVA ROCKS AND INSTALL                              04/15/10               0.00                  0.00
3338         SOFFIT                                              12/07/12           1,424.00              1,424.00
3338.1       SOFFIT                                              12/07/12               0.00                  0.00
             Pole Lights                                         03/07/14           1,411.85              1,411.85
4148         Parking Lot Upgrade                                 12/14/16           8,850.00              2,212.50
4187         7.5 Ton, 5 Ton, 5 Ton York HVAC ‐                   01/12/17          15,044.00              2,758.06
4267         Roof Improvement                                    02/28/17           1,068.00                195.80
4704         100Gallon Gas Water Heater                          07/30/18          10,158.00              1,185.10
4890         LED Pole Light Upgrade                              12/27/18           5,696.00                664.53
4907         Bronze Exterior Doors ‐ Remodel                     01/25/19           3,300.00                165.00
Class = LI                                                                         83,371.85             39,505.16
Less disposals and transfers                                                            0.00

Net Subtotal                                                                       83,371.85             39,505.16


Class = ME
1927       5 Ton Gas Pack                                        05/07/08              7,122.00           7,122.00
1927.1     5 Ton Gas Pack                                        05/07/08                  0.00               0.00
1999       Refrigerator PU                                       10/10/08              1,708.00           1,708.00
1999.1     Refrigerator PU                                       10/10/08                  0.00               0.00
2070       Coffee Equipment                                      04/07/09                534.00             534.00
2070.1     Coffee Equipment                                      04/07/09                  0.00               0.00
2203       NEW REFRIGERATOR                                      05/25/10              2,569.00           2,569.00
2203.1     NEW REFRIGERATOR                                      05/25/10                  0.00               0.00
2541       REST EQUIMENT XX                                      01/14/11              1,849.00           1,849.00
2541.1     REST EQUIMENT XX                                      01/14/11                  0.00               0.00



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2607       FIRE SUPRESSION                                           03/29/11             879.00             879.00
2607.1     FIRE SUPRESSION                                           03/29/11               0.00               0.00
2657       EQUIPMENT XXXXX COL WEBB                                  05/16/11             937.00             937.00
2657.1     EQUIPMENT XXXXX COL WEBB                                  05/16/11               0.00               0.00
2658       EQUIPMENT XXXXX HOCKENB                                   05/17/11           2,384.00           2,384.00
2658.1     EQUIPMENT XXXXX HOCKENB                                   05/17/11               0.00               0.00
2983       GAS PACK                                                  01/10/12           7,390.00           7,390.00
2983.1     GAS PACK                                                  01/10/12               0.00               0.00
2984       WATER PUMP                                                01/24/12             552.00             552.00
2984.1     WATER PUMP                                                01/24/12               0.00               0.00
2985       WAFFLE IRON                                               01/31/12             569.00             569.00
2985.1     WAFFLE IRON                                               01/31/12               0.00               0.00
3008       COOLER DOOR                                               02/21/12           1,170.00           1,170.00
3008.1     COOLER DOOR                                               02/21/12               0.00               0.00
3264       REFRIDGERATOR HEAD                                        11/20/12             991.00             991.00
3264.1     REFRIDGERATOR HEAD                                        11/20/12               0.00               0.00
3488       THERMOSTAT                                                02/15/13           1,289.00           1,289.00
3614       First Service Mechanical/Replaced Condenser motor         07/09/13           1,411.00           1,411.00
3744       2 ‐ Ansulex                                               10/01/13             818.00             818.00
3801       Urinal                                                    12/31/13             613.00             613.00
           FIRST SERVICE MECHANICAL                                  01/20/14           3,320.83           3,320.83
           Equipment                                                 07/03/14           2,319.38           2,319.38
           Waring Waffle Baker                                       07/15/14             573.65             573.65
           Microwave                                                 08/05/14             913.03             913.03
           Bad Left Side Dining Room HVAC 10 Ton York                06/15/15          14,421.42          13,940.70
           Ice Machine                                               10/17/16           3,574.27           2,442.40
491 Ice MaIce Machine                                                10/05/16               0.00               0.00
4375       Turbo Super Deluxe Maketable Cook Line                    07/19/17           2,601.90           1,431.05
4392       Dipperwell w/Timer                                        05/25/17           1,029.34             566.14
4829       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             671.00             234.85
Class = ME                                                                             62,209.82          58,527.03
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           62,209.82          58,527.03


Class = RE
3823         Remodel 491                                             10/30/13          64,009.00          64,009.00
4713         Tables ‐ Remodel                                        08/17/18           7,728.00           2,704.80
4714         Recover Booths ‐ Remodel                                08/17/18          10,485.00           3,669.75
4715         Remodel ‐ 491                                           08/17/18         176,779.00          20,624.22
4777         24" IHOP w/Red Smile Sign ‐ Remodel                     10/03/18           2,410.00             843.50
4778         156" Cabinet Sign ‐ Remodel                             10/03/18          14,804.00           5,181.40
4826         Parking Lot Sealcoating                                 11/07/18           9,665.00           1,127.58
4964         Roof Improvement ‐ Remodel                              01/01/19          24,390.00           1,219.50



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Class = RE                                                                             310,270.00           99,379.75
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           310,270.00           99,379.75


Location = 0491                                                                        739,164.12         394,699.93
Less disposals and transfers                                                            (1,458.00)         (1,458.00)

Net Subtotal                                                                           737,706.12         393,241.93


Location = 0492
Class = CL
1571       Rest Equip ‐Capital Lease 0492                             05/13/05          24,421.00           24,421.00
1571.1     Rest Equip ‐Capital Lease 0492                             05/13/05               0.00                0.00
Class = CL                                                                              24,421.00           24,421.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            24,421.00           24,421.00


Class = CO
1331       Computer Equipment                                         07/09/08             890.00              890.00
2314       DELL COMPUTER                                              11/18/10           1,749.00            1,749.00
2314.1     DELL COMPUTER                                              11/18/10               0.00                0.00
2961       COMPUTER SOFTWARE                                          12/01/11             870.00              870.00
2961.1     COMPUTER SOFTWARE                                          12/01/11               0.00                0.00
3108       CCTV SYSTEM                                                06/07/12           1,657.00            1,657.00
3108.1     CCTV SYSTEM                                                06/07/12               0.00                0.00
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           Micros Work Station                                        08/21/14           1,107.45            1,107.45
           2 MICROS WS5A W/STAND                                      11/26/14           2,084.30            2,084.30
           Computer 492                                               09/23/16              27.28               27.28
4158       POS Micro Workstations                                     01/01/16           1,807.00            1,355.25
4288       Dell Optiplex 3040 8GB Computer                            01/01/17             777.87              427.82
4496       Optiplex 7050 Micro Upgrade                                08/31/17           2,339.10            1,286.49
4552       Dell Optiplex 7050 Computer                                09/14/17           1,138.81              626.34
4721       EMV Transaction Minilink                                   08/23/18           2,550.00              892.50
4923       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             875.00              131.25
Class = CO                                                                              18,372.81           13,604.68
Less disposals and transfers                                                            (3,509.00)          (3,509.00)

Net Subtotal                                                                            14,863.81           10,095.68




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Class = FU
3029       NEW BOOTH                                                03/19/12              1,215.00           1,215.00
3029.1     NEW BOOTH                                                03/19/12                  0.00               0.00
3051       NEW BOOTH                                                04/20/12                585.00             585.00
3051.1     NEW BOOTH                                                04/20/12                  0.00               0.00
Class = FU                                                                                1,800.00           1,800.00
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                              1,800.00           1,800.00


Class = LI
2119       Lot Improvement                                          06/30/07           3,100.00              3,100.00
2119.1     Lot Improvement                                          06/30/07               0.00                  0.00
2176       LAVA ROCKS AND INSTALL                                   04/15/10           1,057.00              1,057.00
2176.1     LAVA ROCKS AND INSTALL                                   04/15/10               0.00                  0.00
2239       LAVA ROCKS & INSTALL                                     07/13/10           6,847.00              6,847.00
2239.1     LAVA ROCKS & INSTALL                                     07/13/10               0.00                  0.00
3265       FLOOR DRAIN                                              11/20/12           1,395.00              1,395.00
3265.1     FLOOR DRAIN                                              11/20/12               0.00                  0.00
3769       Dumpster gates                                           10/09/13           2,778.00              1,203.80
           Repair and re‐installed damaged gate at dumpster         06/06/14           1,070.00              1,070.00
           DUMPSTER PAD                                             09/01/15           1,500.00              1,375.00
492 US LawUS Lawn                                                   11/14/16           8,172.00              5,584.20
4378       Sealcoat Parking Lot                                     07/20/17          11,880.00              2,178.00
4476       Water Heater                                             10/05/17           7,254.80              1,330.02
4491       6Ton York HVAC                                           06/09/17           4,912.30                900.59
4643       Ansul Fire System Upgrade                                04/13/18           1,597.40                186.35
4998       Trane 5Ton HVAC                                          06/04/19           6,794.00                339.69
Class = LI                                                                            58,357.50             26,566.65
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          58,357.50             26,566.65


Class = ME
34         NEW GAS FRYER                                            10/13/09              1,860.00           1,860.00
34.1       NEW GAS FRYER                                            10/13/09                  0.00               0.00
1527       Whitmire Baiting System                                  04/30/06              2,400.00           2,400.00
1527.1     Whitmire Baiting System                                  04/30/06                  0.00               0.00
1693       A/C on cook line                                         04/18/07              3,927.00           3,927.00
1693.1     A/C on cook line                                         04/18/07                  0.00               0.00
1742       Freezer                                                  07/31/08              2,461.00           2,461.00
1742.1     Freezer                                                  07/31/08                  0.00               0.00



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1849       Refrig Door                                  12/19/07              2,169.00           2,169.00
1849.1     Refrig Door                                  12/19/07                  0.00               0.00
1865       Heat Exchanger                               01/29/08              2,676.00           2,676.00
1865.1     Heat Exchanger                               01/29/08                  0.00               0.00
1944       Exhaust Fan                                  06/24/08              3,747.00           3,747.00
1944.1     Exhaust Fan                                  06/24/08                  0.00               0.00
1967       Equipment                                    08/04/08              4,949.00           4,949.00
1967.1     Equipment                                    08/04/08                  0.00               0.00
2007       Gas Hoses                                    11/25/08              1,260.00           1,260.00
2007.1     Gas Hoses                                    11/25/08                  0.00               0.00
2073       T‐Stats                                      04/29/09              1,627.00           1,627.00
2073.1     T‐Stats                                      04/29/09                  0.00               0.00
2223       NEW COMPRESSOR                               06/24/10                665.00             665.00
2223.1     NEW COMPRESSOR                               06/24/10                  0.00               0.00
2301       SHARCO                                       10/21/10                945.00             945.00
2301.1     SHARCO                                       10/21/10                  0.00               0.00
2542       COFFEE MACHINE                               01/14/11              2,006.00           2,006.00
2542.1     COFFEE MACHINE                               01/14/11                  0.00               0.00
2659       EQUIPMENT XXXXX CARSMH                       05/16/11                789.00             789.00
2659.1     EQUIPMENT XXXXX CARSMH                       05/16/11                  0.00               0.00
2660       EQUIPMENT XXXXX SHIPPS                       05/18/11                883.00             883.00
2660.1     EQUIPMENT XXXXX SHIPPS                       05/18/11                  0.00               0.00
2831       WAFFLE IRONS                                 10/25/11                569.00             569.00
2831.1     WAFFLE IRONS                                 10/25/11                  0.00               0.00
2871       COOKING CONTROL GRILL                        12/13/11                542.00             542.00
2871.1     COOKING CONTROL GRILL                        12/13/11                  0.00               0.00
3009       NEW MOTOR                                    02/28/12                675.00             675.00
3009.1     NEW MOTOR                                    02/28/12                  0.00               0.00
3081       GRIDDLE TSTATS                               05/22/12              1,384.00           1,384.00
3081.1     GRIDDLE TSTATS                               05/22/12                  0.00               0.00
3097       WAFFLE IRONS                                 06/19/12                317.00             317.00
3097.1     WAFFLE IRONS                                 06/19/12                  0.00               0.00
3110       NEW MOTOR                                    06/02/12                640.00             640.00
3110.1     NEW MOTOR                                    06/02/12                  0.00               0.00
3111       VALVE DRIER                                  06/06/12                763.00             763.00
3111.1     VALVE DRIER                                  06/06/12                  0.00               0.00
3112       NEW THERMOSTAT                               06/19/12                630.00             630.00
3112.1     NEW THERMOSTAT                               06/19/12                  0.00               0.00
3150       WATER FILTRATION SYSTEM                      07/16/12                341.00             341.00
3150.1     WATER FILTRATION SYSTEM                      07/16/12                  0.00               0.00
3221       REACH IN FREEZER                             09/01/12              2,455.00           2,455.00
3221.1     REACH IN FREEZER                             09/01/12                  0.00               0.00
3266       GRIDDLE THERMOSTAT                           11/07/12              1,527.00           1,527.00
3266.1     GRIDDLE THERMOSTAT                           11/07/12                  0.00               0.00
3267       EGG STATTION                                 11/19/12              2,570.00           2,570.00



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3267.1     EGG STATTION                                             11/19/12               0.00                0.00
3489       CONTROL BOARD                                            02/07/13             900.00              900.00
3490       THERMOSTAT                                               02/15/13           1,137.00            1,137.00
3528       ICE MACHINE THERMISTER                                   03/08/13             891.00              891.00
3529       TEA BREWER                                               03/25/13             798.00              798.00
3581       Carolina Sheet Metal/Disconnect & breaker                05/22/13             815.00              815.00
3745       Caster installation on units                             09/18/13           1,979.00            1,979.00
3789       Walk in freezer door                                     11/27/13           3,606.00            3,606.00
           Equipment                                                06/02/14             590.41              590.41
           SAND UNIT 48" 2DR 12 PAN                                 08/05/14           2,431.42            2,431.42
           REFRIGERATOR                                             08/05/14           2,327.37            2,327.37
           WAFFLE BAKER                                             08/22/14             689.81              689.81
           BUNN AXION 4/2 TWIN                                      11/12/14           1,256.97            1,256.97
           Water Heater                                             04/12/15          11,820.25           11,820.25
           Replace AC Unit                                          06/08/16           3,312.88            2,539.89
           Replace AC Unit                                          07/20/16           3,281.85            2,406.69
           AC unit                                                  08/12/16           3,518.15            2,579.98
4143       Bunn Axiom Coffee Maker                                  11/17/16           1,483.00            1,112.25
4335       Prep Table Cooler                                        05/25/17           2,672.19            1,469.71
4393       Dipperwell w/Timer                                       05/25/17             950.16              522.59
4490       Compressor ‐ WIC                                         05/25/17           2,849.05            1,566.98
4830       Hamilton Beach 3 Speed Triple Spindle Blender            11/11/18             675.00              236.25
4912       Hamilton Beach Milkshake Machine                         02/01/19             675.00              101.25
4951       Drop In Ice Cream Freezer                                02/27/19           2,503.00              375.45
Class = ME                                                                            95,939.51           86,930.27
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          95,939.51           86,930.27


Class = RE
3663       Remodel 492                                              06/13/13          67,732.00           67,732.00
4780       Parking Lot Sealcoating                                  10/04/18           9,657.00            1,126.65
4786       24" Channel Letter Sign ‐ Remodel                        10/13/18           6,819.00            2,386.65
4787       Tables ‐ Remodel                                         10/13/18           6,500.00            2,275.00
4788       Booth Recover ‐ Remodel                                  10/13/18          16,000.00            5,600.00
4789       Remodel ‐ 0492                                           10/13/18         167,796.00           19,576.20
Class = RE                                                                           274,504.00           98,696.50
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         274,504.00           98,696.50


Location = 0492                                                                    1,664,394.82        1,005,889.33
Less disposals and transfers                                                          (3,509.00)          (3,509.00)



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Net Subtotal                                                                1,660,885.82          1,002,380.33


Location = 0494
Class = CO
2563       DELL COMPUTER                                     02/07/11           1,458.00              1,458.00
2563.1     DELL COMPUTER                                     02/07/11               0.00                  0.00
2683       SECURITY CAMERA & INSTALL                         06/28/11           8,040.00              8,040.00
2683.1     SECURITY CAMERA & INSTALL                         06/28/11               0.00                  0.00
           2014 Micros Upgrade                               06/01/14             500.00                500.00
           3 Micros POS Terminal                             11/04/14           2,895.75              2,895.75
           494 Computer Equipment                            12/10/15           3,200.04              3,200.04
4289       Dell Optiplex 3040 8GB Computer                   01/01/17             777.87                427.82
4497       Optiplex 7050 Micro Upgrade                       08/31/17           2,015.06              1,108.28
4722       EMV Transaction Minilink                          08/23/18           2,551.00                892.85
Class = CO                                                                     21,437.72             18,522.74
Less disposals and transfers                                                   (1,458.00)            (1,458.00)

Net Subtotal                                                                   19,979.72             17,064.74


Class = LI
1978       Balance on Awning                                 09/30/08           1,582.00              1,582.00
1978.1     Balance on Awning                                 09/30/08               0.00                  0.00
           494 Awning                                        12/01/15           2,760.50              2,392.43
4308       Restroom Partitions                               03/28/17           8,395.00              1,539.09
5104       LED Upgrade ‐ Exterior Lighting                   03/13/20           7,640.00                 25.47
Class = LI                                                                     20,377.50              5,538.99
Less disposals and transfers                                                        0.00

Net Subtotal                                                                   20,377.50              5,538.99


Class = ME
3          KITCHEN EQUIPMENT                                 07/17/09              1,503.00           1,503.00
3.1        KITCHEN EQUIPMENT                                 07/17/09                  0.00               0.00
26         NEW COMPRESSOR & MOTOR                            09/09/09              3,721.00           3,721.00
26.1       NEW COMPRESSOR & MOTOR                            09/09/09                  0.00               0.00
73         PREP TABLE                                        12/29/09              2,433.00           2,433.00
73.1       PREP TABLE                                        12/29/09                  0.00               0.00
1122       PREP TABLE                                        02/23/10              2,506.00           2,506.00
1122.1     PREP TABLE                                        02/23/10                  0.00               0.00
1605       Delfield Upright Refrigerator                     05/01/06              1,800.00           1,800.00
1605.1     Delfield Upright Refrigerator                     05/01/06                  0.00               0.00



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1606       4 Ft. Grill                                             05/01/06           3,000.00          3,000.00
1606.1     4 Ft. Grill                                             05/01/06               0.00              0.00
1607       6 FT. Grill                                             05/01/06           4,200.00          4,200.00
1607.1     6 FT. Grill                                             05/01/06               0.00              0.00
1608       3 ft. 5 Slot Gas Range                                  05/01/06           3,000.00          3,000.00
1608.1     3 ft. 5 Slot Gas Range                                  05/01/06               0.00              0.00
1609       10 ft. Stainless Exhaust System                         05/01/06           1,800.00          1,800.00
1609.1     10 ft. Stainless Exhaust System                         05/01/06               0.00              0.00
1610       Pitco 2 Slot Fryers                                     05/01/06           1,200.00          1,200.00
1610.1     Pitco 2 Slot Fryers                                     05/01/06               0.00              0.00
1611       10 cu. ft. Freezer                                      05/01/06           1,800.00          1,800.00
1611.1     10 cu. ft. Freezer                                      05/01/06               0.00              0.00
1612       Hobart Floor Mixer                                      05/01/06           5,400.00          5,400.00
1612.1     Hobart Floor Mixer                                      05/01/06               0.00              0.00
1613       Hobart Slicer                                           05/01/06           1,900.00          1,900.00
1613.1     Hobart Slicer                                           05/01/06               0.00              0.00
1614       Hoskizaki Ice Machine                                   05/01/06           4,000.00          4,000.00
1614.1     Hoskizaki Ice Machine                                   05/01/06               0.00              0.00
1615       Hobart Walk‐In Cooler                                   05/01/06           5,000.00          5,000.00
1615.1     Hobart Walk‐In Cooler                                   05/01/06               0.00              0.00
1616       Hobart Walk‐In Freezer                                  05/01/06           5,000.00          5,000.00
1616.1     Hobart Walk‐In Freezer                                  05/01/06               0.00              0.00
1617       Smith Commercial Gas Water Heater 84 gal.               05/01/06          10,700.00         10,700.00
1617.1     Smith Commercial Gas Water Heater 84 gal.               05/01/06               0.00              0.00
1618       Remaining Misc. Equipment                               05/01/06          13,513.00         13,513.00
1618.1     Remaining Misc. Equipment                               05/01/06               0.00              0.00
1619       6 ft. Stainless Exhaust System                          05/01/06           1,200.00          1,200.00
1619.1     6 ft. Stainless Exhaust System                          05/01/06               0.00              0.00
1664       Top Mount Refrig 24cu ft.                               12/14/06           2,111.00          2,111.00
1664.1     Top Mount Refrig 24cu ft.                               12/14/06               0.00              0.00
1718       Kitchen Equipment                                       05/01/07             916.00            916.00
1718.1     Kitchen Equipment                                       05/01/07               0.00              0.00
1729       Statesville Equipment                                   12/31/06         122,583.00        122,583.00
1729.1     Statesville Equipment                                   12/31/06               0.00              0.00
1866       Heat Exchange                                           01/11/08           1,079.00          1,079.00
1866.1     Heat Exchange                                           01/11/08               0.00              0.00
1929       Ice Machine                                             05/07/08           6,181.00          6,181.00
1929.1     Ice Machine                                             05/07/08               0.00              0.00
1976       HVAC Unit                                               07/17/08           7,318.00          7,318.00
1976.1     HVAC Unit                                               07/17/08               0.00              0.00
2128       Grease Trap                                             08/07/07           5,598.00          5,598.00
2128.1     Grease Trap                                             08/07/07               0.00              0.00
2205       NEW FAN BLOWER                                          05/25/10           1,615.00          1,615.00
2205.1     NEW FAN BLOWER                                          05/25/10               0.00              0.00
2206       NEW RANGE HOOD                                          05/25/10           4,100.00          4,100.00



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2206.1       NEW RANGE HOOD                                           05/25/10               0.00               0.00
2224         NEW WATER HEATER                                         06/30/10           6,962.00           6,962.00
2224.1       NEW WATER HEATER                                         06/30/10               0.00               0.00
2244         AC EQUIPMENT                                             07/22/10           4,013.00           4,013.00
2244.1       AC EQUIPMENT                                             07/22/10               0.00               0.00
2543         NEW PREP TABLE                                           01/13/11           2,073.00           2,073.00
2543.1       NEW PREP TABLE                                           01/13/11               0.00               0.00
2608         NEW CONDENSING UNIT                                      03/08/11           2,698.00           2,698.00
2608.1       NEW CONDENSING UNIT                                      03/08/11               0.00               0.00
2734         NEW LIGHTING                                             08/09/11             839.00             839.00
2734.1       NEW LIGHTING                                             08/09/11               0.00               0.00
2986         WAFFLE IRON                                              01/31/12             569.00             569.00
2986.1       WAFFLE IRON                                              01/31/12               0.00               0.00
3491         INSTALLED FRYER                                          02/15/13             683.00             683.00
3527         NATURAL GAS FRYER                                        03/04/13             790.00             790.00
3790         3/4 HP General Motor                                     11/06/13             832.00             832.00
             Carrier high efficiency 7.5 ton unit                     02/11/14          12,098.79          12,098.79
             WAFFLE BAKER                                             08/19/14             577.13             577.13
             HW HEATER CONTROL MODULE, GAS VALUE                      08/19/14           1,076.64           1,076.64
             WAFFLE BAKER                                             09/02/14             688.69             688.69
             COMPRESSOR & CONDENSER FAN MOTOR                         09/03/14           3,241.51           3,241.51
             York 10 Ton HVAC Unit ‐ Front Dining Room                11/15/15          15,875.00          14,022.92
4259         Cuber 1301 Ice Machine                                   03/15/17           5,027.00           2,764.85
4394         Dipperwell w/Timer                                       05/25/17           1,029.34             566.14
4447         Shelving ‐ WIC                                           06/21/17           1,447.93             796.37
4606         Turbo Deluxe Reach In Cooler                             12/12/17           2,184.86           1,201.65
4850         Hamilton Beach 3 Speed Triple Spindle Blender            11/19/18             671.00             234.85
Class = ME                                                                             288,553.89         281,905.54
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           288,553.89         281,905.54


Class = RE
           REMODEL 494                                                10/01/15          36,333.21           32,699.86
4492       Exterior Upgrades                                          07/13/17           4,020.00            2,211.00
Class = RE                                                                              40,353.21           34,910.86
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            40,353.21           34,910.86


Location = 0494                                                                      1,003,734.32         718,851.74
Less disposals and transfers                                                            (1,458.00)         (1,458.00)




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Net Subtotal                                                                         1,002,276.32         717,393.74


Location = 0498
Class = CL
1572       Rest Equip ‐Capital Lease 0498                             05/13/05          27,222.00           27,222.00
1572.1     Rest Equip ‐Capital Lease 0498                             05/13/05               0.00                0.00
Class = CL                                                                              27,222.00           27,222.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            27,222.00           27,222.00


Class = CO
2315       DELL COMPUTER                                              11/02/10           1,458.00            1,458.00
2315.1     DELL COMPUTER                                              11/02/10               0.00                0.00
2653       SECURITY CAMERA & INSTALL                                  05/10/11           6,947.00            6,947.00
2653.1     SECURITY CAMERA & INSTALL                                  05/10/11               0.00                0.00
2962       COMPUTER SOFTWARE                                          12/01/11             870.00              870.00
2962.1     COMPUTER SOFTWARE                                          12/01/11               0.00                0.00
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           1 Micros WS5A                                              01/06/15             960.87              960.87
           1 MICROS WS5A                                              01/06/15             946.82              946.82
           Computer 498                                               09/23/16             171.19              171.19
           Computer 498                                               09/23/16             702.79              702.79
4290       Dell Optiplex 3040 8GB Computer                            01/01/17             777.87              427.82
4343       Dell Optiplex 7040 Small Form Computer                     05/02/17           1,186.36              652.50
4676       Oracle Micro Workstation                                   03/13/18           1,926.00              674.10
4723       EMV Transaction Minilink                                   08/23/18           2,803.00              981.05
4924       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             875.00              131.25
Class = CO                                                                              20,124.90           15,423.39
Less disposals and transfers                                                            (1,458.00)          (1,458.00)

Net Subtotal                                                                            18,666.90           13,965.39


Class = FU
4764       Mega Seating Symphony Collection Booths                    09/01/18          11,335.00            3,967.25
Class = FU                                                                              11,335.00            3,967.25
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            11,335.00            3,967.25


Class = LI



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1517       Beechwood Side Chairs Waymar                         02/28/06           2,478.00              2,478.00
1517.1     Beechwood Side Chairs Waymar                         02/28/06               0.00                  0.00
1963       Store Front Glass                                    08/06/08           2,007.00              2,007.00
1963.1     Store Front Glass                                    08/06/08               0.00                  0.00
2177       LAVA ROCKS AND INSTALL                               04/15/10           1,350.00              1,350.00
2177.1     LAVA ROCKS AND INSTALL                               04/15/10               0.00                  0.00
2334       LAVA ROCKS & INSTALL                                 12/01/10             468.00                468.00
2334.1     LAVA ROCKS & INSTALL                                 12/01/10               0.00                  0.00
3010       FLOOR SINK                                           02/28/12           1,600.00              1,600.00
3010.1     FLOOR SINK                                           02/28/12               0.00                  0.00
3114       PARKING LOT REPAIR                                   06/19/12             780.00                780.00
3114.1     PARKING LOT REPAIR                                   06/19/12               0.00                  0.00
3558       BUST CONCRETE & LOWER FLOOR DRAIN IN KITCHEN         04/17/13           1,000.00              1,000.00
4307       Heat Exchangers ‐ HVAC                               02/17/17           2,867.99              1,577.40
4601       5 Ton GE HVAC                                        12/07/17           4,432.06                812.55
4602       5 Ton GE HVAC                                        12/07/17           4,432.06                812.55
4603       7,5 Ton GE HVAC ‐ Kitchen                            12/07/17           5,724.74              1,049.54
4604       4 Ton GE HVAC                                        12/07/17           3,878.05                710.99
4686       Store Front Windows                                  05/23/18             965.00                112.57
4796       Glass Replacement                                    10/24/18           1,148.00                133.93
4866       Gas Valves ‐ HVAC                                    08/07/18           5,561.00                648.78
4874       Store Front Doors                                    12/04/18           4,100.00                478.33
5088       Roof Overlay                                         01/01/20          27,100.00                225.83
Class = LI                                                                        69,891.90             16,245.47
Less disposals and transfers                                                           0.00

Net Subtotal                                                                      69,891.90             16,245.47


Class = ME
27         NEW GRIDDLE                                          09/09/09              4,603.00           4,603.00
27.1       NEW GRIDDLE                                          09/09/09                  0.00               0.00
35         NEW GRIDDLE                                          10/20/09              6,033.00           6,033.00
35.1       NEW GRIDDLE                                          10/20/09                  0.00               0.00
1428       SANDWICH PREP                                        05/13/05              1,830.00           1,830.00
1428.1     SANDWICH PREP                                        05/13/05                  0.00               0.00
1663       Grill                                                03/04/08              1,030.00           1,030.00
1663.1     Grill                                                03/04/08                  0.00               0.00
1872       Water Heater                                         02/12/08              1,524.00           1,524.00
1872.1     Water Heater                                         02/12/08                  0.00               0.00
1896       Grill                                                08/27/08              1,224.00           1,224.00
1896.1     Grill                                                08/27/08                  0.00               0.00
2032       Kitchen Equipment                                    12/31/08              1,420.00           1,420.00
2032.1     Kitchen Equipment                                    12/31/08                  0.00               0.00
2045       Evaporator                                           01/14/09              1,096.00           1,096.00



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2045.1     Evaporator                                                  01/14/09               0.00               0.00
2067       Compressor                                                  03/31/09           1,091.00           1,091.00
2067.1     Compressor                                                  03/31/09               0.00               0.00
2089       NEW THERMOSTAT                                              06/17/09           3,423.00           3,423.00
2089.1     NEW THERMOSTAT                                              06/17/09               0.00               0.00
2187       NEW COMPRESSOR                                              04/23/10           1,456.00           1,456.00
2187.1     NEW COMPRESSOR                                              04/23/10               0.00               0.00
2262       MIXING VALVE                                                08/25/10           1,246.00           1,246.00
2262.1     MIXING VALVE                                                08/25/10               0.00               0.00
2265       NEW COMPRESSOR                                              08/26/10           2,755.00           2,755.00
2265.1     NEW COMPRESSOR                                              08/26/10               0.00               0.00
2285       JACK EXPENSES                                               09/29/10           3,898.00           3,898.00
2285.1     JACK EXPENSES                                               09/29/10               0.00               0.00
2588       WATER HEATER                                                02/22/11           7,818.00           7,818.00
2588.1     WATER HEATER                                                02/22/11               0.00               0.00
2609       COFFEE MACHINE                                              03/14/11           1,263.00           1,263.00
2609.1     COFFEE MACHINE                                              03/14/11               0.00               0.00
2610       CE HOLT XXXXXXXX                                            03/14/11           1,179.00           1,179.00
2610.1     CE HOLT XXXXXXXX                                            03/14/11               0.00               0.00
2661       EQUIPMENT XXXXX HOCKENB                                     05/17/11           2,555.00           2,555.00
2661.1     EQUIPMENT XXXXX HOCKENB                                     05/17/11               0.00               0.00
2735       NEW FREEZER                                                 08/16/11           2,362.00           2,362.00
2735.1     NEW FREEZER                                                 08/16/11               0.00               0.00
2737       REFRIDGERATOR                                               08/25/11           2,235.00           2,235.00
2737.1     REFRIDGERATOR                                               08/25/11               0.00               0.00
2987       WAFFLE IRON                                                 01/31/12             569.00             569.00
2987.1     WAFFLE IRON                                                 01/31/12               0.00               0.00
3113       NEW WARMER                                                  06/02/12             347.00             347.00
3113.1     NEW WARMER                                                  06/02/12               0.00               0.00
3115       NEW THERMOSTAT                                              06/21/12             619.00             619.00
3115.1     NEW THERMOSTAT                                              06/21/12               0.00               0.00
3492       FRYMASTER BAFFLES                                           02/05/13           1,434.00           1,434.00
3593       Hockenbergs/Prep Table                                      06/03/13           2,532.00           2,532.00
3595       First Service Mech/New A/C Unit                             06/12/13          12,520.00          12,520.00
3596       First Service Mech/AC Unit                                  06/17/13             899.00             899.00
3597       First Service Mech/Carrier Blower Motor                     06/19/13             700.00             700.00
3615       Hockenbergs/Prep Table                                      07/19/13           2,582.00           2,582.00
3773       Griddle                                                     10/11/13           6,123.00           6,123.00
3774       Grill thermostats                                           10/17/13           1,055.00           1,055.00
3775       Removed & installed new griddle                             10/23/13           1,288.00           1,288.00
           Bunn Axiom 4/2 Twin                                         04/28/14           1,263.28           1,263.28
           Cutting Boards and Towel Dispenser                          07/21/14             913.93             913.93
           POPOUT WAFFLE BAKER                                         09/22/14             756.82             756.82
           WAFFLE IRON                                                 11/06/14             694.69             694.69
           Replacement of a Bad Compressor on Ice Machine Unit         05/04/15           1,051.77           1,034.24



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           Replace Freezer Compressor                               06/08/16           1,819.50              1,394.96
4173       CCTV Camera                                              09/14/16             522.00                391.50
4395       Dipperwell w/Timer                                       05/25/17           1,029.34                566.14
4448       Bunn Axiom Twin Coffee Maker                             06/21/17           1,476.35                812.00
4532       Lighting Upgrade ‐ Signage                               01/24/17           1,992.11              1,095.64
4831       Hamilton Beach 3 Speed Triple Spindle Blender            11/11/18             672.00                235.20
5029       Compressor ‐ Salad Cooler                                09/05/19           1,140.00                171.00
5081       Water Pump ‐ Ice Machine                                 01/15/20           1,971.00                 49.28
Class = ME                                                                            96,011.79             90,087.68
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          96,011.79             90,087.68


Class = RE
5058       Remodel ‐ Rise and Shine ‐ 498                           11/23/19         186,687.00              9,334.35
5059       Tables and Chairs ‐ Remodel                              11/23/19          13,542.00              2,031.30
5060       Parking Lot Sealcoat ‐ Remodel                           11/23/19          10,000.00                500.00
5061       LED Upgrade ‐ Remodel                                    11/23/19           8,292.00                414.60
5062       Pylon Sign ‐ Remodel                                     11/23/19          38,928.00              5,839.20
Class = RE                                                                           257,449.00             18,119.45
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         257,449.00             18,119.45


Location = 0498                                                                    1,172,034.59           588,574.59
Less disposals and transfers                                                          (1,458.00)           (1,458.00)

Net Subtotal                                                                       1,170,576.59           587,116.59


Location = 0530
Class = CO
2527       NEW DELL COMPUTER                                        01/04/11              1,458.00           1,458.00
2527.1     NEW DELL COMPUTER                                        01/04/11                  0.00               0.00
2641       SECURITY SYSTEM & INSTALL                                03/17/11              9,236.00           9,236.00
2641.1     SECURITY SYSTEM & INSTALL                                03/17/11                  0.00               0.00
2791       MICROS WORKSTATION                                       09/26/11                893.00             893.00
2791.1     MICROS WORKSTATION                                       09/26/11                  0.00               0.00
2816       MICROS WORKSTATION                                       10/06/11                893.00             893.00
2816.1     MICROS WORKSTATION                                       10/06/11                  0.00               0.00
3011       MICROS WORKSTATION                                       02/17/12                850.00             850.00
3011.1     MICROS WORKSTATION                                       02/17/12                  0.00               0.00
3339       PRINTER                                                  12/05/12              1,409.00           1,409.00



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3339.1       PRINTER                                                    12/05/12               0.00                  0.00
             2014 Micros Upgrade                                        06/01/14             500.00                500.00
             4 Micros WS5A with Stands                                  11/26/14           3,877.16              3,877.16
             Micros WS5A                                                05/12/15             972.52                956.31
4291         Dell Optiplex 3040 8GB Computer                            01/01/17           1,027.87                565.32
4498         Optiplex 7050 Micro Upgrade                                08/31/17           2,169.01              1,192.95
4724         EMV Transaction Minilink                                   08/23/18           2,272.00                795.20
4925         EMV Transaction Mini Link ‐ Additional Costs               02/20/19           1,122.00                168.30
Class = CO                                                                                26,679.56             22,794.24
Less disposals and transfers                                                              (1,458.00)            (1,458.00)

Net Subtotal                                                                              25,221.56             21,336.24


Class = FU
2772       NEW BOOTH                                                    09/01/11                906.00             906.00
2772.1     NEW BOOTH                                                    09/01/11                  0.00               0.00
3116       NEW BOOTH                                                    06/20/12                547.00             547.00
3116.1     NEW BOOTH                                                    06/20/12                  0.00               0.00
3783       Shelving system                                              11/19/13                721.00             721.00
Class = FU                                                                                    2,174.00           2,174.00
Less disposals and transfers                                                                      0.00

Net Subtotal                                                                                  2,174.00           2,174.00


Class = LI
1841         Elevator Repair                                            12/19/07           1,170.00              1,170.00
1841.1       Elevator Repair                                            12/19/07               0.00                  0.00
1859         Lighting                                                   01/08/08           5,855.00              5,855.00
1859.1       Lighting                                                   01/08/08               0.00                  0.00
2068         TOILETS                                                    04/28/09           2,500.00              2,500.00
2068.1       TOILETS                                                    04/28/09               0.00                  0.00
2125         Store Front Glass                                          08/01/07           2,575.00              2,575.00
2125.1       Store Front Glass                                          08/01/07               0.00                  0.00
2135         Leasehold Improvements                                     05/28/08           8,950.00              8,950.00
2135.1       Leasehold Improvements                                     05/28/08               0.00                  0.00
2193         LAVA ROCKS AND INSTALL                                     05/25/10           4,746.00              4,746.00
2193.1       LAVA ROCKS AND INSTALL                                     05/25/10               0.00                  0.00
3268         SEWER LINE                                                 11/20/12          10,098.91             10,098.91
3268.1       SEWER LINE                                                 11/20/12               0.00                  0.00
3530         UNCOVER RAISE MANHOLE                                      03/04/13           8,750.00              8,750.00
             SIGNS                                                      02/21/14           5,934.03              5,934.03
             Sewer Line Repair                                          04/03/14          59,959.00             59,959.00
             Signs                                                      05/06/14           5,338.04              5,338.04



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           COMPRESSOR                                         07/29/14           3,743.88          3,743.88
           Replaced Awning Sign                               05/11/15           1,198.00          1,178.03
           New Awning                                         11/20/15             898.50            778.71
           Leasehold Improvement 530                          09/19/16           4,850.00          3,395.00
4179       Sunbrella Awnings ‐ 7                              01/01/17           9,700.00          5,335.00
4180       Ceiling Replacement                                01/01/17           6,801.24          1,246.89
4432       15 Ton GE HVAC ‐ Kitchen                           07/17/17          17,157.66          3,145.56
4607       Roof Resurface / Sealing                           12/18/17          17,834.19          3,269.61
4677       81gal Water Heater                                 03/13/18           8,532.00            995.40
4823       LED Lighting Upgrade ‐ Parking                     11/05/18           3,438.00            401.10
4870       American Standard 7.5 Ton HVAC ‐                   11/19/18          10,925.00          1,274.58
4901       Parking Lot Sealcoat                               01/17/19           4,198.00            209.89
Class = LI                                                                     205,152.45        140,849.63
Less disposals and transfers                                                         0.00

Net Subtotal                                                                   205,152.45        140,849.63


Class = ME
1667       Griddle                                            04/23/09           1,832.00          1,832.00
1667.1     Griddle                                            04/23/09               0.00              0.00
1719       Elevator Repair                                    05/24/07           2,485.00          2,485.00
1719.1     Elevator Repair                                    05/24/07               0.00              0.00
1832       Equipment                                          02/21/07         216,000.00        216,000.00
1832.1     Equipment                                          02/21/07               0.00              0.00
1852       Sandwich Prep                                      02/26/08           2,343.00          2,343.00
1852.1     Sandwich Prep                                      02/26/08               0.00              0.00
1912       Microwave Oven                                     04/29/08             885.00            885.00
1912.1     Microwave Oven                                     04/29/08               0.00              0.00
1915       Vulcan Hot Plates                                  04/09/08           3,016.00          3,016.00
1915.1     Vulcan Hot Plates                                  04/09/08               0.00              0.00
1916       Gas Fryers                                         04/17/08           1,906.00          1,906.00
1916.1     Gas Fryers                                         04/17/08               0.00              0.00
1917       Fryers & Burners                                   04/23/08           1,631.00          1,631.00
1917.1     Fryers & Burners                                   04/23/08               0.00              0.00
1952       Freezer                                            07/17/07           2,599.00          2,599.00
1952.1     Freezer                                            07/17/07               0.00              0.00
2046       Slicer Knife                                       01/29/09           1,354.00          1,354.00
2046.1     Slicer Knife                                       01/29/09               0.00              0.00
2062       Compressor                                         03/04/09           2,450.00          2,450.00
2062.1     Compressor                                         03/04/09               0.00              0.00
2063       Gas Griddle                                        03/31/09           1,433.00          1,433.00
2063.1     Gas Griddle                                        03/31/09               0.00              0.00
2075       Griddle                                            04/28/09           4,360.00          4,360.00
2075.1     Griddle                                            04/28/09               0.00              0.00



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2124       BackFlow Device                                  07/17/07              1,172.00           1,172.00
2124.1     BackFlow Device                                  07/17/07                  0.00               0.00
2188       NEW EXHAUST FAN                                  04/13/10              1,149.00           1,149.00
2188.1     NEW EXHAUST FAN                                  04/13/10                  0.00               0.00
2209       NEW SWING DOOR                                   05/06/10              1,434.00           1,434.00
2209.1     NEW SWING DOOR                                   05/06/10                  0.00               0.00
2245       NEW PREP TABLE                                   07/27/10              2,506.00           2,506.00
2245.1     NEW PREP TABLE                                   07/27/10                  0.00               0.00
2275       ROGERSXXXXXXXXXXXXXXXXXXXXXXXXXXXX               08/19/10              1,215.00           1,215.00
2275.1     ROGERSXXXXXXXXXXXXXXXXXXXXXXXXXXXX               08/19/10                  0.00               0.00
2286       NEW HOT PLATE                                    09/08/10              1,898.00           1,898.00
2286.1     NEW HOT PLATE                                    09/08/10                  0.00               0.00
2287       ADAMS XX                                         09/15/10                684.00             684.00
2287.1     ADAMS XX                                         09/15/10                  0.00               0.00
2288       NEW BOOTH                                        09/16/10              1,560.00           1,560.00
2288.1     NEW BOOTH                                        09/16/10                  0.00               0.00
2302       REFRIGERATOR                                     10/21/10                931.00             931.00
2302.1     REFRIGERATOR                                     10/21/10                  0.00               0.00
2544       REST EQUIP XX                                    01/12/11              1,011.00           1,011.00
2544.1     REST EQUIP XX                                    01/12/11                  0.00               0.00
2662       EQUIPMENT XXXXX ROGERS                           05/26/11              5,139.00           5,139.00
2662.1     EQUIPMENT XXXXX ROGERS                           05/26/11                  0.00               0.00
2688       NEW DISH LINE                                    06/28/11              1,583.00           1,583.00
2688.1     NEW DISH LINE                                    06/28/11                  0.00               0.00
2707       GAS GRILL VALVE                                  07/12/11                955.00             955.00
2707.1     GAS GRILL VALVE                                  07/12/11                  0.00               0.00
2717       DEFROST HEATER                                   07/20/11                806.00             806.00
2717.1     DEFROST HEATER                                   07/20/11                  0.00               0.00
2808       DISH MACHINE INSTALL                             10/26/11                975.00             975.00
2808.1     DISH MACHINE INSTALL                             10/26/11                  0.00               0.00
2812       COUNTER STRIPS                                   10/26/11                865.00             865.00
2812.1     COUNTER STRIPS                                   10/26/11                  0.00               0.00
2818       NEW LIGHTING                                     10/25/11                622.00             622.00
2818.1     NEW LIGHTING                                     10/25/11                  0.00               0.00
2826       WAFFLE IRONS                                     10/04/11                568.00             568.00
2826.1     WAFFLE IRONS                                     10/04/11                  0.00               0.00
3012       FIRE SUPPRESSION                                 02/14/12                743.00             743.00
3012.1     FIRE SUPPRESSION                                 02/14/12                  0.00               0.00
3030       WAFFLE IRON                                      03/29/12                285.00             285.00
3030.1     WAFFLE IRON                                      03/29/12                  0.00               0.00
3052       TRANE UNIT                                       04/10/12              1,529.00           1,529.00
3052.1     TRANE UNIT                                       04/10/12                  0.00               0.00
3151       PARTITIONS                                       07/09/12              1,137.00           1,137.00
3151.1     PARTITIONS                                       07/09/12                  0.00               0.00
3152       NEW COMPRESSOR                                   07/23/12              2,503.00           2,503.00



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3152.1       NEW COMPRESSOR                                                07/23/12               0.00               0.00
3153         WIF COMPRESSOR                                                07/24/12           2,681.00           2,681.00
3153.1       WIF COMPRESSOR                                                07/24/12               0.00               0.00
3154         PVC DOWNSTREAM                                                07/25/12             764.00             764.00
3154.1       PVC DOWNSTREAM                                                07/25/12               0.00               0.00
3269         THERMOSTAT GRIDDLE                                            11/07/12           1,251.00           1,251.00
3269.1       THERMOSTAT GRIDDLE                                            11/07/12               0.00               0.00
3270         FRYER                                                         11/12/12             775.00             775.00
3270.1       FRYER                                                         11/12/12               0.00               0.00
3486         FIRE EXTENGUISHER                                             02/11/13             529.00             529.01
3531         POLE LIGHTS                                                   03/18/13             876.00             876.00
3559         BALLASTS & LAMPS                                              04/05/13             807.00             807.00
3560         DOUBLE OVER SHELF                                             04/05/13             709.00             709.00
3616         Rogers Electrical/AC Unit Repair                              07/25/13           1,276.00           1,276.00
3645         Interface Security Systems/Hard Drive Intervision DVR         08/01/13           1,662.00           1,662.00
             Machine & Equip                                               01/29/14           1,704.98           1,704.98
             WAFFLE BAKER                                                  08/22/14             682.00             682.00
             KITCHEN TOP COVER ASSY                                        10/10/14             609.49             609.49
             Dean Super Runner Fryer (Item# DEN‐SR42G)                     04/01/15             908.21             908.21
             Refrigerated Sandwich Unit                                    06/04/15           3,090.67           2,987.65
             Replace Freezer Compressor                                    08/01/16           3,402.24           2,494.98
             Freezer                                                       10/25/16           3,839.96           2,623.97
4388         Dipperwell w/Timer                                            05/23/17             732.74             403.01
4582         Compressor ‐ WIC                                              11/03/17           3,875.00           2,131.25
4857         Hamilton Beach 3 Speed Triple Spindle Blender                 11/20/18             667.00             233.45
4891         Super Deluxe Rech In Cooler                                   12/27/18           2,335.00             817.25
4894         36in Step‐Up Countertop Range                                 01/01/19           3,427.00             514.05
4918         Evaporator/Condensor ‐ WIC                                    02/11/19           6,925.00           1,038.75
5030         Gas Flat Top Griddle                                          09/11/19           7,763.00           1,164.45
5056         Bunn Axiom Twin Coffee Brewer                                 11/08/19           1,650.00             247.50
5070         Mega Top Salad Cooler                                         01/01/20           3,524.00              88.10
Class = ME                                                                                  330,030.29         303,543.10
Less disposals and transfers                                                                 (2,506.00)         (2,506.00)

Net Subtotal                                                                                327,524.29         301,037.10


Class = RE
         Remodel 530                                                       09/02/16          51,100.00           36,621.67
         Remodel 530                                                       09/02/16          28,511.33           20,433.14
         Remodel 530                                                       09/19/16           3,134.50            2,194.16
         Remodel 530                                                       09/28/16             420.00              294.00
         Remodel 530                                                       10/03/16           3,311.29            2,317.92
         Remodel 530                                                       10/17/16           4,900.00            3,348.33
530 RemodStripe Pavement, Lighting, Exterior Repairs                       11/02/16          26,397.08           18,038.02



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4142       24in Arch Signage                                  11/11/16           4,018.00           3,013.50
4193       Remodel ‐ 0530                                     01/01/17          38,650.59          21,257.83
4908       Restroom Upgrade                                   01/25/19          11,600.00             580.00
Class = RE                                                                     172,042.79         108,098.57
Less disposals and transfers                                                         0.00

Net Subtotal                                                                   172,042.79         108,098.57


Location = 0530                                                              1,299,422.09        1,108,719.21
Less disposals and transfers                                                    (3,964.00)          (3,964.00)

Net Subtotal                                                                 1,295,458.09        1,104,755.21


Location = 0574
Class = CL
1835       Rest Equip ‐Capital Lease 0574                     02/21/07         195,000.00         195,000.00
1835.1     Rest Equip ‐Capital Lease 0574                     02/21/07               0.00               0.00
Class = CL                                                                     195,000.00         195,000.00
Less disposals and transfers                                                         0.00

Net Subtotal                                                                   195,000.00         195,000.00


Class = CO
2564       DELL COMPUTER                                      02/07/11           1,458.00            1,458.00
2564.1     DELL COMPUTER                                      02/07/11               0.00                0.00
2642       SECURITY SYSTEM & INSTALL                          03/17/11           8,458.00            8,458.00
2642.1     SECURITY SYSTEM & INSTALL                          03/17/11               0.00                0.00
3222       CASH REGISTER                                      09/12/12           1,119.00            1,119.00
3222.1     CASH REGISTER                                      09/12/12               0.00                0.00
           2014 Micros Upgrade                                06/01/14             500.00              500.00
           MICROS WORK STATIONS                               10/15/14             991.53              991.53
           3 MICROS WS5A WITH STAND                           11/26/14           3,126.45            3,126.45
           WIFI HARDWARE                                      10/15/15             897.25              807.52
4292       Dell Optiplex 3040 8GB Computer                    01/01/17           1,027.87              565.32
4499       Optiplex 7050 Micro Upgrade                        08/31/17           2,705.14            1,487.83
4725       EMV Transaction Minilink                           08/23/18           3,085.00            1,079.75
4808       Apple Ipad 32gb                                    11/01/18             409.00              143.15
4969       EMV Transaction ‐ Banking Server                   02/20/19             671.00              100.65
Class = CO                                                                      24,448.24           19,837.20
Less disposals and transfers                                                    (1,458.00)          (1,458.00)

Net Subtotal                                                                    22,990.24           18,379.20



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Class = LI
2155       NEW GREASE TRAP                                03/31/10           4,930.00              4,930.00
2155.1     NEW GREASE TRAP                                03/31/10               0.00                  0.00
2194       LAVA ROCKS AND INSTALL                         05/25/10           3,669.00              3,669.00
2194.1     LAVA ROCKS AND INSTALL                         05/25/10               0.00                  0.00
2335       LAVA ROCKS & INSTALL                           12/01/10             432.00                432.00
2335.1     LAVA ROCKS & INSTALL                           12/01/10               0.00                  0.00
3562       FLOOD LIGHTS                                   04/25/13             840.00                840.00
3598       Centimark/Gutters                              06/19/13           3,581.00              3,581.00
3637       Hilton Displays/Custom Signs                   02/11/13           2,678.00              2,678.00
4149       Parking Lot Upgrade                            12/15/16          19,560.00              4,890.00
4472       1000G Water Heater                             09/22/17          13,452.53              7,398.90
Class = LI                                                                  49,142.53             28,418.90
Less disposals and transfers                                                     0.00

Net Subtotal                                                                49,142.53             28,418.90


Class = ME
28         NEW SECURITY DOOR                              09/09/09              1,765.00           1,765.00
28.1       NEW SECURITY DOOR                              09/09/09                  0.00               0.00
1760       Freezer                                        06/12/07              2,531.00           2,531.00
1760.1     Freezer                                        06/12/07                  0.00               0.00
1784       Refrigerator Door                              08/14/07              2,118.00           2,118.00
1784.1     Refrigerator Door                              08/14/07                  0.00               0.00
1867       Ice Bin & Cuber                                01/09/08              5,226.00           5,226.00
1867.1     Ice Bin & Cuber                                01/09/08                  0.00               0.00
1919       Microwave Oven                                 05/16/08                885.00             885.00
1919.1     Microwave Oven                                 05/16/08                  0.00               0.00
2266       FIRE SUPRESSION TANK                           08/06/10              2,469.00           2,469.00
2266.1     FIRE SUPRESSION TANK                           08/06/10                  0.00               0.00
2545       COFFEE MACHINE                                 01/14/11              1,231.00           1,231.00
2545.1     COFFEE MACHINE                                 01/14/11                  0.00               0.00
2589       EQUIPMENT ‐ WAGNER                             02/14/11                856.00             856.00
2589.1     EQUIPMENT ‐ WAGNER                             02/14/11                  0.00               0.00
2739       DOOR CLOSURE                                   08/04/11                766.00             766.00
2739.1     DOOR CLOSURE                                   08/04/11                  0.00               0.00
2775       WAFFLE IRON                                    09/06/11                571.00             571.00
2775.1     WAFFLE IRON                                    09/06/11                  0.00               0.00
2786       SS‐10ULTD EQUIPMENT                            09/20/11                614.00             614.00
2786.1     SS‐10ULTD EQUIPMENT                            09/20/11                  0.00               0.00
3035       CASH REGISTER MAIN BOARD                       03/20/12                943.00             943.00
3035.1     CASH REGISTER MAIN BOARD                       03/20/12                  0.00               0.00



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3155       PARTITIONS                                                     07/09/12           1,260.00           1,260.00
3155.1     PARTITIONS                                                     07/09/12               0.00               0.00
3197       CONDENSING MOTOR                                               08/16/12           1,688.00           1,688.00
3197.1     CONDENSING MOTOR                                               08/16/12               0.00               0.00
3561       MODULE BOARD, FIREYE SCANNER, TSTAT                            04/05/13           2,370.00           2,370.00
3582       Roto‐Rooter/Circulation & Booster Pump                         05/20/13           1,262.00           1,262.00
3746       Trane compressor                                               09/24/13           2,965.00           2,965.00
           Replaced Broken AC Sensor/Freezer Compressor/Condensor Fa      07/23/14           4,883.60           4,883.60
           Sandwich Unit                                                  08/07/14           3,134.66           3,134.66
           WAFFLE BAKER                                                   08/22/14             677.63             677.63
           574 Equipment                                                  12/24/15           2,200.00           1,870.00
           New Blower Motor                                               09/23/16           4,255.71           2,979.00
           Reach in Refrigerator                                          10/26/16           2,352.00           1,607.20
574 RTUs 3 RTUs                                                           11/01/16           4,950.00           3,382.50
574 Carrie Carrier Units                                                  11/04/16          18,959.27          12,955.49
4153       Trane 15 Ton HVAC ‐ Kitchen                                    12/15/16          11,905.00           2,976.26
4280       24in Channel Letter Sign                                       04/26/17           2,932.00           1,612.60
4281       65in x 140in Monument Cabinet                                  04/26/17           7,540.00           4,147.00
4349       115v Circulating Pump                                          05/18/17             933.79             513.57
4350       Dipperwell w/Timer                                             05/23/17             982.84             540.56
4705       Turbo Super Deluxe Sandwich/Salad Cooler                       07/31/18           2,896.00           1,013.60
4709       Avantco Fryers                                                 08/17/18           2,328.00             814.80
4876       Drop In Ice Cream Freezer                                      12/05/18           2,369.00             829.14
4895       Hamilton Beach 3 Speed Drink Mixer                             01/01/19             662.00              99.30
5016       Turbo Super Deluxe Sandwich Cooler                             07/29/19           3,013.00             451.95
5107       Copeland Compressor ‐ WIC                                      03/17/20           1,258.00              12.58
Class = ME                                                                                 107,752.50          74,021.44
Less disposals and transfers                                                                     0.00

Net Subtotal                                                                               107,752.50          74,021.44


Class = RE
3825       Remodel 574                                                    09/01/13          63,837.00          63,837.00
4759       Tables ‐ Remodel                                               08/25/18           7,625.00           2,668.75
4760       Recover Booths ‐ Remodel                                       08/25/18          14,650.00           5,127.50
4761       Remodel ‐ 574                                                  08/25/18         110,732.00          12,918.73
4776       Parking Lot Sealcoating                                        09/21/18          12,112.00           1,413.07
4797       18" Channel Letter Sign ‐ Remodel                              10/24/18          13,696.00           4,793.60
Class = RE                                                                                 222,652.00          90,758.65
Less disposals and transfers                                                                     0.00

Net Subtotal                                                                               222,652.00          90,758.65




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Location = 0574                                                                      1,042,781.27           625,768.82
Less disposals and transfers                                                            (1,458.00)           (1,458.00)

Net Subtotal                                                                         1,041,323.27           624,310.82


Location = 0585
Class = CL
1836       Rest Equip ‐Capital Lease 0585                             02/21/07         199,000.00           199,000.00
1836.1     Rest Equip ‐Capital Lease 0585                             02/21/07               0.00                 0.00
Class = CL                                                                             199,000.00           199,000.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           199,000.00           199,000.00


Class = CO
2201       SECURITY CAMERAS & INSTALL                                 05/12/10           8,247.00              8,247.00
2201.1     SECURITY CAMERAS & INSTALL                                 05/12/10               0.00                  0.00
2316       DELL COMPUTER                                              11/18/10           1,749.00              1,749.00
2316.1     DELL COMPUTER                                              11/18/10               0.00                  0.00
2963       COMPUTER SOFTWARE                                          12/01/11             870.00                870.00
2963.1     COMPUTER SOFTWARE                                          12/01/11               0.00                  0.00
           MICROS                                                     03/06/14             950.00                950.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           Micros Stations                                            08/05/14           1,035.00              1,035.00
           WIFI HARDWARE                                              10/15/15             897.25                807.52
           Micros Workstation                                         10/13/16           2,292.17              2,292.17
4293       Dell Optiplex 3040 8GB Computer                            01/01/17           1,027.87                565.32
4500       Optiplex 7050 Micro Upgrade                                08/31/17           2,076.50              1,142.08
4726       EMV Transaction Minilink                                   08/23/18           2,256.00                789.60
4926       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             875.00                131.25
Class = CO                                                                              22,775.79             19,078.94
Less disposals and transfers                                                            (1,749.00)            (1,749.00)

Net Subtotal                                                                            21,026.79             17,329.94


Class = FU
1889       Chairs                                                     03/11/08              1,003.00           1,003.00
1889.1     Chairs                                                     03/11/08                  0.00               0.00
3117       NEW BOOTH                                                  06/02/12                530.00             530.00
3117.1     NEW BOOTH                                                  06/02/12                  0.00               0.00
Class = FU                                                                                  1,533.00           1,533.00
Less disposals and transfers                                                                    0.00



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Net Subtotal                                                                       1,533.00           1,533.00


Class = LI
56         SEWER LINE IMPROVEMENTS                           11/19/09           3,960.00              2,728.00
56.1       SEWER LINE IMPROVEMENTS                           11/19/09               0.00                  0.00
2133       Parking Lot Repairs                               11/20/07           3,400.00              3,400.00
2133.1     Parking Lot Repairs                               11/20/07               0.00                  0.00
2195       LAVA ROCKS AND INSTALL                            05/25/10           3,800.00              3,800.00
2195.1     LAVA ROCKS AND INSTALL                            05/25/10               0.00                  0.00
2336       LAVA ROCKS & INSTALL                              12/01/10           1,156.00              1,156.00
2336.1     LAVA ROCKS & INSTALL                              12/01/10               0.00                  0.00
585 Ext Re Light Fixtures, Dumpster Repair                   11/21/16           5,460.00              3,640.00
4444       20 Ton HVAC ‐ Kitchen                             08/11/17          16,844.22              3,088.11
4473       Brick and Tile Replacement                        08/10/17           6,480.00              1,188.00
4523       Sealcoat Parking Lot                              11/07/17          11,100.00              2,035.00
4647       Water Heater                                      04/30/18           7,900.00                921.67
4900       Parking Lot Sealcoat                              01/16/19           6,458.00                322.90
5044       4ftx7ft Metal Exterior Door                       09/24/19           3,150.00                157.50
Class = LI                                                                     69,708.22             22,437.18
Less disposals and transfers                                                        0.00

Net Subtotal                                                                   69,708.22             22,437.18


Class = ME
23         NEW DOOR ALARM                                    08/31/09                863.00             863.00
23.1       NEW DOOR ALARM                                    08/31/09                  0.00               0.00
1730       Timer                                             05/31/07                571.00             571.00
1730.1     Timer                                             05/31/07                  0.00               0.00
1743       Microwaves                                        06/06/07              1,781.00           1,781.00
1743.1     Microwaves                                        06/06/07                  0.00               0.00
1762       A/C Condensor Fan Motor                           07/17/07              1,194.00           1,194.00
1762.1     A/C Condensor Fan Motor                           07/17/07                  0.00               0.00
1897       Sandwich Prep                                     03/18/08              2,438.00           2,438.00
1897.1     Sandwich Prep                                     03/18/08                  0.00               0.00
1969       Relay Module                                      08/13/08              1,483.00           1,483.00
1969.1     Relay Module                                      08/13/08                  0.00               0.00
1970       AC Board & Transformer                            08/13/08              1,764.00           1,764.00
1970.1     AC Board & Transformer                            08/13/08                  0.00               0.00
1971       Griddle                                           08/13/08              1,082.00           1,082.00
1971.1     Griddle                                           08/13/08                  0.00               0.00
1985       Reach In Freezer                                  09/23/08              2,983.00           2,983.00
1985.1     Reach In Freezer                                  09/23/08                  0.00               0.00



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2047       Ice Cream Dipping                                01/29/09              1,969.00           1,969.00
2047.1     Ice Cream Dipping                                01/29/09                  0.00               0.00
2079       Condensor Fan Motor                              09/03/08              1,212.00           1,212.00
2079.1     Condensor Fan Motor                              09/03/08                  0.00               0.00
2246       REFRIGERATOR                                     07/22/10              1,421.00           1,421.00
2246.1     REFRIGERATOR                                     07/22/10                  0.00               0.00
2247       PREP TABLE                                       07/22/10              2,442.00           2,442.00
2247.1     PREP TABLE                                       07/22/10                  0.00               0.00
2276       ROGERSXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX           08/19/10                983.00             983.00
2276.1     ROGERSXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX           08/19/10                  0.00               0.00
2611       EQUIPMENT XXXXXXX                                03/08/11                675.00             675.00
2611.1     EQUIPMENT XXXXXXX                                03/08/11                  0.00               0.00
2612       EQUIPMENT XXXXXXX                                03/31/11                784.00             784.00
2612.1     EQUIPMENT XXXXXXX                                03/31/11                  0.00               0.00
2663       EQUIPMENT XXXXX ROGERS                           05/04/11              1,236.00           1,236.00
2663.1     EQUIPMENT XXXXX ROGERS                           05/04/11                  0.00               0.00
2689       EQUIPMENT ROGERS                                 06/14/11                695.00             695.00
2689.1     EQUIPMENT ROGERS                                 06/14/11                  0.00               0.00
2721       LIGHTING                                         07/27/11                159.00             159.00
2721.1     LIGHTING                                         07/27/11                  0.00               0.00
2778       WAFFLE IRON                                      09/13/11                582.00             582.00
2778.1     WAFFLE IRON                                      09/13/11                  0.00               0.00
2988       HEAT EXCHANGER                                   01/10/12              5,899.00           5,899.00
2988.1     HEAT EXCHANGER                                   01/10/12                  0.00               0.00
2989       HEAT EXCHANGER                                   01/30/12              3,971.00           3,971.00
2989.1     HEAT EXCHANGER                                   01/30/12                  0.00               0.00
2990       FRYER                                            01/12/12              1,051.00           1,051.00
2990.1     FRYER                                            01/12/12                  0.00               0.00
3031       WAFFLE IRON                                      03/29/12                285.00             285.00
3031.1     WAFFLE IRON                                      03/29/12                  0.00               0.00
3036       COFFE MACHINE                                    03/06/12              1,231.00           1,231.00
3036.1     COFFE MACHINE                                    03/06/12                  0.00               0.00
3198       SEWER PUMP                                       08/02/12              3,929.00           3,929.00
3198.1     SEWER PUMP                                       08/02/12                  0.00               0.00
3223       NEW FRYER AND LABOR                              09/01/12              4,011.00           4,011.00
3223.1     NEW FRYER AND LABOR                              09/01/12                  0.00               0.00
3271       HEAT EXCHANGER                                   11/19/12              3,371.00           3,371.00
3271.1     HEAT EXCHANGER                                   11/19/12                  0.00               0.00
3340       ANSUL TANKS                                      12/05/12              2,742.00           2,742.00
3340.1     ANSUL TANKS                                      12/05/12                  0.00               0.00
3470       THERMOSTAT                                       01/29/13                881.00             881.00
3532       TIMER                                            03/04/13                730.00             730.00
3583       Hockenbergs/Freezer right hinged                 05/07/13              1,795.00           1,795.00
3646       Rogers Electrical/Evaporator Coil                08/15/13              3,172.00           3,172.00
3647       Rogers Electrical/Compressor                     08/19/13              1,254.00           1,254.00



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3747         Compressor                                               09/25/13           1,363.00            1,363.00
3748         Shelving                                                 10/02/13             968.00              968.00
3776         Bulbs & lamps                                            10/24/13             796.00              796.00
3791         Condensing Unit                                          11/04/13           5,634.00            5,634.00
3792         Refrigerated Countertop Display                          11/13/13           1,518.00            1,518.00
             Machine & Equipment                                      01/27/14             774.00              774.00
             TRUE #TSSU‐48‐18MB                                       08/07/14           3,367.42            3,367.42
             POPOUT WAFFLE MAKER                                      09/22/14             751.69              751.69
             MOTOR W/BLADE                                            12/09/14           1,193.79            1,193.79
             Replace Freezer Compressor                               08/01/16           3,402.24            2,494.98
4625         Super Deluxe Refrigerator                                02/27/18           2,206.96              772.43
4858         Hamilton Beach 3 Speed Triple Spindle Blender            11/20/18             667.00              233.45
4919         Ice Cream Dipping Cabinet                                02/12/19           2,750.00              412.50
5009         Turbo Super Deluxe One Section Refrigerator              07/09/19           2,549.00              382.35
5010         Condenser/Evaporator ‐ WIC                               07/18/19           6,500.00              975.00
5011         Exhaust Fan ‐ Fryer                                      07/22/19           1,175.00              176.25
5096         Coffee Brewer                                            02/13/20           1,407.00               25.58
Class = ME                                                                              97,662.10           82,477.44
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            97,662.10           82,477.44


Class = RE
             REMODEL 585                                              05/01/15          56,391.10           55,451.24
4311         Restroom Remodel                                         04/27/17          38,289.00           21,058.95
Class = RE                                                                              94,680.10           76,510.19
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            94,680.10           76,510.19


Location = 0585                                                                      1,424,767.21         838,683.85
Less disposals and transfers                                                            (1,749.00)         (1,749.00)

Net Subtotal                                                                         1,423,018.21         836,934.85


Location = 0587
Class = CL
1837       Rest Equip ‐Capital Lease 0587                             02/21/07         199,000.00         199,000.00
1837.1     Rest Equip ‐Capital Lease 0587                             02/21/07               0.00               0.00
Class = CL                                                                             199,000.00         199,000.00
Less disposals and transfers                                                                 0.00




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Net Subtotal                                                                  199,000.00           199,000.00


Class = CO
2240       SECURITY CAMERAS & INSTALL                        07/22/10           6,452.00              6,452.00
2240.1     SECURITY CAMERAS & INSTALL                        07/22/10               0.00                  0.00
2565       DELL COMPUTER                                     02/07/11           1,458.00              1,458.00
2565.1     DELL COMPUTER                                     02/07/11               0.00                  0.00
           2014 Micros Upgrade                               06/01/14             500.00                500.00
           Computer Equipment                                06/25/14           1,511.97              1,511.97
           2 MICROS WORK STATIONS 5                          11/26/14           2,070.00              2,070.00
           HARD DRIVE                                        01/19/15           1,263.34              1,263.34
           1 Micros WS5A                                     03/06/15             960.88                960.88
4171       POS Micro Touchscreen Terminal                    09/12/16             961.00                720.75
4181       Phone System ‐ Cashier                            01/01/17           1,733.00                953.15
4294       Dell Optiplex 3040 8GB Computer                   01/01/17           1,027.87                565.32
4501       Optiplex 7050 Micro Upgrade                       08/31/17           1,972.53              1,084.90
4727       EMV Transaction Minilink                          08/23/18           2,570.00                899.50
5027       Circuit Upgrade                                   08/31/19           3,853.00                577.95
Class = CO                                                                     26,333.59             19,017.76
Less disposals and transfers                                                   (1,458.00)            (1,458.00)

Net Subtotal                                                                   24,875.59             17,559.76


Class = FU
1890       Chairs                                            03/11/08                572.00             572.00
1890.1     Chairs                                            03/11/08                  0.00               0.00
1910       Bench & Trash Receptacle                          04/24/08              2,075.00           2,075.00
1910.1     Bench & Trash Receptacle                          04/24/08                  0.00               0.00
Class = FU                                                                         2,647.00           2,647.00
Less disposals and transfers                                                           0.00

Net Subtotal                                                                       2,647.00           2,647.00


Class = LI
1793         Sign                                            08/01/08              2,633.00           2,633.00
1793.1       Sign                                            08/01/08                  0.00               0.00
1884         Signs                                           03/05/08              3,008.00           3,008.00
1884.1       Signs                                           03/05/08                  0.00               0.00
2126         Back Door                                       08/01/07              2,337.00           2,337.00
2126.1       Back Door                                       08/01/07                  0.00               0.00
2148         NEW AWNINGS                                     06/30/09              7,436.00           5,329.11
2148.1       NEW AWNINGS                                     06/30/09                  0.00               0.00



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2726       NEW POLE LIGHTING                                          08/23/11           1,061.00              1,061.00
2726.1     NEW POLE LIGHTING                                          08/23/11               0.00                  0.00
2819       NEW LIGHTING                                               10/26/11             849.00                849.00
2819.1     NEW LIGHTING                                               10/26/11               0.00                  0.00
           Replaced closers on pair of outer doors                    05/20/14             965.34                965.34
           REPLACED DAMAGE SIGN                                       07/09/14           3,358.85              3,358.85
4655       Circulation Pump                                           04/25/18           1,151.72                134.37
4805       Trane 15Ton HVAC ‐ Kitchen                                 10/31/18          13,309.00              1,552.72
5028       Store Front Doors                                          09/03/19           4,600.00                230.00
5031       Trane 5 Ton HVAC                                           09/11/19           7,138.00                356.90
5032       Trane 7.5 Ton HVAC                                         09/11/19          10,706.00                535.30
5033       Trane 7.5 Ton HVAC                                         09/11/19          10,707.00                535.35
Class = LI                                                                              69,259.91             22,885.94
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            69,259.91             22,885.94


Class = ME
36         NEW REFRIDGERATOR                                          10/29/09              1,507.00           1,507.00
36.1       NEW REFRIDGERATOR                                          10/29/09                  0.00               0.00
1666       Sandwich Prep                                              08/07/07              2,122.00           2,122.00
1666.1     Sandwich Prep                                              08/07/07                  0.00               0.00
1702       Pancake Griddle                                            03/23/07              7,263.00           7,263.00
1702.1     Pancake Griddle                                            03/23/07                  0.00               0.00
1787       Door Closers and Transom Glass                             08/31/07              1,330.00           1,330.00
1787.1     Door Closers and Transom Glass                             08/31/07                  0.00               0.00
1918       Microwave Oven                                             04/29/08                885.00             885.00
1918.1     Microwave Oven                                             04/29/08                  0.00               0.00
2129       Fire System                                                10/03/07              1,517.00           1,517.00
2129.1     Fire System                                                10/03/07                  0.00               0.00
2227       THERMOSTAT                                                 06/08/10              1,711.00           1,711.00
2227.1     THERMOSTAT                                                 06/08/10                  0.00               0.00
2325       COLWEB                                                     11/15/10                894.00             894.00
2325.1     COLWEB                                                     11/15/10                  0.00               0.00
2664       EQUIPMENT XXXXX COLONIAL WEBB                              05/10/11              1,118.00           1,118.00
2664.1     EQUIPMENT XXXXX COLONIAL WEBB                              05/10/11                  0.00               0.00
2872       NEW AWNING                                                 12/20/11                722.00             722.00
2872.1     NEW AWNING                                                 12/20/11                  0.00               0.00
3118       DOOR CLOSURE                                               06/22/12                765.00             765.00
3118.1     DOOR CLOSURE                                               06/22/12                  0.00               0.00
3342       CIRCULATOR PUMP                                            12/26/12                946.00             946.00
3342.1     CIRCULATOR PUMP                                            12/26/12                  0.00               0.00
3563       FREEZER, RIGHT HINGED, 6 INCH CASTERS                      04/09/13              3,514.00           3,514.00
3648       Wagner Food Equipment/Fryer Installation                   08/05/13              1,659.00           1,659.00



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3649         Hockenbergs/Fryer,Natural Gas                         08/19/13           1,703.00            1,703.00
3750         Motor                                                 09/24/13             717.00              717.00
3751         Knobs & Dials                                         10/01/13             949.00              949.00
3802         Grill work                                            12/10/13           1,193.00            1,193.00
3803         Combustion blower motor                               12/31/13           1,331.00            1,331.00
             Equipment                                             04/17/14             539.64              539.64
             Bowl Assy D25‐3                                       05/05/14             899.21              899.21
             Equipment                                             06/04/14           2,285.43            2,285.43
             WAFFLE BAKER                                          08/22/14             677.63              677.63
             WAFFLE IRON                                           12/04/14             686.13              686.13
             BUNN AXIOM 4/2 TWIN BREWER                            12/09/14           1,234.12            1,234.12
             2 New Heat Exchangers & Motors                        06/01/15          11,514.29           11,130.49
             REPLACEMENT 2ND STAGE COMPRESSOR 71/2 TRANE UNIT(20   06/15/15           2,673.34            2,584.24
             Refrig Sandwich Unit, SPE48‐18M                       07/02/15           2,392.95            2,273.30
             Heat Exchanger ‐ BOH                                  11/17/15           5,015.00            4,346.33
             Reach in Refrigerator                                 10/25/16           2,352.00            1,607.20
4351         Dipperwell w/Timer                                    05/23/17             982.84              540.56
4695         Compressor ‐ Cooler                                   06/27/18           1,341.00              469.35
4880         Ice Cream Dipping Cabinet                             12/06/18           2,378.00              832.29
4896         Hamilton Beach 3 Speed Drink Mixer                    01/01/19             662.00               99.30
4980         LED Upgrade ‐ Sign                                    05/14/19           2,315.00              347.25
5071         Evaporator/Condensor ‐ Prep Station                   01/01/20           5,417.00              135.43
Class = ME                                                                           75,211.58           62,533.90
Less disposals and transfers                                                              0.00

Net Subtotal                                                                         75,211.58           62,533.90


Class = RE
             REMODEL 587                                           09/01/15          49,892.95           45,735.21
Class = RE                                                                           49,892.95           45,735.21
Less disposals and transfers                                                              0.00

Net Subtotal                                                                         49,892.95           45,735.21


Location = 0587                                                                     848,145.03         549,602.77
Less disposals and transfers                                                         (1,458.00)         (1,458.00)

Net Subtotal                                                                        846,687.03         548,144.77


Location = 0595
Class = CL
1838       Rest Equip ‐Capital Lease 0595                          02/21/07         199,000.00         199,000.00



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1838.1     Rest Equip ‐Capital Lease 0595                             02/21/07               0.00                 0.00
Class = CL                                                                             199,000.00           199,000.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           199,000.00           199,000.00


Class = CO
2317       DELL COMPUTER                                              11/18/10           1,749.00              1,749.00
2317.1     DELL COMPUTER                                              11/18/10               0.00                  0.00
2724       SECURITY CAMERA & INSTALL                                  07/20/11           8,924.00              8,924.00
2724.1     SECURITY CAMERA & INSTALL                                  07/20/11               0.00                  0.00
2964       COMPUTER SOFTWARE                                          12/01/11             870.00                870.00
2964.1     COMPUTER SOFTWARE                                          12/01/11               0.00                  0.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           Micros Terminal                                            05/28/14           1,035.00              1,035.00
           1 MICROS WORK STATION 5                                    11/26/14           1,035.00              1,035.00
4295       Dell Optiplex 3040 8GB Computer                            01/01/17           1,027.87                565.32
4502       Optiplex 7050 Micro Upgrade                                08/31/17           2,236.26              1,229.94
4728       EMV Transaction Minilink                                   08/23/18           2,403.00                841.05
4927       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             647.00                 97.04
Class = CO                                                                              20,427.13             16,846.35
Less disposals and transfers                                                            (1,749.00)            (1,749.00)

Net Subtotal                                                                            18,678.13             15,097.35


Class = FU
1690       Building Sign                                              04/17/07              1,366.00           1,366.00
1690.1     Building Sign                                              04/17/07                  0.00               0.00
1891       Chairs                                                     03/11/08                821.00             821.00
1891.1     Chairs                                                     03/11/08                  0.00               0.00
4489       Barstools/Chairs                                           04/28/17              1,146.83             630.76
Class = FU                                                                                  3,333.83           2,817.76
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                                3,333.83           2,817.76


Class = LI
33           NEW LAVA ROCKS                                           10/28/09              3,485.00           2,420.11
33.1         NEW LAVA ROCKS                                           10/28/09                  0.00               0.00
64           NEW SECURITY DOOR                                        12/31/09              2,256.00           2,256.00
64.1         NEW SECURITY DOOR                                        12/31/09                  0.00               0.00
1772         Shades                                                   08/29/07              3,767.00           3,767.00



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1772.1     Shades                                               08/29/07               0.00               0.00
2131       Parking Lot                                          10/09/07           3,655.00           3,655.00
2131.1     Parking Lot                                          10/09/07               0.00               0.00
2874       POLE LIGHT                                           12/08/11             770.00             770.00
2874.1     POLE LIGHT                                           12/08/11               0.00               0.00
3343       CEILING PANELS                                       12/13/12           6,583.00           6,583.00
3343.1     CEILING PANELS                                       12/13/12               0.00               0.00
3344       SIGNANGE                                             12/21/12           1,260.00           1,260.00
3344.1     SIGNANGE                                             12/21/12               0.00               0.00
           Built sign near dumpster                             03/07/14           1,531.09           1,531.09
595 Ext Re Stripe Pavement, Exterior Lighting                   11/02/16          11,460.00           7,831.00
4368       15 Ton GE HVAC ‐ Kitchen                             07/11/17          13,411.20           2,458.72
4474       Copelweld Compressor ‐ HVAC                          08/28/17           1,121.15             205.54
4771       ADA Urinals                                          09/04/18           1,726.00             201.37
4772       Roof Improvement                                     09/07/18           4,795.00             559.42
5055       LED Upgrade ‐ Exterior Lighting                      10/21/19           5,749.00             287.45
Class = LI                                                                        61,569.44          33,785.70
Less disposals and transfers                                                           0.00

Net Subtotal                                                                      61,569.44          33,785.70


Class = ME
5          REBUILD COMPRESSOR                                   07/21/09           4,054.00           4,054.00
5.1        REBUILD COMPRESSOR                                   07/21/09               0.00               0.00
45         NEW FAN MOTOR ‐ FREEZER                              11/10/09           3,073.00           3,073.00
45.1       NEW FAN MOTOR ‐ FREEZER                              11/10/09               0.00               0.00
1745       Cool Respone Refrig.                                 06/13/07           1,117.00           1,117.00
1745.1     Cool Respone Refrig.                                 06/13/07               0.00               0.00
1788       Ice Bin Door                                         08/01/07             942.00             942.00
1788.1     Ice Bin Door                                         08/01/07               0.00               0.00
1789       Refrigerator Door                                    08/01/07           2,135.00           2,135.00
1789.1     Refrigerator Door                                    08/01/07               0.00               0.00
1851       12" Slicer                                           12/11/07           2,567.00           2,567.00
1851.1     12" Slicer                                           12/11/07               0.00               0.00
1953       Fryer Exhaust Fan                                    07/09/08             915.00             915.00
1953.1     Fryer Exhaust Fan                                    07/09/08               0.00               0.00
1986       Exhaust Fan                                          09/12/08           1,416.00           1,416.00
1986.1     Exhaust Fan                                          09/12/08               0.00               0.00
2000       Pressure Vacuum                                      10/15/08           1,498.00           1,498.00
2000.1     Pressure Vacuum                                      10/15/08               0.00               0.00
2052       Hot Water Heater                                     02/11/09          11,415.00          11,415.00
2052.1     Hot Water Heater                                     02/11/09               0.00               0.00
2065       Panasonic Microwave Oven                             04/11/07             890.00             890.00
2065.1     Panasonic Microwave Oven                             04/11/07               0.00               0.00



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2229       KITCHEN TIMER                                           06/30/10                723.00             723.00
2229.1     KITCHEN TIMER                                           06/30/10                  0.00               0.00
2289       EDIEEE XX                                               09/03/10              1,615.00           1,615.00
2289.1     EDIEEE XX                                               09/03/10                  0.00               0.00
2590       WATER HEATER                                            02/23/11              2,649.00           2,649.00
2590.1     WATER HEATER                                            02/23/11                  0.00               0.00
2665       EQUIPMENT XXXXX SPEEDY                                  05/09/11              1,683.00           1,683.00
2665.1     EQUIPMENT XXXXX SPEEDY                                  05/09/11                  0.00               0.00
2719       WAFFLE IRONS                                            07/26/11                590.00             590.00
2719.1     WAFFLE IRONS                                            07/26/11                  0.00               0.00
2841       ANSUL SYSTEM                                            11/07/11              3,068.00           3,068.00
2841.1     ANSUL SYSTEM                                            11/07/11                  0.00               0.00
2873       DRYER FOR WALKIN FREEZER                                12/06/11              1,319.00           1,319.00
2873.1     DRYER FOR WALKIN FREEZER                                12/06/11                  0.00               0.00
3032       WAFFLE IRON                                             03/29/12                285.00             285.00
3032.1     WAFFLE IRON                                             03/29/12                  0.00               0.00
3055       FRONT DOOR                                              04/09/12              1,100.00           1,100.00
3055.1     FRONT DOOR                                              04/09/12                  0.00               0.00
3056       REACH IN COOLER                                         04/10/12              1,999.00           1,999.00
3056.1     REACH IN COOLER                                         04/10/12                  0.00               0.00
3119       GAS HOSE                                                06/02/12                822.00             822.00
3119.1     GAS HOSE                                                06/02/12                  0.00               0.00
3120       FREEZER                                                 06/05/12              2,323.00           2,323.00
3120.1     FREEZER                                                 06/05/12                  0.00               0.00
3459       SHELVING                                                07/16/12                590.00             590.00
3459.1     SHELVING                                                07/16/12                  0.00               0.00
3471       CIRCUIT BOARD                                           01/30/13              1,338.00           1,338.00
3617       Hockenbergs/Ice Cream Cabinet                           07/19/13              2,181.00           2,181.00
3777       Compressor, TXV Valve                                   10/28/13              3,119.00           3,119.00
3793       RTU's & condensors cleaned                              11/05/13              2,671.00           2,671.00
3804       Motor & electrical disconnect                           12/03/13              1,515.00           1,515.00
           Equipment                                               01/24/14              1,850.00           1,850.00
           Draft Inducer motor assembly                            01/21/14              2,850.57           2,850.57
           SANDWICH UNIT                                           08/19/14              3,161.44           3,161.44
           WAFFLE BAKER                                            08/22/14                677.63             677.63
           BOWL ASSY D15‐3                                         08/29/14                690.95             690.95
           CONDENSER FAN MOTOR                                     08/29/14                939.20             939.20
           BINSWANGER GLASS                                        09/08/14              2,152.88           2,152.88
           GRINDMASTER                                             09/30/14                618.45             618.45
           SANDWICH UNIT                                           10/10/14              3,012.57           3,012.57
           WAFFLE IRON                                             12/09/14                686.13             686.13
           Replaced 2 Heat Exchangers (Dinning Room/Lobby)         03/30/15              7,705.35           7,705.35
           NEW COMPRESSOR WALK IN FREEZER                          10/21/15              5,107.95           4,512.02
           595 Water Heater                                        12/01/15              3,372.60           2,922.92
           595 Plumbing                                            12/01/15              2,490.00           2,158.00



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             595 Equipment                                             11/27/15           2,849.00             2,469.13
             Rebuild Valve Plate Assembly on Walk in Freezer           10/11/16           2,744.00             1,920.80
4380         Refrigeration Repairs                                     01/19/17           3,677.11             2,022.39
4440         24" Ihop Channel Letter Sign                              08/08/17           6,110.20             3,360.61
4441         88in x 144in Pylon Cabinet Sign                           08/08/17          18,330.60            10,081.82
4484         Turbo Air Super Deluxe Sandwich                           10/19/17           2,068.23             1,137.53
4485         Turbo Air Reach In Refrigerator                           10/19/17           2,124.13             1,168.28
4486         Turbo Air Super Deluxe Merchandiser                       10/19/17           1,397.46               768.60
4641         Turbo Deluxe Sandwich/Salad Cooler                        04/05/18           2,896.43             1,013.75
4698         Bunn Axiom Coffee Brewer                                  07/06/18           1,479.00               517.65
4699         Avantco 50lb Gas Fryers                                   07/10/18           2,815.00               985.25
4897         Hamilton Beach 3 Speed Drink Mixer                        01/01/19             662.00                99.30
5018         Turbo Super Deluxe Reach In Freezer                       08/01/19           3,222.00               483.30
Class = ME                                                                              145,302.88           119,578.52
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                            145,302.88           119,578.52


Class = RE
           REMODEL 595                                                 09/01/15          56,525.96             51,815.46
Class = RE                                                                               56,525.96             51,815.46
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             56,525.96             51,815.46


Location = 0595                                                                       1,388,108.24           835,489.10
Less disposals and transfers                                                             (1,749.00)           (1,749.00)

Net Subtotal                                                                          1,386,359.24           833,740.10


Location = 0597
Class = CO
2258       SECURITY CAMERAS                                            08/18/10              4,568.00           4,568.00
2258.1     SECURITY CAMERAS                                            08/18/10                  0.00               0.00
2566       DELL COMPUTER                                               02/07/11              1,458.00           1,458.00
2566.1     DELL COMPUTER                                               02/07/11                  0.00               0.00
           2014 Micros Upgrade                                         06/01/14                500.00             500.00
           3 MICROS WORKSTATION 5                                      11/26/14              3,105.00           3,105.00
           WIFI HARDWARE                                               10/15/15                897.25             807.52
4169       POS Micro Touchscreen Terminal                              07/11/16                961.00             720.75
4296       Dell Optiplex 3040 8GB Computer                             01/01/17              1,027.87             565.32
4503       Optiplex 7050 Micro Upgrade                                 08/31/17              2,258.70           1,242.29



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4729       EMV Transaction Minilink                                   08/23/18           2,520.00                882.00
4928       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             647.00                 97.04
Class = CO                                                                              17,942.82             13,945.92
Less disposals and transfers                                                            (1,458.00)            (1,458.00)

Net Subtotal                                                                            16,484.82             12,487.92


Class = FU
2888       NEW BOOTH                                                  12/01/11              1,350.00           1,350.00
2888.1     NEW BOOTH                                                  12/01/11                  0.00               0.00
3784       Shelving system                                            11/06/13                796.00             796.00
Class = FU                                                                                  2,146.00           2,146.00
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                                2,146.00           2,146.00


Class = LI
2147       Leasehold Improvements                                     05/27/09           7,436.00              5,370.42
2147.1     Leasehold Improvements                                     05/27/09               0.00                  0.00
2347       LAVA ROCKS & INSTALL                                       12/01/10           1,500.00              1,500.00
2347.1     LAVA ROCKS & INSTALL                                       12/01/10               0.00                  0.00
3224       NEW DOOR                                                   09/05/12           1,525.00              1,525.00
3224.1     NEW DOOR                                                   09/05/12               0.00                  0.00
           Sign                                                       01/31/14           1,546.20              1,546.20
           Leasehold Improvement                                      06/13/14           1,161.07              1,161.07
597 Ext Re Stripe Pavement                                            11/02/16          12,000.00              8,200.00
4433       Wall Replaced                                              07/26/17           5,640.00              1,034.00
4608       65 Gallon Water Heater 160psi                              12/27/17          10,875.68              1,993.86
4650       7.5 Ton Trane HVAC ‐ DR                                    05/16/18           8,462.00                987.23
4651       7.5 Ton Trane HVAC ‐ DR                                    05/16/18           8,462.00                987.23
5050       Store Front Doors                                          11/11/19           5,000.00                250.00
Class = LI                                                                              63,607.95             24,555.01
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            63,607.95             24,555.01


Class = ME
37         NEW FRYER                                                  10/27/09                901.00             901.00
37.1       NEW FRYER                                                  10/27/09                  0.00               0.00
46         COFFEE MACHINE                                             11/17/09              1,231.00           1,231.00
46.1       COFFEE MACHINE                                             11/17/09                  0.00               0.00
47         NEW GRILL                                                  11/25/09              2,118.00           2,118.00



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47.1       NEW GRILL                                   11/25/09               0.00              0.00
1833       Equipment                                   02/21/07         197,000.00        197,000.00
1833.1     Equipment                                   02/21/07               0.00              0.00
1920       Orange Juice Machine                        04/09/08             790.00            790.00
1920.1     Orange Juice Machine                        04/09/08               0.00              0.00
1931       Microwave Oven                              03/30/07             890.00            890.00
1931.1     Microwave Oven                              03/30/07               0.00              0.00
2001       Grill                                       10/07/08           1,608.00          1,608.00
2001.1     Grill                                       10/07/08               0.00              0.00
2137       Parking Lot Pole Lights                     03/26/07           1,042.00          1,042.00
2137.1     Parking Lot Pole Lights                     03/26/07               0.00              0.00
2210       NEW TIMER                                   05/18/10             723.00            723.00
2210.1     NEW TIMER                                   05/18/10               0.00              0.00
2211       CONDENSOR COIL                              05/24/10           1,263.00          1,263.00
2211.1     CONDENSOR COIL                              05/24/10               0.00              0.00
2230       NEW CONDENOR UNIT                           06/24/10           1,339.00          1,339.00
2230.1     NEW CONDENOR UNIT                           06/24/10               0.00              0.00
2290       GLASSD                                      09/16/10           1,060.00          1,060.00
2290.1     GLASSD                                      09/16/10               0.00              0.00
2591       EQUIPMENT ‐ LYLEPS                          02/14/11             964.00            964.00
2591.1     EQUIPMENT ‐ LYLEPS                          02/14/11               0.00              0.00
2704       NEW COMPRESSOR                              07/11/11           3,450.00          3,450.00
2704.1     NEW COMPRESSOR                              07/11/11               0.00              0.00
2741       WAFFLE IRONS                                08/23/11             582.00            582.00
2741.1     WAFFLE IRONS                                08/23/11               0.00              0.00
2842       COUNTERTOP REFRIDGERATOR                    11/24/11             462.00            462.00
2842.1     COUNTERTOP REFRIDGERATOR                    11/24/11               0.00              0.00
2875       NEW AWNING                                  12/20/11             700.00            700.00
2875.1     NEW AWNING                                  12/20/11               0.00              0.00
3037       SIGNAGE                                     03/21/12           1,058.00          1,058.00
3037.1     SIGNAGE                                     03/21/12               0.00              0.00
3057       BURNER                                      04/10/12             782.00            782.00
3057.1     BURNER                                      04/10/12               0.00              0.00
3121       EXHAUST HOOD                                06/28/12           1,386.00          1,386.00
3121.1     EXHAUST HOOD                                06/28/12               0.00              0.00
3122       ANSUL SYSTEM                                06/28/12           1,799.00          1,799.00
3122.1     ANSUL SYSTEM                                06/28/12               0.00              0.00
3157       EXHAUST FAN UNIT                            07/09/12             962.00            962.00
3157.1     EXHAUST FAN UNIT                            07/09/12               0.00              0.00
3199       COMPRESSOR                                  08/14/12             992.00            992.00
3199.1     COMPRESSOR                                  08/14/12               0.00              0.00
3243       WATER HEATER                                10/23/12           2,687.00          2,687.00
3243.1     WATER HEATER                                10/23/12               0.00              0.00
3273       GRILL                                       11/07/12             945.00            945.00
3273.1     GRILL                                       11/07/12               0.00              0.00



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3345       HEAT EXCHANGER                                            12/21/12           2,120.00          2,120.00
3345.1     HEAT EXCHANGER                                            12/21/12               0.00              0.00
3533       HEATER UNIT SWITCH                                        03/08/13           1,820.00          1,820.00
3534       COFFEE MACHINE                                            03/25/13           1,231.00          1,231.00
3564       MAIN BURNERS                                              04/17/13           1,561.00          1,561.00
3674       NEW COMPRESSOR                                            06/30/09             973.00            973.00
3752       Repair kitchen AC                                         10/02/13           1,062.00          1,062.00
3753       Contactor, Refrigerant, adapters                          10/02/13           2,655.00          2,655.00
3794       Heat Exchanger                                            11/19/13           5,395.00          5,395.00
           Equipment                                                 01/27/14           2,945.96          2,945.96
           Equipment                                                 03/06/14           1,913.00          1,913.00
           Refrigeration Parts                                       05/18/14           1,957.74          1,957.74
           Replaced Heat Exchager                                    05/21/14           4,763.00          4,763.00
           Equipment                                                 04/28/14             843.90            843.90
           COMPRESSOR                                                08/19/14             951.23            951.23
           WAFFLE BAKER                                              08/22/14             677.63            677.63
           GLASS DOCTOR                                              09/30/14             678.39            678.39
           Reach in Refrig                                           11/15/15           2,431.57          2,147.88
           Ice Machine Compressor                                    08/11/16           2,849.00          2,089.27
4297       Ansul Hood System                                         01/01/17           2,381.09          1,309.61
4314       Evaporator Coil ‐ WIC                                     04/28/17           2,630.97          1,447.03
4452       Manitowac Ice Machine                                     08/04/17           1,799.37            989.65
4700       Super Deluxe Sandwich/Salad Cooler                        07/13/18           2,379.00            832.65
4730       Turbo Super Deluxe Reach In Freezer                       08/23/18           2,822.00            987.69
4877       Drop In Ice Cream Freezer                                 12/05/18           2,369.00            829.14
4898       Hamilton Beach 3 Speed Drink Mixer                        01/01/19             663.00             99.45
Class = ME                                                                            278,606.85        269,014.22
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          278,606.85        269,014.22


Class = RE
3826       Remodel 597                                               10/02/13          58,144.00          58,144.00
4687       Cashier Stand ‐ Remodel                                   06/08/18           3,030.00           1,060.50
4688       Hostess Stand ‐ Remodel                                   06/08/18           1,665.00             582.75
4689       Recover Booths ‐ Remodel                                  06/08/18          14,785.00           5,174.75
4690       Table Tops ‐ Remodel                                      06/08/18           8,025.00           2,808.75
4691       Remodel ‐ 597                                             06/08/18         121,332.00          14,155.40
4710       24in IHOP Channel Letter Sign Red Smile ‐ Remodel         08/15/18           2,470.00             864.50
4711       Retrofit Cabinet Sign ‐ Remodel                           08/15/18          15,174.00           5,310.90
4887       Exterior Lighting                                         12/17/18           1,300.00             151.67
Class = RE                                                                            225,925.00          88,253.22
Less disposals and transfers                                                                0.00




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Net Subtotal                                                                       225,925.00             88,253.22


Location = 0597                                                                  1,787,121.62           941,920.77
Less disposals and transfers                                                        (1,458.00)           (1,458.00)

Net Subtotal                                                                     1,785,663.62           940,462.77


Location = 1000
Class = CO
4674       Notebook Computer                                      01/01/18           1,606.00                562.10
4762       Timeclock Audit Enhancements                           08/28/18           1,547.00                902.42
4779       LVO Laptop                                             10/04/18           2,147.00                751.44
4867       MAS Upgrade                                            09/12/18           2,364.00              1,379.00
4873       FYISoft Software                                       11/30/18          14,946.00              8,718.50
4881       LVO E580 500gb 8gb Laptop ‐ R Wagner                   12/06/18             976.00                341.60
4882       LVO E580 500gb 8gb Laptop ‐ S Farra                    12/06/18           1,286.00                450.10
4883       LVO E580 500gb 8gb Laptop ‐ R Wagner                   12/06/18             975.00                341.25
4982       LVO E580 256g 8G Laptop ‐ Spare                        05/17/19             864.00                129.60
4997       Epson Printers                                         05/31/19           4,691.00                703.65
5007       Micros Workstation Terminals                           06/03/19           5,524.00                828.60
5021       Micros 610 Workstations                                07/01/19          51,017.00              7,652.55
5047       Computer                                               01/01/19           5,806.00                870.90
5049       EMV Transaction Mini Link                              04/03/19           4,428.00                664.20
Class = CO                                                                          98,177.00             24,295.91
Less disposals and transfers                                                             0.00

Net Subtotal                                                                        98,177.00             24,295.91


Class = ME
4974       DVR 16 Channel ‐ Spare                                 03/05/19              1,832.00            274.80
4977       Security Camera Equipment ‐ Spare                      05/08/19              3,813.00            571.95
Class = ME                                                                              5,645.00            846.75
Less disposals and transfers                                                                0.00

Net Subtotal                                                                            5,645.00            846.75


Class = CO
2320       ADAMS                                                  11/02/10              1,265.00           1,265.00
2320.1     ADAMS                                                  11/02/10                  0.00               0.00
2529       NEW DELL COMPUTER                                      01/04/11              1,458.00           1,458.00
2529.1     NEW DELL COMPUTER                                      01/04/11                  0.00               0.00



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2973         WORKSTATION                                                12/01/11           1,220.00              1,220.00
2973.1       WORKSTATION                                                12/01/11               0.00                  0.00
             2014 Micros Upgrade                                        06/01/14             500.00                500.00
             2 MICROS WORK STATIONS 5                                   11/26/14           1,700.00              1,700.00
4182         Phone System ‐ Cashier                                     01/01/17           1,425.00                783.75
4298         Dell Optiplex 3040 8GB Computer                            01/01/17           1,527.87                840.32
4504         Optiplex 7050 Micro Upgrade                                08/31/17           3,611.90              1,986.55
4731         EMV Transaction Minilink                                   08/23/18           2,262.00                791.70
4929         EMV Transaction Mini Link ‐ Additional Costs               02/20/19             929.00                139.35
Class = CO                                                                                15,898.77             10,684.67
Less disposals and transfers                                                              (2,678.00)            (2,678.00)

Net Subtotal                                                                              13,220.77              8,006.67


Class = FU
1892       Chairs                                                       03/11/08                655.00             655.00
1892.1     Chairs                                                       03/11/08                  0.00               0.00
           Furniture                                                    01/24/14                575.93             575.93
4488       Barstools/Chairs                                             04/27/17              1,138.05             625.93
Class = FU                                                                                    2,368.98           1,856.86
Less disposals and transfers                                                                      0.00

Net Subtotal                                                                                  2,368.98           1,856.86


Class = LI
2196       LAVA ROCKS AND INSTALL                                       05/25/10           3,488.00              3,488.00
2196.1     LAVA ROCKS AND INSTALL                                       05/25/10               0.00                  0.00
3159       TERMITE STATION                                              07/16/12             910.00                910.00
3159.1     TERMITE STATION                                              07/16/12               0.00                  0.00
3225.1     PLUMBING LINES                                               09/30/12               0.00                  0.00
3740       Apply sealer & re‐stripe                                     10/02/13           3,550.00              1,538.36
           Roof Repair                                                  10/25/16           1,982.00              1,354.34
2027 Ext R Light Fixtures, Stripe Pavement, Dumpster Repairs            11/21/16          13,704.50              9,136.34
4990       Roof Improvement                                             01/01/19           7,008.00                350.40
Class = LI                                                                                30,642.50             16,777.44
Less disposals and transfers                                                                   0.00

Net Subtotal                                                                              30,642.50             16,777.44


Class = ME
18         NEW EXHAUST MOTOR                                            08/13/09               772.00             772.00
18.1       NEW EXHAUST MOTOR                                            08/13/09                 0.00               0.00



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38         NEW THERMOSTAT                                   10/28/09           1,131.00          1,131.00
38.1       NEW THERMOSTAT                                   10/28/09               0.00              0.00
1808       Fire Extinguishers                               09/05/07           1,852.00          1,852.00
1808.1     Fire Extinguishers                               09/05/07               0.00              0.00
1834       Equipment                                        02/21/07         278,000.00        278,000.00
1834.1     Equipment                                        02/21/07               0.00              0.00
2091       NEW AC MOTOR                                     06/12/09           1,444.00          1,444.00
2091.1     NEW AC MOTOR                                     06/12/09               0.00              0.00
2613       EQUIPMENT XXXXXXX                                03/08/11             967.00            967.00
2613.1     EQUIPMENT XXXXXXX                                03/08/11               0.00              0.00
2779       WAFFLE IRON                                      09/13/11             581.00            581.00
2779.1     WAFFLE IRON                                      09/13/11               0.00              0.00
2792       MAIN CONTROL FOR RIF                             09/29/11             707.00            707.00
2792.1     MAIN CONTROL FOR RIF                             09/29/11               0.00              0.00
2843       NEW CONDENSING UNIT                              11/15/11             979.00            979.00
2843.1     NEW CONDENSING UNIT                              11/15/11               0.00              0.00
2844       NEW COMPRESSOR                                   11/24/11           2,309.00          2,309.00
2844.1     NEW COMPRESSOR                                   11/24/11               0.00              0.00
3033       WAFFLE IRON                                      03/29/12             285.00            285.00
3033.1     WAFFLE IRON                                      03/29/12               0.00              0.00
3039       REFRIGERATOR ‐ COUNTERTOP                        03/06/12             462.00            462.00
3039.1     REFRIGERATOR ‐ COUNTERTOP                        03/06/12               0.00              0.00
3040       GRILL                                            03/20/12             882.00            882.00
3040.1     GRILL                                            03/20/12               0.00              0.00
3124       MICROWAVE OVEN                                   06/28/12             786.00            786.00
3124.1     MICROWAVE OVEN                                   06/28/12               0.00              0.00
3160       ALARM BOX                                        07/24/12             782.00            782.00
3160.1     ALARM BOX                                        07/24/12               0.00              0.00
3200       ICE MACHINE PUMP                                 08/16/12           1,071.00          1,071.00
3200.1     ICE MACHINE PUMP                                 08/16/12               0.00              0.00
3225       PLUMBING LINES                                   09/30/12           1,117.25          1,117.25
3244       POLE LIGHTING                                    10/29/12             932.00            932.00
3244.1     POLE LIGHTING                                    10/29/12               0.00              0.00
3493       STEMS                                            02/15/13             736.00            736.01
3535       WALK IN FREEZER COMPRESSOR                       03/04/13           3,239.00          3,239.00
3536       GAS HOSE                                         03/25/13             852.00            852.00
           3 new burners                                    03/07/14           1,502.35          1,502.35
           Equipment                                        06/01/14           1,291.44          1,291.44
           WAFFLE BAKER                                     08/22/14             682.00            682.00
           AC REPAIR PARTS                                  10/28/14           1,380.00          1,380.00
           HOT WATER HEATER                                 12/01/14           1,950.00          1,950.00
           CIRCULATOR PUMP & MIXING VALVE                   12/16/14             975.00            975.00
           Hot Water Heater                                 02/05/15           8,318.70          8,318.70
4161       Security Cameras                                 03/09/16           1,339.00          1,004.25
4217       Copeland Compressor ‐                            02/08/17           1,358.90            747.40



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4245       Countertop Refrigerated Merchandiser                       01/25/17           1,822.00             1,002.10
4247       Termite System                                             02/09/17           4,046.00             2,225.29
4424       24in Ihop Channel Letter Sign                              06/20/17           2,978.00             1,637.90
4425       58in x 138in Monument Cabinet                              06/20/17          18,291.00            10,060.05
4790       Laser I                                                    10/16/18           5,720.00             2,002.00
4859       Hamilton Beach 3 Speed Triple Spindle Blender              11/20/18             667.00               233.45
4968       Turbo Super Deluxe Reach In Refrigerator                   01/31/19           2,335.00               350.25
4983       LED Upgrade ‐ Sign                                         05/17/19           1,995.00               299.25
5012       Manitowac Ice Machine                                      07/25/19           7,551.00             1,132.65
5015       Condenser ‐ WIC                                            07/23/19           6,800.00             1,020.00
5072       Turbo Super Deluxe Reach In Freezer                        01/01/20           3,273.00                81.83
Class = ME                                                                             374,161.64           337,782.17
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           374,161.64           337,782.17


Class = RE
             REMODEL 2027                                             05/01/15          33,590.32             33,030.48
4535         Restroom Remodel                                         04/13/17          37,974.96             20,886.23
Class = RE                                                                              71,565.28             53,916.71
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            71,565.28             53,916.71


Location = 2027                                                                      1,496,900.17           893,556.21
Less disposals and transfers                                                            (2,678.00)           (2,678.00)

Net Subtotal                                                                         1,494,222.17           890,878.21


Location = 3105
Class = CO
2684       SECURITY CAMERA & INSTALL                                  06/28/11              7,890.00           7,890.00
2684.1     SECURITY CAMERA & INSTALL                                  06/28/11                  0.00               0.00
           2014 Micros Upgrade                                        06/01/14                500.00             500.00
           3 MICROS WORK STATIONS 5                                   11/26/14              3,105.00           3,105.00
           WIRELESS ROUTER                                            11/30/14              1,258.26           1,258.26
           Micros WS5A                                                05/20/15                958.34             926.40
           WIFI HARDWARE                                              10/15/15                897.25             807.52
4299       Dell Optiplex 3040 8GB Computer                            01/01/17                777.87             427.82
4537       Dell Optiplex 7040 Computer                                06/13/17              1,186.37             652.50
4732       EMV Transaction Minilink                                   08/23/18              2,903.00           1,016.05
4930       EMV Transaction Mini Link ‐ Additional Costs               02/20/19                647.00              97.04



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Class = CO                                                                         20,123.09             16,680.59
Less disposals and transfers                                                            0.00

Net Subtotal                                                                       20,123.09             16,680.59


Class = LI
1773         Sign                                                08/29/07           5,161.00              5,161.00
1773.1       Sign                                                08/29/07               0.00                  0.00
2991         DUMPSTER PAD                                        01/10/12           1,900.00              1,900.00
2991.1       DUMPSTER PAD                                        01/10/12               0.00                  0.00
2992         POLE LIGHTING                                       01/12/12           1,531.00              1,531.00
2992.1       POLE LIGHTING                                       01/12/12               0.00                  0.00
3125         LIGHTTING TOWER                                     06/19/12             950.00                950.00
3125.1       LIGHTTING TOWER                                     06/19/12               0.00                  0.00
3611         Benton Roofing, Inc/New Roof                        07/22/13          23,976.00             23,976.00
3636         Bennie Monk/Roof Repairs                            02/11/13           2,750.00              2,750.00
             STRIPE PARKING LOT                                  08/11/14             835.00                835.00
             LEASEHOLD 3105                                      04/15/16           9,362.50              7,490.01
4660         Flooring Improvement                                06/04/18           1,260.24                147.04
5066         Expansion Tank ‐ Hot Water Heater                   12/18/19           1,895.00                 94.75
Class = LI                                                                         49,620.74             44,834.80
Less disposals and transfers                                                            0.00

Net Subtotal                                                                       49,620.74             44,834.80


Class = ME
1453       PANASONIC MICROWAVE OVENS (3)                         06/16/05              2,274.00           2,274.00
1453.1     PANASONIC MICROWAVE OVENS (3)                         06/16/05                  0.00               0.00
1454       TRUE PREP TABLE                                       06/16/05              3,079.00           3,079.00
1454.1     TRUE PREP TABLE                                       06/16/05                  0.00               0.00
1456       TRAULSEN REACH‐IN REFRIGERATOR                        06/16/05              2,582.00           2,582.00
1456.1     TRAULSEN REACH‐IN REFRIGERATOR                        06/16/05                  0.00               0.00
1457       S/S MOBILE WARMER STAND (2)                           06/16/05              2,086.00           2,086.00
1457.1     S/S MOBILE WARMER STAND (2)                           06/16/05                  0.00               0.00
1458       VULCAN SIX BURNER RANGE W/CONV                        06/16/05              4,691.00           4,691.00
1458.1     VULCAN SIX BURNER RANGE W/CONV                        06/16/05                  0.00               0.00
1459       DEAN FRYER ASSEMBLY W/FILTER                          06/16/05              9,853.00           9,853.00
1459.1     DEAN FRYER ASSEMBLY W/FILTER                          06/16/05                  0.00               0.00
1460       TRAULSEN REACH‐IN REFRIGERATOR                        06/16/05              2,582.00           2,582.00
1460.1     TRAULSEN REACH‐IN REFRIGERATOR                        06/16/05                  0.00               0.00
1461       TRAULSEN REACH‐IN FREEZER                             06/16/05              2,642.00           2,642.00
1461.1     TRAULSEN REACH‐IN FREEZER                             06/16/05                  0.00               0.00
1462       VULCAN PANCAKE GRIDDLES 4 FT (2)                      06/16/05              9,706.00           9,706.00



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1462.1     VULCAN PANCAKE GRIDDLES 4 FT (2)                   06/16/05               0.00               0.00
1463       S/S PASS WINDOW ASSEMBLY                           06/16/05           3,532.00           3,532.00
1463.1     S/S PASS WINDOW ASSEMBLY                           06/16/05               0.00               0.00
1464       VULCAN PANCAKE GRIDDLES 6 FT (2)                   06/16/05          13,212.00          13,212.00
1464.1     VULCAN PANCAKE GRIDDLES 6 FT (2)                   06/16/05               0.00               0.00
1465       HOBART MIXER                                       06/16/05           9,174.00           9,174.00
1465.1     HOBART MIXER                                       06/16/05               0.00               0.00
1466       WALK IN COOLER W/ REFRIGERATOR                     06/16/05           7,934.00           7,934.00
1466.1     WALK IN COOLER W/ REFRIGERATOR                     06/16/05               0.00               0.00
1467       HOBART SLICER                                      06/16/05           2,228.00           2,228.00
1467.1     HOBART SLICER                                      06/16/05               0.00               0.00
1468       WALK IN FREEZER W/ REFRIGERATOR                    06/16/05           9,482.00           9,482.00
1468.1     WALK IN FREEZER W/ REFRIGERATOR                    06/16/05               0.00               0.00
1469       SHELVING                                           06/16/05           5,251.00           5,251.00
1469.1     SHELVING                                           06/16/05               0.00               0.00
1470       S/S POT WASHING SINK W/ COVERS                     06/16/05           2,050.00           2,050.00
1470.1     S/S POT WASHING SINK W/ COVERS                     06/16/05               0.00               0.00
1471       S/S SOILED DISHTABLE                               06/16/05           2,056.00           2,056.00
1471.1     S/S SOILED DISHTABLE                               06/16/05               0.00               0.00
1473       S/S PICK UP COUNTER                                06/16/05           8,253.00           8,253.00
1473.1     S/S PICK UP COUNTER                                06/16/05               0.00               0.00
1474       S/S BEVERAGE COUNTER                               06/16/05           2,546.00           2,546.00
1474.1     S/S BEVERAGE COUNTER                               06/16/05               0.00               0.00
1475       OTHER MISCELLANEOUS EQUIPMENT                      06/16/05          42,376.00          42,376.00
1475.1     OTHER MISCELLANEOUS EQUIPMENT                      06/16/05               0.00               0.00
1476       EQUIPMENT COBATCO                                  06/30/05           2,429.00           2,429.00
1476.1     EQUIPMENT COBATCO                                  06/30/05               0.00               0.00
1479       SIGN                                               06/30/05          24,240.00          24,240.00
1479.1     SIGN                                               06/30/05               0.00               0.00
1480       INSTALLATION & TAXES                               06/16/05          35,377.00          35,377.00
1480.1     INSTALLATION & TAXES                               06/16/05               0.00               0.00
2614       EQUIPMENT XXXXXXX                                  03/01/11           2,954.00           2,954.00
2614.1     EQUIPMENT XXXXXXX                                  03/01/11               0.00               0.00
2743       NEW PUMP ‐ ICE MACHINE                             08/23/11             915.00             915.00
2743.1     NEW PUMP ‐ ICE MACHINE                             08/23/11               0.00               0.00
3017       THERMOSTAT ‐ GRIDDLE                               02/28/12             738.00             738.00
3017.1     THERMOSTAT ‐ GRIDDLE                               02/28/12               0.00               0.00
3083       PREP TABLE                                         05/25/12           1,044.00           1,044.00
3083.1     PREP TABLE                                         05/25/12               0.00               0.00
3098       WAFFLE IRONS                                       06/19/12             317.00             317.00
3098.1     WAFFLE IRONS                                       06/19/12               0.00               0.00
3346       ROOF TOP FAN                                       12/10/12           1,468.00           1,468.00
3346.1     ROOF TOP FAN                                       12/10/12               0.00               0.00
3473       PREP TABLE                                         01/15/13           2,094.00           2,094.00
3537       FLAT GRILL PILOT                                   03/18/13           1,186.00           1,186.00



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3659       Roto‐Rooter/Damper                                          02/20/13             950.00            950.00
           Equipment                                                   01/24/14             945.40            945.40
           Evaporator Coil Assembly                                    02/28/14           3,350.75          3,350.75
           WARING WAFFLE BAKER                                         07/15/14             574.44            574.44
           WAFFLE BAKER                                                09/02/14             688.69            688.69
           Equipment                                                   10/07/14           1,015.65          1,015.65
           Water Heater                                                11/25/14          10,242.87         10,242.87
           EQUIPMENT                                                   12/24/14           1,368.77          1,368.77
           WAFFLE IRON                                                 12/31/14             697.19            697.19
4396       Dipperwell w/Timer                                          05/25/17             950.16            522.59
4668       Bunn Axiom Twin Coffee Brewer                               06/12/18           1,464.61            512.61
4861       Hamilton Beach 3 Speed Triple Spindle Blender               11/20/18             671.00            234.85
4961       Super Deluxe Sadwich Cooler Table                           04/04/19           3,083.00            462.45
5024       Turbo Reach In Cooler                                       08/22/19           2,254.00            338.10
5087       Turbo Reach In Freezer                                      01/01/20           2,899.00             72.48
5097       50# Fryer                                                   01/31/20           1,326.00             33.15
5098       50# Fryer                                                   01/31/20           1,326.00             33.15
Class = ME                                                                              254,158.53        242,394.14
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                            254,158.53        242,394.14


Class = RE
4594       Remodel ‐ 3105                                              11/30/17          63,970.95          35,184.03
4595       Remodel ‐ 3105 ‐ Booths                                     11/30/17           7,000.00           3,850.00
4596       Remodel ‐ 3105 ‐ Décor Package                              11/30/17          12,200.00           6,710.00
4597       Remodel ‐ 3105 ‐ Tables                                     11/30/17           2,700.00           1,485.00
4594.2     Add'l Furniture & Decor ‐ Remodel 3105                      11/30/17          14,605.00           8,032.75
4617       24in Channel Letter Sign ‐ Red Smile ‐ Remodel              01/03/18           3,307.69           1,157.70
4618       24in Channel Letter Sign ‐ Red Smile/Blue ‐ Remodel         01/03/18           4,065.66           1,422.98
4619       LED Plyon Sign                                              01/03/18          25,082.41           8,778.84
4627       6x7ft Exterior Door Replacement ‐ Remodel                   03/14/18           4,990.09             582.18
Class = RE                                                                              137,921.80          67,203.48
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                            137,921.80          67,203.48


Location = 3105                                                                         501,824.16        390,335.18
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                            501,824.16        390,335.18




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Location = 3139
Class = B
1228       Opening Expenses                                   09/29/06           1,041.00           1,041.00
1228.1     Opening Expenses                                   09/29/06               0.00               0.00
1561       Greensboro Refrigeration                           07/18/06           4,152.00           4,152.00
1561.1     Greensboro Refrigeration                           07/18/06               0.00               0.00
1562       Equipment for Huntersville                         06/01/06         121,023.00         121,023.00
1562.1     Equipment for Huntersville                         06/01/06               0.00               0.00
1593       Steel parts for freezer & cooler                   04/30/06           2,046.00           2,046.00
1593.1     Steel parts for freezer & cooler                   04/30/06               0.00               0.00
2116       Total Leasehold Improvement                        07/31/06         478,123.00         478,123.00
2116.1     Total Leasehold Improvement                        07/31/06               0.00               0.00
2151       CONSTRUCTION COST                                  12/31/05          16,294.00           5,804.74
2151.1     CONSTRUCTION COST                                  12/31/05               0.00               0.00
2152       CONSTRUCTION COST                                  05/31/06         215,650.00          74,578.96
2152.1     CONSTRUCTION COST                                  05/31/06               0.00               0.00
Class = B                                                                      838,329.00         686,768.70
Less disposals and transfers                                                         0.00

Net Subtotal                                                                   838,329.00         686,768.70


Class = CO
2570       DELL COMPUTER                                      02/07/11           1,458.00            1,458.00
2570.1     DELL COMPUTER                                      02/07/11               0.00                0.00
2605       INTERFACE COMPUTER EQUIP                           03/08/11             541.00              541.00
2605.1     INTERFACE COMPUTER EQUIP                           03/08/11               0.00                0.00
2643       SECURITY SYSTEM & INSTALL                          02/16/11           7,562.00            7,562.00
2643.1     SECURITY SYSTEM & INSTALL                          02/16/11               0.00                0.00
           2014 Micros Upgrade                                06/01/14             500.00              500.00
           MICROS WORK STATIONS                               09/30/14           3,228.03            3,228.03
           1 MICROS WS5A                                      01/13/15             960.87              960.87
4300       Dell Optiplex 3040 8GB Computer                    01/01/17             777.87              427.82
4505       Optiplex 7050 Micro Upgrade                        08/31/17           1,310.17              720.59
4733       EMV Transaction Minilink                           08/23/18           3,163.00            1,107.05
Class = CO                                                                      19,500.94           16,505.36
Less disposals and transfers                                                    (1,999.00)          (1,999.00)

Net Subtotal                                                                    17,501.94           14,506.36


Class = FU
59         OUTDOOR FURNITURE                                  11/10/09          11,361.00           11,361.00
59.1       OUTDOOR FURNITURE                                  11/10/09               0.00                0.00
1598       Planters, Ash, Trash Receptacles                   08/16/06           1,802.00            1,802.00



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1598.1     Planters, Ash, Trash Receptacles                    08/16/06               0.00                  0.00
Class = FU                                                                       13,163.00             13,163.00
Less disposals and transfers                                                          0.00

Net Subtotal                                                                     13,163.00             13,163.00


Class = LI
2156         NEW ASPHALT DRIVEWAY                              03/16/10           4,200.00              4,200.00
2156.1       NEW ASPHALT DRIVEWAY                              03/16/10               0.00                  0.00
2197         LAVA ROCKS AND INSTALL                            05/25/10           4,975.00              4,975.00
2197.1       LAVA ROCKS AND INSTALL                            05/25/10               0.00                  0.00
2337         LAVA ROCKS & INSTALL                              12/01/10           2,173.00              2,173.00
2337.1       LAVA ROCKS & INSTALL                              12/01/10               0.00                  0.00
2676         PARKING LOT                                       06/14/11           2,290.00              2,290.00
2676.1       PARKING LOT                                       06/14/11               0.00                  0.00
3741         Rain Bird irrigation controller                   09/24/13             639.00                639.00
             AC UNIT                                           07/21/14          11,990.00             11,990.00
4383         ADA Stenciling                                    04/20/17           1,800.00                330.00
4426         10 Ton HVAC ‐ DR                                  06/28/17           8,713.98              1,597.56
4427         10 Ton HVAC ‐ DR                                  06/28/17           8,713.97              1,597.56
4661         Flooring Improvement                              06/04/18           1,170.24                136.54
4712         Compressor ‐ HVAC                                 08/16/18           2,070.00                241.50
5002         Lennox 8.5 Ton HVAC ‐                             06/11/19           9,200.00                460.00
5003         Lennox 10 Ton HVAC ‐                              06/11/19          10,800.00                540.00
5090         Backflow 2 in                                     01/08/20           1,975.00                 16.46
Class = LI                                                                       70,710.19             31,186.62
Less disposals and transfers                                                          0.00

Net Subtotal                                                                     70,710.19             31,186.62


Class = ME
48         NEW COMPRESSOR                                      11/25/09              1,819.00           1,819.00
48.1       NEW COMPRESSOR                                      11/25/09                  0.00               0.00
1821       Compressor                                          10/17/07              1,796.00           1,796.00
1821.1     Compressor                                          10/17/07                  0.00               0.00
1966       Compressor                                          05/28/09              2,081.00           2,081.00
1966.1     Compressor                                          05/28/09                  0.00               0.00
2212       NEW RECEIVER                                        05/24/10              1,221.00           1,221.00
2212.1     NEW RECEIVER                                        05/24/10                  0.00               0.00
2832       WAFFLE IRONS                                        10/25/11                569.00             569.00
2832.1     WAFFLE IRONS                                        10/25/11                  0.00               0.00
3084       PREP TABLE                                          05/25/12              1,081.00           1,081.00
3084.1     PREP TABLE                                          05/25/12                  0.00               0.00



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3161         DRIER                                                               07/17/12             885.00              885.00
3161.1       DRIER                                                               07/17/12               0.00                0.00
3162         AC MOTOR                                                            08/02/12             909.00              909.00
3162.1       AC MOTOR                                                            08/02/12               0.00                0.00
3201         FAN MOTOR                                                           08/02/12             773.00              773.00
3201.1       FAN MOTOR                                                           08/02/12               0.00                0.00
3275         GRILL LAMPS                                                         11/20/12             688.00              688.00
3275.1       GRILL LAMPS                                                         11/20/12               0.00                0.00
3601         Carolina Affordable Plumbing                                        06/05/13           2,800.00            2,800.00
3620         Jack/Water Heater                                                   07/05/13           7,140.00            7,140.00
3621         S&D Coffee/Bunn Axiom 4/2 Twin                                      07/12/13           1,257.00            1,257.00
3622         CE Holt/Compressor                                                  07/22/13           1,356.00            1,356.00
3623         Authorized Commerical/Grill Pilot,Spark Modules,Indicator ligh      07/25/13             821.00              821.00
3660         Carolina Sheet Metal/Heat Exchanger                                 02/06/13           3,895.00            3,895.00
             WARING WAFFLE BAKER                                                 07/15/14             577.13              577.13
             Replaced Evap Motor                                                 07/23/14           1,091.47            1,091.47
             WAFFLE BAKER                                                        09/02/14             691.81              691.81
             WAFFLE IRON                                                         11/12/14             697.31              697.31
             Replaced Monitor & DVR                                              02/11/15           2,082.00            2,082.00
             Replacement of a Bad Compressor on True Sandwich Unit               05/04/15           1,328.18            1,306.05
             2 New Heat Exchangers                                               06/05/15           4,100.00            3,963.33
             INTERFACE XX                                                        02/01/16           1,642.62            1,368.84
             M&E 3139                                                            06/02/16           1,815.00            1,391.50
4189         Condenser Fan Motor ‐ WIC                                           01/16/17           2,347.00            1,290.85
4443         Turbo Super Deluxe Maketable                                        08/10/17           2,641.09            1,452.61
4851         Hamilton Beach 3 Speed Triple Spindle Blender                       11/19/18             675.00              236.25
Class = ME                                                                                         48,779.61           45,240.15
Less disposals and transfers                                                                            0.00

Net Subtotal                                                                                       48,779.61           45,240.15


Class = RE
           REMODEL 3139                                                          09/01/15          47,239.02           43,302.42
Class = RE                                                                                         47,239.02           43,302.42
Less disposals and transfers                                                                            0.00

Net Subtotal                                                                                       47,239.02           43,302.42


Location = 3139                                                                                 1,077,721.76         863,668.25
Less disposals and transfers                                                                       (1,999.00)         (1,999.00)

Net Subtotal                                                                                    1,075,722.76         861,669.25




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Location = 3218
Class = CO
2572       DELL COMPUTER                                              02/07/11           1,458.00              1,458.00
2572.1     DELL COMPUTER                                              02/07/11               0.00                  0.00
           Mircos Workstation                                         02/04/14           1,097.50              1,097.50
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
4301       Dell Optiplex 3040 8GB Computer                            01/01/17             777.87                427.82
4506       Optiplex 7050 Micro Upgrade                                08/31/17           2,526.84              1,389.76
4734       EMV Transaction Minilink                                   08/23/18           2,271.00                794.85
4809       Apple Ipad 32gb                                            11/01/18             409.00                143.15
4931       EMV Transaction Mini Link ‐ Additional Costs               02/20/19           1,148.00                172.20
Class = CO                                                                              10,188.21              5,983.28
Less disposals and transfers                                                            (1,458.00)            (1,458.00)

Net Subtotal                                                                                8,730.21           4,525.28


Class = FU
2019       Signs                                                      11/27/08             822.00                822.00
2019.1     Signs                                                      11/27/08               0.00                  0.00
2020       Chairs                                                     11/27/08           4,464.00              4,464.00
2020.1     Chairs                                                     11/27/08               0.00                  0.00
2021       Roll A Shade                                               11/27/08           3,496.00              3,496.00
2021.1     Roll A Shade                                               11/27/08               0.00                  0.00
2022       Towel Dispenser                                            11/27/08             735.00                735.00
2022.1     Towel Dispenser                                            11/27/08               0.00                  0.00
2025       Furniture Smyrna                                           11/27/08          76,346.00             76,346.00
2025.1     Furniture Smyrna                                           11/27/08               0.00                  0.00
2730       NEW BOOTH FRAMES                                           08/04/11             798.00                798.00
2730.1     NEW BOOTH FRAMES                                           08/04/11               0.00                  0.00
3085       NEW BOOTH                                                  05/22/12             726.00                726.00
3085.1     NEW BOOTH                                                  05/22/12               0.00                  0.00
Class = FU                                                                              87,387.00             87,387.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            87,387.00             87,387.00


Class = LI
2144         Leasehold ‐ Smyrna                                       11/27/08          93,941.00             56,034.96
2144.1       Leasehold ‐ Smyrna                                       11/27/08               0.00                  0.00
2178         LAVA ROCKS AND INSTALL                                   04/15/10           1,970.00              1,970.00
2178.1       LAVA ROCKS AND INSTALL                                   04/15/10               0.00                  0.00
2238         CONSTRUCTION SMYRNA                                      07/02/10         122,475.00             29,853.33



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2238.1     CONSTRUCTION SMYRNA                                    07/02/10               0.00               0.00
3163       GREASE TRAP                                            08/01/12           1,200.00           1,200.00
3163.1     GREASE TRAP                                            08/01/12               0.00               0.00
4958       85Gal Case Water Heater                                03/18/19          13,220.00             661.00
Class = LI                                                                         232,806.00          89,719.29
Less disposals and transfers                                                             0.00

Net Subtotal                                                                       232,806.00          89,719.29


Class = ME
2016       Coffee Brewers                                         11/27/08           3,501.00          3,501.00
2016.1     Coffee Brewers                                         11/27/08               0.00              0.00
2017       Equipment                                              11/27/08           3,553.00          3,553.00
2017.1     Equipment                                              11/27/08               0.00              0.00
2023       Coffee Equipment                                       11/27/08             836.00            836.00
2023.1     Coffee Equipment                                       11/27/08               0.00              0.00
2024       Toaster                                                11/27/08             484.00            484.00
2024.1     Toaster                                                11/27/08               0.00              0.00
2026       Restaurant Equipment                                   11/27/08         217,725.00        217,725.00
2026.1     Restaurant Equipment                                   11/27/08               0.00              0.00
2248       NEW MOTOR ‐ AC                                         07/13/10           1,104.00          1,104.00
2248.1     NEW MOTOR ‐ AC                                         07/13/10               0.00              0.00
2615       EQUIPMENT XXXXXXX                                      03/15/11           1,098.00          1,098.00
2615.1     EQUIPMENT XXXXXXX                                      03/15/11               0.00              0.00
2690       EQUIPMENT REHAEN                                       06/27/11           1,651.00          1,651.00
2690.1     EQUIPMENT REHAEN                                       06/27/11               0.00              0.00
2722       SHELVING                                               07/27/11             583.00            583.00
2722.1     SHELVING                                               07/27/11               0.00              0.00
2802       DISH MACHINE INSTALL                                   10/04/11             580.00            580.00
2802.1     DISH MACHINE INSTALL                                   10/04/11               0.00              0.00
3126       MICROWAVE                                              06/21/12             937.00            937.00
3126.1     MICROWAVE                                              06/21/12               0.00              0.00
3127       THERMOVALVE                                            06/21/12             624.00            624.00
3127.1     THERMOVALVE                                            06/21/12               0.00              0.00
3164       RELAY MODULE                                           08/01/12             903.00            903.00
3164.1     RELAY MODULE                                           08/01/12               0.00              0.00
3565       CCTV SYSTEM                                            04/15/13           5,460.00          5,460.00
3805       Controller                                             12/31/13             923.00            923.00
           CCTV Survelliance System                               02/28/14           4,170.50          4,170.50
           Panel replacement and hinge assembly                   06/04/14             656.44            656.44
           Replace 5 Thermostats                                  10/06/16           4,025.63          2,817.95
4347       Copeland Condensing Unit ‐ Reach In                    05/11/17             893.82            491.59
4361       63in x 144in Pylon Sign Cabinet                        06/20/17           7,296.25          4,012.94
4397       Dipperwell w/Timer                                     05/25/17             950.16            522.59



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4445       Evaporator Coils ‐ Ice Machine                           08/15/17           2,947.25           1,620.99
4544       Bunn Axiom Coffee Maker                                  08/03/17             859.79             472.89
4593       Compressor ‐ WIC                                         11/28/17           1,394.35             766.90
4832       Hamilton Beach 3 Speed Triple Spindle Blender            11/11/18             696.00             243.60
4954       Evaporator/Condensor ‐ WIC                               03/06/19           5,617.00             842.55
4986       LED Upgrade ‐ Sign                                       05/22/19           1,995.00             299.25
Class = ME                                                                           271,464.19         256,880.19
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         271,464.19         256,880.19


Class = RE
             REMODEL 3218                                           12/01/14          70,930.79           70,930.79
             REMODEL ‐ADDL 3218                                     01/28/15             260.77              260.77
4529         Chairs / Tables                                        11/10/17           5,069.52            2,788.23
Class = RE                                                                            76,261.08           73,979.79
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          76,261.08           73,979.79


Location = 3218                                                                      718,106.48         529,171.73
Less disposals and transfers                                                          (1,458.00)         (1,458.00)

Net Subtotal                                                                         716,648.48         527,713.73


Location = 3326
Class = CO
2447       Security Camera System                                   10/19/10          10,375.00           10,375.00
2447.1     Security Camera System                                   10/19/10               0.00                0.00
2448       Micros ‐ Software                                        10/19/10           1,233.00            1,233.00
2448.1     Micros ‐ Software                                        10/19/10               0.00                0.00
2469       MICROS SOFTWARE                                          10/21/10           4,578.00            4,578.00
2469.1     MICROS SOFTWARE                                          10/21/10               0.00                0.00
2470       COMPUTER                                                 10/19/10           1,920.00            1,920.00
2470.1     COMPUTER                                                 10/19/10               0.00                0.00
2530       COMPUTER EQUIPMENT                                       01/04/11           2,689.00            2,689.00
2530.1     COMPUTER EQUIPMENT                                       01/04/11               0.00                0.00
           2014 Micros Upgrade                                      06/01/14             500.00              500.00
           Burglary & Fire System Keypads                           08/11/14           1,294.03            1,294.03
           3 MICROS WORKSTATION 5                                   11/26/14           3,105.00            3,105.00
4302       Dell Optiplex 3040 8GB Computer                          01/01/17             777.87              427.82
4507       Optiplex 7050 Micro Upgrade                              08/31/17           2,497.32            1,373.52



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4735       EMV Transaction Minilink                                        08/23/18           2,256.00              789.60
Class = CO                                                                                   31,225.22           28,284.97
Less disposals and transfers                                                                 (4,609.00)          (4,609.00)

Net Subtotal                                                                                 26,616.22           23,675.97


Class = FU
2445       Chairs ‐ Classico Seating                                       10/19/10           5,163.00            5,163.00
2445.1     Chairs ‐ Classico Seating                                       10/19/10               0.00                0.00
2446       Booth Package ‐ Merric Seating                                  10/19/10          50,372.00           50,372.00
2446.1     Booth Package ‐ Merric Seating                                  10/19/10               0.00                0.00
2627       NEW PATIO FURNITURE                                             04/13/11           7,496.00            7,496.00
2627.1     NEW PATIO FURNITURE                                             04/13/11               0.00                0.00
3165       NEW BOOTH                                                       08/01/12             825.00              825.00
3165.1     NEW BOOTH                                                       08/01/12               0.00                0.00
Class = FU                                                                                   63,856.00           63,856.00
Less disposals and transfers                                                                      0.00

Net Subtotal                                                                                 63,856.00           63,856.00


Class = LI
2499         Site Work ‐ Excavation Rough Plumbing ‐ US General            10/19/10           3,150.00           1,977.50
2499.1       Site Work ‐ Excavation Rough Plumbing ‐ US General            10/19/10               0.00               0.00
2500         Concrete Foundation ‐ Site Work                               10/19/10           8,305.00           5,213.73
2500.1       Concrete Foundation ‐ Site Work                               10/19/10               0.00               0.00
2501         Brick Stone Veneer Entry                                      10/19/10           8,622.00           5,412.70
2501.1       Brick Stone Veneer Entry                                      10/19/10               0.00               0.00
2519         Site Work ‐ Leasehold Imp Allocation ‐ US General             10/19/10           3,600.00           2,260.00
2519.1       Site Work ‐ Leasehold Imp Allocation ‐ US General             10/19/10               0.00               0.00
2520         Site Work ‐ Leasehold Imp ‐ General allocation                10/19/10           3,784.00           2,375.55
2520.1       Site Work ‐ Leasehold Imp ‐ General allocation                10/19/10               0.00               0.00
2521         Restaurant Bldg ‐ Leasehold Imp ‐ US General                  10/19/10         217,033.00         136,248.53
2521.1       Restaurant Bldg ‐ Leasehold Imp ‐ US General                  10/19/10               0.00               0.00
2522         Restaurant Bldg ‐ US General ‐ Allocation                     10/19/10          38,918.00          24,431.82
2522.1       Restaurant Bldg ‐ US General ‐ Allocation                     10/19/10               0.00               0.00
2523         Restaurant Bldg ‐ General Allocation                          10/19/10          40,906.00          25,679.91
2523.1       Restaurant Bldg ‐ General Allocation                          10/19/10               0.00               0.00
2890         SIGNAGE                                                       12/01/11           5,073.00           5,073.00
2890.1       SIGNAGE                                                       12/01/11               0.00               0.00
2901         Site Work ‐ Restaurant ‐ Leasehold Allocated Costs TA         01/01/11           8,091.00           4,989.45
2901.1       Site Work ‐ Restaurant ‐ Leasehold Allocated Costs TA         01/01/11               0.00               0.00
2902         Restaurant Bldg ‐ General Allocation TA                       01/01/11          87,464.00          53,936.11
2902.1       Restaurant Bldg ‐ General Allocation TA                       01/01/11               0.00               0.00



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2979       Site Work ‐ Leasehold Imp ‐ General allocation RECLASS         10/19/10          (5,933.00)           (3,724.58)
2979.1     Site Work ‐ Leasehold Imp ‐ General allocation RECLASS         10/19/10               0.00                 0.00
2980       Restaurant Bldg ‐ General Allocation RECLASS                   10/19/10         (64,140.00)          (40,265.67)
2980.1     Restaurant Bldg ‐ General Allocation RECLASS                   10/19/10               0.00                 0.00
3770       Pivots on interior doors                                       10/14/13             735.00               318.50
4620       Wall Panel Replacement                                         01/31/18           2,172.29               253.44
4669       Compressor ‐ HVAC DR                                           06/13/18           3,813.00               444.85
4869       Blower Assembly ‐ Water Heater                                 11/15/18           1,090.00               381.50
5092       Blower Assembly ‐ Water Heater                                 01/28/20           1,399.00                11.66
Class = LI                                                                                 364,082.29           225,018.00
Less disposals and transfers                                                                     0.00

Net Subtotal                                                                               364,082.29           225,018.00


Class = ME
2326       HOCKENBERGSXXXXXXXXXXXXXXXXXX                                  11/11/10              2,541.00           2,541.00
2326.1     HOCKENBERGSXXXXXXXXXXXXXXXXXX                                  11/11/10                  0.00               0.00
2361       Refrig Sandwich Top                                            10/19/10              1,553.00           1,553.00
2361.1     Refrig Sandwich Top                                            10/19/10                  0.00               0.00
2362       Traulsen Refrg Prep Table                                      10/19/10              3,667.00           3,667.00
2362.1     Traulsen Refrg Prep Table                                      10/19/10                  0.00               0.00
2363       Traulsen Refrig Prep Table                                     10/19/10              3,667.00           3,667.00
2363.1     Traulsen Refrig Prep Table                                     10/19/10                  0.00               0.00
2364       Traulsen Reach in Freezer                                      10/19/10              4,363.00           4,363.00
2364.1     Traulsen Reach in Freezer                                      10/19/10                  0.00               0.00
2365       Traulsen Reach in Refrig/Freezer ‐ K010.2                      10/19/10              4,363.00           4,363.00
2365.1     Traulsen Reach in Refrig/Freezer ‐ K010.2                      10/19/10                  0.00               0.00
2366       Traulsen Reach In Refrg/Freezer ‐ K010.2 2 of 2                10/19/10              4,363.00           4,363.00
2366.1     Traulsen Reach In Refrg/Freezer ‐ K010.2 2 of 2                10/19/10                  0.00               0.00
2368       Wells Electric Fryer                                           10/19/10              1,174.00           1,174.00
2368.1     Wells Electric Fryer                                           10/19/10                  0.00               0.00
2369       Refrigerated Egg Station ‐ K020.0                              10/19/10              1,510.00           1,510.00
2369.1     Refrigerated Egg Station ‐ K020.0                              10/19/10                  0.00               0.00
2370       Vulcan Gas Griddle 1 of 4 ‐ K022.0                             10/19/10              4,318.00           4,318.00
2370.1     Vulcan Gas Griddle 1 of 4 ‐ K022.0                             10/19/10                  0.00               0.00
2371       Vulcan Gas Griddle 2 of 4 ‐ K022.0                             10/19/10              4,318.00           4,318.00
2371.1     Vulcan Gas Griddle 2 of 4 ‐ K022.0                             10/19/10                  0.00               0.00
2372       Vulcan Gas Griddle 3 of 4 ‐ K022.0                             10/19/10              4,318.00           4,318.00
2372.1     Vulcan Gas Griddle 3 of 4 ‐ K022.0                             10/19/10                  0.00               0.00
2373       Vulcan Gas Griddle 4 of 4                                      10/19/10              4,318.00           4,318.00
2373.1     Vulcan Gas Griddle 4 of 4                                      10/19/10                  0.00               0.00
2374       109 Inch Pass Through Shelf ‐ K023.1                           10/19/10              1,995.00           1,995.00
2374.1     109 Inch Pass Through Shelf ‐ K023.1                           10/19/10                  0.00               0.00
2375       109 Inch Pass Through Shelf ‐ K023.2                           10/19/10              1,995.00           1,995.00



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2375.1     109 Inch Pass Through Shelf ‐ K023.2                        10/19/10               0.00               0.00
2376       Jade Range ‐ Step up Hotplate ‐ K026.0                      10/19/10           1,639.00           1,639.00
2376.1     Jade Range ‐ Step up Hotplate ‐ K026.0                      10/19/10               0.00               0.00
2377       Hobart Mixer ‐ K034.0                                       10/19/10          10,944.00          10,944.00
2377.1     Hobart Mixer ‐ K034.0                                       10/19/10               0.00               0.00
2378       Kolpak Walk In ‐ K035.0                                     10/19/10          21,389.00          21,389.00
2378.1     Kolpak Walk In ‐ K035.0                                     10/19/10               0.00               0.00
2379       3 comp sink ‐ K060.0                                        10/19/10           1,850.00           1,850.00
2379.1     3 comp sink ‐ K060.0                                        10/19/10               0.00               0.00
2380       Wall Panels ‐ K070.0                                        10/19/10           1,505.00           1,505.00
2380.1     Wall Panels ‐ K070.0                                        10/19/10               0.00               0.00
2381       125 X 65 Soiled Dishtable                                   10/19/10           3,390.00           3,390.00
2381.1     125 X 65 Soiled Dishtable                                   10/19/10               0.00               0.00
2382       Ice Bin ‐ Hoshizaki ‐ K073.0                                10/19/10           1,049.00           1,049.00
2382.1     Ice Bin ‐ Hoshizaki ‐ K073.0                                10/19/10               0.00               0.00
2383       Hoshizaki ‐ Ice Maker ‐ K074.0                              10/19/10           4,161.00           4,161.00
2383.1     Hoshizaki ‐ Ice Maker ‐ K074.0                              10/19/10               0.00               0.00
2384       Service Counter ‐ 245 In (Waitress) ‐ K097.0                10/19/10           6,795.00           6,795.00
2384.1     Service Counter ‐ 245 In (Waitress) ‐ K097.0                10/19/10               0.00               0.00
2385       Beverage Counter ‐ K113.0                                   10/19/10           2,930.00           2,930.00
2385.1     Beverage Counter ‐ K113.0                                   10/19/10               0.00               0.00
2386       Beverage Station ‐ K114.0                                   10/19/10           2,620.00           2,620.00
2386.1     Beverage Station ‐ K114.0                                   10/19/10               0.00               0.00
2387       z100.0 Inbound Freight                                      10/19/10           1,450.00           1,450.00
2387.1     z100.0 Inbound Freight                                      10/19/10               0.00               0.00
2388       Z200 ‐ Outbound Freight                                     10/19/10           1,313.00           1,313.00
2388.1     Z200 ‐ Outbound Freight                                     10/19/10               0.00               0.00
2389       Z500 Equipment Install                                      10/19/10           4,344.00           4,344.00
2389.1     Z500 Equipment Install                                      10/19/10               0.00               0.00
2390       Z600 Installation ‐ Walkin Units                            10/19/10           7,750.00           7,750.00
2390.1     Z600 Installation ‐ Walkin Units                            10/19/10               0.00               0.00
2391       Sales Tax per Acknowledgement                               10/19/10          13,245.00          13,245.00
2391.1     Sales Tax per Acknowledgement                               10/19/10               0.00               0.00
2392       Misc Small Equipment                                        10/19/10          17,959.00          17,959.00
2392.1     Misc Small Equipment                                        10/19/10               0.00               0.00
2393       Heat Lamp ‐ K028.1                                          10/19/10             917.00             917.00
2393.1     Heat Lamp ‐ K028.1                                          10/19/10               0.00               0.00
2397       Misc Tables, Shelves & Racks                                10/19/10          13,040.00          13,040.00
2397.1     Misc Tables, Shelves & Racks                                10/19/10               0.00               0.00
2439       All Star Fire Protection                                    10/19/10           3,500.00           3,500.00
2439.1     All Star Fire Protection                                    10/19/10               0.00               0.00
2440       Misc Small Equip In 2200 ‐ Excel Sprd For Detail            10/19/10           1,036.00           1,036.00
2440.1     Misc Small Equip In 2200 ‐ Excel Sprd For Detail            10/19/10               0.00               0.00
2441       Signs ‐ Cummings                                            10/19/10          13,069.00          13,069.00
2441.1     Signs ‐ Cummings                                            10/19/10               0.00               0.00



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2442       Wall Graphics ‐ Diamond LIne Cont                                 10/19/10           4,599.00           4,599.00
2442.1     Wall Graphics ‐ Diamond LIne Cont                                 10/19/10               0.00               0.00
2443       Music System ‐ South Central Sound                                10/19/10           4,668.00           4,668.00
2443.1     Music System ‐ South Central Sound                                10/19/10               0.00               0.00
2444       Smallwares ‐ Wasserstrom                                          10/19/10          25,007.00          25,007.00
2444.1     Smallwares ‐ Wasserstrom                                          10/19/10               0.00               0.00
2465       Dickinson Contract Marketing ‐ 2200 Reclass                       10/19/10           3,188.00           3,188.00
2465.1     Dickinson Contract Marketing ‐ 2200 Reclass                       10/19/10               0.00               0.00
2502       Doors # 5 &4 Rest Room Wood Door                                  10/19/10           5,207.00           5,207.00
2502.1     Doors # 5 &4 Rest Room Wood Door                                  10/19/10               0.00               0.00
2503       Ceramic and Quarry Tile                                           10/19/10          10,800.00          10,800.00
2503.1     Ceramic and Quarry Tile                                           10/19/10               0.00               0.00
2504       Protect all Flooring                                              10/19/10          15,681.00          15,681.00
2504.1     Protect all Flooring                                              10/19/10               0.00               0.00
2505       Carpet                                                            10/19/10           7,367.00           7,367.00
2505.1     Carpet                                                            10/19/10               0.00               0.00
2506       FRP ‐ Wall Covering                                               10/19/10           9,804.00           9,804.00
2506.1     FRP ‐ Wall Covering                                               10/19/10               0.00               0.00
2507       Misc Equipment ‐ US General                                       10/19/10           2,132.00           2,132.00
2507.1     Misc Equipment ‐ US General                                       10/19/10               0.00               0.00
2508       BC Fire Exhtinguishers                                            10/19/10           1,225.00           1,225.00
2508.1     BC Fire Exhtinguishers                                            10/19/10               0.00               0.00
2509       IHOP window shades                                                10/19/10           5,223.00           5,223.00
2509.1     IHOP window shades                                                10/19/10               0.00               0.00
2510       Toilet partitions                                                 10/19/10           1,970.00           1,970.00
2510.1     Toilet partitions                                                 10/19/10               0.00               0.00
2511       Refrigeration Connections ‐ US General                            10/19/10           7,000.00           7,000.00
2511.1     Refrigeration Connections ‐ US General                            10/19/10               0.00               0.00
2512       HVAC ‐RTU Install Kitchen Equip Install ‐ US General              10/19/10          99,850.00          99,850.00
2512.1     HVAC ‐RTU Install Kitchen Equip Install ‐ US General              10/19/10               0.00               0.00
2513       Plumbing Hookups ‐ 50% Equipment ‐ US General                     10/19/10          24,950.00          24,950.00
2513.1     Plumbing Hookups ‐ 50% Equipment ‐ US General                     10/19/10               0.00               0.00
2514       Vestibule Heaters                                                 10/19/10           1,376.00           1,376.00
2514.1     Vestibule Heaters                                                 10/19/10               0.00               0.00
2515       Sprinkler System                                                  10/19/10          12,600.00          12,600.00
2515.1     Sprinkler System                                                  10/19/10               0.00               0.00
2516       Fire Alarm System                                                 10/19/10           4,359.00           4,359.00
2516.1     Fire Alarm System                                                 10/19/10               0.00               0.00
2517       Equipment ‐ Leasehold IMp Cost Allocation ‐ US General            10/19/10          37,574.00          37,574.00
2517.1     Equipment ‐ Leasehold IMp Cost Allocation ‐ US General            10/19/10               0.00               0.00
2518       Machinery & Equip ‐ Leasehold Imp Allocation ‐ General Costs      10/19/10          39,494.00          39,494.00
2518.1     Machinery & Equip ‐ Leasehold Imp Allocation ‐ General Costs      10/19/10               0.00               0.00
2546       COFFEE MACHINE                                                    01/14/11           4,943.00           4,943.00
2546.1     COFFEE MACHINE                                                    01/14/11               0.00               0.00
2547       NEW PRINTER                                                       01/27/11           1,201.00           1,201.00



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2547.1       NEW PRINTER                                                      01/27/11               0.00               0.00
2900         Machinery & Equip ‐ Leasehold Cost Segregation TA                01/01/11          84,445.00          84,445.00
2900.1       Machinery & Equip ‐ Leasehold Cost Segregation TA                01/01/11               0.00               0.00
2978         Machinery & Equip ‐ Leasehold Imp Allocation ‐ General Costs R   10/19/10         (61,927.00)        (61,927.00)
2978.1       Machinery & Equip ‐ Leasehold Imp Allocation ‐ General Costs R   10/19/10               0.00               0.00
3086         FRYER                                                            05/07/12           1,345.00           1,345.00
3086.1       FRYER                                                            05/07/12               0.00               0.00
             Equipment                                                        02/26/14             943.77             943.77
             MICROWAVE                                                        08/07/14           1,257.52           1,257.52
             WIRING WAFFLE BAKER                                              12/24/14             574.16             574.16
             VULCAN STEP UP RANGE                                             12/24/14           1,716.38           1,716.38
             THERMOSTAT                                                       01/21/15           1,213.29           1,213.29
             REPLACEMENT OF A BAD WATER HEATER (LEAKING AT THE BOT            07/10/15           8,766.51           8,328.18
4194         Compressor ‐ WIC                                                 01/01/17           3,340.00           1,837.00
4398         Dipperwell w/Timer                                               05/25/17             950.16             522.59
4833         Hamilton Beach 3 Speed Triple Spindle Blender                    11/11/18             693.00             242.55
4848         Excellence Ice Cream Cabinet                                     11/11/18           1,236.00             432.60
4889         Super Deluxe Rech In Cooler                                      12/18/18           5,464.00           1,912.40
Class = ME                                                                                     564,593.79         557,419.44
Less disposals and transfers                                                                         0.00

Net Subtotal                                                                                   564,593.79         557,419.44


Class = RE
           REMODEL 3326                                                       06/01/15          29,701.32           28,711.27
Class = RE                                                                                      29,701.32           28,711.27
Less disposals and transfers                                                                         0.00

Net Subtotal                                                                                    29,701.32           28,711.27


Location = 3326                                                                              1,095,125.62         942,526.11
Less disposals and transfers                                                                    (4,609.00)         (4,609.00)

Net Subtotal                                                                                 1,090,516.62         937,917.11


Location = 3327
Class = CO
2466       MICROS SOFTWARE                                                    10/01/10           4,593.00            4,593.00
2466.1     MICROS SOFTWARE                                                    10/01/10               0.00                0.00
2467       SECURITY SYSTEM ‐ INTERFACE                                        10/01/10          10,322.00           10,322.00
2467.1     SECURITY SYSTEM ‐ INTERFACE                                        10/01/10               0.00                0.00
2468       DATA TERMINALS                                                     10/01/10           4,610.00            4,610.00



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Co Asset                                                             Date          Value               Depreciation
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2468.1       DATA TERMINALS                                             10/01/10               0.00                0.00
             Mircos Workstation                                         02/04/14           1,072.50            1,072.50
             2014 Micros Upgrade                                        06/01/14             500.00              500.00
4303         Dell Optiplex 3040 8GB Computer                            01/01/17             777.87              427.82
4508         Optiplex 7050 Micro Upgrade                                08/31/17           1,310.17              720.59
4736         EMV Transaction Minilink                                   08/23/18           2,210.00              773.50
4932         EMV Transaction Mini Link ‐ Additional Costs               02/20/19           1,101.00              165.15
Class = CO                                                                                26,496.54           23,184.56
Less disposals and transfers                                                              (4,593.00)          (4,593.00)

Net Subtotal                                                                              21,903.54           18,591.56


Class = FU
2450       Chairs ‐ Classico Seating                                    09/21/10           7,351.00            7,351.00
2450.1     Chairs ‐ Classico Seating                                    09/21/10               0.00                0.00
2451       Booth Package ‐ Merric Seating                               09/21/10          53,822.00           53,822.00
2451.1     Booth Package ‐ Merric Seating                               09/21/10               0.00                0.00
Class = FU                                                                                61,173.00           61,173.00
Less disposals and transfers                                                                   0.00

Net Subtotal                                                                              61,173.00           61,173.00


Class = LI
2471         Site Work ‐ Construction Testing ‐ CW Hayes                09/21/10             800.00             506.64
2471.1       Site Work ‐ Construction Testing ‐ CW Hayes                09/21/10               0.00               0.00
2472         Site Work ‐ Demolition Asphalt Removal ‐ CW Hayes          09/21/10             825.00             522.50
2472.1       Site Work ‐ Demolition Asphalt Removal ‐ CW Hayes          09/21/10               0.00               0.00
2473         Water Service to Bldg ‐ CW Hayes                           09/21/10           5,645.00           3,575.14
2473.1       Water Service to Bldg ‐ CW Hayes                           09/21/10               0.00               0.00
2474         Asphalt Paving                                             09/21/10           3,500.00           2,216.64
2474.1       Asphalt Paving                                             09/21/10               0.00               0.00
2475         Interior Bldg Demo ‐ Site Work ‐ CW Hayes                  09/21/10           7,628.00           4,831.03
2475.1       Interior Bldg Demo ‐ Site Work ‐ CW Hayes                  09/21/10               0.00               0.00
2495         Site Work ‐ Restaurant ‐ Leasehold Allocated Costs         09/21/10           4,521.00           2,863.30
2495.1       Site Work ‐ Restaurant ‐ Leasehold Allocated Costs         09/21/10               0.00               0.00
2496         Restaurant Bldg ‐ Leasehold Imp ‐ CW Hays                  09/21/10         226,944.00         143,731.20
2496.1       Restaurant Bldg ‐ Leasehold Imp ‐ CW Hays                  09/21/10               0.00               0.00
2497         Restaurant Bldg ‐ Allocated Bldg Cost ‐ CW Hays            09/21/10          62,015.00          39,276.13
2497.1       Restaurant Bldg ‐ Allocated Bldg Cost ‐ CW Hays            09/21/10               0.00               0.00
2498         Restaurant Bldg ‐ General LI Allocated Costs               09/21/10          55,772.00          35,322.24
2498.1       Restaurant Bldg ‐ General LI Allocated Costs               09/21/10               0.00               0.00
2524         Site Work ‐ CW Hays Allocated Costs                        09/21/10           5,027.00           3,183.73
2524.1       Site Work ‐ CW Hays Allocated Costs                        09/21/10               0.00               0.00



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2727       TEMPERED GLASS CUT                                              08/23/11             951.00               951.00
2727.1     TEMPERED GLASS CUT                                              08/23/11               0.00                 0.00
2877       REFRIDGERATOR RAMP                                              12/13/11           1,300.00             1,300.00
2877.1     REFRIDGERATOR RAMP                                              12/13/11               0.00                 0.00
2892       SIGNAGE                                                         12/01/11           6,500.00             6,500.00
2892.1     SIGNAGE                                                         12/01/11               0.00                 0.00
2897       Site Work ‐ Restaurant ‐ Leasehold Allocated Costs TA           01/01/11           7,310.00             4,507.81
2897.1     Site Work ‐ Restaurant ‐ Leasehold Allocated Costs TA           01/01/11               0.00                 0.00
2898       Restaurant Bldg ‐ Allocated Bldg Cost ‐ CW Hays TA              01/01/11          90,174.00            55,607.30
2898.1     Restaurant Bldg ‐ Allocated Bldg Cost ‐ CW Hays TA              01/01/11               0.00                 0.00
2976       Site Work ‐ Restaurant ‐ Leasehold Allocated Costs RECLASS      09/21/10          (6,243.00)           (3,953.90)
2976.1     Site Work ‐ Restaurant ‐ Leasehold Allocated Costs RECLASS      09/21/10               0.00                 0.00
2977       Restaurant Bldg ‐ General LI Allocated Costs RECLASS            09/21/10         (77,003.00)          (48,768.54)
2977.1     Restaurant Bldg ‐ General LI Allocated Costs RECLASS            09/21/10               0.00                 0.00
4662       Flooring Improvement                                            06/04/18           1,260.24               147.04
5082       Trane Compressor ‐ HVAC                                         01/15/20           3,026.00                25.22
5093       100g Gas Water Heater                                           01/31/20          18,053.00               150.44
Class = LI                                                                                  418,005.24           252,494.92
Less disposals and transfers                                                                      0.00

Net Subtotal                                                                                418,005.24           252,494.92


Class = ME
2291       MICOR XX                                                        09/01/10              1,222.00           1,222.00
2291.1     MICOR XX                                                        09/01/10                  0.00               0.00
2292       WALK IN RAMP                                                    09/29/10              1,300.00           1,300.00
2292.1     WALK IN RAMP                                                    09/29/10                  0.00               0.00
2398       Panasonic Microwave ‐ K001                                      09/21/10              2,147.00           2,147.00
2398.1     Panasonic Microwave ‐ K001                                      09/21/10                  0.00               0.00
2399       Traulesen ‐ Refrig Prep Table                                   09/21/10              3,413.00           3,413.00
2399.1     Traulesen ‐ Refrig Prep Table                                   09/21/10                  0.00               0.00
2400       Traulsen Refrig Prep Table ‐ K002.2 2 of 2                      09/21/10              3,413.00           3,413.00
2400.1     Traulsen Refrig Prep Table ‐ K002.2 2 of 2                      09/21/10                  0.00               0.00
2402       Traulsen Reach In Refrig K006.1                                 09/21/10              3,110.00           3,110.00
2402.1     Traulsen Reach In Refrig K006.1                                 09/21/10                  0.00               0.00
2403       Traulsen Reach in Refrig K006.2                                 09/21/10              3,110.00           3,110.00
2403.1     Traulsen Reach in Refrig K006.2                                 09/21/10                  0.00               0.00
2404       Warming Table ‐ K008                                            09/21/10              1,780.00           1,780.00
2404.1     Warming Table ‐ K008                                            09/21/10                  0.00               0.00
2405       Traulsen ‐ Reach In Refrig/Freezer ‐ K010.1                     09/21/10              4,728.00           4,728.00
2405.1     Traulsen ‐ Reach In Refrig/Freezer ‐ K010.1                     09/21/10                  0.00               0.00
2406       Wells Electric Fryer 1 of 2 ‐ K011                              09/21/10              1,174.00           1,174.00
2406.1     Wells Electric Fryer 1 of 2 ‐ K011                              09/21/10                  0.00               0.00
2407       Wells Electric Fryer 2 of 2 ‐ K011                              09/21/10              1,174.00           1,174.00



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2407.1     Wells Electric Fryer 2 of 2 ‐ K011                        09/21/10               0.00               0.00
2408       Grill Line Wall Flashing ‐ K012.2                         09/21/10           1,256.00           1,256.00
2408.1     Grill Line Wall Flashing ‐ K012.2                         09/21/10               0.00               0.00
2409       Electric Conveyor Toaster ‐ 2 ‐ K017.0                    09/21/10           1,421.00           1,421.00
2409.1     Electric Conveyor Toaster ‐ 2 ‐ K017.0                    09/21/10               0.00               0.00
2410       Refrig Egg Station 1 of 2 ‐ K020                          09/21/10           1,510.00           1,510.00
2410.1     Refrig Egg Station 1 of 2 ‐ K020                          09/21/10               0.00               0.00
2411       Refrig Egg Station 2 of 2 ‐ K020                          09/21/10           1,510.00           1,510.00
2411.1     Refrig Egg Station 2 of 2 ‐ K020                          09/21/10               0.00               0.00
2412       Griddle stand ‐ 72 in ‐ K021.3                            09/21/10           1,100.00           1,100.00
2412.1     Griddle stand ‐ 72 in ‐ K021.3                            09/21/10               0.00               0.00
2413       Griddle Stand ‐ 72 In ‐ K021.3 2of2                       09/21/10           1,100.00           1,100.00
2413.1     Griddle Stand ‐ 72 In ‐ K021.3 2of2                       09/21/10               0.00               0.00
2414       Vulcan gas griddle ‐ K022 1 of 2                          09/21/10           4,318.00           4,318.00
2414.1     Vulcan gas griddle ‐ K022 1 of 2                          09/21/10               0.00               0.00
2415       Vulcan Gas Griddle ‐ 2 of 2 ‐ K022                        09/21/10           4,318.00           4,318.00
2415.1     Vulcan Gas Griddle ‐ 2 of 2 ‐ K022                        09/21/10               0.00               0.00
2416       Vulcan Gas Griddle ‐ 1 of 2 ‐ K022.1                      09/21/10           5,715.00           5,715.00
2416.1     Vulcan Gas Griddle ‐ 1 of 2 ‐ K022.1                      09/21/10               0.00               0.00
2417       Vulcan Gas Griddle 2 of 2 ‐ K022.1                        09/21/10           5,715.00           5,715.00
2417.1     Vulcan Gas Griddle 2 of 2 ‐ K022.1                        09/21/10               0.00               0.00
2418       Left Hand Pass Bar ‐ K023.1                               09/21/10           1,995.00           1,995.00
2418.1     Left Hand Pass Bar ‐ K023.1                               09/21/10               0.00               0.00
2419       Right Hand Pass Bar ‐ K023.2                              09/21/10           1,995.00           1,995.00
2419.1     Right Hand Pass Bar ‐ K023.2                              09/21/10               0.00               0.00
2420       Jade Hotplate Range ‐ k026                                09/21/10           1,229.00           1,229.00
2420.1     Jade Hotplate Range ‐ k026                                09/21/10               0.00               0.00
2421       Hobart Mixer                                              09/21/10          10,944.00          10,944.00
2421.1     Hobart Mixer                                              09/21/10               0.00               0.00
2422       Kolpak ‐ Walkin Cooler / Freezer ‐ K035                   09/21/10          24,432.00          24,432.00
2422.1     Kolpak ‐ Walkin Cooler / Freezer ‐ K035                   09/21/10               0.00               0.00
2423       3 Comp Sink ‐ K060                                        09/21/10           1,388.00           1,388.00
2423.1     3 Comp Sink ‐ K060                                        09/21/10               0.00               0.00
2424       Clean Dish Table ‐ K065                                   09/21/10           1,120.00           1,120.00
2424.1     Clean Dish Table ‐ K065                                   09/21/10               0.00               0.00
2425       Wall Flashing ‐ K070                                      09/21/10           1,368.00           1,368.00
2425.1     Wall Flashing ‐ K070                                      09/21/10               0.00               0.00
2426       Solid Dish Table ‐ K072                                   09/21/10           3,390.00           3,390.00
2426.1     Solid Dish Table ‐ K072                                   09/21/10               0.00               0.00
2427       Ice Bin ‐ Hoshizaki ‐ K073                                09/21/10           1,095.00           1,095.00
2427.1     Ice Bin ‐ Hoshizaki ‐ K073                                09/21/10               0.00               0.00
2428       Ice Maker ‐ Hoshizaki ‐ K074                              09/21/10           5,121.00           5,121.00
2428.1     Ice Maker ‐ Hoshizaki ‐ K074                              09/21/10               0.00               0.00
2429       Expo Counter ‐ K097                                       09/21/10           5,556.00           5,556.00
2429.1     Expo Counter ‐ K097                                       09/21/10               0.00               0.00



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2430       Traulsen ‐ Refrig Prep Table ‐ K099                                09/21/10           4,504.00           4,504.00
2430.1     Traulsen ‐ Refrig Prep Table ‐ K099                                09/21/10               0.00               0.00
2431       Beverage Counter ‐ K114                                            09/21/10           6,710.00           6,710.00
2431.1     Beverage Counter ‐ K114                                            09/21/10               0.00               0.00
2432       Z100 ‐ Inbound Freight                                             09/21/10           1,181.00           1,181.00
2432.1     Z100 ‐ Inbound Freight                                             09/21/10               0.00               0.00
2433       z200 Outbound Freight                                              09/21/10           1,140.00           1,140.00
2433.1     z200 Outbound Freight                                              09/21/10               0.00               0.00
2434       z500 Equipment Installation                                        09/21/10           6,416.00           6,416.00
2434.1     z500 Equipment Installation                                        09/21/10               0.00               0.00
2435       Z600 Walkin Cooler Installation                                    09/21/10           7,750.00           7,750.00
2435.1     Z600 Walkin Cooler Installation                                    09/21/10               0.00               0.00
2436       Equipment Sales Tax ‐ Wasserstrom Inv # A264983                    09/21/10          12,877.00          12,877.00
2436.1     Equipment Sales Tax ‐ Wasserstrom Inv # A264983                    09/21/10               0.00               0.00
2437       Misc Small Equipment ‐ Cotwsold ‐ Waaserstrom Inv A264983          09/21/10          14,755.00          14,755.00
2437.1     Misc Small Equipment ‐ Cotwsold ‐ Waaserstrom Inv A264983          09/21/10               0.00               0.00
2438       Shelving, Tables and Counters ‐ Small Amt ‐ Wass Inv # A26498      09/21/10          15,788.00          15,788.00
2438.1     Shelving, Tables and Counters ‐ Small Amt ‐ Wass Inv # A26498      09/21/10               0.00               0.00
2453       Buacom ‐ CIP Reclass                                               09/21/10           1,289.00           1,289.00
2453.1     Buacom ‐ CIP Reclass                                               09/21/10               0.00               0.00
2454       Misc Equip Reclass 2200 ‐ See Exl Spdsht for Detail                09/21/10           2,918.00           2,918.00
2454.1     Misc Equip Reclass 2200 ‐ See Exl Spdsht for Detail                09/21/10               0.00               0.00
2455       Wall Graphics ‐ Diamond Line Cont                                  09/21/10           5,240.00           5,240.00
2455.1     Wall Graphics ‐ Diamond Line Cont                                  09/21/10               0.00               0.00
2456       Signs ‐ Hilton Displays                                            09/21/10          12,737.00          12,737.00
2456.1     Signs ‐ Hilton Displays                                            09/21/10               0.00               0.00
2457       Hockenburg Equipment                                               09/21/10           1,602.00           1,602.00
2457.1     Hockenburg Equipment                                               09/21/10               0.00               0.00
2458       Isaacs Group PC                                                    09/21/10           2,662.00           2,662.00
2458.1     Isaacs Group PC                                                    09/21/10               0.00               0.00
2459       Keystone ‐ CIP Reclass                                             09/21/10           2,665.00           2,665.00
2459.1     Keystone ‐ CIP Reclass                                             09/21/10               0.00               0.00
2460       Next Day Gormet Equipment                                          09/21/10           1,849.00           1,849.00
2460.1     Next Day Gormet Equipment                                          09/21/10               0.00               0.00
2461       RG Welding ‐ CIP Reclass                                           09/21/10           1,300.00           1,300.00
2461.1     RG Welding ‐ CIP Reclass                                           09/21/10               0.00               0.00
2462       Coffee Equip ‐ S&D Coffee                                          09/21/10           5,699.00           5,699.00
2462.1     Coffee Equip ‐ S&D Coffee                                          09/21/10               0.00               0.00
2463       Music System ‐ Suncom                                              09/21/10           3,567.00           3,567.00
2463.1     Music System ‐ Suncom                                              09/21/10               0.00               0.00
2464       Smallwares ‐ Wasserstrom                                           09/21/10          31,391.00          31,391.00
2464.1     Smallwares ‐ Wasserstrom                                           09/21/10               0.00               0.00
2476       Misc Equipment Installed by CW Hays                                09/21/10           2,605.00           2,605.00
2476.1     Misc Equipment Installed by CW Hays                                09/21/10               0.00               0.00
2477       Back Flow Preventer ‐ CW Hays ‐ 50% Equipment                      09/21/10          21,750.00          21,750.00



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2477.1     Back Flow Preventer ‐ CW Hays ‐ 50% Equipment                   09/21/10               0.00                0.00
2478       Sprinkler System                                                09/21/10          22,020.00           22,020.00
2478.1     Sprinkler System                                                09/21/10               0.00                0.00
2479       Equipment ‐ Electrical Components ‐ 25% Equip ‐ CW Hays         09/21/10          16,744.00           16,744.00
2479.1     Equipment ‐ Electrical Components ‐ 25% Equip ‐ CW Hays         09/21/10               0.00                0.00
2480       HVAC Units                                                      09/21/10          95,500.00           95,500.00
2480.1     HVAC Units                                                      09/21/10               0.00                0.00
2481       Hood System ‐ Grills and Fryers ‐ CW Hays                       09/21/10          30,484.00           30,484.00
2481.1     Hood System ‐ Grills and Fryers ‐ CW Hays                       09/21/10               0.00                0.00
2482       Walkin Cooler Install ‐ CW Hays                                 09/21/10           4,400.00            4,400.00
2482.1     Walkin Cooler Install ‐ CW Hays                                 09/21/10               0.00                0.00
2483       Interior Doors and Misc Hardware                                09/21/10           8,016.00            8,016.00
2483.1     Interior Doors and Misc Hardware                                09/21/10               0.00                0.00
2484       IHOP Momentum Copper Finish                                     09/21/10           8,000.00            8,000.00
2484.1     IHOP Momentum Copper Finish                                     09/21/10               0.00                0.00
2485       IHOP Logo Awnings                                               09/21/10           3,858.00            3,858.00
2485.1     IHOP Logo Awnings                                               09/21/10               0.00                0.00
2486       IHOP exterior Finishes                                          09/21/10           4,400.00            4,400.00
2486.1     IHOP exterior Finishes                                          09/21/10               0.00                0.00
2487       Quarry Tile ‐ Restrooms                                         09/21/10           7,488.00            7,488.00
2487.1     Quarry Tile ‐ Restrooms                                         09/21/10               0.00                0.00
2488       Wall Tile                                                       09/21/10           4,289.00            4,289.00
2488.1     Wall Tile                                                       09/21/10               0.00                0.00
2489       Wall Covering FRP                                               09/21/10           5,940.00            5,940.00
2489.1     Wall Covering FRP                                               09/21/10               0.00                0.00
2490       IHOP Required Wanscott                                          09/21/10           6,024.00            6,024.00
2490.1     IHOP Required Wanscott                                          09/21/10               0.00                0.00
2491       Restroom partitions                                             09/21/10           2,500.00            2,500.00
2491.1     Restroom partitions                                             09/21/10               0.00                0.00
2492       IHOP Roller Shades                                              09/21/10           3,319.00            3,319.00
2492.1     IHOP Roller Shades                                              09/21/10               0.00                0.00
2493       Shelves and Cabinets ‐ CW Hays                                  09/21/10           2,450.00            2,450.00
2493.1     Shelves and Cabinets ‐ CW Hays                                  09/21/10               0.00                0.00
2494       Machinery & Equip ‐ Leasehold Cost Segregation                  09/21/10          61,386.00           61,386.00
2494.1     Machinery & Equip ‐ Leasehold Cost Segregation                  09/21/10               0.00                0.00
2525       Equipment ‐ CW Hays Allocated Costs                             09/21/10          68,257.00           68,257.00
2525.1     Equipment ‐ CW Hays Allocated Costs                             09/21/10               0.00                0.00
2666       EQUIPMENT                                                       05/20/11             800.00              800.00
2666.1     EQUIPMENT                                                       05/20/11               0.00                0.00
2833       WAFFLE IRONS                                                    10/25/11             569.00              569.00
2833.1     WAFFLE IRONS                                                    10/25/11               0.00                0.00
2899       Machinery & Equip ‐ Leasehold Cost Segregation TA               01/01/11          99,250.00           99,250.00
2899.1     Machinery & Equip ‐ Leasehold Cost Segregation TA               01/01/11               0.00                0.00
2975       Machinery & Equiment Cost Seg Analysis RECLASS                  09/21/10         (84,754.00)         (84,754.00)
2975.1     Machinery & Equiment Cost Seg Analysis RECLASS                  09/21/10               0.00                0.00



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3566         REMOVED & INSTALLED WATER HEATER                         04/24/13           1,800.00           1,800.00
3661         IMI Cornelius/OJ Machine                                 02/12/13           1,434.00           1,434.00
3806         Copper pipes & shark bite couplings                      12/10/13           1,372.00           1,372.00
             EQUIPMENT                                                06/16/14           3,737.00           3,737.00
             WAFFLE BAKER                                             08/22/14             689.81             689.81
             CONDENSER FAN MOTOR & FAN MOTOR                          09/16/14           1,326.00           1,326.00
             Replaced 2 Bad Fan Motor on Reach in Freezer             04/01/15           1,565.29           1,565.29
             HOT WATER HEATER                                         09/01/15           9,951.81           8,790.75
             3327 Equipment                                           12/01/15           6,902.00           5,981.73
4371         Compressor ‐ Reach In Cooler                             07/13/17           1,603.45             881.90
4399         Dipperwell w/Timer                                       05/25/17             950.16             522.59
4849         Turbo Super Deluxe Reach In Freezer                      11/16/18           1,746.00             611.10
4913         Hamilton Beach Milkshake Machine                         02/01/19             675.00             101.25
4955         Turbo Deluxe Reach In Freezer                            03/29/19           1,962.00             294.30
Class = ME                                                                             689,216.52         682,609.72
Less disposals and transfers                                                            (9,951.81)         (8,790.75)

Net Subtotal                                                                           679,264.71         673,818.97


Class = RE
           REMODEL 3327                                               09/01/15          13,882.51           12,725.63
Class = RE                                                                              13,882.51           12,725.63
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            13,882.51           12,725.63


Location = 3327                                                                      1,250,440.81        1,071,771.49
Less disposals and transfers                                                           (14,544.81)         (13,383.75)

Net Subtotal                                                                         1,235,896.00        1,058,387.74


Location = 3367
Class = CO
2908       Micros ‐ POS System                                        12/19/11          15,029.00           15,029.00
2908.1     Micros ‐ POS System                                        12/19/11               0.00                0.00
2909       POS Workstations ‐ Resource POS Equip                      12/19/11           6,623.00            6,623.00
2909.1     POS Workstations ‐ Resource POS Equip                      12/19/11               0.00                0.00
3018       MICROS WORKSTATION                                         02/21/12           1,509.00            1,509.00
3018.1     MICROS WORKSTATION                                         02/21/12               0.00                0.00
3444       Security System & Wiring                                   01/31/12           3,929.00            3,929.00
3444.1     Security System & Wiring                                   01/31/12               0.00                0.00
3447       SECURITY SYSTEM & INSTALL                                  02/09/12           9,085.00            9,085.00



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3447.1     SECURITY SYSTEM & INSTALL                                   02/09/12               0.00                0.00
3584       Resource/Micros Workstation                                 05/07/13           1,290.00            1,290.00
3643       Resource/Touch Screen mother board                          08/20/13           1,334.00            1,334.00
           2014 Micros Upgrade                                         06/01/14             500.00              500.00
           Replaced DVR                                                07/01/15           1,220.96            1,159.91
           WIFI HARDWARE                                               10/15/15             897.25              807.52
4304       Dell Optiplex 3040 8GB Computer                             01/01/17             777.87              427.82
4509       Optiplex 7050 Micro Upgrade                                 08/31/17           2,182.95            1,200.63
4737       EMV Transaction Minilink                                    08/23/18           2,521.00              882.35
4933       EMV Transaction Mini Link ‐ Additional Costs                02/20/19             647.00               97.04
Class = CO                                                                               47,546.03           43,874.27
Less disposals and transfers                                                            (21,652.00)         (21,652.00)

Net Subtotal                                                                             25,894.03           22,222.27


Class = FU
2906       Booths and Tables                                           12/19/11          39,127.00           39,127.00
2906.1     Booths and Tables                                           12/19/11               0.00                0.00
2907       Hostess Stand                                               12/19/11           1,050.00            1,050.00
2907.1     Hostess Stand                                               12/19/11               0.00                0.00
Class = FU                                                                               40,177.00           40,177.00
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             40,177.00           40,177.00


Class = LI
2903       Building ‐ Lease Imp ‐ Cost Seg Anal                        12/19/11         269,823.00         148,402.65
2903.1     Building ‐ Lease Imp ‐ Cost Seg Anal                        12/19/11               0.00               0.00
2904       Lease Imp ‐ bldg 15 yr ‐ cost seg anal                      12/19/11          24,960.00          13,728.00
2904.1     Lease Imp ‐ bldg 15 yr ‐ cost seg anal                      12/19/11               0.00               0.00
3443       2012 Cost Seg ‐ Real Prop ‐ 39 Yr Class ‐ 3367              10/17/12          25,673.00          12,693.85
3443.1     2012 Cost Seg ‐ Real Prop ‐ 39 Yr Class ‐ 3367              10/17/12               0.00               0.00
4257       Awning Recover                                              03/08/17           5,861.00           3,223.55
4341       24in IHOP Channel Letter Sign w/LED                         04/18/17          10,015.30           5,508.41
4564       100 Gallon Water Heater 160psi                              10/20/17          12,583.70           2,307.01
Class = LI                                                                              348,916.00         185,863.47
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                            348,916.00         185,863.47


Class = ME
2905       Equip ‐ Lease Impr ‐ Cost Seg Anal                          12/19/11         260,511.00         260,511.00



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2905.1     Equip ‐ Lease Impr ‐ Cost Seg Anal                       12/19/11                  0.00               0.00
2910       K01 ‐ 3 Microwave Ovens                                  12/19/11              2,322.00           2,322.00
2910.1     K01 ‐ 3 Microwave Ovens                                  12/19/11                  0.00               0.00
2911       K02L ‐ Pizza Prep Table Refrig                           12/19/11              3,871.00           3,871.00
2911.1     K02L ‐ Pizza Prep Table Refrig                           12/19/11                  0.00               0.00
2912       K02L‐A ‐ Pizza Prep Table Refrig                         12/19/11              3,871.00           3,871.00
2912.1     K02L‐A ‐ Pizza Prep Table Refrig                         12/19/11                  0.00               0.00
2913       K02R ‐ Refrig Counter ‐ Mega Top Sandwich Unit           12/19/11              1,805.00           1,805.00
2913.1     K02R ‐ Refrig Counter ‐ Mega Top Sandwich Unit           12/19/11                  0.00               0.00
2914       K07 ‐ Food Warmer                                        12/19/11              1,012.00           1,012.00
2914.1     K07 ‐ Food Warmer                                        12/19/11                  0.00               0.00
2915       K08 ‐ Mobile Warmer Stands                               12/19/11              2,170.00           2,170.00
2915.1     K08 ‐ Mobile Warmer Stands                               12/19/11                  0.00               0.00
2916       K10L ‐ Reach In Refrig/Freezer                           12/19/11              4,991.00           4,991.00
2916.1     K10L ‐ Reach In Refrig/Freezer                           12/19/11                  0.00               0.00
2917       K10L ‐ Reach In Refrig/Freezer                           12/19/11              4,991.00           4,991.00
2917.1     K10L ‐ Reach In Refrig/Freezer                           12/19/11                  0.00               0.00
2918       K10R ‐ Reach In Refrig / Freezer                         12/19/11              4,991.00           4,991.00
2918.1     K10R ‐ Reach In Refrig / Freezer                         12/19/11                  0.00               0.00
2919       K11 ‐ Electric Fryer (2)                                 12/19/11              2,838.00           2,838.00
2919.1     K11 ‐ Electric Fryer (2)                                 12/19/11                  0.00               0.00
2920       K12 ‐ Custom Fab KEC Utility Holes                       12/19/11              1,133.00           1,133.00
2920.1     K12 ‐ Custom Fab KEC Utility Holes                       12/19/11                  0.00               0.00
2921       K16 ‐ Egg Station                                        12/19/11              1,175.00           1,175.00
2921.1     K16 ‐ Egg Station                                        12/19/11                  0.00               0.00
2922       K20 ‐ Egg Station                                        12/19/11              2,528.00           2,528.00
2922.1     K20 ‐ Egg Station                                        12/19/11                  0.00               0.00
2923       K21A ‐ Griddle Stand ‐ SS (4)                            12/19/11              5,784.00           5,784.00
2923.1     K21A ‐ Griddle Stand ‐ SS (4)                            12/19/11                  0.00               0.00
2924       K21C ‐ Stand SS ‐ Jade Range                             12/19/11              1,154.00           1,154.00
2924.1     K21C ‐ Stand SS ‐ Jade Range                             12/19/11                  0.00               0.00
2925       K22 ‐ Vulcan Griddle ‐ Gas                               12/19/11              4,603.00           4,603.00
2925.1     K22 ‐ Vulcan Griddle ‐ Gas                               12/19/11                  0.00               0.00
2926       K22 ‐ Vulcan Griddle ‐ Gas                               12/19/11              4,603.00           4,603.00
2926.1     K22 ‐ Vulcan Griddle ‐ Gas                               12/19/11                  0.00               0.00
2927       M22 ‐ Vulcan Griddle ‐ Gas                               12/19/11              4,603.00           4,603.00
2927.1     M22 ‐ Vulcan Griddle ‐ Gas                               12/19/11                  0.00               0.00
2928       K22 ‐ Vulcan Griddle ‐ Gas                               12/19/11              4,603.00           4,603.00
2928.1     K22 ‐ Vulcan Griddle ‐ Gas                               12/19/11                  0.00               0.00
2929       K23 ‐ Pass Window ‐ Custom Fab                           12/19/11              5,027.00           5,027.00
2929.1     K23 ‐ Pass Window ‐ Custom Fab                           12/19/11                  0.00               0.00
2930       K26 ‐ Hot Plate                                          12/19/11              1,839.00           1,839.00
2930.1     K26 ‐ Hot Plate                                          12/19/11                  0.00               0.00
2931       K28L ‐ Heat Lamps                                        12/19/11              1,007.00           1,007.00
2931.1     K28L ‐ Heat Lamps                                        12/19/11                  0.00               0.00



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2932       K28R ‐ Heat Lamps                                          12/19/11           1,007.00           1,007.00
2932.1     K28R ‐ Heat Lamps                                          12/19/11               0.00               0.00
2933       Hobart ‐ Food Mixer                                        12/19/11          11,665.00          11,665.00
2933.1     Hobart ‐ Food Mixer                                        12/19/11               0.00               0.00
2934       K35 ‐ Walk‐in Cooler / Freezer                             12/19/11          20,920.00          20,920.00
2934.1     K35 ‐ Walk‐in Cooler / Freezer                             12/19/11               0.00               0.00
2935       K39 ‐ Prep Table with Sink ‐ Cust Fab                      12/19/11           1,580.00           1,580.00
2935.1     K39 ‐ Prep Table with Sink ‐ Cust Fab                      12/19/11               0.00               0.00
2936       K50 Walkin Freezer Shelving                                12/19/11           1,184.00           1,184.00
2936.1     K50 Walkin Freezer Shelving                                12/19/11               0.00               0.00
2937       K51 Walkin Cooler Shelving                                 12/19/11           1,062.00           1,062.00
2937.1     K51 Walkin Cooler Shelving                                 12/19/11               0.00               0.00
2938       K52 ‐ Dry Storage Shelving                                 12/19/11           1,284.00           1,284.00
2938.1     K52 ‐ Dry Storage Shelving                                 12/19/11               0.00               0.00
2939       K60 ‐ Pot Sink ‐ Cust Fab                                  12/19/11           2,814.00           2,814.00
2939.1     K60 ‐ Pot Sink ‐ Cust Fab                                  12/19/11               0.00               0.00
2940       K65 ‐ Clean Dish Table SS ‐ Cust Fab                       12/19/11           1,166.00           1,166.00
2940.1     K65 ‐ Clean Dish Table SS ‐ Cust Fab                       12/19/11               0.00               0.00
2941       K70 Dish Room Mop Sink ‐ Cust Fab                          12/19/11           1,125.00           1,125.00
2941.1     K70 Dish Room Mop Sink ‐ Cust Fab                          12/19/11               0.00               0.00
2942       K72 ‐ Dish table L Shaped ‐ Cust Fab                       12/19/11           2,476.00           2,476.00
2942.1     K72 ‐ Dish table L Shaped ‐ Cust Fab                       12/19/11               0.00               0.00
2943       K73 ‐ Ice Bin ‐ Cust Fab                                   12/19/11           1,129.00           1,129.00
2943.1     K73 ‐ Ice Bin ‐ Cust Fab                                   12/19/11               0.00               0.00
2944       K74 ‐ Hoshizaki ‐ Ice Maker                                12/19/11           5,301.00           5,301.00
2944.1     K74 ‐ Hoshizaki ‐ Ice Maker                                12/19/11               0.00               0.00
2945       K97 ‐ Waitress Pickup Station ‐ Cust Fab                   12/19/11           6,748.00           6,748.00
2945.1     K97 ‐ Waitress Pickup Station ‐ Cust Fab                   12/19/11               0.00               0.00
2946       K103 ‐ Ice Cream Dipping Cabinet                           12/19/11           1,175.00           1,175.00
2946.1     K103 ‐ Ice Cream Dipping Cabinet                           12/19/11               0.00               0.00
2947       K113 Beverage Counter ‐ SS ‐ Cust Fab                      12/19/11           3,915.00           3,915.00
2947.1     K113 Beverage Counter ‐ SS ‐ Cust Fab                      12/19/11               0.00               0.00
2948       K114 ‐ Beverage Counter ‐ SS ‐ Cust Fab                    12/19/11           4,325.00           4,325.00
2948.1     K114 ‐ Beverage Counter ‐ SS ‐ Cust Fab                    12/19/11               0.00               0.00
2949       K153 ‐ Install Walkin Cooler / Freezer                     12/19/11           6,200.00           6,200.00
2949.1     K153 ‐ Install Walkin Cooler / Freezer                     12/19/11               0.00               0.00
2950       K154 ‐ Install Kitchen Equip                               12/19/11           9,200.00           9,200.00
2950.1     K154 ‐ Install Kitchen Equip                               12/19/11               0.00               0.00
2951       K155 ‐ Stainless Steel Surcharge                           12/19/11           9,219.00           9,219.00
2951.1     K155 ‐ Stainless Steel Surcharge                           12/19/11               0.00               0.00
2952       H&K equipment ‐ Sale Tax Charge                            12/19/11          11,755.00          11,755.00
2952.1     H&K equipment ‐ Sale Tax Charge                            12/19/11               0.00               0.00
2953       H&K Misc Equipment Under $1,000                            12/19/11          19,090.00          19,090.00
2953.1     H&K Misc Equipment Under $1,000                            12/19/11               0.00               0.00
2954       IHOP Signs on Building ‐ Hilton Display                    12/19/11           8,384.00           8,384.00



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2954.1     IHOP Signs on Building ‐ Hilton Display                  12/19/11               0.00               0.00
2955       Misc Equipment ‐ Graphics                                12/19/11           1,255.00           1,255.00
2955.1     Misc Equipment ‐ Graphics                                12/19/11               0.00               0.00
3435       MItchell & Welch ‐ Allocated Expenses ‐ 3367             12/10/12           8,315.00           8,315.00
3435.1     MItchell & Welch ‐ Allocated Expenses ‐ 3367             12/10/12               0.00               0.00
3439       H&K Dallas ‐ Misc Equipment                              01/24/12           1,929.00           1,929.00
3439.1     H&K Dallas ‐ Misc Equipment                              01/24/12               0.00               0.00
3440       Coffee Equipment ‐ S&D                                   03/06/12           4,368.00           4,368.00
3440.1     Coffee Equipment ‐ S&D                                   03/06/12               0.00               0.00
3441       2012 Cost Seg ‐ 5 Yr Equipment                           10/17/12          24,787.00          24,787.00
3441.1     2012 Cost Seg ‐ 5 Yr Equipment                           10/17/12               0.00               0.00
3442       2012 Cost Seg Anal ‐ 3367 ‐ 15 Yr Equip                  10/17/12           2,375.00           2,295.79
3442.1     2012 Cost Seg Anal ‐ 3367 ‐ 15 Yr Equip                  10/17/12               0.00               0.00
3446       MUZAK System                                             01/24/12           3,311.00           3,311.00
3446.1     MUZAK System                                             01/24/12               0.00               0.00
3448       SHELVING                                                 02/01/12             291.00             291.00
3448.1     SHELVING                                                 02/01/12               0.00               0.00
3795       AO Smith Commercial hot water heater                     11/11/13           1,710.00           1,710.00
           WAFFLE BAKER                                             08/07/14             574.16             574.16
4337       Copeland 115v Egg Cooler                                 01/01/17             841.32             462.72
4400       Dipperwell w/Timer                                       05/25/17             950.16             522.59
4670       WIC Racks                                                06/16/18           1,231.30             430.96
4852       Hamilton Beach 3 Speed Triple Spindle Blender            11/19/18             671.00             234.85
Class = ME                                                                           516,764.94         514,643.07
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         516,764.94         514,643.07


Class = RE
4598       Remodel ‐ 3367                                           12/01/17          53,828.74           29,605.81
4599       Remodel ‐ 3367 ‐ Booth and Chairs                        12/01/17           7,500.00            4,125.00
4600       Remodel‐ 3367 ‐ Décor                                    12/01/17          10,000.00            5,500.00
4598.2     Add'l Furniture & Decor ‐ Remodel 3367                   12/01/17          13,625.00            7,493.75
Class = RE                                                                            84,953.74           46,724.56
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          84,953.74           46,724.56


Location = 3367                                                                    1,080,174.71         854,281.69
Less disposals and transfers                                                         (21,652.00)        (21,652.00)

Net Subtotal                                                                       1,058,522.71         832,629.69




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Location = 3383
Class = CO
3058       SECURITY SYSTEM ‐ INTERFACE                                    04/06/12          10,668.00             10,668.00
3058.1     SECURITY SYSTEM ‐ INTERFACE                                    04/06/12               0.00                  0.00
3313       Micros & Other Computer Equip ‐ Franklin Install               03/21/12          20,763.00             20,763.00
3313.1     Micros & Other Computer Equip ‐ Franklin Install               03/21/12               0.00                  0.00
           2014 Micros Upgrade                                            06/01/14             500.00                500.00
4305       Dell Optiplex 3040 8GB Computer                                01/01/17           1,027.87                565.32
4510       Optiplex 7050 Micro Upgrade                                    08/31/17           3,866.64              2,126.65
4738       EMV Transaction Minilink                                       08/23/18           2,520.00                882.00
4810       Apple Ipad 32gb                                                11/01/18             409.00                143.15
Class = CO                                                                                  39,754.51             35,648.12
Less disposals and transfers                                                                     0.00

Net Subtotal                                                                                39,754.51             35,648.12


Class = FU
3312       Booth Package ‐ Franklin ‐ Premier Woodwork                    03/12/12          33,037.00             33,037.00
3312.1     Booth Package ‐ Franklin ‐ Premier Woodwork                    03/12/12               0.00                  0.00
Class = FU                                                                                  33,037.00             33,037.00
Less disposals and transfers                                                                     0.00

Net Subtotal                                                                                33,037.00             33,037.00


Class = LI
3276         CARPETING                                                    11/07/12           7,403.00             7,403.00
3276.1       CARPETING                                                    11/07/12               0.00                 0.00
3316         Restaurant Real Prop ‐ Cost Seg Anal                         03/21/12         445,808.00           237,764.25
3316.1       Restaurant Real Prop ‐ Cost Seg Anal                         03/21/12               0.00                 0.00
3474         BUILDING IMPROVEMENTS                                        01/15/13           8,481.00             8,481.00
             Removed existing awning and replaced with a new one.         02/10/14           1,300.00             1,300.00
             Landlord Reimbursement for AC Unit                           04/03/14          (4,000.00)           (4,000.00)
Class = LI                                                                                 458,992.00           250,948.25
Less disposals and transfers                                                                     0.00

Net Subtotal                                                                               458,992.00           250,948.25


Class = ME
3226       BLOWE MOTOR AC                                                 09/01/12              1,087.00           1,087.00
3226.1     BLOWE MOTOR AC                                                 09/01/12                  0.00               0.00
3288       Microwave Ovens (3) ‐ K01                                      03/21/12              2,322.00           2,322.00



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3288.1     Microwave Ovens (3) ‐ K01                               03/21/12               0.00               0.00
3289       Sandwhich Unit ‐ Mega Top ‐ K02L                        03/21/12           1,805.00           1,805.00
3289.1     Sandwhich Unit ‐ Mega Top ‐ K02L                        03/21/12               0.00               0.00
3290       Pizza Prep Table (2) ‐ Refrig                           03/21/12           7,742.00           7,742.00
3290.1     Pizza Prep Table (2) ‐ Refrig                           03/21/12               0.00               0.00
3291       Reach in Refrig ‐ K06L                                  03/21/12           3,315.00           3,315.00
3291.1     Reach in Refrig ‐ K06L                                  03/21/12               0.00               0.00
3292       Reach In ‐ Refig / Freezer ‐ K10L                       03/21/12           4,991.00           4,991.00
3292.1     Reach In ‐ Refig / Freezer ‐ K10L                       03/21/12               0.00               0.00
3293       Reach In ‐ Refrig / Freezer ‐ K10R                      03/21/12           4,991.00           4,991.00
3293.1     Reach In ‐ Refrig / Freezer ‐ K10R                      03/21/12               0.00               0.00
3294       Egg Station ‐ K20                                       03/21/12           2,528.00           2,528.00
3294.1     Egg Station ‐ K20                                       03/21/12               0.00               0.00
3295       Vulcan ‐ Gas Griddle (4) ‐ K22                          03/21/12          18,412.00          18,412.00
3295.1     Vulcan ‐ Gas Griddle (4) ‐ K22                          03/21/12               0.00               0.00
3296       Pass Window ‐ Custom SS ‐ K23                           03/21/12           5,027.00           5,027.00
3296.1     Pass Window ‐ Custom SS ‐ K23                           03/21/12               0.00               0.00
3297       Hotplate ‐ Counter Unit ‐ Jade ‐ K26                    03/21/12           1,839.00           1,839.00
3297.1     Hotplate ‐ Counter Unit ‐ Jade ‐ K26                    03/21/12               0.00               0.00
3298       Hobart Mixer ‐ K34                                      03/21/12          11,665.00          11,665.00
3298.1     Hobart Mixer ‐ K34                                      03/21/12               0.00               0.00
3299       Walk‐in Cooler / Freezer ‐ K35                          03/21/12          18,932.00          18,932.00
3299.1     Walk‐in Cooler / Freezer ‐ K35                          03/21/12               0.00               0.00
3300       Prep Table with Sink ‐ Cust Fab ‐ K39                   03/21/12           1,580.00           1,580.00
3300.1     Prep Table with Sink ‐ Cust Fab ‐ K39                   03/21/12               0.00               0.00
3301       Pot Washing Sink ‐ Cust Fab ‐ K60                       03/21/12           2,814.00           2,814.00
3301.1     Pot Washing Sink ‐ Cust Fab ‐ K60                       03/21/12               0.00               0.00
3302       Dish Table ‐ Cust Fab ‐ K72                             03/21/12           2,476.00           2,476.00
3302.1     Dish Table ‐ Cust Fab ‐ K72                             03/21/12               0.00               0.00
3303       Hoshizaki Ice Maker ‐ K74                               03/21/12           5,301.00           5,301.00
3303.1     Hoshizaki Ice Maker ‐ K74                               03/21/12               0.00               0.00
3304       Beverage Counter ‐ Cust Fab ‐ K114                      03/21/12           4,325.00           4,325.00
3304.1     Beverage Counter ‐ Cust Fab ‐ K114                      03/21/12               0.00               0.00
3305       Install ‐ Walkin ‐ Cooler / Freezer ‐ K153              03/21/12           6,200.00           6,200.00
3305.1     Install ‐ Walkin ‐ Cooler / Freezer ‐ K153              03/21/12               0.00               0.00
3306       Install Kitchen Equipment ‐ K154                        03/21/12           9,500.00           9,500.00
3306.1     Install Kitchen Equipment ‐ K154                        03/21/12               0.00               0.00
3307       Various Equipment & H&K Adj ‐ Under $1,500              03/21/12          45,431.00          45,431.00
3307.1     Various Equipment & H&K Adj ‐ Under $1,500              03/21/12               0.00               0.00
3308       Franklin ‐ SS Surcharge                                 03/21/12           5,046.00           5,046.00
3308.1     Franklin ‐ SS Surcharge                                 03/21/12               0.00               0.00
3309       Freight ‐ Franklin Equip                                03/21/12           5,538.00           5,538.00
3309.1     Freight ‐ Franklin Equip                                03/21/12               0.00               0.00
3310       Sales Tax ‐ H&K Equipment ‐ Franklin                    03/21/12          12,921.00          12,921.00
3310.1     Sales Tax ‐ H&K Equipment ‐ Franklin                    03/21/12               0.00               0.00



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3311       Other MIsc Equip ‐ Franklin Store                           03/21/12             390.00            390.00
3311.1     Other MIsc Equip ‐ Franklin Store                           03/21/12               0.00              0.00
3314       Franklin ‐ Equip ‐ Cost Seg Analysis ‐ 5 Year               03/21/12         430,422.00        430,422.00
3314.1     Franklin ‐ Equip ‐ Cost Seg Analysis ‐ 5 Year               03/21/12               0.00              0.00
3315       Franklin ‐ 15 Year Equip ‐ Cost Seg Analysis                03/21/12          41,240.00         21,994.65
3315.1     Franklin ‐ 15 Year Equip ‐ Cost Seg Analysis                03/21/12               0.00              0.00
3317       SS Waitress Station & Other Cust Fab ‐ K97 & Others         03/21/12          20,231.00         20,231.00
3317.1     SS Waitress Station & Other Cust Fab ‐ K97 & Others         03/21/12               0.00              0.00
3436       Mitchell and Welch Allocated Exp ‐ 3383                     12/15/12           8,315.00          8,315.00
3436.1     Mitchell and Welch Allocated Exp ‐ 3383                     12/15/12               0.00              0.00
3585       Janiro's/Door closers and hinges                            05/24/13           1,381.00          1,381.00
           Equipment                                                   04/22/14          11,542.00         11,542.00
           BLOWER MOTOR                                                01/19/15           1,153.00          1,153.00
           M&E 3383                                                    03/15/16           1,182.40            965.63
4401       Dipperwell w/Timer                                          05/25/17             950.16            522.59
4696       Hinges ‐ Cooler Door                                        06/27/18             972.00            340.20
4834       Hamilton Beach 3 Speed Triple Spindle Blender               11/11/18             692.00            242.20
4984       Turbo Super Deluxe Reach In Refrigerator                    05/21/19           2,538.00            380.70
4985       Turbo Super Deluxe Freezer                                  05/21/19           3,231.00            484.65
Class = ME                                                                              710,027.56        684,152.62
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                            710,027.56        684,152.62


Class = RE
4317       Booths ‐ Remodel                                            05/04/17           8,660.00           4,763.00
4318       Tables ‐ Remodel                                            05/04/17           4,684.00           2,576.20
4319       Front Counter ‐ Remodel                                     05/04/17             950.00             522.50
4320       Remodel ‐ 3383                                              05/04/17          48,898.00          26,893.90
4321       24" IHOP Channel Letter Sign                                05/04/17          10,350.54           5,692.80
4320.2     Add'l Furniture & Decor ‐ Remodel 3383                      05/04/17          11,354.00           6,244.70
Class = RE                                                                               84,896.54          46,693.10
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             84,896.54          46,693.10


Location = 3383                                                                       1,369,974.61       1,085,092.67
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                          1,369,974.61       1,085,092.67


Location = 3423



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Class = CO
3403       Micros ‐ POS & Wiring ‐ Capstone                           09/12/12          24,648.00             24,648.00
3403.1     Micros ‐ POS & Wiring ‐ Capstone                           09/12/12               0.00                  0.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           WS5A                                                       08/04/15             894.45                834.82
4219       Dell Optiplex 3040 8GB Computer                            01/01/17             809.00                444.91
4739       EMV Transaction Minilink                                   08/23/18           2,508.00                877.80
4811       Apple Ipad 32gb                                            11/01/18             409.00                143.15
4812       Apple Ipad 32gb                                            11/01/18             409.00                143.15
4934       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             922.00                138.29
Class = CO                                                                              31,099.45             27,730.12
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            31,099.45             27,730.12


Class = FU
3404       Booth Package ‐ Premier Woodworking                        09/12/12          45,571.00             45,571.00
3404.1     Booth Package ‐ Premier Woodworking                        09/12/12               0.00                  0.00
Class = FU                                                                              45,571.00             45,571.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            45,571.00             45,571.00


Class = LI
3402       Capstone ‐ Leasehold Imp                                   09/12/12         264,005.00           133,469.15
3402.1     Capstone ‐ Leasehold Imp                                   09/12/12               0.00                 0.00
3638       Sign Clinic/Wall Sign                                      02/11/13           7,188.00             7,188.00
4663       Flooring Improvement                                       06/04/18           2,379.24               277.59
4692       100Gal Gas Water Heater                                    06/13/18          15,977.00             1,863.98
Class = LI                                                                             289,549.24           142,798.72
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           289,549.24           142,798.72


Class = ME
3245       OJ MACHINE                                                 10/17/12              1,380.00           1,380.00
3245.1     OJ MACHINE                                                 10/17/12                  0.00               0.00
3247       SECURITY CAMERAS                                           10/17/12              9,016.00           9,016.00
3247.1     SECURITY CAMERAS                                           10/17/12                  0.00               0.00
3277       COFFEE BREWERS                                             11/20/12              4,739.00           4,739.00
3277.1     COFFEE BREWERS                                             11/20/12                  0.00               0.00
3367       Panasonic Microwave ‐ NE‐1258 (3)                          09/12/12              2,442.00           2,442.00



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3367.1     Panasonic Microwave ‐ NE‐1258 (3)                           09/12/12               0.00               0.00
3368       Mega Top Sandwhich Unit ‐ K02                               09/12/12           1,807.00           1,807.00
3368.1     Mega Top Sandwhich Unit ‐ K02                               09/12/12               0.00               0.00
3369       Pizza Prep Table (2) ‐ K02L                                 09/12/12           7,742.00           7,742.00
3369.1     Pizza Prep Table (2) ‐ K02L                                 09/12/12               0.00               0.00
3370       Mobile Warmer Stand ‐ Cust Fab ‐ K08                        09/12/12           2,170.00           2,170.00
3370.1     Mobile Warmer Stand ‐ Cust Fab ‐ K08                        09/12/12               0.00               0.00
3371       Reach in Refrig ‐ K10L                                      09/12/12           4,303.00           4,303.00
3371.1     Reach in Refrig ‐ K10L                                      09/12/12               0.00               0.00
3372       Reach In Refrg / Freezer (2)                                09/12/12           8,606.00           8,606.00
3372.1     Reach In Refrg / Freezer (2)                                09/12/12               0.00               0.00
3373       Electric Fryer Counter Unit (2) K11                         09/12/12           2,838.00           2,838.00
3373.1     Electric Fryer Counter Unit (2) K11                         09/12/12               0.00               0.00
3374       Egg Station ‐ K20                                           09/12/12           2,528.00           2,528.00
3374.1     Egg Station ‐ K20                                           09/12/12               0.00               0.00
3375       Vulcan Gas Griddles (4) ‐ K22                               09/12/12          18,692.00          18,692.00
3375.1     Vulcan Gas Griddles (4) ‐ K22                               09/12/12               0.00               0.00
3376       Pass WIndow Assembly ‐ SS ‐ Cust Fab ‐ K23                  09/12/12           5,027.00           5,027.00
3376.1     Pass WIndow Assembly ‐ SS ‐ Cust Fab ‐ K23                  09/12/12               0.00               0.00
3377       Jade Gas Hotplate ‐ Counter Unit ‐ K26                      09/12/12           1,932.00           1,932.00
3377.1     Jade Gas Hotplate ‐ Counter Unit ‐ K26                      09/12/12               0.00               0.00
3378       Heat Lamps ‐ Marshall ‐ K28L                                09/12/12           2,376.00           2,376.00
3378.1     Heat Lamps ‐ Marshall ‐ K28L                                09/12/12               0.00               0.00
3379       Heat Lamps ‐ Marshall ‐ K28R                                09/12/12           2,268.00           2,268.00
3379.1     Heat Lamps ‐ Marshall ‐ K28R                                09/12/12               0.00               0.00
3380       Hobart Food Mixer ‐ K34                                     09/12/12          11,840.00          11,840.00
3380.1     Hobart Food Mixer ‐ K34                                     09/12/12               0.00               0.00
3381       Walk‐in Cooler/Freezer                                      09/12/12          21,091.00          21,091.00
3381.1     Walk‐in Cooler/Freezer                                      09/12/12               0.00               0.00
3382       Prep Table ‐ SS ‐ Cust Fab ‐ K39                            09/12/12           1,580.00           1,580.00
3382.1     Prep Table ‐ SS ‐ Cust Fab ‐ K39                            09/12/12               0.00               0.00
3383       Dry Storage Shelving ‐ K52                                  09/12/12           1,980.00           1,980.00
3383.1     Dry Storage Shelving ‐ K52                                  09/12/12               0.00               0.00
3384       Pot Washing Sink ‐ SS ‐ Cust Fab ‐ K60                      09/12/12           2,814.00           2,814.00
3384.1     Pot Washing Sink ‐ SS ‐ Cust Fab ‐ K60                      09/12/12               0.00               0.00
3385       Soiled Dishtable ‐ SS ‐ Cust Fab ‐ K72                      09/12/12           2,476.00           2,476.00
3385.1     Soiled Dishtable ‐ SS ‐ Cust Fab ‐ K72                      09/12/12               0.00               0.00
3386       Manitowoc Ice Maker ‐ K74                                   09/12/12           4,679.00           4,679.00
3386.1     Manitowoc Ice Maker ‐ K74                                   09/12/12               0.00               0.00
3387       Waitress Pick up Counter ‐ SS ‐ Cust Fab ‐ K97              09/12/12           6,478.00           6,478.00
3387.1     Waitress Pick up Counter ‐ SS ‐ Cust Fab ‐ K97              09/12/12               0.00               0.00
3388       Beverage Counter ‐ SS ‐ Cust Fab                            09/12/12           5,869.00           5,869.00
3388.1     Beverage Counter ‐ SS ‐ Cust Fab                            09/12/12               0.00               0.00
3389       Install ‐ Walkins ‐ K153                                    09/12/12           6,200.00           6,200.00
3389.1     Install ‐ Walkins ‐ K153                                    09/12/12               0.00               0.00



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3390       Install Kitchen Equip ‐ K154                            09/12/12           9,500.00          9,500.00
3390.1     Install Kitchen Equip ‐ K154                            09/12/12               0.00              0.00
3391       Stainless Steel Surcharge ‐ K155                        09/12/12           6,235.00          6,235.00
3391.1     Stainless Steel Surcharge ‐ K155                        09/12/12               0.00              0.00
3392       Equipment Delivery ‐ K156                               09/12/12           3,750.00          3,750.00
3392.1     Equipment Delivery ‐ K156                               09/12/12               0.00              0.00
3393       Freight ‐ Capstone Equip                                09/12/12           3,347.00          3,347.00
3393.1     Freight ‐ Capstone Equip                                09/12/12               0.00              0.00
3394       Sales Tax ‐ Capstone Equip                              09/12/12          12,240.00         12,240.00
3394.1     Sales Tax ‐ Capstone Equip                              09/12/12               0.00              0.00
3395       Capstone Equipment ‐ H&K Quote ‐ Under $1500            09/12/12          32,211.00         32,211.00
3395.1     Capstone Equipment ‐ H&K Quote ‐ Under $1500            09/12/12               0.00              0.00
3396       Other Misc Equip ‐ Capstone                             09/12/12             739.00            739.00
3396.1     Other Misc Equip ‐ Capstone                             09/12/12               0.00              0.00
3397       Signs ‐ Capstone                                        09/12/12          13,312.00         13,312.00
3397.1     Signs ‐ Capstone                                        09/12/12               0.00              0.00
3398       Patio Tables                                            09/12/12           3,317.00          3,317.00
3398.1     Patio Tables                                            09/12/12               0.00              0.00
3399       Patio Umbrellas                                         09/12/12           3,286.00          3,286.00
3399.1     Patio Umbrellas                                         09/12/12               0.00              0.00
3400       Capstone Equip ‐ 5 Year ‐ Cost Seg Analysis             09/12/12         254,894.00        254,894.00
3400.1     Capstone Equip ‐ 5 Year ‐ Cost Seg Analysis             09/12/12               0.00              0.00
3401       Capstone Equip ‐ 15 Yr ‐ Cost Seg Analysis              09/12/12          24,422.00         23,743.70
3401.1     Capstone Equip ‐ 15 Yr ‐ Cost Seg Analysis              09/12/12               0.00              0.00
3437       Mitchell and Welch Allocated Exp ‐ 33423                09/12/12           8,315.00          8,315.00
3437.1     Mitchell and Welch Allocated Exp ‐ 33423                09/12/12               0.00              0.00
3449       MUZAK SYSTEM                                            09/24/12           3,085.00          3,085.00
3449.1     MUZAK SYSTEM                                            09/24/12               0.00              0.00
3450       SECURITY EQUIPMENT                                      09/27/12           2,198.00          2,198.00
3450.1     SECURITY EQUIPMENT                                      09/27/12               0.00              0.00
           WAFFLE BAKER                                            12/04/14             744.94            744.94
           WAFFLE IRON                                             12/16/14             698.81            698.81
           KITCHEN DISPLAY SYSTEM 3423                             12/01/15          17,998.93         15,599.08
4369       Storage Racks ‐ WIC                                     07/11/17           1,700.49            935.28
4402       Dipperwell w/Timer                                      05/25/17             950.16            522.59
4853       Hamilton Beach 3 Speed Triple Spindle Blender           11/19/18             675.00            236.25
4978       Turbo Super Deluxe Reach In Refrigerator                05/13/19           2,465.00            369.75
Class = ME                                                                          548,957.33        542,152.40
Less disposals and transfers                                                              0.00

Net Subtotal                                                                        548,957.33        542,152.40


Class = RE
4585       Remodel ‐ 3423                                          11/10/17          56,503.23          31,076.76



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4586       Remodel ‐ 3423 ‐ '24in IHOP Signs ‐                        11/10/17          22,021.66           12,111.91
4585.2     Furniture & Decor ‐ Remodel 3423                           11/10/17          32,745.00           18,009.75
Class = RE                                                                             111,269.89           61,198.42
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           111,269.89           61,198.42


Location = 3423                                                                      1,068,263.91         851,161.88
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                         1,068,263.91         851,161.88


Location = 3427
Class = CO
3248       MICROS                                                     10/23/12             850.00              850.00
3248.1     MICROS                                                     10/23/12               0.00                0.00
3278       MICROS                                                     11/20/12           5,151.00            5,151.00
3278.1     MICROS                                                     11/20/12               0.00                0.00
3433       Micros POS Equip & Wiring                                  11/15/12          15,998.00           15,998.00
3433.1     Micros POS Equip & Wiring                                  11/15/12               0.00                0.00
3445       COMPUTER WIRING                                            12/31/12           3,460.00            3,460.00
3445.1     COMPUTER WIRING                                            12/31/12               0.00                0.00
3451       OFFICE COMPUTER                                            06/30/12           1,805.00            1,805.00
3451.1     OFFICE COMPUTER                                            06/30/12               0.00                0.00
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           1 Micros WS5A                                              04/20/15             958.35              942.38
4220       Dell Optiplex 3040 8GB Computer                            01/01/17           1,059.00              582.44
4553       Dell Optiplex 7050 Computer                                09/14/17           1,138.81              626.34
4588       Micro Upgrade                                              11/16/17           1,095.12              602.31
4774       EMV Transaction Mini Link                                  09/01/18           2,403.00              841.05
4935       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             874.00              131.10
Class = CO                                                                              35,292.28           31,489.62
Less disposals and transfers                                                            (5,265.00)          (5,265.00)

Net Subtotal                                                                            30,027.28           26,224.62


Class = FU
3434       Booth Package ‐ Elliston Pl                                11/15/12          33,940.00           33,940.00
3434.1     Booth Package ‐ Elliston Pl                                11/15/12               0.00                0.00
Class = FU                                                                              33,940.00           33,940.00
Less disposals and transfers                                                                 0.00




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Net Subtotal                                                                            33,940.00          33,940.00


Class = LI
3431       Elliston ‐ Leasehold Improvements ‐ Cost Seg Anal          11/15/12         318,262.00        157,362.91
3431.1     Elliston ‐ Leasehold Improvements ‐ Cost Seg Anal          11/15/12               0.00              0.00
5022       Compressor ‐ Trane 7.5 Ton HVAC                            08/06/19           2,984.00            149.20
Class = LI                                                                             321,246.00        157,512.11
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           321,246.00        157,512.11


Class = ME
3246       OJ MACHINE                                                 10/23/12           1,409.00           1,409.00
3246.1     OJ MACHINE                                                 10/23/12               0.00               0.00
3347       MUZAK SYSTEM                                               12/01/12           3,268.00           3,268.00
3347.1     MUZAK SYSTEM                                               12/01/12               0.00               0.00
3348       EGG REFRIGERATOR                                           12/01/12           1,800.00           1,800.00
3348.1     EGG REFRIGERATOR                                           12/01/12               0.00               0.00
3349       CAMERA SYSTEM                                              12/07/12           7,954.00           7,954.00
3349.1     CAMERA SYSTEM                                              12/07/12               0.00               0.00
3350       DISH MACHINE                                               12/07/12           2,716.00           2,716.00
3350.1     DISH MACHINE                                               12/07/12               0.00               0.00
3351       REFRIGERATOR                                               12/21/12           1,476.00           1,476.00
3351.1     REFRIGERATOR                                               12/21/12               0.00               0.00
3405       Panasonic Microwave Ovens (3)                              11/15/12           2,442.00           2,442.00
3405.1     Panasonic Microwave Ovens (3)                              11/15/12               0.00               0.00
3406       Mega Top Sandwhich Unit                                    11/15/12           1,807.00           1,807.00
3406.1     Mega Top Sandwhich Unit                                    11/15/12               0.00               0.00
3407       Pizze Prep Table ‐ K02R                                    11/15/12           3,871.00           3,871.00
3407.1     Pizze Prep Table ‐ K02R                                    11/15/12               0.00               0.00
3408       Reach In Refrig ‐ K10L                                     11/15/12           4,303.00           4,303.00
3408.1     Reach In Refrig ‐ K10L                                     11/15/12               0.00               0.00
3409       Reach in Refrg / Frzr (2) ‐ K10R                           11/15/12           8,606.00           8,606.00
3409.1     Reach in Refrg / Frzr (2) ‐ K10R                           11/15/12               0.00               0.00
3410       Egg Station ‐ K20                                          11/15/12           2,528.00           2,528.00
3410.1     Egg Station ‐ K20                                          11/15/12               0.00               0.00
3411       Vulcan Gas Griddles (4)                                    11/15/12          18,692.00          18,692.00
3411.1     Vulcan Gas Griddles (4)                                    11/15/12               0.00               0.00
3412       Hotplate ‐ Counter Unit ‐ Gas ‐ K26                        11/15/12           1,932.00           1,932.00
3412.1     Hotplate ‐ Counter Unit ‐ Gas ‐ K26                        11/15/12               0.00               0.00
3413       Hobart Food Mixer                                          11/15/12          11,840.00          11,840.00
3413.1     Hobart Food Mixer                                          11/15/12               0.00               0.00
3414       Walk in Cooler / Freezer ‐ K35                             11/15/12          18,527.00          18,527.00



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3414.1    Walk in Cooler / Freezer ‐ K35                              11/15/12               0.00              0.00
3415      Prep Table ‐ SS ‐ Cust Fab ‐ K39                            11/15/12           1,580.00          1,580.00
3415.1    Prep Table ‐ SS ‐ Cust Fab ‐ K39                            11/15/12               0.00              0.00
3416      Dry Storage Shelving                                        11/15/12           2,885.00          2,885.00
3416.1    Dry Storage Shelving                                        11/15/12               0.00              0.00
3417      SS Capping for Window ‐ K72A                                11/15/12           2,150.00          2,150.00
3417.1    SS Capping for Window ‐ K72A                                11/15/12               0.00              0.00
3418      Manitowoc Ice Maker ‐ K74                                   11/15/12           4,679.00          4,679.00
3418.1    Manitowoc Ice Maker ‐ K74                                   11/15/12               0.00              0.00
3419      Pizza Prep Table ‐ K87                                      11/15/12           3,871.00          3,871.00
3419.1    Pizza Prep Table ‐ K87                                      11/15/12               0.00              0.00
3420      Waitress Pickup Station ‐ SS ‐ Cust Fab ‐ K97               11/15/12           6,811.00          6,811.00
3420.1    Waitress Pickup Station ‐ SS ‐ Cust Fab ‐ K97               11/15/12               0.00              0.00
3421      Beverage Counter ‐ SS‐ Cust Fab ‐ K114                      11/15/12           5,869.00          5,869.00
3421.1    Beverage Counter ‐ SS‐ Cust Fab ‐ K114                      11/15/12               0.00              0.00
3422      Installation Walkins ‐ K153                                 11/15/12           6,800.00          6,800.00
3422.1    Installation Walkins ‐ K153                                 11/15/12               0.00              0.00
3423      Install Kitchen Equip ‐ Elliston                            11/15/12           9,500.00          9,500.00
3423.1    Install Kitchen Equip ‐ Elliston                            11/15/12               0.00              0.00
3424      Elliston SS Surcharge                                       11/15/12           6,235.00          6,235.00
3424.1    Elliston SS Surcharge                                       11/15/12               0.00              0.00
3425      Elliston ‐ Delivery Charge ‐ k156                           11/15/12           3,750.00          3,750.00
3425.1    Elliston ‐ Delivery Charge ‐ k156                           11/15/12               0.00              0.00
3426      Pass Thru Window ‐ SS ‐ Cust Fab ‐ K23                      11/15/12           5,027.00          5,027.00
3426.1    Pass Thru Window ‐ SS ‐ Cust Fab ‐ K23                      11/15/12               0.00              0.00
3427      Elliston ‐ Sales Tax on Equip                               11/15/12          15,957.00         15,957.00
3427.1    Elliston ‐ Sales Tax on Equip                               11/15/12               0.00              0.00
3428      Elliston ‐ H&K Equip Less Than $1,500 & OTher               11/15/12          45,799.00         45,799.00
3428.1    Elliston ‐ H&K Equip Less Than $1,500 & OTher               11/15/12               0.00              0.00
3429      Elliston Place ‐ 5 Yr Equip ‐ Cost Seg Analysis             11/15/12         307,279.00        307,279.00
3429.1    Elliston Place ‐ 5 Yr Equip ‐ Cost Seg Analysis             11/15/12               0.00              0.00
3430      Elliston Pl ‐ 15 Yr Equip Cost Seg Analysis                 11/15/12          29,441.00         28,459.82
3430.1    Elliston Pl ‐ 15 Yr Equip Cost Seg Analysis                 11/15/12               0.00              0.00
3432      Elliston Place ‐ Other Equip                                11/15/12           2,193.00          2,193.00
3432.1    Elliston Place ‐ Other Equip                                11/15/12               0.00              0.00
3438      Mitchell and Welch Allocated Exp ‐ 3427                     11/15/12           8,315.00          8,315.00
3438.1    Mitchell and Welch Allocated Exp ‐ 3427                     11/15/12               0.00              0.00
3475      COFFEE & TEA EQUIPMENT                                      01/28/13           3,159.00          3,159.00
3499      TRASH CART                                                  02/07/13             759.00            759.00
3500      WATER HEATER                                                02/19/13           5,015.00          5,015.00
3538      WATER HEATER                                                03/19/13           3,755.00          3,755.00
3567      SS FABRICATED CAPS                                          04/05/13           1,040.00          1,040.00
3816      Equipment/3427                                              11/25/13          16,190.00         16,190.00
          Blower Motor                                                07/25/16           1,743.00          1,278.20
3427 Ansu Ansul System                                                11/14/16           2,430.80          1,661.05



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4403       Dipperwell w/Timer                                         05/25/17             950.16               522.59
4616       Cuber 1301 Ice Machine w/800lb Storage Bin                 02/12/18           6,839.93             2,393.98
4835       Hamilton Beach 3 Speed Triple Spindle Blender              11/11/18             693.00               242.55
Class = ME                                                                             603,886.89           596,347.19
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           603,886.89           596,347.19


Class = RE
4322       Booth Recover ‐ Remodel                                    05/07/17           4,416.00              2,428.80
4323       Remodel ‐ 3427                                             05/07/17          41,594.44             22,876.92
4324       Recover Awnings ‐ Remodel                                  05/07/17          12,480.19              6,864.11
4323.2     Add'l Furniture & Decor ‐ Remodel 3427                     05/07/17          12,529.00              6,890.95
Class = RE                                                                              71,019.63             39,060.78
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            71,019.63             39,060.78


Location = 3427                                                                      1,108,651.80           879,742.85
Less disposals and transfers                                                            (5,265.00)           (5,265.00)

Net Subtotal                                                                         1,103,386.80           874,477.85


Location = 3450
Class = CO
3668       3450 Computer Equipment                                    07/30/13          42,161.00             42,161.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           1 MICROS WS5A                                              01/13/15             960.87                960.87
4221       Dell Optiplex 3040 8GB Computer                            01/01/17           1,059.00                582.44
4554       Dell Optiplex 7050 Computer                                09/14/17           1,138.81                626.34
4589       Micro Upgrade                                              11/16/17           1,029.30                566.12
4740       EMV Transaction Minilink                                   08/23/18           1,116.00                390.60
4936       EMV Transaction Mini Link ‐ Additional Costs               02/20/19           2,418.00                362.70
Class = CO                                                                              50,382.98             46,150.07
Less disposals and transfers                                                           (42,161.00)           (42,161.00)

Net Subtotal                                                                                8,221.98           3,989.07


Class = FU
3669       3450 Furniture                                             07/30/13          42,821.00             42,821.00
3813       Furniture/3450                                             11/25/13           1,889.00              1,889.00



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Class = FU                                                                            44,710.00          44,710.00
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          44,710.00          44,710.00


Class = LI
3673       3450 COST SEG 39 YEAR PROPERTY                           07/30/13         257,390.00        114,395.51
3814       Leasehold/3450                                           11/25/13          47,556.00         47,556.00
           LI                                                       05/20/14           7,942.00          7,942.00
4626       Tankless Water Heater                                    03/01/18           4,445.74            518.67
4960       Storage Tank ‐ Water Heater                              04/02/19           1,338.00             66.90
5048       Blower Motor ‐ HVAC                                      03/21/19           1,227.00             61.35
Class = LI                                                                           319,898.74        170,540.43
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         319,898.74        170,540.43


Class = ME
3624       IMI Cornelius/OJ Machine                                 07/16/13           1,517.00          1,517.00
3670       3450 EQUIPMENT                                           07/30/13         230,414.00        230,414.00
3671       3450 COST SEG 5 YR PROPERTY                              07/30/13         248,507.00        248,507.00
3672       3450 COST SEG 15 YR PROPERTY                             07/30/13          23,810.00         10,582.20
3815       Equipment/3450                                           11/25/13          22,991.00         22,991.00
           Replace compressors on AC                                07/15/16           2,340.74          1,755.56
4404       Dipperwell w/Timer                                       05/25/17             950.16            522.59
4836       Hamilton Beach 3 Speed Triple Spindle Blender            11/11/18             693.00            242.55
Class = ME                                                                           531,222.90        516,531.90
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         531,222.90        516,531.90


Class = RE
4680       Cashier Stand ‐ Remodel                                  05/17/18           3,135.00           1,097.25
4681       Hostess Stand ‐ Remodel                                  05/17/18           1,790.00             626.50
4682       Recover Booths ‐ Remodel                                 05/17/18          10,350.00           3,622.50
4683       Remodel ‐ 3450                                           05/17/18          76,234.00           8,893.97
4684       24in IHOP Sign w/Red Smile ‐ Remodel                     05/17/18           4,399.00           1,539.65
4685       Signage ‐ Remodel                                        05/17/18           5,598.00           1,959.30
Class = RE                                                                           101,506.00          17,739.17
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         101,506.00          17,739.17



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Location = 3450                                                                           1,090,987.62           824,516.24
Less disposals and transfers                                                                (42,161.00)          (42,161.00)

Net Subtotal                                                                              1,048,826.62           782,355.24


Location = 3453
Class = CO
3820       3453 Computer Equipment                                         12/31/13          38,042.79             38,042.79
           2014 Micros Upgrade                                             06/01/14             500.00                500.00
4222       Dell Optiplex 3040 8GB Computer                                 01/01/17             809.00                444.91
4555       Dell Optiplex 7050 Computer                                     09/14/17           1,138.81                626.34
4741       EMV Transaction Minilink                                        08/23/18           2,180.00                763.00
4937       EMV Transaction Mini Link ‐ Additional Costs                    02/20/19           1,101.00                165.15
Class = CO                                                                                   43,771.60             40,542.19
Less disposals and transfers                                                                (38,042.79)           (38,042.79)

Net Subtotal                                                                                     5,728.81           2,499.40


Class = FU
3821       3453 Furniture                                                  12/31/13          36,420.05             36,420.05
Class = FU                                                                                   36,420.05             36,420.05
Less disposals and transfers                                                                      0.00

Net Subtotal                                                                                 36,420.05             36,420.05


Class = LI
3819       3453 COST SEG 39 YR PROPERTY                                    12/31/13         299,288.46           124,703.47
Class = LI                                                                                  299,288.46           124,703.47
Less disposals and transfers                                                                      0.00

Net Subtotal                                                                                299,288.46           124,703.47


Class = ME
3817       3453 COST SEG 5 YR PROPERTY                                     12/31/13         246,911.18           246,911.18
3818       3453 COST SEG 15 YR PROPERTY                                    12/31/13          23,375.00             9,739.51
3822       3453 Equipment                                                  12/31/13         203,490.00           203,490.00
           Equipment                                                       06/30/14             701.61               701.61
           WARING WAFFLE BAKER                                             07/15/14             577.13               577.13
           Replacement of Bad Fan Cycle Control in Walk In Freezer         05/04/15           1,470.75             1,446.24



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Co Asset                                                           Date          Value                 Depreciation
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4405       Dipperwell w/Timer                                         05/25/17             950.16               522.59
5051       LED Upgrade ‐ Signs                                        11/13/19           2,584.00               387.60
Class = ME                                                                             480,059.83           463,775.86
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           480,059.83           463,775.86


Class = RE
4884       Remodel ‐ Rise n Shine                                     12/13/18          75,050.00              8,755.83
4885       24in Smile Logo Sign ‐ Remodel                             12/13/18           1,872.00                655.20
4886       Awning Logo Sign ‐ Remodel                                 12/13/18           6,635.00              2,322.25
4963       Additional Costs ‐ Remodel (PY)                            01/01/19           1,831.00                 91.55
Class = RE                                                                              85,388.00             11,824.83
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            85,388.00             11,824.83


Location = 3453                                                                        986,744.94           703,750.51
Less disposals and transfers                                                           (38,042.79)          (38,042.79)

Net Subtotal                                                                           948,702.15           665,707.72


Location = 3472
Class = CO
           3472 COMPUTER EQUIPMENT                                    10/28/14          35,398.94             35,398.94
           Replaced All Cameras                                       02/11/15           3,264.35              3,264.35
4223       Dell Optiplex 3040 8GB Computer                            01/01/17             809.00                444.91
4556       Dell Optiplex 7050 Computer                                09/14/17           1,138.81                626.34
4742       EMV Transaction Minilink                                   08/23/18           1,967.00                688.44
4938       EMV Transaction Mini Link ‐ Additional Costs               02/20/19           1,963.00                294.45
Class = CO                                                                              44,541.10             40,717.43
Less disposals and transfers                                                           (35,398.94)           (35,398.94)

Net Subtotal                                                                                9,142.16           5,318.49


Class = FU
             3472 BOONE FURNITURE                                     10/28/14          49,727.90             49,727.90
Class = FU                                                                              49,727.90             49,727.90
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            49,727.90             49,727.90



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Co Asset                                                              Date          Value               Depreciation
No



Class = LI
             3472 BOONE COST SEG 39 YEAR PROPERTY                        10/28/14         562,623.95         203,169.75
             Replace Two Windows                                         10/25/16           2,295.53           1,568.63
4130         39 Year Property ‐ Not Eligible for Bonus Depr              10/01/16          28,005.00           7,001.25
4962         100Gal Statewide Water Heater                               04/23/19           9,042.00             452.10
5019         Condenser Coil ‐ HVAC                                       08/06/19           6,006.00             300.30
5039         LED Upgrade ‐ Ext Pole Lighting ‐ Remodel                   08/07/19           4,375.00             218.75
Class = LI                                                                                612,347.48         212,710.78
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              612,347.48         212,710.78


Class = ME
             POPOUT WAFFLE BAKER                                         09/15/14           1,376.38           1,376.38
             3472 Boone COST SEG 5 YR PROPERTY                           10/28/14          43,950.20          43,950.20
             3472 BOONE COST SEG 15 YR PROPERTY                          10/28/14           4,211.01           1,520.62
             3472 BOONE EQUIPMENT                                        10/28/14         208,381.81         208,381.81
4132         5 Year Property ‐ 100%                                      10/01/16          27,038.00          20,278.50
4133         15 Year Property ‐ 100%                                     10/01/16           2,591.00             647.71
4406         Dipperwell w/Timer                                          05/25/17           1,029.34             566.14
5040         Signage ‐ Remodel                                           08/07/19          10,938.00           1,640.70
Class = ME                                                                                299,515.74         278,362.06
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              299,515.74         278,362.06


Class = RE
5041       Remodel ‐ Rise and Shine ‐ 3472                               08/07/19          85,792.00            4,289.60
Class = RE                                                                                 85,792.00            4,289.60
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                               85,792.00            4,289.60


Location = 3472                                                                         1,133,740.82         608,458.43
Less disposals and transfers                                                              (35,398.94)        (35,398.94)

Net Subtotal                                                                            1,098,341.88         573,059.49


Location = 3487



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Co Asset                                                           Date          Value              Depreciation
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Class = CO
4051       Computer Equipment (Need Invoices)                         04/10/16           7,959.00           5,969.25
4052       Oracle Micro POS System                                    04/10/16           5,142.00           3,856.50
4053       Oracle Micro POS System                                    04/10/16           5,142.00           3,856.50
4054       Oracle Micro POS System                                    04/10/16           5,142.00           3,856.50
4055       Oracle Micro POS System                                    04/10/16           5,142.00           3,856.50
4056       Oracle Micro POS System                                    04/10/16           5,142.00           3,856.50
4057       Oracle Micro POS System                                    04/10/16           5,142.00           3,856.50
4062       Computer Equipment (Need Invoices)                         04/10/16           1,236.00             927.00
4381       Oracle RES3700 POS System                                  01/19/17           3,625.00           1,993.75
4538       Dell Optiplex 7040 Computer                                06/13/17           1,357.32             746.52
4743       EMV Transaction Minilink                                   08/23/18           2,445.00             855.75
4939       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             646.00              96.90
Class = CO                                                                              48,120.32          33,728.17
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            48,120.32          33,728.17


Class = FU
4008       FCI Booths                                                 04/10/16          23,697.00          17,772.75
4009       FCI Tables                                                 04/10/16          10,833.00           8,124.75
4010       Radius Hostess Stand                                       04/10/16           9,479.00           7,109.25
4011       Décor Screens                                              04/10/16           4,062.00           3,046.50
4013       Office Shelves and Counter                                 04/10/16           1,354.00           1,015.50
4014       Metal Chairs                                               04/10/16           8,125.00           6,093.75
4015       Wood Stools                                                04/10/16           2,708.00           2,031.00
Class = FU                                                                              60,258.00          45,193.50
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            60,258.00          45,193.50


Class = LI
4000       New Store ‐ Interior ‐ 3487                                04/10/16         604,576.00        151,144.01
4001       New Store ‐ Exterior ‐ 3487                                04/10/16          53,450.00         13,362.49
4002       New Store ‐ HVAC ‐ 3487                                    04/10/16         138,257.00         34,564.24
4006       Stainless Steel Counter                                    04/10/16           3,000.00          2,250.00
4012       POS Cabinets                                               04/10/16           7,448.00          5,586.00
4059       HVAC Repair                                                09/13/16           4,333.00          3,249.75
Class = LI                                                                             811,064.00        210,156.49
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           811,064.00        210,156.49




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Class = ME
4003       New Store ‐ Furn & Equip Install ‐ 3487                    04/10/16          11,400.00           8,550.00
4004       Range Hood                                                 04/10/16          31,600.00          23,700.00
4005       Kitchen Doors                                              04/10/16           3,842.00           2,881.50
4007       Muzak                                                      04/10/16           3,331.00           2,498.25
4016       Machinery & Equipment                                      04/10/16          64,757.00          48,567.75
4017       Panasonic 1200watt Microwave Oven                          04/10/16             815.00             611.25
4018       Panasonic 1200watt Microwave Oven                          04/10/16             815.00             611.25
4019       True Food Refrigerated Pizza Prep Table                    04/10/16           3,100.00           2,325.00
4020       True Food Refrigerated Pizza Prep Table                    04/10/16           3,100.00           2,325.00
4021       True Food Refrigerated Pizza Prep Table                    04/10/16           3,100.00           2,325.00
4022       True Food Reach‐In 1 Section Refrigerator T‐23‐2           04/10/16           2,935.00           2,201.25
4023       True Food Reach‐In 1 Section Refrigerator T‐23‐2           04/10/16           2,935.00           2,201.25
4024       True Food Reach‐In 1 Section Refrigerator T‐23F‐2          04/10/16           3,490.00           2,617.50
4025       Wells 5D‐SMPT‐120 Hot Food Well                            04/10/16           2,209.00           1,656.75
4026       Dean SR142G Gas Fryer                                      04/10/16           1,804.00           1,353.00
4027       Dallas IHP432 Egg Station                                  04/10/16           2,719.00           2,039.25
4028       Vulcan 948RX Heavy Duty Griddle                            04/10/16           6,119.00           4,589.25
4029       Vulcan 948RX Heavy Duty Griddle                            04/10/16           6,119.00           4,589.25
4030       Vulcan 948RX Heavy Duty Griddle                            04/10/16           6,119.00           4,589.25
4031       Dallas IHP1053 Stainless Pass Thru Window                  04/10/16           5,452.00           4,089.00
4032       Vulcan 936RX Gas Griddle                                   04/10/16           5,292.00           3,969.00
4033       Vulcan Achiever Hotplate 36" Gas                           04/10/16           1,751.00           1,313.25
4034       Marshall Heat Lamps                                        04/10/16           4,864.00           3,648.00
4035       Hobart 2.7 HP 60q Mixer                                    04/10/16          12,018.00           9,013.50
4036       Kolpak Walk In Cooler                                      04/10/16          30,276.00          22,707.00
4037       Stainless Steel Prep Table 60x30x36                        04/10/16           1,886.00           1,414.50
4038       Dallas Pot Washing Sink 114in                              04/10/16           3,314.00           2,485.50
4039       Dallas Clean Dish Table                                    04/10/16           1,523.00           1,142.25
4040       Manitowoc Indigo Ice Maker                                 04/10/16           4,424.00           3,318.00
4041       Beverage Air Refrigerated Display Case 6.8cf               04/10/16           1,128.00             846.00
4042       Dallas Stainless Waitress Pick Up Counter                  04/10/16           6,748.00           5,061.00
4043       Silver King Ice Cream Dipping Cabinet                      04/10/16           1,675.00           1,256.25
4044       Manitowoc Ice Maker                                        04/10/16           4,539.00           3,404.25
4045       Dallas IHP1181 13.3ft Stainless Beverage Counter           04/10/16           3,915.00           2,936.25
4046       Dallas IHP1156 13.3ft Stainless Beverage Counter           04/10/16           4,745.00           3,558.75
4047       Bunn Axiom 4‐2 Twin Coffee                                 04/10/16           1,461.00           1,095.75
4048       Bunn Axiom 4‐2 Twin Coffee                                 04/10/16           1,461.00           1,095.75
4049       Curtis Café Cappacino                                      04/10/16             907.00             680.25
4050       Bunn Tea Brewer                                            04/10/16           1,210.00             907.50
4058       30in IHOP 24in Arch Letter Sign                            04/10/16           9,997.00           7,497.75
4060       CCTV Security System                                       04/10/16          12,591.00           9,443.25
4061       110V Popout Waffle Baker                                   04/10/16           1,484.00           1,113.00
4355       Chip Set ‐ Security System                                 05/31/17           1,508.95             829.93



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4407       Dipperwell w/Timer                                        05/25/17           1,029.34            566.14
4837       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             675.00            236.25
Class = ME                                                                            286,183.29        213,859.82
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          286,183.29        213,859.82


Location = 3487                                                                     1,268,125.61        527,937.98
Less disposals and transfers                                                                0.00

Net Subtotal                                                                        1,268,125.61        527,937.98


Location = 3488
Class = CO
4112       Dell Optiplex 7040 8GB Computer                           09/06/16           1,272.00             954.00
4113       Oracle Micro POS System                                   09/06/16           6,871.00           5,153.25
4114       Oracle Micro POS System                                   09/06/16           6,871.00           5,153.25
4115       Oracle Micro POS System                                   09/06/16           6,871.00           5,153.25
4116       Oracle Micro POS System                                   09/06/16           6,871.00           5,153.25
4117       Oracle Micro POS System                                   09/06/16           6,871.00           5,153.25
4129       Dell Computer (Need Invoice)                              09/06/16           1,180.00             885.00
4242       Dell Optiplex 7040 8GB Computer                           01/01/17           1,197.00             658.34
4744       EMV Transaction Minilink                                  08/23/18           2,520.00             882.00
Class = CO                                                                             40,524.00          29,145.59
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           40,524.00          29,145.59


Class = FU
3488 Keyst8.5ft Aluminum Umbrella                                    10/28/16           3,682.00           2,516.03
4068       Merric Booths                                             09/06/16          27,665.00          20,748.75
4069       Merric Tables                                             09/06/16           8,645.00           6,483.75
4070       Radius Hostess Stand                                      09/06/16           8,069.00           6,051.75
4073       Office Desk                                               09/06/16           1,152.00             864.00
4074       46" Round Picnic Tables                                   09/06/16           1,463.00           1,097.25
4075       Essentials II Side Chairs                                 09/06/16           3,392.00           2,543.97
Class = FU                                                                             54,068.00          40,305.50
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           54,068.00          40,305.50




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Class = LI
4063       New Store ‐ Interior ‐ 3488                                09/06/16         551,410.00        137,852.51
4064       New Store ‐ Exterior ‐ 3488                                09/06/16          57,421.00         14,355.26
4065       New Store ‐ HVAC ‐ 3488                                    09/06/16          87,612.00         21,903.00
4071       Half Walls                                                 09/06/16           8,645.00          6,483.75
4072       POS Cabinets                                               09/06/16           3,458.00          2,593.50
Class = LI                                                                             708,546.00        183,188.02
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           708,546.00        183,188.02


Class = ME
4066       New Store ‐ Furn & Equip Install ‐ 3488                    09/06/16          10,550.00           7,912.50
4067       Muzak                                                      09/06/16           3,732.00           2,799.00
4076       Misc M&E Dishware/Cookware                                 09/06/16          25,358.00          19,018.50
4077       Machinery & Equipment                                      09/06/16          50,648.00          37,986.00
4078       Panasonic 1200watt Microwave Oven                          09/06/16             815.00             611.25
4079       Panasonic 1200watt Microwave Oven                          09/06/16             815.00             611.25
4080       Panasonic 1200watt Microwave Oven                          09/06/16             815.00             611.25
4081       True Food Refrigerated Pizza Prep Table                    09/06/16           3,163.00           2,372.25
4082       True Food Refrigerated Pizza Prep Table                    09/06/16           3,163.00           2,372.25
4083       True Food Refrigerated Pizza Prep Table                    09/06/16           3,163.00           2,372.25
4084       Waring WW180 Waffle Baker                                  09/06/16           1,213.00             909.75
4085       True Food Reach‐In 1 Section Refrigerator T‐23‐2           09/06/16           2,907.00           2,180.25
4086       True Food Reach‐In 1 Section Refrigerator T‐23‐2           09/06/16           2,900.00           2,175.00
4087       True Food Reach‐In 1 Section Refrigerator T‐23F‐2          09/06/16           3,457.00           2,592.75
4088       Wells 5D‐SMPT‐120 Hot Food Well                            09/06/16           2,234.00           1,675.47
4089       Dean SR142G Gas Fryer                                      09/06/16           1,804.00           1,353.00
4090       True Food TWT‐27F‐HC Worktop Freezer                       09/06/16           1,873.00           1,404.75
4091       Dallas IHP432 Egg Station                                  09/06/16           2,719.00           2,039.25
4092       Vulcan 948RX Heavy Duty Griddle                            09/06/16           6,212.00           4,659.00
4093       Vulcan 948RX Heavy Duty Griddle                            09/06/16           6,212.00           4,659.00
4094       Vulcan 948RX Heavy Duty Griddle                            09/06/16           6,212.00           4,659.00
4095       Vulcan 948RX Heavy Duty Griddle                            09/06/16           6,212.00           4,659.00
4096       Dallas IHP1053 Stainless Pass Thru Window                  09/06/16           9,702.00           7,276.50
4097       Vulcan VHP636U 36in Countertop Hotplate                    09/06/16           1,751.00           1,313.25
4098       Marshall Heat Lamps                                        09/06/16           4,864.00           3,648.00
4099       Hobart 2.7 HP 60q Mixer                                    09/06/16          12,260.00           9,195.00
4100       Kolpak Walk In Cooler                                      09/06/16          30,236.00          22,677.00
4101       Stainless Steel Prep Table 60x30x36                        09/06/16           2,029.00           1,521.75
4102       Polar Ware Hand Sink 14x10in                               09/06/16           1,564.00           1,173.00
4103       Dallas Pot Washing Sink 114in                              09/06/16           3,314.00           2,485.50
4104       Dallas Clean Dish Table                                    09/06/16           1,523.00           1,142.25
4105       Manitowoc Indigo Ice Maker                                 09/06/16           4,424.00           3,318.00



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4106       Beverage Air Refrigerated Display Case 6.8cf              09/06/16           1,128.00            846.00
4107       Dallas Stainless Waitress Pick Up Counter                 09/06/16           6,748.00          5,061.00
4108       Silver King Ice Cream Dipping Cabinet                     09/06/16           1,850.00          1,387.50
4109       Manitowoc Ice Maker                                       09/06/16           4,026.00          3,019.50
4110       Dallas IHP1181 13.3ft Stainless Beverage Counter          09/06/16           4,059.00          3,044.25
4111       Dallas IHP1156 13.3ft Stainless Beverage Counter          09/06/16           4,745.00          3,558.75
4118       24in Channel Letter Sign                                  09/06/16           4,560.00          3,420.00
4119       24in Channel Letter Sign                                  09/06/16           4,560.00          3,420.00
4120       24in Channel Letter Sign                                  09/06/16           4,560.00          3,420.00
4121       110V Popout Waffle Baker                                  09/06/16             986.00            739.50
4122       110V Popout Waffle Baker                                  09/06/16             986.00            739.50
4123       CCTV Security System                                      09/06/16          11,948.00          8,961.00
4124       Bunn Axiom 4‐2 Twin Coffee                                09/06/16           1,486.00          1,114.50
4125       Bunn Axiom 4‐2 Twin Coffee                                09/06/16           1,699.00          1,274.25
4126       Curtis Café Cappacino                                     09/06/16           1,168.00            876.00
4127       Bunn Tea Brewer                                           09/06/16             956.00            717.00
4408       Dipperwell w/Timer                                        05/25/17             950.16            522.59
4914       Hamilton Beach Milkshake Machine                          02/01/19             675.00            101.25
Class = ME                                                                            274,934.16        205,605.56
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          274,934.16        205,605.56


Location = 3488                                                                     1,119,889.16        473,229.10
Less disposals and transfers                                                                0.00

Net Subtotal                                                                        1,119,889.16        473,229.10


Location = 3502
Class = CO
           3502 COMPUTER EQUIP                                       01/01/15          41,120.90          41,120.90
4224       Dell Optiplex 3040 8GB Computer                           01/01/17           1,059.00             582.44
4557       Dell Optiplex 7050 Computer                               09/14/17           1,138.81             626.34
4745       EMV Transaction Minilink                                  08/23/18           2,909.00           1,018.15
Class = CO                                                                             46,227.71          43,347.83
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           46,227.71          43,347.83


Class = FU
             3502 FURNITURE                                          01/01/15          61,726.95          61,726.95
Class = FU                                                                             61,726.95          61,726.95



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Less disposals and transfers                                                                      0.00

Net Subtotal                                                                               61,726.95             61,726.95


Class = LI
             3502 COST SEG 39 YR PROPERTY                                01/01/15         277,120.60            96,992.23
             3502 Leasehold Improvement                                  12/01/15           1,085.42               940.68
             ADA RAMP                                                    02/01/16           1,800.00             1,500.00
             Outdoor Lighting Repair                                     03/15/16           2,121.00             1,732.15
4131         39 Year Property ‐ Not Eligible for Bonus Depr              10/01/16          28,005.00             7,001.25
4183         Lighting Upgrade                                            01/01/17           3,691.00               676.69
4195         Thermostat ‐ HVAC                                           01/01/17           3,080.00               564.66
Class = LI                                                                                316,903.02           109,407.66
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              316,903.02           109,407.66


Class = ME
             WAFFLE IRONS                                                12/16/14           1,424.75             1,424.75
             3502 COST SEG 5 YR PROPERTY                                 01/01/15         267,556.93           267,556.93
             3502 COST SEG 15 YR PROPERTY                                01/01/15          25,635.50             8,972.41
             3502 EQUIPMENT                                              01/01/15         240,887.36           240,887.36
4134         5 Year Property ‐ 100%                                      10/01/16          27,038.00            20,278.50
4135         15 Year Property ‐ 100%                                     10/01/16           2,591.00               647.71
4334         Prep Table Cooler                                           05/24/17           2,703.04             1,486.67
4409         Dipperwell w/Timer                                          05/25/17             950.16               522.59
4838         Hamilton Beach 3 Speed Triple Spindle Blender               11/11/18             694.00               242.90
Class = ME                                                                                569,480.74           542,019.82
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              569,480.74           542,019.82


Class = RE
4136       Remodel (Need Invoices)                                       01/01/16              1,650.00            412.50
Class = RE                                                                                     1,650.00            412.50
Less disposals and transfers                                                                       0.00

Net Subtotal                                                                                   1,650.00            412.50


Location = 3502                                                                         1,043,755.02           781,992.23
Less disposals and transfers                                                                    0.00



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Net Subtotal                                                                         1,043,755.02           781,992.23


Location = 4403
Class = CL
1573       Rest Equip ‐Capital Lease 4403                             05/13/05          37,421.00             37,421.00
1573.1     Rest Equip ‐Capital Lease 4403                             05/13/05               0.00                  0.00
Class = CL                                                                              37,421.00             37,421.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            37,421.00             37,421.00


Class = CO
12         SECURITY CAMERA SYSTEM                                     07/01/09           4,151.00              4,151.00
12.1       SECURITY CAMERA SYSTEM                                     07/01/09               0.00                  0.00
2573       DELL COMPUTER                                              02/07/11           1,458.00              1,458.00
2573.1     DELL COMPUTER                                              02/07/11               0.00                  0.00
2893       WORKSTATION                                                12/01/11           1,388.00              1,388.00
2893.1     WORKSTATION                                                12/01/11               0.00                  0.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           WIFI HARDWARE                                              10/15/15             897.25                807.52
4164       POS Micro Touchscreen Terminal                             05/06/16             961.00                720.75
4165       POS Micro Touchscreen Terminal                             05/06/16             961.00                720.75
4166       POS Micro Touchscreen Terminal                             05/06/16             961.00                720.75
4167       POS Micro Touchscreen Terminal                             05/06/16             961.00                720.75
4225       Dell Optiplex 3040 8GB Computer                            01/01/17             809.00                444.91
4539       Dell Optiplex 7040 Computer                                06/13/17           1,186.36                652.50
4746       EMV Transaction Minilink                                   08/23/18           2,652.00                928.20
4813       Apple Ipad 32gb                                            11/01/18             409.00                143.15
4940       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             922.00                138.29
Class = CO                                                                              18,216.61             13,494.57
Less disposals and transfers                                                            (2,846.00)            (2,846.00)

Net Subtotal                                                                            15,370.61             10,648.57


Class = FU
3059       NEW BOOTH                                                  04/20/12                550.00             550.00
3059.1     NEW BOOTH                                                  04/20/12                  0.00               0.00
3612       Custom Booth/Booth Seats                                   07/12/13                836.00             836.00
Class = FU                                                                                  1,386.00           1,386.00
Less disposals and transfers                                                                    0.00




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Net Subtotal                                                                        1,386.00           1,386.00


Class = LI
2057         Walk In Freezer                                  03/20/09           4,361.00              4,361.00
2057.1       Walk In Freezer                                  03/20/09               0.00                  0.00
2110         SEWER WORK                                       12/27/05           6,500.00              6,174.97
2110.1       SEWER WORK                                       12/27/05               0.00                  0.00
2111         Roof Replacement                                 05/31/06          13,500.00             12,450.00
2111.1       Roof Replacement                                 05/31/06               0.00                  0.00
2218         LAVA ROCKS & INSTALL                             06/08/10           4,845.00              4,845.00
2218.1       LAVA ROCKS & INSTALL                             06/08/10               0.00                  0.00
2338         LAVA ROCKS & INSTALL                             12/01/10             291.00                291.00
2338.1       LAVA ROCKS & INSTALL                             12/01/10               0.00                  0.00
             Equipment                                        05/15/14           1,500.00              1,500.00
             BOOTH SEAT UPHOLSTERY                            06/13/14             540.00                540.00
             RESTRIPING PARKING LOT                           12/26/14             700.00                700.00
             MAIN SEWER IN THE PARKING LOT                    06/11/15           1,239.26              1,197.94
4244         WIC Flooring Replacement                         01/19/17           3,614.00                662.56
4249         20x20 Roof Replacement                           02/17/17           5,101.25                935.22
4360         Sealcoat Parking Lot                             04/20/17          11,880.00              2,178.00
4609         Power Supply to Road Sign                        12/27/17           2,185.00                400.59
4642         Ansul Fire System Upgrade                        04/10/18           2,405.66                280.67
4865         HVAC Duct Improvement                            08/02/18           6,990.00                815.50
4950         Awning Replacement                               02/26/19           5,834.00                291.70
5084         AO Smith 100gal Water Heater                     01/20/20          17,537.00                146.14
Class = LI                                                                      89,023.17             37,770.29
Less disposals and transfers                                                         0.00

Net Subtotal                                                                    89,023.17             37,770.29


Class = ME
49         NEW CONDENSOR                                      11/04/09              3,880.00           3,880.00
49.1       NEW CONDENSOR                                      11/04/09                  0.00               0.00
50         REFRIDGERATOR                                      11/25/09              2,550.00           2,550.00
50.1       REFRIDGERATOR                                      11/25/09                  0.00               0.00
75         NEW GAS FRYER                                      12/08/09              2,655.00           2,655.00
75.1       NEW GAS FRYER                                      12/08/09                  0.00               0.00
1621       Top Mount Refrig 24 CU FT                          09/29/06              2,112.00           2,112.00
1621.1     Top Mount Refrig 24 CU FT                          09/29/06                  0.00               0.00
1654       Top Mount Freezer                                  11/14/06              2,580.00           2,580.00
1654.1     Top Mount Freezer                                  11/14/06                  0.00               0.00
1809       AIr Cooled Cuber                                   09/06/07              9,159.00           9,159.00
1809.1     AIr Cooled Cuber                                   09/06/07                  0.00               0.00



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1853       Walk In Cooler                                               12/18/07           3,319.00           3,319.00
1853.1     Walk In Cooler                                               12/18/07               0.00               0.00
1900       Sandwich Prep                                                04/02/08           2,443.00           2,443.00
1900.1     Sandwich Prep                                                04/02/08               0.00               0.00
2064       Salad Unit                                                   03/18/09           2,409.00           2,409.00
2064.1     Salad Unit                                                   03/18/09               0.00               0.00
2231       Equipment                                                    06/21/10           1,639.00           1,639.00
2231.1     Equipment                                                    06/21/10               0.00               0.00
2592       EQUIMENT ‐ LEMONS                                            02/14/11             647.00             647.00
2592.1     EQUIMENT ‐ LEMONS                                            02/14/11               0.00               0.00
2616       EQUIPMENT XXXXXXX                                            03/29/11             853.00             853.00
2616.1     EQUIPMENT XXXXXXX                                            03/29/11               0.00               0.00
2742       PREP TABLE                                                   08/16/11           2,532.00           2,532.00
2742.1     PREP TABLE                                                   08/16/11               0.00               0.00
2783       WIF EVAPERATOR COIL                                          09/20/11           2,948.00           2,948.00
2783.1     WIF EVAPERATOR COIL                                          09/20/11               0.00               0.00
3202       POWER SUPPLY                                                 08/03/12             549.00             549.00
3202.1     POWER SUPPLY                                                 08/03/12               0.00               0.00
3203       CEILING REGISTER                                             08/20/12             610.00             610.00
3203.1     CEILING REGISTER                                             08/20/12               0.00               0.00
3227       WATER PUMP                                                   09/25/12             867.00             867.00
3227.1     WATER PUMP                                                   09/25/12               0.00               0.00
3354       GAS VALVE                                                    12/07/12             797.00             797.00
3354.1     GAS VALVE                                                    12/07/12               0.00               0.00
3501       DOOR CLOSE                                                   02/15/13           1,030.00           1,030.01
3539       PRERINCE COMPLETE FAUCET                                     03/18/13             799.00             799.00
3796       Grill T‐stats                                                11/08/13             704.00             704.00
3807       Bunn Axiom DV Top                                            12/31/13             723.00             723.00
           Equipment                                                    01/14/14           1,352.78           1,352.78
           Equipment                                                    01/29/14           1,502.53           1,502.53
           Equipment                                                    02/25/14           3,225.60           3,225.60
           Equipment                                                    05/07/14             985.38             985.38
           Replaced compressor on salad cooler                          06/16/14             904.33             904.33
           WAFFLE BAKER                                                 08/07/14             574.44             574.44
           REACH‐IN W/HALF DOOR                                         08/19/14           3,051.12           3,051.12
           SANDWICH UNIT                                                08/19/14           3,194.77           3,194.77
           WAFFLE BAKER                                                 08/22/14             689.81             689.81
           WAFFLE IRON                                                  11/12/14           1,390.38           1,390.38
           Replaced Bad Heat Exchanger/Middle Unit Dining Room          02/11/15           7,753.04           7,753.04
           Replaced 12.5 Ton York AC Unit                               03/25/15          14,362.32          14,362.32
           Bunn Axiom 4/2 Twin Brewer                                   05/01/15           1,263.28           1,242.25
           Bad 10 Ton York Unit (Middle Dining Room)                    06/01/15          14,421.42          13,940.70
           New HOt Water Heater & Install Cost                          11/03/15           9,728.88           8,269.57
           Replace Ansul System Tanks                                   06/08/16           2,189.20           1,678.39
4196       Reach In Refrigerator                                        01/01/17           2,147.00           1,180.82



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4338       Refurbish 80ft Flagpole                                   03/23/17           2,508.63           1,379.75
4367       Turbo Air Reach In Freezer                                06/27/17           2,604.75           1,432.62
4477       Compressor ‐ WIC                                          10/06/17           1,203.98             662.19
4572       Compressor ‐ WIC                                          10/27/17           1,057.94             581.87
4839       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             671.00             234.85
5005       Ice Cream Dipping Cabinet                                 06/28/19           2,562.00             384.30
5017       Shelving ‐ WIC                                            07/30/19           1,560.00             234.00
Class = ME                                                                            126,709.58         116,012.82
Less disposals and transfers                                                           (9,728.88)         (8,269.57)

Net Subtotal                                                                          116,980.70         107,743.25


Class = RE
4479       24in Ihop Sign White ‐ Remodel                            10/12/17           5,049.08           2,777.01
4480       24in Ihop Sign Blue ‐ Remodel                             10/12/17           6,732.11           3,702.66
4481       51in x 118in Retro LED Sign ‐ Remodel                     10/12/17           9,256.65           5,091.16
4482       Awning Recover ‐ Remodel                                  10/15/17           4,884.98           2,686.75
4573       Remodel ‐ 4403 ‐ Roof Repair                              10/30/17           9,018.98           4,960.45
4574       Remodel ‐ 4403 ‐ Asphalt & Concrete                       10/30/17          25,760.00          14,168.00
4575       Remodel ‐ 4403 ‐ Landscaping                              10/30/17           6,420.85           3,531.47
4576       Remodel ‐ 4403 ‐ Tables                                   10/30/17           6,400.00           3,520.00
4577       Remodel ‐ 4403 ‐ Booths                                   10/30/17           5,500.00           3,025.00
4578       Remodel ‐ 4403 ‐ Hostess Stand                            10/30/17           1,700.00             935.00
4579       Remodel ‐ 4403 ‐ Décor                                    10/30/17          16,800.00           9,240.00
4580       Remodel ‐ 4403                                            10/30/17         188,213.58         103,517.48
4580.2     Add'l Furniture & Decor ‐ Remodel 4403                    10/30/17          15,775.00           8,676.25
4675       Add'l Remodel Costs ‐ 4403                                01/01/18           1,659.00             193.55
Class = RE                                                                            303,170.23         166,024.78
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          303,170.23         166,024.78


Location = 4403                                                                     1,487,926.59         887,272.52
Less disposals and transfers                                                          (12,574.88)        (11,115.57)

Net Subtotal                                                                        1,475,351.71         876,156.95


Location = 4405
Class = CL
1574       Rest Equip ‐Capital Lease 4405                            05/13/05          25,537.00           25,537.00
1574.1     Rest Equip ‐Capital Lease 4405                            05/13/05               0.00                0.00
Class = CL                                                                             25,537.00           25,537.00



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Less disposals and transfers                                                                   0.00

Net Subtotal                                                                            25,537.00             25,537.00


Class = CO
2219       SECURITY CAMERAS & INSTALL                                 06/15/10           1,050.00              1,050.00
2219.1     SECURITY CAMERAS & INSTALL                                 06/15/10               0.00                  0.00
2241       SECURITY CAMERAS & INSTALL                                 07/19/10           5,819.00              5,819.00
2241.1     SECURITY CAMERAS & INSTALL                                 07/19/10               0.00                  0.00
2574       DELL COMPUTER                                              02/07/11           1,458.00              1,458.00
2574.1     DELL COMPUTER                                              02/07/11               0.00                  0.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           3 MICROS WORK STATIONS 5                                   11/26/14           3,105.00              3,105.00
           1 Micros WS5A Terminal                                     06/08/15             972.52                940.09
           WIFI HARDWARE                                              10/15/15             897.25                807.52
           Computer Equipment 4405                                    10/17/16           4,692.45              4,692.45
4168       POS Micro Touchscreen Terminal                             05/06/16             961.00                720.75
4197       Network Drops                                              01/01/17           3,725.00              2,048.75
4226       Dell Optiplex 3040 8GB Computer                            01/01/17             809.00                444.91
4511       Optiplex 7050 Micro Upgrade                                08/31/17           1,154.04                634.72
4747       EMV Transaction Minilink                                   08/23/18           2,603.00                911.05
4941       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             922.00                138.29
Class = CO                                                                              28,668.26             23,270.53
Less disposals and transfers                                                            (8,327.00)            (8,327.00)

Net Subtotal                                                                            20,341.26             14,943.53


Class = FU
66         NEW BATHROOM PARTITIONS                                    12/30/09              1,316.00           1,316.00
66.1       NEW BATHROOM PARTITIONS                                    12/30/09                  0.00               0.00
Class = FU                                                                                  1,316.00           1,316.00
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                                1,316.00           1,316.00


Class = LI
2339         LAVA ROCKS & INSTALL                                     12/01/10               446.00             446.00
2339.1       LAVA ROCKS & INSTALL                                     12/01/10                 0.00               0.00
2645         LAVA ROCKS & INSTALL                                     05/01/11               565.00             565.00
2645.1       LAVA ROCKS & INSTALL                                     05/01/11                 0.00               0.00
3279         LIGHTING                                                 11/07/12               933.00             933.00
3279.1       LIGHTING                                                 11/07/12                 0.00               0.00



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           STRIPE PARKING LOT                                       08/15/14             800.00                800.00
4558       Building Improvement ‐ Vehicle Damage                    10/13/17           8,490.00              1,556.50
4644       Compressor ‐ 6.75 Ton HVAC Kitchen                       04/16/18           1,354.57                474.10
5023       LED Upgrade ‐ Pole Lightng                               08/21/19           2,293.00                114.65
5064       Trane 12.5 Ton HVAC ‐ DR                                 12/05/19          15,358.00                767.90
5105       Trane 12.5Ton HVAC ‐ DR                                  03/16/20          13,612.00                 45.37
5106       Trane 15 Ton HVAC ‐ Kitchen                              03/16/20          16,638.00                 55.46
Class = LI                                                                            60,489.57              5,757.98
Less disposals and transfers                                                               0.00

Net Subtotal                                                                          60,489.57              5,757.98


Class = ME
7          PREP TABLE                                               07/29/09              1,995.00           1,995.00
7.1        PREP TABLE                                               07/29/09                  0.00               0.00
39         NEW GAS FRYER AND INSTALL                                10/20/09              2,714.00           2,714.00
39.1       NEW GAS FRYER AND INSTALL                                10/20/09                  0.00               0.00
61         NEW EXHAUST HOOD                                         11/26/09              1,081.00           1,081.00
61.1       NEW EXHAUST HOOD                                         11/26/09                  0.00               0.00
1483       FREEZER                                                  07/19/05              1,809.00           1,809.00
1483.1     FREEZER                                                  07/19/05                  0.00               0.00
1499       SIGN                                                     09/13/05              6,983.00           6,983.00
1499.1     SIGN                                                     09/13/05                  0.00               0.00
1500       FREEZER                                                  09/29/05              1,303.00           1,303.00
1500.1     FREEZER                                                  09/29/05                  0.00               0.00
1515       WATER HEATER                                             12/29/05              5,814.00           5,814.00
1515.1     WATER HEATER                                             12/29/05                  0.00               0.00
1642       Fryer Pot                                                10/10/06              1,971.00           1,971.00
1642.1     Fryer Pot                                                10/10/06                  0.00               0.00
1854       Refrig, Freezer                                          12/18/07              4,701.00           4,701.00
1854.1     Refrig, Freezer                                          12/18/07                  0.00               0.00
1901       Condenser Fan Motor                                      03/18/08              2,053.00           2,053.00
1901.1     Condenser Fan Motor                                      03/18/08                  0.00               0.00
2327       RAPID                                                    11/24/10                962.00             962.00
2327.1     RAPID                                                    11/24/10                  0.00               0.00
2631       CARAFF EQUIPMENT                                         04/26/11                814.00             814.00
2631.1     CARAFF EQUIPMENT                                         04/26/11                  0.00               0.00
2667       EQUIPMENT XXXXX CARAF                                    05/09/11              1,567.00           1,567.00
2667.1     EQUIPMENT XXXXX CARAF                                    05/09/11                  0.00               0.00
2691       REFRIDGERATOR                                            06/28/11              1,136.00           1,136.00
2691.1     REFRIDGERATOR                                            06/28/11                  0.00               0.00
2776       FOOD WARMER                                              09/09/11                668.00             668.00
2776.1     FOOD WARMER                                              09/09/11                  0.00               0.00
2821       NEW THERMOSTAT                                           10/10/11              1,197.00           1,197.00



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2821.1       NEW THERMOSTAT                                            10/10/11               0.00               0.00
2828         WAFFLE IRONS                                              10/04/11             568.00             568.00
2828.1       WAFFLE IRONS                                              10/04/11               0.00               0.00
3228         COFFEE MAKER                                              09/27/12             794.00             794.00
3228.1       COFFEE MAKER                                              09/27/12               0.00               0.00
3280         THERMOSTATS                                               11/07/12           2,402.00           2,402.00
3280.1       THERMOSTATS                                               11/07/12               0.00               0.00
3281         THERMOSTATS                                               11/26/12           1,564.00           1,564.00
3281.1       THERMOSTATS                                               11/26/12               0.00               0.00
3452         HEAT EXCHANGER                                            01/19/12           4,805.00           4,805.00
3452.1       HEAT EXCHANGER                                            01/19/12               0.00               0.00
3502         Hockenbergs/PREP TABLES                                   02/06/13           2,532.00           2,532.00
3602         Interface Security Systems                                06/03/13             740.00             740.00
3610         S&D Coffee/Bunn Axiom 4/2 Twin                            06/25/13           1,251.00           1,251.00
3754         Condensor Fan motor                                       09/12/13             968.00             968.00
             Equipment                                                 01/17/14           1,304.49           1,304.49
             Equipment                                                 01/22/14             827.31             827.31
             Equipment                                                 04/10/14           2,239.22           2,239.22
             Microwave                                                 04/17/14             912.85             912.85
             EQUIPMENT                                                 07/03/14           1,338.90           1,338.90
             WARING WAFFLE BAKER                                       07/15/14             574.44             574.44
             SHIPP'S FIRE EQUIPMENT S/S INC                            09/24/14           2,507.70           2,507.70
             WAFFLE IRON                                               11/12/14             693.19             693.19
             Compressor                                                04/22/15           2,400.61           2,360.60
4184         Evaporator Coil ‐ WIC                                     01/01/17           3,528.00           1,940.40
4278         Reach In Refrigerator                                     04/12/17           2,147.00           1,180.83
4336         Shelving ‐ WIC                                            05/29/17           1,031.64             567.39
4410         Dipperwell w/Timer                                        05/25/17             950.16             522.59
4470         Access Panels ‐ Exhaust Hood                              09/15/17           2,130.00           1,171.50
4571         Vulcan Egg Range                                          10/25/17           2,119.71           1,165.84
4854         Hamilton Beach 3 Speed Triple Spindle Blender             11/19/18             673.00             235.55
4994         LED Upgrade ‐ Sign                                        05/31/19           1,130.00             169.50
Class = ME                                                                               78,900.22          72,104.30
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             78,900.22          72,104.30


Class = RE
4428         Parking Lot Improvements ‐ Remodel                        07/14/17          11,283.00           6,205.65
4429         Merick Table Tops ‐ Remodel                               07/14/17           6,400.00           3,520.00
4430         Merick Vinyl Seating ‐ Remodel                            07/14/17           5,500.00           3,025.00
4431         Remodel ‐ 4405                                            07/14/17         108,535.63          59,694.60
4449         24" Ihop Channel Letter Sign ‐ Remodel                    07/14/17           2,451.00           1,348.05
4450         144in x 232in Pylon Cabinet Sign ‐ Remodel                07/14/17          28,187.53          15,503.15



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4431.2     Add'l Furniture & Decor ‐ Remodel 4405                    07/14/17          19,750.00            10,862.50
Class = RE                                                                            182,107.16           100,158.95
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          182,107.16           100,158.95


Location = 4405                                                                     1,445,018.21           825,756.77
Less disposals and transfers                                                           (8,327.00)           (8,327.00)

Net Subtotal                                                                        1,436,691.21           817,429.77


Location = 4407
Class = CL
1575       Rest Equip ‐Capital Lease 4407                            05/13/05          27,924.00             27,924.00
1575.1     Rest Equip ‐Capital Lease 4407                            05/13/05               0.00                  0.00
Class = CL                                                                             27,924.00             27,924.00
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           27,924.00             27,924.00


Class = CO
2575       DELL COMPUTER                                             02/07/11           1,458.00              1,458.00
2575.1     DELL COMPUTER                                             02/07/11               0.00                  0.00
2797       SECURITY SYSTEM                                           09/29/11           7,385.00              7,385.00
2797.1     SECURITY SYSTEM                                           09/29/11               0.00                  0.00
           2014 Micros Upgrade                                       06/01/14             500.00                500.00
           Micros Work Station                                       08/05/14           1,035.00              1,035.00
           1 MICRO WORK STATION 5                                    11/26/14             850.00                850.00
           1 MICROS WORK STATION 5                                   11/26/14           1,035.00              1,035.00
4159       POS Micro Workstations                                    01/01/16             916.00                687.00
4227       Dell Optiplex 3040 8GB Computer                           01/01/17             809.00                444.91
4512       Optiplex 7050 Micro Upgrade                               08/31/17           1,670.56                918.81
4748       EMV Transaction Minilink                                  08/23/18           2,596.00                908.60
Class = CO                                                                             18,254.56             15,222.32
Less disposals and transfers                                                           (1,458.00)            (1,458.00)

Net Subtotal                                                                           16,796.56             13,764.32


Class = FU
2896       NEW BOOTH                                                 12/01/11              1,200.00           1,200.00
2896.1     NEW BOOTH                                                 12/01/11                  0.00               0.00



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Class = FU                                                                          1,200.00           1,200.00
Less disposals and transfers                                                            0.00

Net Subtotal                                                                        1,200.00           1,200.00


Class = LI
2122       Paving                                             07/12/07           3,889.00              3,889.00
2122.1     Paving                                             07/12/07               0.00                  0.00
2598       FENCING                                            03/09/11             630.00                630.00
2598.1     FENCING                                            03/09/11               0.00                  0.00
2793       NEW PASS BAR                                       09/29/11           5,840.00              5,840.00
2793.1     NEW PASS BAR                                       09/29/11               0.00                  0.00
3019       PARKING LOT                                        02/21/12             685.00                685.00
3019.1     PARKING LOT                                        02/21/12               0.00                  0.00
3454       PARKING LOT                                        04/26/12           2,250.00              2,250.00
3454.1     PARKING LOT                                        04/26/12               0.00                  0.00
4198       Trane HVAC ‐ Unit 3 R DR                           01/01/17           7,964.00              1,460.04
4359       100 Gallon Water Heater                            04/11/17           5,912.45              3,251.85
4697       Condensor Coil ‐ HVAC Kitchen                      06/27/18           3,599.00                419.88
5091       LED Upgrade ‐ Exterior Lighting                    01/24/20           4,370.00                 36.42
Class = LI                                                                      35,139.45             18,462.19
Less disposals and transfers                                                         0.00

Net Subtotal                                                                    35,139.45             18,462.19


Class = ME
1123       PREP TABLE                                         02/23/10              1,594.00           1,594.00
1123.1     PREP TABLE                                         02/23/10                  0.00               0.00
1381       CONVECTIONS OVEN                                   05/13/05              3,339.00           3,339.00
1381.1     CONVECTIONS OVEN                                   05/13/05                  0.00               0.00
1934       Fryers                                             05/13/08              1,926.00           1,926.00
1934.1     Fryers                                             05/13/08                  0.00               0.00
2267       REFRIGERATOR                                       08/03/10              1,991.00           1,991.00
2267.1     REFRIGERATOR                                       08/03/10                  0.00               0.00
2268       SECURITY DOOR                                      08/26/10                906.00             906.00
2268.1     SECURITY DOOR                                      08/26/10                  0.00               0.00
2350       COFFEE MACHINE & INSTALL                           12/01/10              1,263.00           1,263.00
2350.1     COFFEE MACHINE & INSTALL                           12/01/10                  0.00               0.00
2692       EQUIPMENT HOCKENBERG                               06/09/11              2,114.00           2,114.00
2692.1     EQUIPMENT HOCKENBERG                               06/09/11                  0.00               0.00
2814       NEW IGNITOR                                        10/04/11                745.00             745.00
2814.1     NEW IGNITOR                                        10/04/11                  0.00               0.00
2994       WAFFLE IRON                                        01/31/12                569.00             569.00



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2994.1     WAFFLE IRON                                               01/31/12               0.00               0.00
3041       CONDENSING COIL                                           03/13/12             803.00             803.00
3041.1     CONDENSING COIL                                           03/13/12               0.00               0.00
3229       DISTRIBUTION MANIFOLD                                     09/01/12           2,484.00           2,484.00
3229.1     DISTRIBUTION MANIFOLD                                     09/01/12               0.00               0.00
3230       AC UNIT                                                   09/01/12          11,554.00          11,554.00
3230.1     AC UNIT                                                   09/01/12               0.00               0.00
3568       WATER HEATER                                              04/24/13           2,600.00           2,600.00
3603       CE Holt Refrigeration                                     06/18/13           1,597.00           1,597.00
3625       Ferguson Enterprises/Water Heater                         07/05/13           7,613.00           7,613.00
           Equipment                                                 01/24/14             961.80             961.80
           Equipment                                                 01/29/14           1,742.62           1,742.62
           Coffee Repairs                                            06/04/14             794.22             794.22
           NEW HVAC UNIT                                             09/29/14          17,027.44          17,027.44
           POPOUT WAFFLE MAKER                                       09/22/14             756.82             756.82
           ICE MAKER                                                 01/19/15           6,920.82           6,920.82
4309       Bunn Axiom Twin Coffee Maker                              03/28/17           1,476.35             812.00
4376       Turbo Super Deluxe Salad Cooler                           07/19/17           2,347.69           1,291.24
4411       Dipperwell w/Timer                                        05/25/17           1,029.34             566.14
4437       Shelving ‐ WIC                                            07/27/17           1,310.57             720.81
4640       Condensing Unit ‐ Ice Cream Freezer                       03/26/18           1,057.63             370.17
4840       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             675.00             236.25
Class = ME                                                                             77,198.30          73,298.33
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           77,198.30          73,298.33


Class = RE
4434       Sealcoat Parking Lot                                      07/26/17          10,260.00           5,643.00
4459       Merick Table Tops                                         08/31/17           6,400.00           3,520.00
4460       Merick Seating                                            08/31/17           5,500.00           3,025.00
4461       City Concepts Hostess Stand                               08/31/17           1,700.00             935.00
4462       Remodel ‐ Interior ‐ 4407                                 08/31/17          91,960.60          50,578.33
4463       Remodel ‐ Exterior ‐ 4407                                 08/31/17          17,965.10           9,880.81
4464       24" Ihop Channel Letter Sign ‐ Remodel                    08/31/17           4,900.48           2,695.28
4465       24" Ihop Channel Letter Sign ‐ Remodel                    08/31/17           4,205.00           2,312.75
4466       36in x 66in Acrylic Face                                  08/31/17           3,058.00           1,681.90
4467       44in x 86in Acrylic Face                                  08/31/17           2,166.00           1,191.30
4468       Security System ‐ Remodel                                 08/31/17           1,782.73             980.49
4513       Landscaping ‐ Remodel                                     08/31/17           4,243.30           2,333.82
4462.2     Add'l Furniture & Decor ‐ Remodel 4407                    08/31/17          20,675.00          11,371.25
Class = RE                                                                            174,816.21          96,148.93
Less disposals and transfers                                                                0.00




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Net Subtotal                                                                           174,816.21           96,148.93


Location = 4407                                                                        685,532.52         426,236.08
Less disposals and transfers                                                            (1,458.00)         (1,458.00)

Net Subtotal                                                                           684,074.52         424,778.08


Location = 4408
Class = CL
1576       Rest Equip ‐Capital Lease 4408                             05/13/05          29,921.00           29,921.00
1576.1     Rest Equip ‐Capital Lease 4408                             05/13/05               0.00                0.00
Class = CL                                                                              29,921.00           29,921.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            29,921.00           29,921.00


Class = CO
69         SECURITY CAMERAS AND INSTALL                               12/23/09           2,479.00            2,479.00
69.1       SECURITY CAMERAS AND INSTALL                               12/23/09               0.00                0.00
1120       SECURITY SYSTEM & INSTALL                                  02/25/10           5,926.00            5,926.00
1120.1     SECURITY SYSTEM & INSTALL                                  02/25/10               0.00                0.00
2321       DELL COMPUTER                                              11/02/10           1,458.00            1,458.00
2321.1     DELL COMPUTER                                              11/02/10               0.00                0.00
2850       SECURITY SYSTEM                                            11/15/11           1,366.00            1,366.00
2850.1     SECURITY SYSTEM                                            11/15/11               0.00                0.00
2965       COMPUTER SOFTWARE                                          12/01/11             870.00              870.00
2965.1     COMPUTER SOFTWARE                                          12/01/11               0.00                0.00
           Computer Equipment                                         04/16/14             776.54              776.54
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           3 MICROS WS5A                                              01/06/15           2,748.90            2,748.90
           Micros WS5A                                                05/12/15             972.52              956.31
4228       Dell Optiplex 3040 8GB Computer                            01/01/17             809.00              444.91
4514       Optiplex 7050 Micro Upgrade                                08/31/17           2,501.98            1,376.10
4583       POS Micros Workstation w/Touchscreen                       11/09/17           3,460.70            1,903.39
4749       EMV Transaction Minilink                                   08/23/18           2,421.00              847.35
4814       Apple Ipad 32gb                                            11/01/18             409.00              143.15
4942       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             929.00              139.35
Class = CO                                                                              27,627.64           21,935.00
Less disposals and transfers                                                            (1,458.00)          (1,458.00)

Net Subtotal                                                                            26,169.64           20,477.00




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Class = LI
1647         Signs                                                          11/27/06           4,350.00           4,350.00
1647.1       Signs                                                          11/27/06               0.00               0.00
2113         Roof LT                                                        06/16/06           2,233.00           2,233.00
2113.1       Roof LT                                                        06/16/06               0.00               0.00
2136         Paving                                                         06/18/08           3,036.00           3,036.00
2136.1       Paving                                                         06/18/08               0.00               0.00
2146         Exterior Doors                                                 03/31/09           3,426.00           3,426.00
2146.1       Exterior Doors                                                 03/31/09               0.00               0.00
2198         LAVA ROCKS AND INSTALL                                         05/25/10           4,286.00           4,286.00
2198.1       LAVA ROCKS AND INSTALL                                         05/25/10               0.00               0.00
2340         LAVA ROCKS & INSTALL                                           12/01/10             455.00             455.00
2340.1       LAVA ROCKS & INSTALL                                           12/01/10               0.00               0.00
3042         SIGNAGE                                                        03/20/12           1,265.00           1,265.00
3042.1       SIGNAGE                                                        03/20/12               0.00               0.00
3043         PARKING LOT                                                    03/29/12             688.00             688.00
3043.1       PARKING LOT                                                    03/29/12               0.00               0.00
3476         PAVEMENT REPAIR                                                01/29/13           1,000.00           1,000.00
             Remove damaged asphalt from one area. Remove debris & ins      06/19/14           5,606.00           5,606.00
             WALL MOUNTED TABLE TOPS                                        08/19/14           1,711.00           1,711.00
4316         Trane 15 Ton Gas HVAC ‐ Kitchen                                05/03/17          14,015.92           2,569.60
4672         100 gal Water Heater                                           06/25/18          11,178.80           1,304.18
4784         Parking Lot Sealcoating                                        10/10/18           8,852.00           1,032.73
4892         LED Pole Light Upgrade                                         12/27/18           5,690.00             663.83
4975         Trane Compressor ‐ HVAC DR                                     04/29/19           4,334.00             216.70
5020         Store Front Door                                               08/09/19           3,400.00             170.00
5078         Heat Exchangers ‐ HVAC DR                                      01/08/20           2,695.00              22.46
Class = LI                                                                                    78,221.72          34,035.50
Less disposals and transfers                                                                       0.00

Net Subtotal                                                                                  78,221.72          34,035.50


Class = ME
19         NEW HVAC BLOWER                                                  08/20/09           1,174.00           1,174.00
19.1       NEW HVAC BLOWER                                                  08/20/09               0.00               0.00
90         NEW FOOD WARMER                                                  01/14/10             609.00             609.00
90.1       NEW FOOD WARMER                                                  01/14/10               0.00               0.00
1174       TABLETOPS                                                        05/13/05           4,615.00           4,615.00
1174.1     TABLETOPS                                                        05/13/05               0.00               0.00
1481       ICE MACHINE                                                      06/11/05           5,188.00           5,188.00
1481.1     ICE MACHINE                                                      06/11/05               0.00               0.00
1540       Kitchen A/C Unit                                                 05/31/06          11,494.00          11,494.00
1540.1     Kitchen A/C Unit                                                 05/31/06               0.00               0.00



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1655       Refrigerator Door                            11/27/06              1,924.00           1,924.00
1655.1     Refrigerator Door                            11/27/06                  0.00               0.00
1673       Fryer                                        01/31/07              1,457.00           1,457.00
1673.1     Fryer                                        01/31/07                  0.00               0.00
1679       Gas Fryers                                   02/14/07              2,926.00           2,926.00
1679.1     Gas Fryers                                   02/14/07                  0.00               0.00
1749       Reach In Cooler                              06/26/07              1,174.00           1,174.00
1749.1     Reach In Cooler                              06/26/07                  0.00               0.00
1811       Ice Machine Filter System                    09/25/07              1,052.00           1,052.00
1811.1     Ice Machine Filter System                    09/25/07                  0.00               0.00
1855       Refrig, Freezer                              12/31/07              4,731.00           4,731.00
1855.1     Refrig, Freezer                              12/31/07                  0.00               0.00
1935       Electrical Circuit                           05/20/08                995.00             995.00
1935.1     Electrical Circuit                           05/20/08                  0.00               0.00
2162       NEW BLOWER MOTOR                             03/12/10              1,285.00           1,285.00
2162.1     NEW BLOWER MOTOR                             03/12/10                  0.00               0.00
2213       NEW FLOOR SINK                               05/13/10              2,433.00           2,433.00
2213.1     NEW FLOOR SINK                               05/13/10                  0.00               0.00
2214       NEW BALLAST                                  05/18/10              1,540.00           1,540.00
2214.1     NEW BALLAST                                  05/18/10                  0.00               0.00
2303       GRERAL EQUIP                                 10/18/10                925.00             925.00
2303.1     GRERAL EQUIP                                 10/18/10                  0.00               0.00
2638       COUNTERTOP REFRIDGERATOR                     05/01/11              1,112.00           1,112.00
2638.1     COUNTERTOP REFRIDGERATOR                     05/01/11                  0.00               0.00
2799       NEW COMPRESSOR                               10/12/11                942.00             942.00
2799.1     NEW COMPRESSOR                               10/12/11                  0.00               0.00
2811       EVAPORATOR UNIT                              10/10/11              2,044.00           2,044.00
2811.1     EVAPORATOR UNIT                              10/10/11                  0.00               0.00
2848       NEW BEARING                                  10/08/11                720.00             720.00
2848.1     NEW BEARING                                  10/08/11                  0.00               0.00
2849       ANSUL TANKS                                  11/15/11                932.00             932.00
2849.1     ANSUL TANKS                                  11/15/11                  0.00               0.00
3020       EXHAUST SYSTEM                               02/15/12                721.00             721.00
3020.1     EXHAUST SYSTEM                               02/15/12                  0.00               0.00
3168       MICROWAVE                                    08/01/12                355.00             355.00
3168.1     MICROWAVE                                    08/01/12                  0.00               0.00
3170       FREEZER                                      08/01/12              3,120.00           3,120.00
3170.1     FREEZER                                      08/01/12                  0.00               0.00
3171       WAFFLE IRON                                  08/01/12                300.00             300.00
3171.1     WAFFLE IRON                                  08/01/12                  0.00               0.00
3204       PREP TABLE                                   08/08/12              2,532.00           2,532.00
3204.1     PREP TABLE                                   08/08/12                  0.00               0.00
3205       AC DRIER                                     08/05/12                709.00             709.00
3205.1     AC DRIER                                     08/05/12                  0.00               0.00
3231       MICROWAVE                                    09/24/12                817.00             817.00



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3231.1     MICROWAVE                                                 09/24/12               0.00                0.00
3282       PREP TABLE                                                11/12/12           2,532.00            2,532.00
3282.1     PREP TABLE                                                11/12/12               0.00                0.00
3540       DUG UP AND REPLACED PIPES                                 03/20/13           2,519.00            2,519.00
3541       COFFEE MACHINE                                            03/25/13           1,251.00            1,251.00
3626       Roto‐Rooter                                               07/10/13           2,017.00            2,017.00
3755       Compressor & Evaporator                                   09/11/13           5,266.00            5,266.00
3778       Replaced rotolock fitting on compressor                   10/23/13           2,550.00            2,550.00
           Equipment                                                 01/24/14           2,195.21            2,195.21
           Vulcan Hart Gas Griddle                                   03/07/14           6,530.44            6,530.44
           POPOUT WAFFLE MAKER                                       09/22/14             756.82              756.82
4310       Bunn Axiom Twin Coffee Maker                              04/03/17           1,482.20              815.21
4412       Dipperwell w/Timer                                        05/25/17           1,029.34              566.14
4611       Vulcan Egg Range                                          12/31/17           1,916.14            1,053.88
4624       Copeland Compressor ‐ WIC                                 02/23/18           3,810.21            1,333.57
4645       Turbo Deluxe Sandwich/Salad Cooler                        04/26/18           2,692.10              942.23
4841       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             675.00              236.25
4871       Ice Cream Dipping Cabinet                                 11/21/18           2,430.00              850.50
Class = ME                                                                             97,478.46           89,241.25
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           97,478.46           89,241.25


Class = RE
4520       Landscaping ‐ Remodel                                     10/20/17           3,600.00           1,980.00
4521       24in Channel Letter Sign                                  10/20/17           4,070.95           2,239.03
4522       51in x 118in Monument Cabinet                             10/20/17          12,212.84           6,717.06
4565       Remodel ‐ 4408 ‐ Tables                                   10/20/17           6,400.00           3,520.00
4566       Remodel ‐ 4408 ‐ Décor                                    10/20/17          18,432.66          10,137.92
4567       Remodel ‐ 4408 ‐ Booths                                   10/20/17           5,500.00           3,025.00
4568       Remodel ‐ 4408 ‐ Hostess Stand                            10/20/17           1,700.00             935.00
4569       Remodel ‐ 4408 ‐ Lighting                                 10/20/17           3,759.04           2,067.47
4570       Remodel ‐ 4408                                            10/20/17         131,040.05          72,072.03
4570.2     Add'l Furniture & Decor ‐ Remodel 4408                    10/20/17          11,383.00           6,260.65
Class = RE                                                                            198,098.54         108,954.16
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          198,098.54         108,954.16


Location = 4408                                                                     1,606,347.36         933,433.46
Less disposals and transfers                                                           (1,458.00)         (1,458.00)

Net Subtotal                                                                        1,604,889.36         931,975.46



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Location = 4414
Class = CL
1839.1     Rest Equip ‐Capital Lease 4414                             05/01/06         186,096.00           186,096.00
Class = CL                                                                             186,096.00           186,096.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           186,096.00           186,096.00


Class = CO
2531       SECURITY SYSTEM & INSTALL                                  01/27/11           8,072.00              8,072.00
2531.1     SECURITY SYSTEM & INSTALL                                  01/27/11               0.00                  0.00
2576       DELL COMPUTER                                              02/07/11           1,458.00              1,458.00
2576.1     DELL COMPUTER                                              02/07/11               0.00                  0.00
           Computer Equipment                                         02/05/14           1,070.00              1,070.00
           2014 Micros Upgrade                                        06/01/14             500.00                500.00
           SWITCH/ROUTER                                              10/15/14           1,486.52              1,486.52
           3 MICROS WORK STATIONS 5                                   11/26/14           2,550.00              2,550.00
           1 Micros WS5A                                              03/17/15             960.88                960.88
           Micros Workstation                                         10/13/16           2,292.18              2,292.18
4229       Dell Optiplex 3040 8GB Computer                            01/01/17             809.00                444.91
4540       Dell Optiplex 7040 Computer                                06/13/17           1,357.32                746.52
4750       EMV Transaction Minilink                                   08/23/18           2,175.00                761.25
4815       Apple Ipad 32gb                                            11/01/18             409.00                143.15
4943       EMV Transaction Mini Link ‐ Additional Costs               02/20/19             874.00                131.10
Class = CO                                                                              24,013.90             20,616.51
Less disposals and transfers                                                            (1,458.00)            (1,458.00)

Net Subtotal                                                                            22,555.90             19,158.51


Class = FU
2878       NEW BOOTH                                                  12/29/11               544.00             544.00
2878.1     NEW BOOTH                                                  12/29/11                 0.00               0.00
Class = FU                                                                                   544.00             544.00
Less disposals and transfers                                                                   0.00

Net Subtotal                                                                                 544.00             544.00


Class = LI
2040       Front Sign                                                 01/28/09              1,600.00           1,600.00
2040.1     Front Sign                                                 01/28/09                  0.00               0.00



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2179       LAVA ROCKS AND INSTALL                        04/15/10           1,978.00              1,978.00
2179.1     LAVA ROCKS AND INSTALL                        04/15/10               0.00                  0.00
2701       NEW AC UNIT                                   07/01/11          15,576.00             15,576.00
2701.1     NEW AC UNIT                                   07/01/11               0.00                  0.00
2728       PAINTING DINING ROOM                          08/23/11             750.00                750.00
2728.1     PAINTING DINING ROOM                          08/23/11               0.00                  0.00
3249       DOOR                                          10/17/12             603.00                603.00
3249.1     DOOR                                          10/17/12               0.00                  0.00
3569       MULCH, LAVA ROCKS                             04/25/13           1,800.00              1,800.00
3586       Lowes Hardware/Lava Rock                      05/14/13           1,061.00              1,061.00
           Repair IHOP building sign                     06/09/14           1,451.73              1,451.73
           STRIPE PARKING LOT                            08/05/14             815.00                815.00
4435       Sealcoat Parking Lot                          07/26/17          14,600.00              2,676.66
4534       Paving Back Road                              03/29/17           5,200.29                953.39
4967       Trane Blower Motor ‐ HVAC                     01/14/19           1,236.00                 61.80
5101       Trane 12.5 Ton HVAC ‐ DR                      03/04/20          13,750.00                 45.83
5102       Trane 12.5 Ton HVAC ‐ DR                      03/04/20          13,750.00                 45.83
Class = LI                                                                 74,171.02             29,418.24
Less disposals and transfers                                              (15,576.00)           (15,576.00)

Net Subtotal                                                               58,595.02             13,842.24


Class = ME
40         NEW PREP TABLE                                10/13/09              1,822.00           1,822.00
40.1       NEW PREP TABLE                                10/13/09                  0.00               0.00
1656       Ice Machine                                   11/21/06              2,437.00           2,437.00
1656.1     Ice Machine                                   11/21/06                  0.00               0.00
1704       Undercounter Freezer                          03/30/07              1,573.00           1,573.00
1704.1     Undercounter Freezer                          03/30/07                  0.00               0.00
1812       Ice System                                    09/27/07              5,965.00           5,965.00
1812.1     Ice System                                    09/27/07                  0.00               0.00
1876       12" Slicer                                    02/12/08              2,749.00           2,749.00
1876.1     12" Slicer                                    02/12/08                  0.00               0.00
1946       Trane Compressor                              06/18/08              4,121.00           4,121.00
1946.1     Trane Compressor                              06/18/08                  0.00               0.00
2076       Prep Table                                    04/28/09              2,415.00           2,415.00
2076.1     Prep Table                                    04/28/09                  0.00               0.00
2232       CONDENSOR MOTOR                               06/04/10                929.00             929.00
2232.1     CONDENSOR MOTOR                               06/04/10                  0.00               0.00
2250       NEW COMPRESSOR                                07/07/10              3,947.00           3,947.00
2250.1     NEW COMPRESSOR                                07/07/10                  0.00               0.00
2269       NEW COMPRESSOR                                08/26/10              1,734.00           1,734.00
2269.1     NEW COMPRESSOR                                08/26/10                  0.00               0.00
2668       EQUIPMENT XXXXX FIRST                         05/04/11              2,911.00           2,911.00



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2668.1     EQUIPMENT XXXXX FIRST                                    05/04/11               0.00                0.00
2693       REFRIDGERATOR                                            06/28/11           1,138.00            1,138.00
2693.1     REFRIDGERATOR                                            06/28/11               0.00                0.00
2795       NEW LAMPS                                                09/29/11             751.00              751.00
2795.1     NEW LAMPS                                                09/29/11               0.00                0.00
2796       GRILL VALVE                                              09/29/11             679.00              679.00
2796.1     GRILL VALVE                                              09/29/11               0.00                0.00
3021       EGG STATION                                              02/07/12           1,610.00            1,610.00
3021.1     EGG STATION                                              02/07/12               0.00                0.00
3022       WATER HEATER INSTALL                                     02/01/12           2,820.00            2,820.00
3022.1     WATER HEATER INSTALL                                     02/01/12               0.00                0.00
3023       HEAT LAMP                                                02/15/12           1,403.00            1,403.00
3023.1     HEAT LAMP                                                02/15/12               0.00                0.00
3169       MICROWAVE                                                08/01/12             355.00              355.00
3169.1     MICROWAVE                                                08/01/12               0.00                0.00
3232       NEW COMPRESSOR                                           09/05/12           1,065.00            1,065.00
3232.1     NEW COMPRESSOR                                           09/05/12               0.00                0.00
3355       FREEZER                                                  12/05/12           2,367.00            2,367.00
3355.1     FREEZER                                                  12/05/12               0.00                0.00
3455       WATER HEATER                                             01/18/12           7,883.00            7,883.00
3455.1     WATER HEATER                                             01/18/12               0.00                0.00
3477       REFRIGERATOR                                             01/11/13           2,240.00            2,240.00
3503       HEAT LAMP                                                02/06/13           2,975.00            2,975.00
3542       3 NATURAL GAS FRYERS                                     03/04/13           2,369.00            2,369.00
3543       FRYER INSTALLATION                                       03/20/13           2,187.00            2,187.00
3604       CE Holt Refrigeration                                    06/14/13           3,493.00            3,493.00
3756       3 ‐ Ansulex & R102 double cartridge                      10/01/13           1,292.00            1,292.00
           Equipment                                                02/05/14             879.08              879.08
           Equipment                                                04/17/14           2,066.52            2,066.52
           MICROWAVE/WARING WAFFLE BAKER                            07/15/14           2,066.47            2,066.47
           CONDENSER MOTOR                                          09/22/14             750.54              750.54
           Refrigerted Sandwich Unit (Item# BEV‐SPE60‐16)           12/03/14           2,679.57            2,679.57
           WAFFLE IRONS                                             12/09/14           1,393.50            1,393.50
4413       Dipperwell w/Timer                                       05/25/17             950.16              522.59
4436       Turbo Super Deluxe Refrigerator                          07/26/17           2,189.98            1,204.50
4469       Access Panels ‐ Exhaust Hood                             09/13/17           2,130.00            1,171.50
4483       Bunn Axiom Coffee Maker                                  10/18/17           1,479.81              813.89
4862       Hamilton Beach 3 Speed Triple Spindle Blender            11/20/18             673.00              235.55
5008       Exhaust Fan ‐ Fryer                                      06/21/19           3,541.00              531.15
5109       Drop In Ice Cream Freezer                                03/23/20           2,683.00               26.83
Class = ME                                                                            88,712.63           79,571.69
Less disposals and transfers                                                         (10,867.00)         (10,867.00)

Net Subtotal                                                                          77,845.63           68,704.69




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Class = RE
3664       Remodel 4414                                               06/25/13          72,311.00            72,311.00
4765       Tables ‐ Remodel                                           09/01/18           7,625.00             2,668.75
4766       Recover Booths ‐ Remodel                                   09/01/18          15,050.00             5,267.50
4767       Remodel ‐ 4414                                             09/01/18         113,971.00            13,296.60
4768       24in Channel Letter w/Red Smile ‐ Remodel                  09/01/18           2,733.00               956.55
4769       P200 Pylon Sign ‐ Remodel                                  09/01/18          21,866.00             7,653.10
4770       18in Ihop Channel Letters Red ‐ Remodel                    09/01/18           9,566.00             3,348.10
4781       Parking Lot Sealcoating ‐ Remodel                          10/04/18           9,170.00             1,069.83
Class = RE                                                                             252,292.00           106,571.43
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           252,292.00           106,571.43


Location = 4414                                                                      1,336,721.55           800,449.55
Less disposals and transfers                                                           (27,901.00)          (27,901.00)

Net Subtotal                                                                         1,308,820.55           772,548.55


Location = 4416
Class = CL
1577       Rest Equip ‐Capital Lease 4416                             05/13/05          24,421.00             24,421.00
1577.1     Rest Equip ‐Capital Lease 4416                             05/13/05               0.00                  0.00
Class = CL                                                                              24,421.00             24,421.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            24,421.00             24,421.00


Class = CO
2577       DELL COMPUTER                                              02/07/11              1,458.00           1,458.00
2577.1     DELL COMPUTER                                              02/07/11                  0.00               0.00
2773       SECURITY SYSTEM & INSTALL                                  09/01/11              8,011.00           8,011.00
2773.1     SECURITY SYSTEM & INSTALL                                  09/01/11                  0.00               0.00
           2014 Micros Upgrade                                        06/01/14                500.00             500.00
           3 MICROS WS5A                                              01/06/15              2,840.46           2,840.46
           WIFI HARDWARE                                              10/15/15                897.25             807.52
4230       Dell Optiplex 3040 8GB Computer                            01/01/17              1,059.00             582.44
4548       Micro Upgrade                                              08/31/17              2,111.43           1,161.29
4751       EMV Transaction Minilink                                   08/23/18              2,140.00             749.00
4816       Apple Ipad 32gb                                            11/01/18                409.00             143.15
4944       EMV Transaction Mini Link ‐ Additional Costs               02/20/19              1,029.00             154.35



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Class = CO                                                                 20,455.14             16,407.21
Less disposals and transfers                                               (1,458.00)            (1,458.00)

Net Subtotal                                                               18,997.14             14,949.21


Class = FU
2280       VALORE                                        09/15/10                595.00             595.00
2280.1     VALORE                                        09/15/10                  0.00               0.00
4825       Booth Recover                                 11/07/18              6,355.00           2,224.25
Class = FU                                                                     6,950.00           2,819.25
Less disposals and transfers                                                       0.00

Net Subtotal                                                                   6,950.00           2,819.25


Class = LI
3456       ROOF REPAIR                                   12/07/12           2,448.00              2,448.00
3456.1     ROOF REPAIR                                   12/07/12               0.00                  0.00
3639       Lava Rocks                                    04/03/13           1,549.00              1,549.00
           Roof                                          03/25/14           9,691.29              9,691.29
4150       Parking Lot Upgrade                           12/14/16          15,150.00              3,787.50
4358       100 Gallon Water Heater                       01/31/17           2,550.00              1,402.50
4648       10 Ton GE HVAC ‐ DR                           05/08/18          10,781.97              1,257.89
4649       7.5 Ton GE HVAC ‐ DR                          05/08/18           9,561.37              1,115.50
Class = LI                                                                 51,731.63             21,251.68
Less disposals and transfers                                                    0.00

Net Subtotal                                                               51,731.63             21,251.68


Class = ME
1696       Panasonic Microwave                           03/31/09                722.00             722.00
1696.1     Panasonic Microwave                           03/31/09                  0.00               0.00
1786       Sandwich Prep                                 08/21/07              2,122.00           2,122.00
1786.1     Sandwich Prep                                 08/21/07                  0.00               0.00
1822       Air Cuber and Ice Bin                         10/09/07              5,127.00           5,127.00
1822.1     Air Cuber and Ice Bin                         10/09/07                  0.00               0.00
1873       Sandwich Prep                                 12/12/06              2,378.00           2,378.00
1873.1     Sandwich Prep                                 12/12/06                  0.00               0.00
1988       Freezer Door                                  09/03/08              2,827.00           2,827.00
1988.1     Freezer Door                                  09/03/08                  0.00               0.00
1989       Thermostat Kits                               09/17/08              1,994.00           1,994.00
1989.1     Thermostat Kits                               09/17/08                  0.00               0.00
2036       Sandwich Prep                                 12/16/08              1,432.00           1,432.00



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2036.1     Sandwich Prep                                            12/16/08                  0.00               0.00
2251       GAS FRYER                                                07/22/10                921.00             921.00
2251.1     GAS FRYER                                                07/22/10                  0.00               0.00
2669       EQUIPMENT XXXXX CEHOLT                                   05/13/11              1,077.00           1,077.00
2669.1     EQUIPMENT XXXXX CEHOLT                                   05/13/11                  0.00               0.00
2694       NEW COMPRESSOR                                           06/07/11                697.00             697.00
2694.1     NEW COMPRESSOR                                           06/07/11                  0.00               0.00
2714       NEW DOOR                                                 07/20/11                844.00             844.00
2714.1     NEW DOOR                                                 07/20/11                  0.00               0.00
2785       HINGE ASSEMBLY                                           09/20/11              1,270.00           1,270.00
2785.1     HINGE ASSEMBLY                                           09/20/11                  0.00               0.00
2787       NEW THERMOSTATS                                          09/20/11              1,004.00           1,004.00
2787.1     NEW THERMOSTATS                                          09/20/11                  0.00               0.00
2794       NEW LAMPS                                                09/29/11                902.00             902.00
2794.1     NEW LAMPS                                                09/29/11                  0.00               0.00
2822       NEW ZONE MODULE HVAC                                     10/27/11              1,122.00           1,122.00
2822.1     NEW ZONE MODULE HVAC                                     10/27/11                  0.00               0.00
2879       NEW COMPRESSOR FRIDGE                                    12/06/11              4,448.00           4,448.00
2879.1     NEW COMPRESSOR FRIDGE                                    12/06/11                  0.00               0.00
2996       WAFFLE IRON                                              01/31/12                569.00             569.00
2996.1     WAFFLE IRON                                              01/31/12                  0.00               0.00
3087       NEW THERMOCOUPLE                                         05/25/12                720.00             720.00
3087.1     NEW THERMOCOUPLE                                         05/25/12                  0.00               0.00
3099       WAFFLE IRONS                                             06/19/12                282.00             282.00
3099.1     WAFFLE IRONS                                             06/19/12                  0.00               0.00
3206       SIGN LIGHTING                                            08/02/12              1,101.00           1,101.00
3206.1     SIGN LIGHTING                                            08/02/12                  0.00               0.00
3356       FREEZER PANELS                                           12/07/12              4,252.00           4,252.00
3356.1     FREEZER PANELS                                           12/07/12                  0.00               0.00
3357       WATER HEATER VALVE                                       12/21/12              1,612.00           1,612.00
3357.1     WATER HEATER VALVE                                       12/21/12                  0.00               0.00
3605       Hockenbergs                                              06/05/13              3,221.00           3,221.00
3757       Condensor Fan motor                                      09/11/13              1,511.00           1,511.00
3797       Water Heater                                             11/25/13              3,599.00           3,599.00
           Obsolete: Use ‐ Pan ‐ NE12521                            02/11/14                905.03             905.03
           Griddle Stand                                            03/12/14              1,692.54           1,692.54
           EQUIPMENT                                                06/16/14              4,223.04           4,223.04
           COOLER COMPRESSOR                                        08/21/14              1,600.62           1,600.62
           BUNN AXIOM 4/2 TWIN                                      09/10/14              1,242.32           1,242.32
           WAFFLE IRON                                              12/09/14                689.50             689.50
           Water Heater                                             02/25/15              8,881.56           8,881.56
           REPLACEMENT /REPAIR OF A BAD COMPRESSOR ON A 15 TON      07/07/15              5,636.78           5,354.97
           REACH IN REFRIDGERATOR                                   10/06/15              2,779.77           2,501.78
           SALAD UNIT                                               02/03/16              2,218.42           1,848.67
           Replace bad ice machine                                  04/15/16              6,815.25           5,452.20



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           15 Ton Rooftop AC System                                      08/22/16          15,450.00          11,072.50
4204       Exhaust Fan                                                   01/17/17           1,008.00             554.40
4331       Vulcan Gas Griddle                                            05/18/17           5,690.56           3,129.79
4332       Vulcan Gas Griddle                                            05/18/17           5,690.57           3,129.79
4370       Turbo Super Deluxe Maketable Cook Line                        07/11/17           2,679.63           1,473.80
4414       Dipperwell w/Timer                                            05/25/17             950.16             522.59
4824       Vulcan Gas Grill                                              11/06/18           4,642.00           1,624.70
4863       Hamilton Beach 3 Speed Triple Spindle Blender                 11/20/18             673.00             235.55
4872       Turbo Deluxe Reach In Freezer                                 11/21/18           3,006.00           1,052.10
Class = ME                                                                                122,228.75         102,941.45
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              122,228.75         102,941.45


Class = RE
3329       REMODEL                                                       12/01/12          55,872.00          55,872.00
3329.1     REMODEL                                                       12/01/12               0.00               0.00
4632       24in Channel Letter Sign ‐ Red Smile/White ‐ Remodel          03/02/18           2,377.00             831.95
4633       Monument Retrofit ‐ Remodel                                   03/02/18           6,428.00           2,249.80
4634       Remodel ‐ Table Tops ‐ 4416                                   03/02/18           6,700.00           2,345.00
4635       Remodel ‐ Booths ‐ 4416                                       03/02/18          10,200.00           3,570.00
4636       Remodel ‐ Décor ‐ 4416                                        03/02/18           4,500.00           1,575.00
4637       Equipment Counter Server Line ‐ Remodel ‐ 4416                03/02/18          38,500.00          13,475.00
4638       Remodel ‐ 4416                                                03/02/18         252,383.00          29,444.68
4785       Parking Lot Sealcoating                                       08/03/18          20,931.00           2,441.95
4965       Additional Costs ‐ Remodel (PY)                               01/01/19           2,658.00             132.90
Class = RE                                                                                400,549.00         111,938.28
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              400,549.00         111,938.28


Location = 4416                                                                           661,335.52         302,659.47
Less disposals and transfers                                                               (1,458.00)         (1,458.00)

Net Subtotal                                                                              659,877.52         301,201.47


Location = 4417
Class = CL
1578       Rest Equip ‐Capital Lease 4417                                05/13/05          33,728.00           33,728.00
1578.1     Rest Equip ‐Capital Lease 4417                                05/13/05               0.00                0.00
Class = CL                                                                                 33,728.00           33,728.00
Less disposals and transfers                                                                    0.00



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Net Subtotal                                                                              33,728.00           33,728.00


Class = CO
2644       SECURITY SYSTEM & INSTALL                                    02/16/11           7,239.00            7,239.00
2644.1     SECURITY SYSTEM & INSTALL                                    02/16/11               0.00                0.00
2957       DELL COMPUTER                                                12/01/11           1,458.00            1,458.00
2957.1     DELL COMPUTER                                                12/01/11               0.00                0.00
2966       COMPUTER SOFTWARE                                            12/01/11             870.00              870.00
2966.1     COMPUTER SOFTWARE                                            12/01/11               0.00                0.00
           2014 Micros Upgrade                                          06/01/14             500.00              500.00
           MICROS WORK STATIONS                                         09/30/14           3,228.05            3,228.05
           Hard Drives (Corrected Bill)                                 01/28/15            (548.75)            (548.75)
           1 Micros WS5A                                                03/06/15             960.88              960.88
           New Dell Computer                                            07/11/16           1,180.32            1,180.32
4160       Finger Print Scanner                                         01/01/16             447.00              335.25
4231       Dell Optiplex 3040 8GB Computer                              01/01/17             809.00              444.91
4344       Dell Optiplex 7040 Small Form Computer                       05/02/17           1,186.37              652.50
4678       Oracle Micro Workstations                                    03/13/18           2,901.00            1,015.35
4752       EMV Transaction Minilink                                     08/23/18           2,281.00              798.35
4817       Apple Ipad 32gb                                              11/01/18             409.00              143.15
4945       EMV Transaction Mini Link ‐ Additional Costs                 02/20/19             646.00               96.90
5073       Datamax Workstation                                          01/01/20           1,020.00               25.50
Class = CO                                                                                24,586.87           18,399.41
Less disposals and transfers                                                              (1,458.00)          (1,458.00)

Net Subtotal                                                                              23,128.87           16,941.41


Class = LI
2180         LAVA ROCKS AND INSTALL                                     04/15/10             837.00              837.00
2180.1       LAVA ROCKS AND INSTALL                                     04/15/10               0.00                0.00
3283         LIGHTING                                                   11/07/12           1,357.00            1,357.00
3283.1       LIGHTING                                                   11/07/12               0.00                0.00
             Re‐Strip parking lot                                       05/07/14             700.00              700.00
             Repair underground water leak on back parking lot          03/15/16           3,389.98            2,768.50
4151         Parking Lot Upgrade                                        12/14/16          12,785.00            3,196.24
4268         Distributor ‐ HVAC                                         03/23/17           1,534.00              843.70
4953         Blower Motor ‐ HVAC DR                                     03/01/19           1,284.00               64.20
5054         Lennox 12.5 Ton HVAC ‐ DR                                  11/20/19          14,000.00              700.00
5094         Trane 12.5 Ton HVAC ‐ DR                                   02/03/20          16,638.00              100.84
5095         Trane 15 Ton HVAC ‐ Kitchen                                02/03/20          13,612.00               82.50
5099         Phoenix 119 Gal Water Heater                               02/02/20          11,200.00               67.88
Class = LI                                                                                77,336.98           10,717.86



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Less disposals and transfers                                                                        0.00

Net Subtotal                                                                                 77,336.98             10,717.86


Class = ME
1644       Kitchen A/C Unit                                                10/25/06              2,208.00           2,208.00
1644.1     Kitchen A/C Unit                                                10/25/06                  0.00               0.00
1653       Water Heater                                                    03/30/07              1,863.00           1,863.00
1653.1     Water Heater                                                    03/30/07                  0.00               0.00
1707       Water Heater                                                    03/30/07              4,433.00           4,433.00
1707.1     Water Heater                                                    03/30/07                  0.00               0.00
1750       Sandwich Prep                                                   06/26/07              1,995.00           1,995.00
1750.1     Sandwich Prep                                                   06/26/07                  0.00               0.00
1823       Frypots                                                         10/16/07              1,425.00           1,425.00
1823.1     Frypots                                                         10/16/07                  0.00               0.00
1831       Heat Strip                                                      11/13/07              1,390.00           1,390.00
1831.1     Heat Strip                                                      11/13/07                  0.00               0.00
1943       Sandwich Prep                                                   05/20/08              2,296.00           2,296.00
1943.1     Sandwich Prep                                                   05/20/08                  0.00               0.00
1947       Freezer                                                         06/24/08              1,538.00           1,538.00
1947.1     Freezer                                                         06/24/08                  0.00               0.00
2252       REFRIGERATOR                                                    07/22/10              1,991.00           1,991.00
2252.1     REFRIGERATOR                                                    07/22/10                  0.00               0.00
2619       EQUIPMENT XXXXXXX                                               03/22/11              2,029.00           2,029.00
2619.1     EQUIPMENT XXXXXXX                                               03/22/11                  0.00               0.00
2632       HOCKENBERG EQUIPMENT                                            04/26/11              2,384.00           2,384.00
2632.1     HOCKENBERG EQUIPMENT                                            04/26/11                  0.00               0.00
2696       EQUIPMENT H&K                                                   06/21/11                595.00             595.00
2696.1     EQUIPMENT H&K                                                   06/21/11                  0.00               0.00
2709       CONDENSOR FAN                                                   07/12/11              1,087.00           1,087.00
2709.1     CONDENSOR FAN                                                   07/12/11                  0.00               0.00
3088       NEW THERMOCOUPLE                                                05/21/12                670.00             670.00
3088.1     NEW THERMOCOUPLE                                                05/21/12                  0.00               0.00
3173       CONDENSOR FAN                                                   08/01/12                835.00             835.00
3173.1     CONDENSOR FAN                                                   08/01/12                  0.00               0.00
3284       HARD DRIVE CAM SYSTEM                                           11/01/12              1,507.00           1,507.00
3284.1     HARD DRIVE CAM SYSTEM                                           11/01/12                  0.00               0.00
3504       WATER HEATER                                                    02/15/13                615.00             615.00
3570       WATER HEATER MAIN CONTROL BOARD                                 04/24/13              1,015.00           1,015.00
3650       Carolina Affordable Plumbing                                    08/15/13              1,822.00           1,822.00
3651       Carolina Sheet Metal/Condensor fan,motor blade,fan bracket      08/19/13              1,318.00           1,318.00
3779       Roof Exhaust Fan                                                10/14/13              1,097.00           1,097.00
3780       Fryer repair (T‐pile generator & Tstats                         10/14/13              1,079.00           1,079.00
           CONTROL BOARD AND MOTOR START FOR ICEMAKER                      07/09/14              1,202.79           1,202.79



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           METERING DEVICE/STAGE COMPRESSOR                          07/15/14           6,114.94            6,114.94
           WAFFLE BAKER                                              08/07/14             575.51              575.51
           POPOUT WAFFLE MAKER                                       09/15/14             743.25              743.25
           4417 Cooler                                               12/07/15           2,975.57            2,578.81
           Replace Ansul System Tanks                                04/15/16           2,549.30            2,039.45
           Compressor                                                06/20/16           2,831.00            2,123.25
4417 ME AUTHOR CH008303                                              11/14/16           1,818.09            1,242.36
4156       Ice Machine                                               01/01/16           8,490.00            6,367.50
4185       Heat Exchanger/Combustion Motor ‐ HVAC                    01/01/17           3,446.00            1,895.30
4333       Door Assembly ‐ Ice Bin                                   05/18/17           1,070.55              588.81
4377       Turbo Super Deluxe Reach In Freezer                       07/19/17           2,803.03            1,541.67
4386       Compressor ‐ Cooler                                       04/25/17           1,021.99              562.10
4471       Access Panels ‐ Exhaust Hood                              09/20/17           2,130.00            1,171.50
4610       Turbo Deluxe Maketable Cooler                             12/27/17           2,890.89            1,590.00
4842       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             673.00              235.55
4899       Racks ‐ WIC                                               01/14/19           1,336.00              200.40
4915       Hamilton Beach Milkshake Machine                          02/01/19             673.00              100.95
4976       Turbo Super Deluxe Reach In Freezer                       04/30/19           1,640.00              246.00
4991       Pylon Cabinet ‐ PY                                        01/01/19          10,475.00            1,571.25
4995       LED Upgrade ‐ Sign                                        05/31/19           1,850.00              277.50
5014       Exhaust Fan ‐ Fryer                                       07/19/19           1,865.00              279.75
Class = ME                                                                             94,366.91           68,440.64
Less disposals and transfers                                                          (10,134.00)         (10,134.00)

Net Subtotal                                                                           84,232.91           58,306.64


Class = RE
           REMODLE 4417                                              09/01/15          67,873.74           62,217.61
Class = RE                                                                             67,873.74           62,217.61
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           67,873.74           62,217.61


Location = 4417                                                                       895,892.50         518,936.68
Less disposals and transfers                                                          (11,592.00)        (11,592.00)

Net Subtotal                                                                          884,300.50         507,344.68


Location = 4423
Class = CL
1579       Rest Equip ‐Capital Lease 4423                            05/13/05          29,890.00           29,890.00
1579.1     Rest Equip ‐Capital Lease 4423                            05/13/05               0.00                0.00



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Class = CL                                                                             29,890.00             29,890.00
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           29,890.00             29,890.00


Class = CO
2158       SECURITY SYSTEM & INSTALL                                 03/10/10           5,819.00              5,819.00
2158.1     SECURITY SYSTEM & INSTALL                                 03/10/10               0.00                  0.00
2880       PAGERS                                                    12/21/11           2,070.00              2,070.00
2880.1     PAGERS                                                    12/21/11               0.00                  0.00
2958       DELL COMPUTER                                             12/01/11           1,458.00              1,458.00
2958.1     DELL COMPUTER                                             12/01/11               0.00                  0.00
2967       COMPUTER SOFTWARE                                         12/01/11             870.00                870.00
2967.1     COMPUTER SOFTWARE                                         12/01/11               0.00                  0.00
3060       SECURITY SYSTEM                                           04/12/12           2,089.00              2,089.00
3060.1     SECURITY SYSTEM                                           04/12/12               0.00                  0.00
           2014 Micros Upgrade                                       06/01/14             500.00                500.00
           1 Micros WS5 Terminal                                     12/12/14             950.00                950.00
4232       Dell Optiplex 3040 8GB Computer                           01/01/17             809.00                444.91
4345       Dell Optiplex 7040 Small Form Computer                    05/02/17           1,186.37                652.50
4703       EMV Terminals                                             07/17/18           2,385.00                834.75
4818       Apple Ipad 32gb                                           11/01/18             409.00                143.15
4970       EMV Transaction ‐ Banking Server                          02/20/19             874.00                131.10
Class = CO                                                                             19,419.37             15,962.41
Less disposals and transfers                                                           (4,398.00)            (4,398.00)

Net Subtotal                                                                           15,021.37             11,564.41


Class = FU
3061       NEW BOOTH                                                 04/12/12               577.00             577.00
3061.1     NEW BOOTH                                                 04/12/12                 0.00               0.00
Class = FU                                                                                  577.00             577.00
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                                577.00             577.00


Class = LI
2181         LAVA ROCKS AND INSTALL                                  04/15/10                992.00             992.00
2181.1       LAVA ROCKS AND INSTALL                                  04/15/10                  0.00               0.00
2257         PARKING LOT STRIPING                                    07/27/10              4,850.00           4,850.00
2257.1       PARKING LOT STRIPING                                    07/27/10                  0.00               0.00
3458         POLE LIGHTING                                           11/07/12              1,452.00           1,452.00



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3458.1     POLE LIGHTING                                      11/07/12               0.00                  0.00
3742       Fence                                              09/09/13           3,670.00              3,670.00
5063       Lennox 12.5 Ton HVAC ‐ DR                          12/02/19          14,000.00                700.00
5076       Lennox 12.5 Ton HVAC ‐ DR                          01/01/20          14,000.00                116.67
5108       LED Upgrade ‐ Exterior Lighting                    03/20/20           8,379.00                 27.93
Class = LI                                                                      47,343.00             11,808.60
Less disposals and transfers                                                         0.00

Net Subtotal                                                                    47,343.00             11,808.60


Class = ME
6          GAS FRYER                                          07/29/09              2,726.00           2,726.00
6.1        GAS FRYER                                          07/29/09                  0.00               0.00
9          NEW THERMOSTAT                                     07/22/09              1,690.00           1,690.00
9.1        NEW THERMOSTAT                                     07/22/09                  0.00               0.00
10         FRONT ENTRY DOOR                                   07/23/09                922.00             922.00
10.1       FRONT ENTRY DOOR                                   07/23/09                  0.00               0.00
41         NEW PREP TABLE                                     10/20/09              2,431.00           2,431.00
41.1       NEW PREP TABLE                                     10/20/09                  0.00               0.00
52         NEW GAS VALVES                                     11/26/09              1,207.00           1,207.00
52.1       NEW GAS VALVES                                     11/26/09                  0.00               0.00
1555       Deep Fryer                                         06/14/06              2,520.00           2,520.00
1555.1     Deep Fryer                                         06/14/06                  0.00               0.00
1622       Hi Rise Pole Sign                                  09/20/06              1,757.00           1,757.00
1622.1     Hi Rise Pole Sign                                  09/20/06                  0.00               0.00
1791       Dishwasher                                         08/08/07              1,629.00           1,629.00
1791.1     Dishwasher                                         08/08/07                  0.00               0.00
2163       NEW PREP TABLE                                     03/31/10              2,506.00           2,506.00
2163.1     NEW PREP TABLE                                     03/31/10                  0.00               0.00
2233       KITCHEN EQUIPMENT                                  06/30/10                805.00             805.00
2233.1     KITCHEN EQUIPMENT                                  06/30/10                  0.00               0.00
2620       EQUIPMENT XXXXXXX                                  03/15/11              1,011.00           1,011.00
2620.1     EQUIPMENT XXXXXXX                                  03/15/11                  0.00               0.00
2633       HOCKENBERG EQUIPMENT                               04/21/11              1,612.00           1,612.00
2633.1     HOCKENBERG EQUIPMENT                               04/21/11                  0.00               0.00
2670       NEW BLOWER ASSEMBLY                                05/05/11              3,330.00           3,330.00
2670.1     NEW BLOWER ASSEMBLY                                05/05/11                  0.00               0.00
2695       EQUIPMENTCARS                                      06/14/11                712.00             712.00
2695.1     EQUIPMENTCARS                                      06/14/11                  0.00               0.00
2712       NEW COMPRESSOR                                     07/13/11              1,821.00           1,821.00
2712.1     NEW COMPRESSOR                                     07/13/11                  0.00               0.00
2746       NEW THERMOSTAT                                     08/23/11                530.00             530.00
2746.1     NEW THERMOSTAT                                     08/23/11                  0.00               0.00
2997       REFRIDGERATOR                                      01/10/12              2,235.00           2,235.00



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2997.1     REFRIDGERATOR                                             01/10/12               0.00               0.00
2998       WAFFLE IRON                                               01/31/12             569.00             569.00
2998.1     WAFFLE IRON                                               01/31/12               0.00               0.00
3062       WATER HEATER                                              04/24/12           2,100.00           2,100.00
3062.1     WATER HEATER                                              04/24/12               0.00               0.00
3089       WATER HEATER                                              05/07/12           7,229.00           7,229.00
3089.1     WATER HEATER                                              05/07/12               0.00               0.00
3207       CONDENSOR ‐ TRANE                                         08/02/12           4,564.00           4,564.00
3207.1     CONDENSOR ‐ TRANE                                         08/02/12               0.00               0.00
3208       COFFE MACHINE                                             08/13/12           1,254.00           1,254.00
3208.1     COFFE MACHINE                                             08/13/12               0.00               0.00
3209       CEILING REGISTER                                          08/20/12             400.00             400.00
3209.1     CEILING REGISTER                                          08/20/12               0.00               0.00
3233       SECURITY SYSTEM                                           09/27/12           2,560.00           2,560.00
3233.1     SECURITY SYSTEM                                           09/27/12               0.00               0.00
3285       HEAT LAMP                                                 11/26/12           1,205.00           1,205.00
3285.1     HEAT LAMP                                                 11/26/12               0.00               0.00
3505       OJ MACHINE                                                02/19/13           1,059.00           1,059.00
3544       FREEZER HALF DOORS LEFT HINGED                            03/25/13           2,367.00           2,367.00
3666       First Service Mechanical                                  05/16/13           3,873.00           3,873.00
3798       Heat Exchanger                                            11/25/13           3,679.00           3,679.00
3808       Trane Ignitor and combustion motor                        12/31/13           1,216.00           1,216.00
           Equipment                                                 01/24/14           2,480.85           2,480.85
           Equipment                                                 04/30/14           3,150.65           3,150.65
           Interface Security System Invoices                        04/03/14           2,658.09           2,658.09
           BIN DOOR                                                  08/05/14             583.40             583.40
           MICROWAVE                                                 08/07/14             915.00             915.00
           ICE CREAM DIPPING CABINET                                 08/19/14           2,453.41           2,453.41
           15 Ton Rooftop AC System                                  05/31/16           8,000.00           6,133.33
           15 Ton Rooftop AC System                                  06/02/16          11,340.00           8,694.00
4357       Food Warmer                                               06/06/17           1,347.25             740.99
4415       Dipperwell w/Timer                                        05/25/17           1,029.34             566.14
4478       Turbo Air Super Deluxe Cooler                             10/10/17           2,370.19           1,303.61
4673       Turbo Super Deluxe Refrigerator                           06/25/18           2,232.32             781.30
4843       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             673.00             235.55
4905       Manitowac Ice Maker                                       01/21/19          14,334.00           2,150.10
4917       Turbo Deluxe Reach In Cooler                              02/07/19           2,340.00             351.00
Class = ME                                                                            117,426.50          94,716.42
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          117,426.50          94,716.42


Class = RE
4362       Excavate & Repair Parking Lot                             06/23/17          49,550.00          27,252.50



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4453       24" Ihop Channel Letter Sign ‐ Remodel                    08/10/17           2,243.00           1,233.63
4454       144in x 232in Pylon Cabinet Sign ‐ Remodel                08/10/17          25,797.44          14,188.59
4455       Merick Seating                                            08/10/17           4,500.00           2,475.00
4456       City Concepts Hostess Stand                               08/10/17           1,700.00             935.00
4457       Remodel ‐ Interior ‐ 4423                                 08/10/17         105,581.68          58,069.92
4545       Landscaping ‐ Remodel                                     08/10/17           4,841.68           2,662.94
4457.2     Add'l Furniture & Decor ‐ Remodel 4423                    08/10/17          34,400.00          18,920.00
Class = RE                                                                            228,613.80         125,737.58
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          228,613.80         125,737.58


Location = 4423                                                                       556,269.67         339,623.02
Less disposals and transfers                                                           (4,398.00)         (4,398.00)

Net Subtotal                                                                          551,871.67         335,225.02


Location = 4424
Class = CL
1620       Rest Equip ‐Capital Lease 4424                            02/21/07         176,000.00         176,000.00
1620.1     Rest Equip ‐Capital Lease 4424                            02/21/07               0.00               0.00
Class = CL                                                                            176,000.00         176,000.00
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          176,000.00         176,000.00


Class = CO
2532       NEW DELL COMPUTER                                         01/04/11           1,458.00            1,458.00
2532.1     NEW DELL COMPUTER                                         01/04/11               0.00                0.00
2533       SECURITY SYSTEM & INSTALL                                 01/27/11           8,523.00            8,523.00
2533.1     SECURITY SYSTEM & INSTALL                                 01/27/11               0.00                0.00
3571       12 INCH TOUCH SCREEN MICROS ECLIPSE                       04/05/13           1,086.00            1,086.00
           2014 Micros Upgrade                                       06/01/14             500.00              500.00
           Micros Terminal                                           05/28/14           1,035.00            1,035.00
4233       Dell Optiplex 3040 8GB Computer                           01/01/17           1,059.00              582.44
4515       Optiplex 7050 Micro Upgrade                               08/31/17           1,969.83            1,083.41
4753       EMV Transaction Minilink                                  08/23/18           2,256.00              789.60
4819       Apple Ipad 32gb                                           11/01/18             409.00              143.15
Class = CO                                                                             18,295.83           15,200.60
Less disposals and transfers                                                           (1,458.00)          (1,458.00)

Net Subtotal                                                                           16,837.83           13,742.60



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Class = LI
2127       Metal Door                                      08/08/07           2,983.00              2,983.00
2127.1     Metal Door                                      08/08/07               0.00                  0.00
2134       Parking Lot Repairs                             11/07/07           3,000.00              3,000.00
2134.1     Parking Lot Repairs                             11/07/07               0.00                  0.00
2199       LAVA ROCKS AND INSTALL                          05/25/10           2,930.00              2,930.00
2199.1     LAVA ROCKS AND INSTALL                          05/25/10               0.00                  0.00
2771       SIGNANGE                                        09/01/11             944.00                944.00
2771.1     SIGNANGE                                        09/01/11               0.00                  0.00
3359       ASPHALT                                         12/31/12           2,500.00              2,500.00
3359.1     ASPHALT                                         12/31/12               0.00                  0.00
New Wind New Windows                                       11/08/16           3,700.00              2,528.33
4458       12.5 Ton Trane Gas HVAC ‐ DR                    08/24/17          15,474.98              2,837.09
4639       47x79 Steel Door ‐ Kitchen                      03/22/18           1,675.00                195.42
4879       Bronze Entrance Doors                           12/05/18           8,679.00              1,012.55
Class = LI                                                                   41,885.98             18,930.39
Less disposals and transfers                                                      0.00

Net Subtotal                                                                 41,885.98             18,930.39


Class = ME
11         NEW COMPRESSOR                                  07/29/09              3,527.00           3,527.00
11.1       NEW COMPRESSOR                                  07/29/09                  0.00               0.00
1124       NEW HEAT EXCHANGERS                             02/23/10              6,636.00           6,636.00
1124.1     NEW HEAT EXCHANGERS                             02/23/10                  0.00               0.00
1790       Sandwich Prep                                   05/29/07              2,131.00           2,131.00
1790.1     Sandwich Prep                                   05/29/07                  0.00               0.00
1826       Sandwich Prep                                   08/01/07              2,288.00           2,288.00
1826.1     Sandwich Prep                                   08/01/07                  0.00               0.00
1882       Evaporator Coil                                 02/01/08              2,149.00           2,149.00
1882.1     Evaporator Coil                                 02/01/08                  0.00               0.00
1902       Combustion Blower                               03/04/08                949.00             949.00
1902.1     Combustion Blower                               03/04/08                  0.00               0.00
1903       Thermostat Knob                                 03/26/08              1,028.00           1,028.00
1903.1     Thermostat Knob                                 03/26/08                  0.00               0.00
1964       Signs                                           08/14/07              2,915.00           2,915.00
1964.1     Signs                                           08/14/07                  0.00               0.00
2081       Evaporator                                      05/13/09              2,855.00           2,855.00
2081.1     Evaporator                                      05/13/09                  0.00               0.00
2164       NEW FREEZER                                     03/23/10              2,131.00           2,131.00
2164.1     NEW FREEZER                                     03/23/10                  0.00               0.00
2190       NEW HEATER                                      04/23/10                764.00             764.00



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2190.1     NEW HEATER                                                  04/23/10                  0.00               0.00
2234       HEAT EXCHANGER & INSTALL                                    06/30/10              1,321.00           1,321.00
2234.1     HEAT EXCHANGER & INSTALL                                    06/30/10                  0.00               0.00
2253       SS TANK                                                     07/20/10              1,378.00           1,378.00
2253.1     SS TANK                                                     07/20/10                  0.00               0.00
2304       HEAT EXCHANGER                                              10/20/10              3,326.00           3,326.00
2304.1     HEAT EXCHANGER                                              10/20/10                  0.00               0.00
2328       PREP TABLE                                                  11/02/10              2,442.00           2,442.00
2328.1     PREP TABLE                                                  11/02/10                  0.00               0.00
2351       COFFEE MACHINE & INSTALL                                    12/01/10                525.00             525.00
2351.1     COFFEE MACHINE & INSTALL                                    12/01/10                  0.00               0.00
2549       REST EQUIP ROGERS XX                                        01/18/11              1,294.00           1,294.00
2549.1     REST EQUIP ROGERS XX                                        01/18/11                  0.00               0.00
2550       REST EQUIP JL XX                                            01/27/11              1,010.00           1,010.00
2550.1     REST EQUIP JL XX                                            01/27/11                  0.00               0.00
2706       REACH IN COOLER                                             07/12/11              1,981.00           1,981.00
2706.1     REACH IN COOLER                                             07/12/11                  0.00               0.00
2777       BLOW OFF CAP SUPPRESSION SYST                               09/13/11                594.00             594.00
2777.1     BLOW OFF CAP SUPPRESSION SYST                               09/13/11                  0.00               0.00
2780       WAFFLE IRON                                                 09/13/11                581.00             581.00
2780.1     WAFFLE IRON                                                 09/13/11                  0.00               0.00
2852       LIGHTING                                                    11/07/11              1,424.00           1,424.00
2852.1     LIGHTING                                                    11/07/11                  0.00               0.00
3034       WAFFLE IRON                                                 03/29/12                285.00             285.00
3034.1     WAFFLE IRON                                                 03/29/12                  0.00               0.00
3044       NEW DRAIN LINE                                              03/29/12                850.00             850.00
3044.1     NEW DRAIN LINE                                              03/29/12                  0.00               0.00
3063       P‐TRAP                                                      04/20/12              1,400.00           1,400.00
3063.1     P‐TRAP                                                      04/20/12                  0.00               0.00
3174       ICE MACHINE                                                 08/01/12              9,019.00           9,019.00
3174.1     ICE MACHINE                                                 08/01/12                  0.00               0.00
3210       ICE MACHINE                                                 08/22/12                999.00             999.00
3210.1     ICE MACHINE                                                 08/22/12                  0.00               0.00
3234       FAN MOTOR                                                   09/12/12                972.00             972.00
3234.1     FAN MOTOR                                                   09/12/12                  0.00               0.00
3545       REFRIGERATOR HALF DOORS LEFT HINGED                         03/25/13              2,198.00           2,198.00
3546       JACKSON 1085 EXIT DEVICES                                   03/27/13              1,144.00           1,144.00
3572       HARD DRIVE FOR INVERVISION DVR                              04/24/13              1,449.00           1,449.00
3627       Rogers Electrical/Kitchen A/C Compressor                    07/09/13              4,196.00           4,196.00
3652       Rogers Electrical/Condensor Fan Motor                       08/15/13                742.00             742.00
           Equipment                                                   04/10/14              1,154.83           1,154.83
           EQUIPMENT                                                   05/29/14              1,307.36           1,307.36
           AC REPAIR/REPLACED PARTS                                    08/29/14              1,221.99           1,221.99
           CONVERSION BOARDS & T‐STAT                                  09/16/14              1,431.05           1,431.05
           POPOUT WAFFLE MAKER                                         09/22/14                751.69             751.69



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           A CLEAN BAY PLUMBING, INC.                               09/30/14             810.00              810.00
           DRAIN PAN/FILTER                                         10/06/14           1,200.60            1,200.60
           GAS KIT, TEMP CONTROL                                    10/12/14             974.64              974.64
           TEMP CONTROL, FIBER GLASS                                10/12/14             684.00              684.00
           EQUIPMENT                                                10/20/14             693.50              693.50
           SAFETY VALVE, DUAL SOLENOID VALVE, THERMOCOUPLER         12/26/14             773.74              773.74
           REPAIR/REPLACEMENT OF A BAD COMPRESSOR ON A TRANE(1      07/13/15           4,303.72            4,088.53
           TECHNIC MISSING                                          08/15/15           2,248.28            2,098.41
           Replace AC Unit                                          07/27/16          16,500.00           12,100.00
4172       CCTV Camera                                              09/14/16             523.00              392.25
4352       Dipperwell w/Timer                                       05/23/17             986.41              542.52
4860       Hamilton Beach 3 Speed Triple Spindle Blender            11/20/18             667.00              233.45
4878       Drop In Ice Cream Freezer                                12/05/18           2,491.00              871.85
5077       Turbo Super Deluxe Reach In Refrigerator                 01/01/20           2,518.00               62.95
5103       Exhaust Fan                                              03/11/20           1,183.00               11.83
Class = ME                                                                           108,926.81           97,908.19
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         108,926.81           97,908.19


Class = RE
3829       Remodel 4424                                             12/31/13          69,374.00          69,374.00
4799       24" Channel Letter Sign ‐ Remodel                        10/27/18           3,951.00           1,382.85
4800       Arches Red & Blue Sings ‐ Remodel                        10/27/18           5,208.00           1,822.80
4801       Monument Sign ‐ Remodel                                  10/27/18           8,800.00           3,080.00
4802       Booth Recover ‐ Remodel                                  10/27/18          11,355.00           3,974.25
4803       Tables ‐ Remodel                                         10/27/18           8,025.00           2,808.75
4804       Remodel ‐ 4424                                           10/27/18         137,170.00          16,003.17
4856       Parking Lot Sealcoating                                  11/19/18          15,635.00           1,824.08
Class = RE                                                                           259,518.00         100,269.90
Less disposals and transfers                                                               0.00

Net Subtotal                                                                         259,518.00         100,269.90


Location = 4424                                                                    1,427,033.62         826,166.48
Less disposals and transfers                                                          (1,458.00)         (1,458.00)

Net Subtotal                                                                       1,425,575.62         824,708.48


Location = 4431
Class = CL
1580       Rest Equip ‐Capital Lease 4431                           05/13/05          34,646.00           34,646.00



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1580.1     Rest Equip ‐Capital Lease 4431                          05/13/05               0.00                  0.00
Class = CL                                                                           34,646.00             34,646.00
Less disposals and transfers                                                              0.00

Net Subtotal                                                                         34,646.00             34,646.00


Class = CO
2322       DELL COMPUTER                                           11/18/10           1,749.00              1,749.00
2322.1     DELL COMPUTER                                           11/18/10               0.00                  0.00
2968       COMPUTER SOFTWARE                                       12/01/11             870.00                870.00
2968.1     COMPUTER SOFTWARE                                       12/01/11               0.00                  0.00
3811       Micros Workstation 4 Terminal                           12/06/13             804.00                804.00
           2014 Micros Upgrade                                     06/01/14             500.00                500.00
           1 Micros WS5 Terminal                                   12/12/14             850.00                850.00
4234       Dell Optiplex 3040 8GB Computer                         01/01/17             808.00                444.40
4516       Optiplex 7050 Micro Upgrade                             08/31/17           1,310.17                720.59
4754       EMV Transaction Minilink                                08/23/18           2,520.00                882.00
5075       Datamax Workstation                                     01/01/20           1,020.00                 25.50
Class = CO                                                                           10,431.17              6,845.49
Less disposals and transfers                                                         (2,619.00)            (2,619.00)

Net Subtotal                                                                             7,812.17           4,226.49


Class = LI
2112         Replaced Sewer Line                                   05/31/06          12,820.00             11,822.94
2112.1       Replaced Sewer Line                                   05/31/06               0.00                  0.00
2182         LAVA ROCKS AND INSTALL                                04/15/10             616.00                616.00
2182.1       LAVA ROCKS AND INSTALL                                04/15/10               0.00                  0.00
2200         LAVA ROCKS AND INSTALL                                05/25/10           1,750.00              1,750.00
2200.1       LAVA ROCKS AND INSTALL                                05/25/10               0.00                  0.00
2677         CONCRETE PAD                                          06/28/11           1,650.00              1,650.00
2677.1       CONCRETE PAD                                          06/28/11               0.00                  0.00
3128         WALL PAINT                                            06/19/12             850.00                850.00
3128.1       WALL PAINT                                            06/19/12               0.00                  0.00
             Replaced faces on Signs                               02/19/14           3,642.41              3,642.41
             ADA Ramp                                              02/01/16           3,400.00              2,833.33
             GREASE TRAP OUTLET                                    02/23/16           3,774.00              3,082.10
             ADA Upgrades                                          06/14/16          37,025.00             28,385.83
4188         100Gal Gas Water Heater                               01/15/17           7,192.00              3,955.60
4202         15 Ton GE HVAC M DR                                   01/04/17          10,267.00              1,882.29
4205         100Gal Bradford White Water Heater                    01/18/17           4,495.00              2,472.25
4536         ADA Parking Stenciling                                04/20/17           2,400.00                440.00
4708         Exterior Light Fixtures                               08/15/18           3,150.00                367.50



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4782       10 Ton GE HVAC                                10/09/18           8,899.00              1,038.22
4783       15 Ton GE HVAC                                10/09/18          13,302.00              1,551.90
4795       Door Replacement                              10/23/18           3,800.00                443.33
Class = LI                                                                119,032.41             66,783.70
Less disposals and transfers                                                    0.00

Net Subtotal                                                              119,032.41             66,783.70


Class = ME
1675       Heat Exchangers                               01/23/07              2,700.00           2,700.00
1675.1     Heat Exchangers                               01/23/07                  0.00               0.00
1753       Undercounter Freezer                          06/26/07              1,533.00           1,533.00
1753.1     Undercounter Freezer                          06/26/07                  0.00               0.00
1754       Refrigerator and Freezer                      06/26/07              4,597.00           4,597.00
1754.1     Refrigerator and Freezer                      06/26/07                  0.00               0.00
1824       Kitchen RTU                                   10/30/07              2,167.00           2,167.00
1824.1     Kitchen RTU                                   10/30/07                  0.00               0.00
1990       Equipment                                     09/30/08              1,959.00           1,959.00
1990.1     Equipment                                     09/30/08                  0.00               0.00
2270       PREP TABLE                                    08/26/10              2,517.00           2,517.00
2270.1     PREP TABLE                                    08/26/10                  0.00               0.00
2551       REST EQUIP JL XX                              01/27/11              1,001.00           1,001.00
2551.1     REST EQUIP JL XX                              01/27/11                  0.00               0.00
2595       NEW BLOWER MOTOR                              02/14/11                780.00             780.00
2595.1     NEW BLOWER MOTOR                              02/14/11                  0.00               0.00
2634       FIRE SUPPRESSION SYSTEM                       04/21/11              1,767.00           1,767.00
2634.1     FIRE SUPPRESSION SYSTEM                       04/21/11                  0.00               0.00
2635       AUTOHOR EQUIPMENT                             04/26/11              1,052.00           1,052.00
2635.1     AUTOHOR EQUIPMENT                             04/26/11                  0.00               0.00
2748       OJ MACHINE                                    08/25/11                927.00             927.00
2748.1     OJ MACHINE                                    08/25/11                  0.00               0.00
2809       NEW PRESS CONTROL                             10/12/11                855.00             855.00
2809.1     NEW PRESS CONTROL                             10/12/11                  0.00               0.00
2835       WAFFLE IRONS                                  10/25/11                569.00             569.00
2835.1     WAFFLE IRONS                                  10/25/11                  0.00               0.00
3129       CIRCULATOR PUMP                               06/21/12                555.00             555.00
3129.1     CIRCULATOR PUMP                               06/21/12                  0.00               0.00
3175       MICROWAVE                                     08/01/12                355.00             355.00
3175.1     MICROWAVE                                     08/01/12                  0.00               0.00
3176       CONTROL BOARD                                 08/01/12                620.00             620.00
3176.1     CONTROL BOARD                                 08/01/12                  0.00               0.00
3235       BLOWER MOTOR                                  09/05/12                870.00             870.00
3235.1     BLOWER MOTOR                                  09/05/12                  0.00               0.00
3250       WATER PUMP                                    10/17/12                803.00             803.00



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3250.1     WATER PUMP                                                    10/17/12               0.00               0.00
3251       REFRIDGERATOR                                                 10/17/12           2,245.00           2,245.00
3251.1     REFRIDGERATOR                                                 10/17/12               0.00               0.00
3252       POLE LIGHTS                                                   10/17/12             886.00             886.00
3252.1     POLE LIGHTS                                                   10/17/12               0.00               0.00
3361       FAN MOTOR                                                     12/21/12           1,805.00           1,805.00
3361.1     FAN MOTOR                                                     12/21/12               0.00               0.00
3478       CCTV SYSTEM                                                   01/15/13           1,502.00           1,502.00
3547       PREP TABLE                                                    03/04/13           2,543.00           2,543.00
3548       CEILING REGISTER                                              03/08/13             791.00             791.00
3549       DRAFT MOTOR, BLOWER WHEEL, LIMIT KIT                          03/20/13             971.00             971.00
3628       S&D Coffee/Bunn Axiom 4/2 Twin                                07/12/13           1,257.00           1,257.00
3653       Carolina Sheet Metal/Compressor                               08/19/13           3,557.00           3,557.00
3781       Freezer Crank Case Heater                                     10/11/13           2,519.00           2,519.00
           COMPRESSOR                                                    07/15/14           3,650.34           3,650.34
           WAFFLE BAKER                                                  08/07/14             576.85             576.85
           CONDENSER FAN MOTOR                                           09/29/14           1,012.00           1,012.00
           WAFFLE IRON                                                   12/09/14             698.31             698.31
           WATER HEATER                                                  12/18/14           1,700.00           1,700.00
           CEHOLT                                                        02/01/16           2,141.52           1,784.59
4279       Reach In Refrigerator                                         04/12/17           2,157.00           1,186.35
4416       Dipperwell w/Timer                                            05/25/17             950.16             522.59
4646       Compressor ‐ Ice Machine                                      04/23/18           3,728.98           1,305.15
4855       Hamilton Beach 3 Speed Triple Spindle Blender                 11/19/18             675.00             236.25
4999       Ice Cream Dipping Cabinet                                     06/04/19           2,574.00             386.10
5000       Turbo Super Deluxe Sandwich Cooler                            06/07/19           3,257.00             488.55
Class = ME                                                                                 66,824.16          57,250.08
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                               66,824.16          57,250.08


Class = RE
3665       Remodel 4431                                                  06/13/13          67,474.00          67,474.00
4621       24in Channel Letter Sign ‐ Red Smile/White ‐ Remodel          02/02/18           3,356.50           1,174.78
4622       24in Channel Letter Sign ‐ Red Smile/Blue ‐ Remodel           02/02/18           4,195.62           1,468.46
4623       97inx73in Sign Face                                           02/02/18          13,426.00           4,699.10
4628       Remodel ‐ 4431                                                02/02/18         128,893.00          15,037.51
4629       Remodel ‐ Booths ‐ 4431                                       02/02/18          10,941.00           3,829.35
4630       Remodel ‐ Décor ‐ 4431                                        02/02/18           4,200.00           1,470.00
4631       Remodel ‐ Table Tops ‐ 4431                                   02/02/18           7,900.00           2,765.00
Class = RE                                                                                240,386.12          97,918.20
Less disposals and transfers                                                                    0.00

Net Subtotal                                                                              240,386.12          97,918.20



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Location = 4431                                                                918,319.86           500,905.31
Less disposals and transfers                                                    (2,619.00)           (2,619.00)

Net Subtotal                                                                   915,700.86           498,286.31


Location = 4442
Class = CL
1581       Rest Equip ‐Capital Lease 4442                     05/13/05          24,421.00             24,421.00
1581.1     Rest Equip ‐Capital Lease 4442                     05/13/05               0.00                  0.00
Class = CL                                                                      24,421.00             24,421.00
Less disposals and transfers                                                         0.00

Net Subtotal                                                                    24,421.00             24,421.00


Class = CO
2579       DELL COMPUTER                                      02/07/11           1,458.00              1,458.00
2579.1     DELL COMPUTER                                      02/07/11               0.00                  0.00
3253       Labor on Camera Install                            10/11/12           1,130.00              1,130.00
3253.1     Labor on Camera Install                            10/11/12               0.00                  0.00
           2014 Micros Upgrade                                06/01/14             500.00                500.00
           3 Micros WS5 Terminals                             12/12/14           2,550.00              2,550.00
           WS5A                                               08/04/15             894.45                834.82
4235       Dell Optiplex 3040 8GB Computer                    01/01/17           1,058.00                581.90
4549       Micro Upgrade                                      08/31/17           1,433.12                788.21
4679       Oracle Micro Workstation                           03/13/18           2,537.00                887.94
4821       Apple Ipad 32gb                                    11/01/18             409.00                143.15
4822       Apple Ipad 32gb                                    11/01/18             409.00                143.15
4946       EMV Transaction Mini Link                          02/20/19           1,700.00                255.00
Class = CO                                                                      14,078.57              9,272.17
Less disposals and transfers                                                    (1,458.00)            (1,458.00)

Net Subtotal                                                                    12,620.57              7,814.17


Class = FU
2999       NEW BOOTH                                          01/18/12                590.00             590.00
2999.1     NEW BOOTH                                          01/18/12                  0.00               0.00
3183       NEW BOOTH                                          08/01/12                644.00             644.00
3183.1     NEW BOOTH                                          08/01/12                  0.00               0.00
Class = FU                                                                          1,234.00           1,234.00
Less disposals and transfers                                                            0.00



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Net Subtotal                                                                    1,234.00           1,234.00


Class = LI
1885       Signs                                          03/26/08           2,400.00              2,400.00
1885.1     Signs                                          03/26/08               0.00                  0.00
2192       LAVA ROCKS AND INSTALL                         04/15/10             643.00                643.00
2192.1     LAVA ROCKS AND INSTALL                         04/15/10               0.00                  0.00
2679       PARKING LOT                                    06/28/11           1,170.00              1,170.00
2679.1     PARKING LOT                                    06/28/11               0.00                  0.00
3001       POLE LIGHTING                                  01/24/12             980.00                980.00
3001.1     POLE LIGHTING                                  01/24/12               0.00                  0.00
3047       SIGNAGE                                        03/13/12           1,619.00              1,619.00
3047.1     SIGNAGE                                        03/13/12               0.00                  0.00
3184       PARKING AREA                                   08/01/12             595.00                595.00
3184.1     PARKING AREA                                   08/01/12               0.00                  0.00
3238       URINAL                                         09/01/12             654.00                654.00
3771       Pole light, outlets                            10/11/13           3,746.00              1,623.24
Stripe PaveStripe Pavement                                11/02/16           5,714.00              3,904.57
4325       20 Ton Trane HVAC ‐ Kitchen                    05/08/17          17,032.54              3,122.63
4326       10 Ton GE HVAC ‐                               05/08/17           5,784.97              1,060.59
4327       7.5 Ton GE HVAC ‐                              05/08/17           5,480.50              1,004.76
4328       5 Ton GE HVAC ‐                                05/08/17           3,349.19                614.02
4385       10 Ton HVAC ‐ DR                               04/24/17           2,542.24                466.07
4798       Water Heater                                   10/25/18          10,665.00              1,244.25
Class = LI                                                                  62,375.44             21,101.13
Less disposals and transfers                                                     0.00

Net Subtotal                                                                62,375.44             21,101.13


Class = ME
22         OJ MACHINE                                     08/27/09                862.00             862.00
22.1       OJ MACHINE                                     08/27/09                  0.00               0.00
1342       Security System                                08/26/08              3,556.00           3,556.00
1342.1     Security System                                08/26/08                  0.00               0.00
1547       Gas Fryer & Casters                            08/08/06              2,911.00           2,911.00
1547.1     Gas Fryer & Casters                            08/08/06                  0.00               0.00
1869       Hood Exhaust Fans                              01/11/08              3,011.00           3,011.00
1869.1     Hood Exhaust Fans                              01/11/08                  0.00               0.00
1905       Undercounter Freezer                           04/02/08              1,585.00           1,585.00
1905.1     Undercounter Freezer                           04/02/08                  0.00               0.00
2054       Cooking Equipment                              02/11/09              2,253.00           2,253.00
2054.1     Cooking Equipment                              02/11/09                  0.00               0.00



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2294       JOEBSU XX                                                 09/10/10           1,504.00           1,504.00
2294.1     JOEBSU XX                                                 09/10/10               0.00               0.00
2596       NEW ICE MACHINE                                           02/22/11           8,712.00           8,712.00
2596.1     NEW ICE MACHINE                                           02/22/11               0.00               0.00
2752       NEW MOTOR                                                 08/17/11             900.00             900.00
2752.1     NEW MOTOR                                                 08/17/11               0.00               0.00
2801       DISH MACHINE INSTALL                                      10/04/11             619.00             619.00
2801.1     DISH MACHINE INSTALL                                      10/04/11               0.00               0.00
3000       COMBUSTION BLOWER                                         01/18/12           1,708.00           1,708.00
3000.1     COMBUSTION BLOWER                                         01/18/12               0.00               0.00
3238.1     URINAL                                                    09/01/12               0.00               0.00
3479       THERMOSTAT                                                01/29/13           1,165.00           1,165.00
           Equipment                                                 04/25/14             815.79             815.79
           EQUIPMENT                                                 06/16/14           1,622.36           1,622.36
           AC Motor Repair                                           06/24/14           1,385.00           1,385.00
4199       Stainless Steel Ansul Tanks                               01/01/17           3,206.00           1,763.30
4203       CCTV Security System                                      01/16/17           1,792.00             985.60
4312       Prep Table Cooler                                         04/27/17           2,699.04           1,484.47
4329       Traulsen Upright Cooler                                   05/11/17           2,573.74           1,415.56
4330       Traulsen Upright Cooler                                   05/11/17           2,573.73           1,415.56
4417       Dipperwell w/Timer                                        05/25/17             950.16             522.59
4658       Turbo Super Deluxe Sandwich Cooler                        05/25/18           3,002.27           1,050.79
4844       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             692.00             242.20
5006       LED Upgrade ‐ Sign                                        05/23/19           1,495.00             224.25
5038       Compressor ‐ WIF                                          08/01/19           2,581.00             387.15
5042       Turbo Super Deluxe Salad Cooler                           09/17/19           3,445.00             516.75
5045       Turbo Reach In Cooler                                     10/04/19           2,242.00             336.30
5100       Ice Cream Dipping Cabinet                                 02/27/20           2,724.00              49.53
Class = ME                                                                             62,585.09          43,003.20
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           62,585.09          43,003.20


Class = RE
4261       24in IHOP Channel Letter Sign                             03/18/17           2,168.56           1,192.71
4262       118in x 240in Pylon Cabinet Sign                          03/18/17          13,320.75           7,326.42
4263       Booth Recover ‐ Remodel                                   03/18/17           4,165.00           2,290.75
4264       Divider Walls ‐ Remodel                                   03/18/17           4,659.00           2,562.45
4265       Remodel ‐ 4442                                            03/18/17         104,611.73          57,536.46
4265.2     Add'l Furniture & Decor ‐ Remodel 4442                    03/18/17          15,346.00           8,440.30
Class = RE                                                                            144,271.04          79,349.09
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          144,271.04          79,349.09



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Location = 4442                                                               1,334,965.14         713,880.59
Less disposals and transfers                                                     (1,458.00)         (1,458.00)

Net Subtotal                                                                  1,333,507.14         712,422.59


Location = 4448
Class = CL
1582       Rest Equip ‐Capital Lease 4448                      05/13/05          24,421.00           24,421.00
1582.1     Rest Equip ‐Capital Lease 4448                      05/13/05               0.00                0.00
Class = CL                                                                       24,421.00           24,421.00
Less disposals and transfers                                                          0.00

Net Subtotal                                                                     24,421.00           24,421.00


Class = CO
2580       DELL COMPUTER                                       02/07/11           1,458.00            1,458.00
2580.1     DELL COMPUTER                                       02/07/11               0.00                0.00
2767       SECURITY SYSTEM & INSTALL                           09/01/11           8,285.00            8,285.00
2767.1     SECURITY SYSTEM & INSTALL                           09/01/11               0.00                0.00
           2014 Micros Upgrade                                 06/01/14             500.00              500.00
           MICROS WORK STATIONS                                10/15/14           1,076.53            1,076.53
           2 MICROS WS5A                                       01/06/15           1,921.74            1,921.74
           Micros WS5A                                         05/21/15             972.52              940.09
           WS5A                                                08/04/15             894.45              834.82
4162       Computer Equipment                                  03/15/16             549.00              411.75
4236       Dell Optiplex 3040 8GB Computer                     01/01/17             808.00              444.40
4541       Dell Optiplex 7040 Computer                         06/13/17           1,357.33              746.54
4755       EMV Transaction Minilink                            08/23/18           1,086.00              380.10
4971       EMV Transaction ‐ Banking Server                    02/20/19             878.00              131.70
5085       Interface Internet Circuit                          01/01/20           1,895.00               47.38
Class = CO                                                                       21,681.57           17,178.05
Less disposals and transfers                                                     (1,458.00)          (1,458.00)

Net Subtotal                                                                     20,223.57           15,720.05


Class = FU
3092       NEW BOOTH                                           05/15/12             576.00              576.00
3092.1     NEW BOOTH                                           05/15/12               0.00                0.00
4909       Mega Booths                                         01/31/19          10,340.00            1,551.00
Class = FU                                                                       10,916.00            2,127.00



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Less disposals and transfers                                                            0.00

Net Subtotal                                                                     10,916.00              2,127.00


Class = LI
2042       Road Sign Lamps                                     01/29/09           1,788.00              1,788.00
2042.1     Road Sign Lamps                                     01/29/09               0.00                  0.00
2107       DIPPLE ‐ SEWER LINE REPL                            08/25/05          16,750.00             16,284.77
2107.1     DIPPLE ‐ SEWER LINE REPL                            08/25/05               0.00                  0.00
2120       Lot Improvement                                     06/30/07           4,987.00              4,987.00
2120.1     Lot Improvement                                     06/30/07               0.00                  0.00
2183       LAVA ROCKS AND INSTALL                              04/15/10           2,397.00              2,397.00
2183.1     LAVA ROCKS AND INSTALL                              04/15/10               0.00                  0.00
           Trane Foundation 20 T Unit                          09/13/16          18,250.00             13,079.17
Stripe PaveStripe Pavement                                     11/02/16          10,830.00              7,400.50
4656       HVAC Replacement 3 Units                            04/25/18          22,645.98              2,642.03
4949       LED Lighting Upgrade                                02/22/19           1,120.00                 56.00
5046       LED Upgrade ‐ Interior Lighting                     10/08/19           2,499.00                124.95
Class = LI                                                                       81,266.98             48,759.42
Less disposals and transfers                                                          0.00

Net Subtotal                                                                     81,266.98             48,759.42


Class = ME
30         NEW HOT WATER HEATER AND INSTALL                    09/16/09              8,197.00           8,197.00
30.1       NEW HOT WATER HEATER AND INSTALL                    09/16/09                  0.00               0.00
82         REFRIGERATOR                                        12/29/09              1,649.00           1,649.00
82.1       REFRIGERATOR                                        12/29/09                  0.00               0.00
1724       Exhaust Fan                                         05/08/07              1,734.00           1,734.00
1724.1     Exhaust Fan                                         05/08/07                  0.00               0.00
1798       Plumbing Pipe Work                                  08/14/07              3,601.00           3,601.00
1798.1     Plumbing Pipe Work                                  08/14/07                  0.00               0.00
1968       Grill                                               11/27/06              1,285.00           1,285.00
1968.1     Grill                                               11/27/06                  0.00               0.00
1980       Evaporator                                          03/20/07              2,181.00           2,181.00
1980.1     Evaporator                                          03/20/07                  0.00               0.00
1994       Equipment                                           09/30/08              5,028.00           5,028.00
1994.1     Equipment                                           09/30/08                  0.00               0.00
1995       Evaporator Assembly                                 09/30/08              1,977.00           1,977.00
1995.1     Evaporator Assembly                                 09/30/08                  0.00               0.00
2003       Frymaster                                           10/27/08              2,696.00           2,696.00
2003.1     Frymaster                                           10/27/08                  0.00               0.00
2014       Fry Vats                                            11/25/08              1,493.00           1,493.00



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2014.1  Fry Vats                                           11/25/08                  0.00               0.00
2296    OUTDOO XX                                          09/09/10              1,119.00           1,119.00
2296.1  OUTDOO XX                                          09/09/10                  0.00               0.00
2307    RUSSELL EQUIP                                      10/06/10              2,237.00           2,237.00
2307.1  RUSSELL EQUIP                                      10/06/10                  0.00               0.00
2353    REFRIDGERATOR                                      12/01/10              1,959.00           1,959.00
2353.1  REFRIDGERATOR                                      12/01/10                  0.00               0.00
2396    FREEZER                                            10/19/10              2,541.00           2,541.00
2396.1  FREEZER                                            10/19/10                  0.00               0.00
2784    NEW CONDENSOR COIL                                 09/20/11              4,100.00           4,100.00
2784.1  NEW CONDENSOR COIL                                 09/20/11                  0.00               0.00
2883    NEW SIGNAGE                                        12/29/11              1,505.00           1,505.00
2883.1  NEW SIGNAGE                                        12/29/11                  0.00               0.00
3003    ANSUL TANKS                                        01/27/12              1,730.00           1,730.00
3003.1  ANSUL TANKS                                        01/27/12                  0.00               0.00
3093    REFRIDGERATOR                                      05/21/12              1,051.00           1,051.00
3093.1  REFRIDGERATOR                                      05/21/12                  0.00               0.00
3136    PREP TABLE                                         06/08/12              2,514.00           2,514.00
3136.1  PREP TABLE                                         06/08/12                  0.00               0.00
3137    NEW CONDENSOR                                      06/21/12                941.00             941.00
3137.1  NEW CONDENSOR                                      06/21/12                  0.00               0.00
3255    CEILING DIFFUSER                                   10/17/12                792.00             792.00
3255.1  CEILING DIFFUSER                                   10/17/12                  0.00               0.00
3256    CONTACTORS                                         10/29/12              1,184.00           1,184.00
3256.1  CONTACTORS                                         10/29/12                  0.00               0.00
3550    EVAPORATOR FAN MOTOR                               03/04/13              1,248.00           1,248.00
3551    HEAT EXCHANGER                                     03/18/13              3,080.00           3,080.00
3607    CE Holt Refrigeration                              06/03/13              3,910.00           3,910.00
3632    CE Holt/Condensor Coil                             07/09/13              1,622.00           1,622.00
3633    CE Holt/5 HP Motor                                 07/19/13              1,655.00           1,655.00
3655    Trane/Condensor Coil                               08/05/13              2,333.00           2,333.00
        Sewer Locks                                        05/06/14              1,062.24           1,062.24
        Grease Trap Locks                                  05/15/14              2,206.00           2,206.00
        CURTIS GEM612                                      08/19/14                742.00             742.00
        65 GALLON WATER HEATER                             10/29/14              9,501.30           9,501.30
        WAFFLE IRON                                        11/06/14                695.00             695.00
        Bunn Axiom 4/2 Twin Brewer                         04/17/15              1,242.32           1,221.61
        Compressor in Walk in Cooler                       05/01/15              2,090.45           2,055.60
        Bad Compressor on Kitchen Unit                     07/01/15              5,495.99           5,221.20
4448 ME HOCKEN 99G5WB                                      11/04/16              2,384.38           1,629.34
4448 ME HOCKEN 99GB50                                      11/17/16              2,147.05           1,431.34
4154    Prep Table                                         12/29/16              4,823.00           3,617.25
4218    Prep Table                                         02/10/17              4,823.00           2,652.65
4418    Dipperwell w/Timer                                 05/25/17                950.16             522.59
4664    Turbo Super Deluxe Refrigerator                    06/06/18              2,227.07             779.47



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4864       Hamilton Beach 3 Speed Triple Spindle Blender             11/20/18             667.00                233.45
Class = ME                                                                            106,418.96             98,933.04
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          106,418.96             98,933.04


Class = RE
4363       24in IHOP Channel Letter Sign                             06/24/17           2,000.00              1,099.99
4364       102in x 244in Pylon Sign Cabinet                          06/24/17          19,338.00             10,635.90
4365       73in x 172in Pylon Sign Cabinet                           06/24/17          12,002.00              6,601.10
4559       Remodel ‐ 4448 ‐ Tables                                   10/15/17           1,900.00              1,045.00
4560       Remodel ‐ 4448 ‐ Décor                                    10/15/17          16,500.00              9,075.00
4561       Remodel ‐ 4448 ‐ Booths                                   10/15/17           4,500.00              2,475.00
4562       Remodel ‐ 4448 ‐ Hostess Stand                            10/15/17           1,700.00                935.00
4563       Remodel ‐ 4448                                            10/15/17         107,417.96             59,079.88
Class = RE                                                                            165,357.96             90,946.87
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          165,357.96             90,946.87


Location = 4448                                                                       455,062.47           305,441.79
Less disposals and transfers                                                           (1,458.00)           (1,458.00)

Net Subtotal                                                                          453,604.47           303,983.79


Location = 4451
Class = CL
1583       Rest Equip ‐Capital Lease 4451                            05/13/05          24,421.00             24,421.00
1583.1     Rest Equip ‐Capital Lease 4451                            05/13/05               0.00                  0.00
Class = CL                                                                             24,421.00             24,421.00
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           24,421.00             24,421.00


Class = CO
2581       DELL COMPUTER                                             02/07/11              1,458.00           1,458.00
2581.1     DELL COMPUTER                                             02/07/11                  0.00               0.00
2972       WORKSTATION                                               12/01/11              1,220.00           1,220.00
2972.1     WORKSTATION                                               12/01/11                  0.00               0.00
3138       CCTV SYSTEM                                               06/19/12              4,530.00           4,530.00
3138.1     CCTV SYSTEM                                               06/19/12                  0.00               0.00



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             2014 Micros Upgrade                                06/01/14             500.00                500.00
             Micros WS5A                                        03/05/15           1,700.00              1,700.00
4237         Dell Optiplex 3040 8GB Computer                    01/01/17           1,058.00                581.90
4550         Micro Upgrade                                      08/31/17           1,445.51                795.03
4775         EMV Transaction Mini Link                          09/04/18           1,086.00                380.10
4947         EMV Transaction Mini Link                          02/20/19           1,928.00                289.20
5083         Interface Internet Circuit                         01/15/20           2,698.00                 67.45
Class = CO                                                                        17,623.51             11,521.68
Less disposals and transfers                                                      (1,458.00)            (1,458.00)

Net Subtotal                                                                      16,165.51             10,063.68


Class = FU
2281       VALORE                                               09/10/10                614.00             614.00
2281.1     VALORE                                               09/10/10                  0.00               0.00
3139       NEW BOOTH                                            06/21/12                840.00             840.00
3139.1     NEW BOOTH                                            06/21/12                  0.00               0.00
Class = FU                                                                            1,454.00           1,454.00
Less disposals and transfers                                                              0.00

Net Subtotal                                                                          1,454.00           1,454.00


Class = LI
1907         Lighting                                           04/29/08           4,000.00              4,000.00
1907.1       Lighting                                           04/29/08               0.00                  0.00
2028         Exterior Lighting                                  12/31/08           1,476.00              1,476.00
2028.1       Exterior Lighting                                  12/31/08               0.00                  0.00
2105         LEASEHOLD IMPROVEMENTS                             07/28/05          12,100.00             11,831.16
2105.1       LEASEHOLD IMPROVEMENTS                             07/28/05               0.00                  0.00
2106         LEASEHOLD IMPROVEMENTS                             07/28/05           4,027.00              3,937.56
2106.1       LEASEHOLD IMPROVEMENTS                             07/28/05               0.00                  0.00
2108         LEASEHOLD IMPROVEMENTS                             09/30/05             367.00                367.00
2108.1       LEASEHOLD IMPROVEMENTS                             09/30/05               0.00                  0.00
2150         NEW PIPING WATER LINES                             06/30/09           3,725.00              2,669.56
2150.1       NEW PIPING WATER LINES                             06/30/09               0.00                  0.00
2184         LAVA ROCKS AND INSTALL                             04/15/10           2,431.00              2,431.00
2184.1       LAVA ROCKS AND INSTALL                             04/15/10               0.00                  0.00
3188         PARKING AREA                                       08/01/12             520.00                520.00
3188.1       PARKING AREA                                       08/01/12               0.00                  0.00
3189         DISHROOM FAUCET                                    08/01/12             899.00                899.00
3189.1       DISHROOM FAUCET                                    08/01/12               0.00                  0.00
3599         Holt Plumbing                                      06/03/13           2,800.00              2,800.00
             Lava Rocks                                         05/19/14             601.72                601.72



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4451 Strip Stripe Pavement                                  11/02/16           9,327.00              6,373.45
4276       Glass Replacement                                04/07/17           1,065.00                195.25
4346       Back Door Replacement                            05/10/17           2,595.21                475.77
4438       Roof Drains                                      07/28/17           4,970.40                911.24
4652       20 Ton Trane HVAC ‐ DR                           05/17/18          10,367.65              1,209.57
4653       5 Ton Trane HVAC ‐ DR                            05/17/18           4,031.86                470.39
Class = LI                                                                    65,303.84             41,168.67
Less disposals and transfers                                                       0.00

Net Subtotal                                                                  65,303.84             41,168.67


Class = ME
31         GAS FRYER                                        10/01/09              2,687.00           2,687.00
31.1       GAS FRYER                                        10/01/09                  0.00               0.00
54         FRYER                                            11/16/09              1,278.00           1,278.00
54.1       FRYER                                            11/16/09                  0.00               0.00
93         NEW REFRIGERATOR                                 01/14/10                582.00             582.00
93.1       NEW REFRIGERATOR                                 01/14/10                  0.00               0.00
1379       DUTCH DOOR COOLER                                05/13/05              1,598.00           1,598.00
1379.1     DUTCH DOOR COOLER                                05/13/05                  0.00               0.00
1400       FONTANA'S 48" SANDWICH PREP                      05/13/05              1,572.00           1,572.00
1400.1     FONTANA'S 48" SANDWICH PREP                      05/13/05                  0.00               0.00
1689       Fryers                                           08/27/08              1,545.00           1,545.00
1689.1     Fryers                                           08/27/08                  0.00               0.00
1725       Grill                                            05/15/07              1,468.00           1,468.00
1725.1     Grill                                            05/15/07                  0.00               0.00
1825       Evaporator Coil                                  10/17/07              1,990.00           1,990.00
1825.1     Evaporator Coil                                  10/17/07                  0.00               0.00
1937       Sandwich Prep                                    10/24/07              2,369.00           2,369.00
1937.1     Sandwich Prep                                    10/24/07                  0.00               0.00
1975       Fryers                                           03/09/07              1,633.00           1,633.00
1975.1     Fryers                                           03/09/07                  0.00               0.00
2274       ABELLLxxxxxxxxxxxxxxxxxxxxxxx                    08/18/10              1,061.00           1,061.00
2274.1     ABELLLxxxxxxxxxxxxxxxxxxxxxxx                    08/18/10                  0.00               0.00
2755       REACH IN FREEZER                                 08/03/11                615.00             615.00
2755.1     REACH IN FREEZER                                 08/03/11                  0.00               0.00
2756       NEW MOTOR                                        08/03/11              1,072.00           1,072.00
2756.1     NEW MOTOR                                        08/03/11                  0.00               0.00
2757       DOOR                                             08/23/11              1,062.00           1,062.00
2757.1     DOOR                                             08/23/11                  0.00               0.00
2790       NEW MOTOR                                        09/20/11                762.00             762.00
2790.1     NEW MOTOR                                        09/20/11                  0.00               0.00
2800       DISH MACHINE INSTALL                             10/04/11                601.00             601.00
2800.1     DISH MACHINE INSTALL                             10/04/11                  0.00               0.00



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2859       SIGNAGE                                                   11/07/11           2,455.00              2,455.00
2859.1     SIGNAGE                                                   11/07/11               0.00                  0.00
2884       NEW COMPRESSOR                                            12/06/11           1,049.00              1,049.00
2884.1     NEW COMPRESSOR                                            12/06/11               0.00                  0.00
3072       REFRIDGEATOR DISPLAY                                      04/06/12           1,631.00              1,631.00
3072.1     REFRIDGEATOR DISPLAY                                      04/06/12               0.00                  0.00
3187       REFRIDGERATOR                                             08/01/12           2,287.00              2,287.00
3187.1     REFRIDGERATOR                                             08/01/12               0.00                  0.00
3216       EXPANSION VALVE                                           08/02/12           1,077.00              1,077.00
3216.1     EXPANSION VALVE                                           08/02/12               0.00                  0.00
3573       PRV & SHOCK ABSORBER                                      04/05/13           1,080.00              1,080.00
3608       Interface Security Systems                                06/03/13             513.00                513.00
3761       Freezer                                                   10/02/13           1,868.00              1,868.00
3809       Prep Table                                                12/10/13           2,188.00              2,188.00
           Water Heater                                              03/26/14          11,632.75             11,632.75
           Replaced compressor and dryer                             05/12/14           5,881.90              5,881.90
           Microwave Oven                                            04/10/14           1,257.29              1,257.29
           EQUIPMENT                                                 06/03/14           1,048.01              1,048.01
           MICROWAVE                                                 07/15/14           1,852.81              1,852.81
           FREEZER DOOR HINGES AND SPRINGS                           07/29/14           1,167.14              1,167.14
           Bunn Axiom 4/2 Twin Brewer                                03/13/15           1,280.41              1,280.41
           Replaced Main Electric Breaker                            05/01/15           1,710.29              1,681.79
           Compressor on Kitchen Unit Trane                          07/01/15           4,695.00              4,460.25
           REACH IN FREEZER                                          09/24/15           3,334.41              3,000.96
           ICE MACHINE                                               10/08/15           8,480.03              7,632.03
           2300 Equipment                                            11/27/15           2,856.83              2,475.93
4451 Ansu Ansul System                                               11/04/16           2,927.89              2,000.74
4206       CCTV Security System                                      01/19/17           1,792.00                985.60
4256       Egg Range ‐ Natural Gas                                   03/03/17           2,192.00              1,205.58
4260       Blower Assembly ‐ Make Up Air                             03/16/17             798.00                438.90
4372       Turbo Super Deluxe Maketable Cook Line                    07/13/17           2,972.18              1,634.71
4373       Gas Griddle                                               07/17/17           4,431.99              2,437.60
4374       Gas Griddle                                               07/17/17           4,431.98              2,437.60
4419       Dipperwell w/Timer                                        05/25/17             950.16                522.59
4451       Egg Cooler                                                08/03/17           1,823.19              1,002.76
4806       Turbo Super Deluxe Sandwich Cooler                        10/31/18           3,179.00              1,112.65
4845       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             692.00                242.20
Class = ME                                                                            107,430.26             93,435.20
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          107,430.26             93,435.20


Class = RE
4250       24in IHOP Channel Letter Sign                             02/24/17              2,047.00           1,125.85



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4251       118in x 240in Pylon Cabinet Sign                           02/24/17          14,145.31            7,779.92
4252       Booth Recover ‐ Remodel                                    02/24/17           4,165.00            2,290.75
4253       Divider Walls ‐ Remodel                                    02/24/17           1,890.00            1,039.50
4254       Remodel ‐ 4451                                             02/24/17         102,232.27           56,227.74
4254.2     Add'l Furniture & Decor ‐ Remodel 4451                     02/24/17          13,090.00            7,199.50
Class = RE                                                                             137,569.58           75,663.26
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                           137,569.58           75,663.26


Location = 4451                                                                      1,499,802.19         835,481.24
Less disposals and transfers                                                            (1,458.00)         (1,458.00)

Net Subtotal                                                                         1,498,344.19         834,023.24


Location = 4458
Class = CL
1584       Rest Equip ‐Capital Lease 4458                             05/13/05          24,421.00           24,421.00
1584.1     Rest Equip ‐Capital Lease 4458                             05/13/05               0.00                0.00
Class = CL                                                                              24,421.00           24,421.00
Less disposals and transfers                                                                 0.00

Net Subtotal                                                                            24,421.00           24,421.00


Class = CO
2582       DELL COMPUTER                                              02/07/11           1,458.00            1,458.00
2582.1     DELL COMPUTER                                              02/07/11               0.00                0.00
2629       SECURITY SYSTEM & INSTALL                                  04/26/11           8,132.00            8,132.00
2629.1     SECURITY SYSTEM & INSTALL                                  04/26/11               0.00                0.00
           2014 Micros Upgrade                                        06/01/14             500.00              500.00
           3 MICROS WORK STATIONS 5                                   11/26/14           3,105.00            3,105.00
4163       Computer Equipment                                         03/15/16             549.00              411.75
4174       POS Micro Touchscreen Terminal                             10/14/16             961.00              720.75
4238       Dell Optiplex 3040 8GB Computer                            01/01/17             808.00              444.40
4517       Optiplex 7050 Micro Upgrade                                08/31/17           2,400.27            1,320.14
4756       EMV Transaction Minilink                                   08/23/18           2,555.00              894.25
4948       EMV Transaction Mini Link ‐ Additional Costs               02/20/19           1,095.00              164.24
Class = CO                                                                              21,563.27           17,150.53
Less disposals and transfers                                                            (1,458.00)          (1,458.00)

Net Subtotal                                                                            20,105.27           15,692.53




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Class = FU
2526       FURNITURE XXX                                        01/27/11              1,468.00           1,468.00
2526.1     FURNITURE XXX                                        01/27/11                  0.00               0.00
Class = FU                                                                            1,468.00           1,468.00
Less disposals and transfers                                                              0.00

Net Subtotal                                                                          1,468.00           1,468.00


Class = LI
58           NEW AWNING                                         11/11/09           5,450.00              3,784.69
58.1         NEW AWNING                                         11/11/09               0.00                  0.00
1774         Restripe Parking Lot                               08/01/07             750.00                750.00
1774.1       Restripe Parking Lot                               08/01/07               0.00                  0.00
3482         POLE LIGHTING                                      01/22/13           1,399.00              1,399.00
3600         Lemons Glass & Mirror                              06/04/13           2,673.00              2,673.00
3640         Pole Lighting                                      07/03/13           1,379.00              1,379.00
             SIGN BALLAST                                       07/29/14           1,390.06              1,390.06
             STRIPE PARKING LOT                                 08/12/14           5,021.00              5,021.00
4152         Parking Lot Upgrade                                12/14/16          11,550.00              2,887.50
4255         Roof Improvements                                  02/28/17           1,605.00                294.25
4258         100G Water Heater                                  03/14/17           7,488.13              4,118.48
4531         Lighting Upgrade                                   01/18/17           2,251.99                412.86
4533         Door Closers                                       01/26/17           1,467.49                269.04
5025         Trane 7.5 Ton HVAC ‐ DR                            08/26/19          10,302.00                515.10
5026         Trane 15 Ton HVAC Kitchen                          08/26/19          16,808.00                840.40
5089         LED Upgrade ‐ Exterior Lighting                    01/07/20           3,549.00                 29.58
Class = LI                                                                        73,083.67             25,763.96
Less disposals and transfers                                                           0.00

Net Subtotal                                                                      73,083.67             25,763.96


Class = ME
42         NEW GAS FRYER                                        10/20/09              1,806.00           1,806.00
42.1       NEW GAS FRYER                                        10/20/09                  0.00               0.00
1126       NEW COMPRESSOR                                       02/23/10              1,449.00           1,449.00
1126.1     NEW COMPRESSOR                                       02/23/10                  0.00               0.00
1364       SAFE                                                 05/13/05              2,780.00           2,780.00
1364.1     SAFE                                                 05/13/05                  0.00               0.00
1427       ONE DOOR FREEZER                                     05/13/05              2,216.00           2,216.00
1427.1     ONE DOOR FREEZER                                     05/13/05                  0.00               0.00
1549       Condensor and store bin                              07/24/06              7,290.00           7,290.00
1549.1     Condensor and store bin                              07/24/06                  0.00               0.00



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1680         Sandwich Prep                                             02/13/07           1,928.00           1,928.00
1680.1       Sandwich Prep                                             02/13/07               0.00               0.00
1726         Kitchen Equipment                                         05/01/07             875.00             875.00
1726.1       Kitchen Equipment                                         05/01/07               0.00               0.00
2639         COUNTERTOP REFRIDGERATOR                                  05/01/11           1,115.00           1,115.00
2639.1       COUNTERTOP REFRIDGERATOR                                  05/01/11               0.00               0.00
2640         NEW HOT WATER LINE                                        04/11/11           1,458.00           1,458.00
2640.1       NEW HOT WATER LINE                                        04/11/11               0.00               0.00
3004         WAFFLE IRON                                               01/31/12             569.00             569.00
3004.1       WAFFLE IRON                                               01/31/12               0.00               0.00
3762         Prep Table                                                09/09/13           2,141.00           2,141.00
3763         Fan Motor Assembly                                        09/11/13           2,166.00           2,166.00
3764         Ansul system                                              09/12/13           1,399.00           1,399.00
             EQUIPMENT                                                 07/03/14           2,323.67           2,323.67
             POPOUT WAFFLE MAKER                                       09/22/14             758.53             758.53
             WAFFLE IRON                                               10/12/14             697.75             697.75
             COMBUSTION BLOWER                                         12/16/14           1,112.46           1,112.46
             Replaced Trane AC Unit                                    03/17/15           8,810.94           8,810.94
             REACH IN FREEZER                                          09/24/15           3,248.93           2,924.04
             AC UNIT                                                   09/01/15          11,139.47          10,211.17
             Coffee Maker                                              10/26/16           1,479.81           1,011.20
4353         Compressor ‐ WIC                                          05/25/17           1,925.85           1,059.22
4420         Dipperwell w/Timer                                        05/25/17           1,029.34             566.14
4846         Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             673.00             235.55
4893         WIC Door                                                  12/28/18           5,759.00           2,015.65
4992         Pylon Cabinet ‐ PY                                        01/01/19          10,276.00           1,541.40
4996         LED Upgrade ‐ Sign                                        05/31/19           2,260.00             339.00
5013         Compresser ‐ WIC                                          05/22/19           2,309.00             346.35
5052         Ice Machine                                               11/14/19           9,735.00           1,460.25
5065         Drop In Ice Cream Freezer                                 12/10/19           2,641.00             396.15
Class = ME                                                                               93,371.75          63,001.47
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             93,371.75          63,001.47


Class = RE
           REMODEL 4458                                                07/01/15          43,065.40          40,912.13
Class = RE                                                                               43,065.40          40,912.13
Less disposals and transfers                                                                  0.00

Net Subtotal                                                                             43,065.40          40,912.13


Location = 4458                                                                         301,973.09        195,675.99



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Less disposals and transfers                                                                    (1,458.00)          (1,458.00)

Net Subtotal                                                                                   300,515.09         194,217.99


Location = 4505
Class = CL
1585       Rest Equip ‐Capital Lease 4505                                     05/13/05          24,421.00           24,421.00
1585.1     Rest Equip ‐Capital Lease 4505                                     05/13/05               0.00                0.00
Class = CL                                                                                      24,421.00           24,421.00
Less disposals and transfers                                                                         0.00

Net Subtotal                                                                                    24,421.00           24,421.00


Class = CO
2323       DELL COMPUTER                                                      11/18/10           1,749.00            1,749.00
2323.1     DELL COMPUTER                                                      11/18/10               0.00                0.00
2969       COMPUTER SOFTWARE                                                  12/01/11             870.00              870.00
2969.1     COMPUTER SOFTWARE                                                  12/01/11               0.00                0.00
           2014 Micros Upgrade                                                06/01/14             500.00              500.00
           2 MICROS WS5A                                                      01/06/15           1,719.08            1,719.08
           Micros WS5A                                                        03/05/15             850.00              850.00
4239       Dell Optiplex 3040 8GB Computer                                    01/01/17             808.00              444.40
4518       Optiplex 7050 Micro Upgrade                                        08/31/17           3,071.07            1,689.08
4584       POS Micros Workstation w/Touchscreen                               11/09/17           1,047.38              576.07
4757       EMV Transaction Minilink                                           08/23/18           2,421.00              847.35
4972       EMV Transaction ‐ Banking Server                                   02/20/19             646.00               96.90
Class = CO                                                                                      13,681.53            9,341.88
Less disposals and transfers                                                                    (2,619.00)          (2,619.00)

Net Subtotal                                                                                    11,062.53            6,722.88


Class = LI
2682         WATER LINE                                                       06/21/11           6,604.00            6,604.00
2682.1       WATER LINE                                                       06/21/11               0.00                0.00
2708         STOREFRONT DOOR                                                  07/12/11           1,527.00            1,527.00
2708.1       STOREFRONT DOOR                                                  07/12/11               0.00                0.00
             Replaced water heater with new AO Smith 100‐gallon water he      06/04/14          10,458.88           10,458.88
             Repaired AC                                                      07/09/14           2,274.77            2,274.77
4442         15 Ton GE HVAC ‐ Kitchen                                         08/08/17          14,452.50            2,649.63
4542         Backflow Preventor                                               06/15/17           2,066.47              378.84
4671         Backflow Replacement                                             06/18/18           1,833.00              213.85
4906         6x7ft Bronze Exterior Doors ‐ Remodel                            01/21/19           6,289.00              314.45



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5057       Heat Exchanger ‐ Trane HVAC                    11/19/19           1,017.00                 50.85
Class = LI                                                                  46,522.62             24,472.27
Less disposals and transfers                                                     0.00

Net Subtotal                                                                46,522.62             24,472.27


Class = ME
1603       Front Entry Sign                               08/31/06              1,514.00           1,514.00
1603.1     Front Entry Sign                               08/31/06                  0.00               0.00
1630       R/I Freezer                                    09/26/06              1,242.00           1,242.00
1630.1     R/I Freezer                                    09/26/06                  0.00               0.00
1727       Smith Motor                                    05/10/07              1,051.00           1,051.00
1727.1     Smith Motor                                    05/10/07                  0.00               0.00
1871       Equipment                                      01/09/08              2,500.00           2,500.00
1871.1     Equipment                                      01/09/08                  0.00               0.00
2277       NEW COMPRESSOR                                 08/16/10              6,877.00           6,877.00
2277.1     NEW COMPRESSOR                                 08/16/10                  0.00               0.00
2298       NEW CIRCULATOR PUMP                            09/10/10                928.00             928.00
2298.1     NEW CIRCULATOR PUMP                            09/10/10                  0.00               0.00
2310       GRERAL EQUIP                                   10/18/10                797.00             797.00
2310.1     GRERAL EQUIP                                   10/18/10                  0.00               0.00
2674       EQUIPMENT XXXXX CITAD                          05/19/11              1,123.00           1,123.00
2674.1     EQUIPMENT XXXXX CITAD                          05/19/11                  0.00               0.00
2763       NEW POLE LIGHTING                              08/09/11              1,310.00           1,310.00
2763.1     NEW POLE LIGHTING                              08/09/11                  0.00               0.00
2887       MIXING VALVE FRIDGE                            12/29/11                758.00             758.00
2887.1     MIXING VALVE FRIDGE                            12/29/11                  0.00               0.00
3100       WAFFLE IRONS                                   06/19/12                317.00             317.00
3100.1     WAFFLE IRONS                                   06/19/12                  0.00               0.00
3193       WAFFLE IRONS                                   08/01/12                300.00             300.00
3193.1     WAFFLE IRONS                                   08/01/12                  0.00               0.00
3239       BLOWER MOTOR                                   09/01/12                530.00             530.00
3239.1     BLOWER MOTOR                                   09/01/12                  0.00               0.00
3240       SALAD COOLER                                   09/12/12              1,375.00           1,375.00
3240.1     SALAD COOLER                                   09/12/12                  0.00               0.00
3241       SECURITY SYSTEM                                09/27/12              1,445.00           1,445.00
3241.1     SECURITY SYSTEM                                09/27/12                  0.00               0.00
3287       HEAT EXCHANGER                                 11/20/12              1,993.00           1,993.00
3287.1     HEAT EXCHANGER                                 11/20/12                  0.00               0.00
3464       HEAT EXCHANGER                                 03/14/12              1,494.00           1,494.00
3464.1     HEAT EXCHANGER                                 03/14/12                  0.00               0.00
3465       HEAT EXCHANGER                                 07/11/12              1,001.00           1,001.00
3465.1     HEAT EXCHANGER                                 07/11/12                  0.00               0.00
3513       GAS GRIDDLE                                    02/15/13              4,742.00           4,742.00



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3554       MICROWAVE OVEN                                            03/18/13             754.00              754.00
3657       Hockenbergs/Work Top Freezer                              08/19/13           1,838.00            1,838.00
3767       Ice Machine water pump                                    09/13/13           1,055.00            1,055.00
           Replaced compressor and captube on cooler                 05/12/14             829.69              829.69
           Shelves                                                   06/16/14           2,205.05            2,205.05
           EQUIPMENT                                                 06/04/14           2,012.19            2,012.19
           REPLACE 2T'STATS AND ZONE SENSORS                         06/26/14           1,047.37            1,047.37
           REPLACED FREEZER COMPRESSOR                               07/09/14           1,392.36            1,392.36
           REPLACED URINAL                                           09/02/14             530.00              530.00
           POPOUT WAFFLE MAKER                                       09/22/14             761.95              761.95
           WAFFLE IRON                                               12/29/14             701.88              701.88
4155       Prep Table                                                12/28/16           4,891.00            3,668.25
4201       Accumulator ‐ Ice Machine                                 01/01/17           1,247.00              685.85
4379       Reach In Freezer                                          01/01/17           2,369.80            1,303.39
4382       24in Ihop Channel Letter Sign                             04/13/17           5,203.73            2,862.06
4421       Dipperwell w/Timer                                        05/25/17           1,029.34              566.14
4693       Turbo Super Deluxe Reach In Refrigerato                   06/26/18           2,243.00              785.04
4847       Hamilton Beach 3 Speed Triple Spindle Blender             11/11/18             676.00              236.60
4952       Turbo Super Deluxe Make Table                             02/28/19           3,264.00              489.60
4981       LED Upgrade ‐ Sign                                        05/14/19           1,753.00              262.94
4988       Turbo Super Deluxe Salad Cooler                           05/23/19           3,264.00              489.60
Class = ME                                                                             70,365.36           55,773.96
Less disposals and transfers                                                                0.00

Net Subtotal                                                                           70,365.36           55,773.96


Class = RE
3827       Remodel 4505                                              11/27/13          48,421.00           48,421.00
4791       24" Channel Letter Sign ‐ Remodel                         10/19/18           7,729.00            2,705.15
4792       Booth Recover ‐ Remodel                                   10/19/18          15,000.00            5,250.00
4793       Tables ‐ Remodel                                          10/19/18           6,700.00            2,345.00
4794       Remodel ‐ 4505                                            10/19/18         122,970.00           14,346.50
Class = RE                                                                            200,820.00           73,067.65
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          200,820.00           73,067.65


Location = 4505                                                                     1,708,810.51         795,414.42
Less disposals and transfers                                                           (2,619.00)         (2,619.00)

Net Subtotal                                                                        1,706,191.51         792,795.42




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Location = 4506
Class = CL
1586       Rest Equip ‐Capital Lease 4506                      05/13/05          25,210.00             25,210.00
1586.1     Rest Equip ‐Capital Lease 4506                      05/13/05               0.00                  0.00
Class = CL                                                                       25,210.00             25,210.00
Less disposals and transfers                                                          0.00

Net Subtotal                                                                     25,210.00             25,210.00


Class = CO
13         CAMERA SECURITY SYSTEM                              07/01/09           3,606.00              3,606.00
13.1       CAMERA SECURITY SYSTEM                              07/01/09               0.00                  0.00
           2014 Micros Upgrade                                 06/01/14             500.00                500.00
           Computer Equipment                                  06/02/14           1,221.59              1,221.59
           2 MICROS WS5A                                       01/06/15           1,832.60              1,832.60
           WS5A                                                08/04/15             894.45                834.82
           CCTV System                                         10/01/15           1,326.99              1,194.30
           Computer 4506                                       09/23/16             901.25                901.25
4175       POS Micro Touchscreen Terminal                      12/21/16             960.00                720.00
4240       Dell Optiplex 3040 8GB Computer                     01/01/17             808.00                444.40
4519       Optiplex 7050 Micro Upgrade                         08/31/17           1,310.17                720.59
4758       EMV Transaction Minilink                            08/23/18           2,219.00                776.64
4820       Apple Ipad 32gb                                     11/01/18             409.00                143.15
4973       EMV Transaction ‐ Banking Server                    02/20/19             874.00                131.10
5074       Datamax Workstation                                 01/01/20           1,020.00                 25.50
5086       Interface Internet Circuit                          01/01/20           2,263.00                 56.58
Class = CO                                                                       20,146.05             13,108.52
Less disposals and transfers                                                          0.00

Net Subtotal                                                                     20,146.05             13,108.52


Class = LI
1775         Restripe Parking Lot                              08/01/07                750.00             750.00
1775.1       Restripe Parking Lot                              08/01/07                  0.00               0.00
2169         NEW SIGNAGE                                       04/29/10              1,182.00           1,182.00
2169.1       NEW SIGNAGE                                       04/29/10                  0.00               0.00
2185         LAVA ROCKS AND INSTALL                            04/15/10              1,963.00           1,963.00
2185.1       LAVA ROCKS AND INSTALL                            04/15/10                  0.00               0.00
             Roof                                              03/06/14              4,823.00           4,823.00
             LEASEHOLD                                         07/03/14                725.00             725.00
4354         Condensor ‐ HVAC                                  05/25/17              1,286.39             707.52
4423         ADA Stenciling                                    05/30/17              2,940.00             539.00
4993         Meter Install                                     05/30/19              1,136.00              56.80



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5036       85Gal Gas Water Heater                                09/30/19          13,242.00             662.10
Class = LI                                                                         28,047.39          11,408.42
Less disposals and transfers                                                            0.00

Net Subtotal                                                                       28,047.39          11,408.42


Class = ME
1646       Oven Motor                                            10/10/06           1,475.00           1,475.00
1646.1     Oven Motor                                            10/10/06               0.00               0.00
1810       Compressor                                            03/18/09           1,089.00           1,089.00
1810.1     Compressor                                            03/18/09               0.00               0.00
2191       SITE LIGHTING                                         04/23/10           1,322.00           1,322.00
2191.1     SITE LIGHTING                                         04/23/10               0.00               0.00
2836       WAFFLE IRONS                                          10/25/11             569.00             569.00
2836.1     WAFFLE IRONS                                          10/25/11               0.00               0.00
3094       NEW FAN MOTOR                                         05/25/12             738.00             738.00
3094.1     NEW FAN MOTOR                                         05/25/12               0.00               0.00
3101       WATER FILTRATION SYSTEM                               06/19/12             338.00             338.00
3101.1     WATER FILTRATION SYSTEM                               06/19/12               0.00               0.00
3366       NEW COMPRESSOR                                        12/07/12           1,262.00           1,262.00
3366.1     NEW COMPRESSOR                                        12/07/12               0.00               0.00
3800       Natural Gas Fryer                                     11/27/13           1,721.00           1,721.00
           Microwave                                             04/17/14             917.13             917.13
           MICROWAVE/WARING WAFFLE BAKER                         07/15/14           2,631.01           2,631.01
           BLOWER MOTOR                                          09/03/14           1,016.00           1,016.00
           REPLACED COMPRESSOR                                   09/10/14           1,422.02           1,422.02
           Repair freezer                                        06/08/16           1,809.50           1,387.29
4207       Gas Griddle                                           01/20/17           5,378.00           2,957.90
4342       Copelaweld Compressor                                 04/28/17           1,055.91             580.75
4422       Dipperwell w/Timer                                    05/25/17             950.16             522.59
4614       Super Deluxe Sandwich/Salad Cooler                    01/31/18           1,845.40             645.89
4916       Hamilton Beach Milkshake Machine                      02/01/19             675.00             101.25
4979       Bunn Axiom 4/2 Twin Coffee Brewer                     05/13/19           1,507.00             226.05
5004       LED Upgrade ‐ Sign                                    06/12/19           1,130.00             169.50
5034       Ice Cream Dipping Cabinet                             09/11/19           2,574.00             386.10
5035       Condensor ‐ WIC                                       09/16/19          10,361.00           1,554.15
5079       WIC Shelving                                          01/10/20           2,104.00              52.60
5080       WIF Shelving                                          01/10/20           1,184.00              29.60
Class = ME                                                                         45,074.13          23,113.83
Less disposals and transfers                                                            0.00

Net Subtotal                                                                       45,074.13          23,113.83




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Class = RE
4348       24in IHOP Channel Letter Sign w/LED                       05/15/17           8,425.58              4,634.08
4524       Awning ‐ Remodel                                          11/09/17           8,000.00              4,400.00
4525       Remodel ‐ 4506                                            11/09/17          95,880.00             52,734.00
4526       Remodel ‐ 4506 ‐ Booths                                   11/09/17           7,000.00              3,850.00
4527       Remodel ‐ 4506 ‐ Tables                                   11/09/17           6,400.00              3,520.00
4528       Remodel ‐ 4506 ‐ Décor                                    11/09/17          11,300.00              6,215.00
4525.2     Add'l Furniture & Decor ‐ Remodel 4506                    11/09/17          14,920.00              8,206.00
4966       Additional Costs ‐ Remodel (PY)                           01/01/19          22,014.00              1,100.70
Class = RE                                                                            173,939.58             84,659.78
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          173,939.58             84,659.78


Location = 4506                                                                       343,417.15           180,774.72
Less disposals and transfers                                                                0.00

Net Subtotal                                                                          343,417.15           180,774.72


Location = 4506
Class = ME
4356       High Speed Exhaust Fan                                    06/01/17              1,387.37            763.05
Class = ME                                                                                 1,387.37            763.05
Less disposals and transfers                                                                   0.00

Net Subtotal                                                                               1,387.37            763.05


Location = 4506                                                                            1,387.37            763.05
Less disposals and transfers                                                                   0.00

Net Subtotal                                                                               1,387.37            763.05


Location = ADMIN
Class = CO
60         DELL COMPUTER                                             11/24/09           2,732.00              2,732.00
60.1       DELL COMPUTER                                             11/24/09               0.00                  0.00
88         NEW PRINTER                                               01/28/10             820.00                820.00
88.1       NEW PRINTER                                               01/28/10               0.00                  0.00
1119       NEW EQUIPMENT                                             02/10/10           1,632.00              1,632.00
1119.1     NEW EQUIPMENT                                             02/10/10               0.00                  0.00
1309       Mass 90 Software                                          11/26/07          15,500.00             15,500.00



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1309.1     Mass 90 Software                                     11/26/07               0.00               0.00
1319       Rostec License                                       01/31/08          12,300.00          12,300.00
1319.1     Rostec License                                       01/31/08               0.00               0.00
1320       Mas90                                                03/11/08          12,500.00          12,500.00
1320.1     Mas90                                                03/11/08               0.00               0.00
1349       Computer Equipment                                   05/15/09           2,292.00           2,292.00
1349.1     Computer Equipment                                   05/15/09               0.00               0.00
1358       Computer Software & Licensing Fee                    03/16/09          12,500.00          12,500.00
1358.1     Computer Software & Licensing Fee                    03/16/09               0.00               0.00
2157       COMPUTER EQUIPMENT                                   03/16/10             811.00             811.00
2157.1     COMPUTER EQUIPMENT                                   03/16/10               0.00               0.00
2299       COMPUTER EQUIP CDW                                   10/19/10           2,086.00           2,086.00
2299.1     COMPUTER EQUIP CDW                                   10/19/10               0.00               0.00
2300       MICROS SOFTWARE                                      10/19/10          19,233.00          19,233.00
2300.1     MICROS SOFTWARE                                      10/19/10               0.00               0.00
2318       DELL COMPUTERS                                       11/02/10           4,591.00           4,591.00
2318.1     DELL COMPUTERS                                       11/02/10               0.00               0.00
2319       IPADS                                                11/17/10           3,215.00           3,215.00
2319.1     IPADS                                                11/17/10               0.00               0.00
2346       COMPUTER SPFTWARE                                    12/01/10           1,983.00           1,983.00
2346.1     COMPUTER SPFTWARE                                    12/01/10               0.00               0.00
2567       DELL COMPUTER                                        02/24/11           8,452.00           8,452.00
2567.1     DELL COMPUTER                                        02/24/11               0.00               0.00
2568       IPAD                                                 02/24/11             847.00             847.00
2568.1     IPAD                                                 02/24/11               0.00               0.00
2602       NEW DELL                                             03/31/11           2,916.00           2,916.00
2602.1     NEW DELL                                             03/31/11               0.00               0.00
2603       PRINTER                                              03/23/11             679.00             679.00
2603.1     PRINTER                                              03/23/11               0.00               0.00
2604       SHARP PRINTER‐COPIER                                 03/31/11          13,440.00          13,440.00
2604.1     SHARP PRINTER‐COPIER                                 03/31/11               0.00               0.00
2628       NEW DELL COMPUTERS                                   04/12/11           6,339.00           6,339.00
2628.1     NEW DELL COMPUTERS                                   04/12/11               0.00               0.00
2798       NEW PRINTER CC                                       09/29/11             480.00             480.00
2798.1     NEW PRINTER CC                                       09/29/11               0.00               0.00
2959       DELL COMPUTER                                        12/01/11           3,081.00           3,081.00
2959.1     DELL COMPUTER                                        12/01/11               0.00               0.00
3014       DELL COMPUTER                                        02/08/12           2,328.00           2,328.00
3014.1     DELL COMPUTER                                        02/08/12               0.00               0.00
3015       DELL COMPUTER                                        02/08/12           1,549.00           1,549.00
3015.1     DELL COMPUTER                                        02/08/12               0.00               0.00
3016       DELL COMPUTER                                        02/08/12           2,689.00           2,689.00
3016.1     DELL COMPUTER                                        02/08/12               0.00               0.00
3038       PRINTER                                              03/28/12           1,203.00           1,203.00
3038.1     PRINTER                                              03/28/12               0.00               0.00



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3123       MAS90 UPGRADE                                          06/25/12              1,925.00           1,925.00
3123.1     MAS90 UPGRADE                                          06/25/12                  0.00               0.00
3158       MODEM                                                  07/12/12                933.00             933.00
3158.1     MODEM                                                  07/12/12                  0.00               0.00
3242       PRINTER                                                10/22/12              1,203.00           1,203.00
3242.1     PRINTER                                                10/22/12                  0.00               0.00
3274       LAPTOPS ADMIN                                          11/27/12              3,792.00           3,792.00
3274.1     LAPTOPS ADMIN                                          11/27/12                  0.00               0.00
3335       DELL LAPTOP                                            12/28/12              3,270.00           3,270.00
3335.1     DELL LAPTOP                                            12/28/12                  0.00               0.00
3472       COMPUTER                                               01/22/13                931.00             931.00
3514       PRINTERS                                               03/07/13                960.00             960.00
3515       REMOTE MONITOR                                         03/25/13                450.00             450.00
3516       PRINTERS                                               03/25/13              1,429.00           1,429.00
3517       RACK ENCLOSURE SHOCK PALET                             03/25/13              1,496.00           1,496.00
3518       RACK ENCLOSURE ROOF FAN PANEL                          03/25/13                283.00             283.00
3519       UPS SMART POE SMART                                    03/25/13              2,769.00           2,769.00
3520       COMPUTERS                                              03/26/13              3,296.00           3,296.00
3521       SAGE SOFTWARE                                          03/27/13              1,541.00           1,541.00
3576       WINDOWS SERVERS                                        05/08/13              4,236.00           4,236.00
3577       Power Edge R420                                        05/06/13              3,190.00           3,190.00
3578       Power Edge R520/Computer Equipement                    05/06/13              6,671.00           6,671.00
3587       Apex Technology/Onsite & Remote Support                06/11/13              3,438.00           2,349.30
3588       Apex Technology                                        06/19/13              3,715.00           3,715.00
3589       Apex Technology/Domain Upgrade Project                 06/25/13                938.00             938.00
3641       Dell Marketing/Windows Server                          08/15/13                846.00             846.00
3642       Dell Marketing                                         08/15/13              1,262.00           1,262.00
3768       MS VSTUDIO PRO 2012 DVD software                       09/18/13                503.00             503.00
           Printer Service                                        03/07/14                935.18             935.18
           Lab                                                    03/07/14              1,267.54           1,267.54
           Hard drive                                             03/07/14              1,239.14           1,239.14
           Computer Equipment                                     04/09/14                995.23             995.23
           Computer Equipment                                     04/25/14              7,572.39           7,572.39
           Computer Upgrade John S                                05/20/14              1,178.65           1,178.65
           Computer Equipment                                     06/02/14              1,059.50           1,059.50
           Computer Equipment                                     06/03/14              5,063.32           5,063.32
           Computer Equipment                                     06/17/14              4,671.25           4,671.25
           HP SB ZBOOK 14                                         06/30/14              2,168.50           2,168.50
           HP SB 9470M/CDW Direct                                 08/05/14              5,219.17           5,219.17
           3 LATITIUDE E6540 LAPTOPS                              09/29/14              5,145.40           5,145.40
           Laptop ‐ Surface Pro 3                                 11/03/15              1,346.66           1,346.66
           Laptop ‐ Suirface Pro 3                                11/15/15              1,466.77           1,466.77
           Laptop ‐ Surface Pro 3                                 11/15/15              1,411.33           1,411.33
           1000 Laptop                                            12/01/15              1,592.35           1,592.35
           1000 Laptop                                            12/21/15              1,257.71           1,257.71



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Co Asset                                                        Date          Value               Depreciation
No

           1000 E‐Mail Server Upgrade                              11/27/15           8,816.80           8,816.80
           ADMIN COMPUTERS                                         03/15/16           7,129.85           7,129.85
           Admin Laptop                                            04/15/16           1,261.25           1,261.25
           Admin Computer                                          05/11/16           1,295.00           1,295.00
           Admin Laptop                                            07/05/16           1,576.02           1,576.02
           Computer Admin                                          09/23/16             171.19             171.19
           Computer Admin                                          10/10/16           2,241.65           2,241.65
           Computer Admin                                          10/17/16             302.00             302.00
Admin ComIBM 8656679                                               11/10/16             302.00             302.00
4241       Dell Latitude 3570 8 GB Computer                        01/01/17           1,008.00             554.40
4243       Dell Latitude 4GB Computer                              01/12/17           1,104.00             607.20
4266       Postec Tip Claim 3700 Audit Software                    03/21/17           5,618.00           5,149.84
4282       Persona Digital Fingerprint Readers                     01/01/17           2,801.53           1,540.85
4306       Payroll Software                                        02/01/17          25,000.00          22,916.67
4315       Dell Latitude E7470 Computer w/2 19in Monitors          05/02/17           2,113.07           1,162.18
Class = CO                                                                          289,605.45         282,803.29
Less disposals and transfers                                                        (53,202.00)        (53,202.00)

Net Subtotal                                                                        236,403.45         229,601.29


Class = FU
1435         FURNITUR & FIXTURES (CS)                              05/13/05           4,662.00           4,662.00
1435.1       FURNITUR & FIXTURES (CS)                              05/13/05               0.00               0.00
1436         FUNITURE & FIXTURES                                   05/13/05         198,000.00         198,000.00
1436.1       FUNITURE & FIXTURES                                   05/13/05               0.00               0.00
1437         FRAMES & ART                                          05/13/05           3,251.00           3,251.00
1437.1       FRAMES & ART                                          05/13/05               0.00               0.00
1438         FRAMES BY KLUTZ                                       05/13/05           7,556.00           7,556.00
1438.1       FRAMES BY KLUTZ                                       05/13/05               0.00               0.00
1439         FURNITURE‐SCOTT MILLER ASSC.                          05/13/05             836.00             836.00
1439.1       FURNITURE‐SCOTT MILLER ASSC.                          05/13/05               0.00               0.00
1440         FURNITURE ‐ COMMERCIAL                                05/13/05           3,586.00           3,586.00
1440.1       FURNITURE ‐ COMMERCIAL                                05/13/05               0.00               0.00
1442         SECOND FLOOR UPFIT                                    05/13/05          19,025.00          19,025.00
1442.1       SECOND FLOOR UPFIT                                    05/13/05               0.00               0.00
1443         FURNITURE AND FIXTURES                                05/13/05          19,418.00          19,418.00
1443.1       FURNITURE AND FIXTURES                                05/13/05               0.00               0.00
1522         Change Pedestal Worksurface                           05/31/06           5,516.00           5,516.00
1522.1       Change Pedestal Worksurface                           05/31/06               0.00               0.00
1888         Office Furniture                                      04/03/08           2,890.00           2,890.00
1888.1       Office Furniture                                      04/03/08               0.00               0.00
2077         Acoustical Panels                                     05/05/09           2,100.00           2,100.00
2077.1       Acoustical Panels                                     05/05/09               0.00               0.00
Class = FU                                                                          266,840.00         266,840.00



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CFRA, LLC
Depreciation Expense Report
As of March 31, 2020
Book = Internal
FYE Month = December
                                                           In Svc        Acquired              Current Accum
Co Asset                                                   Date          Value                 Depreciation
No

Less disposals and transfers                                                           0.00

Net Subtotal                                                                   266,840.00           266,840.00


Class = LI
1394       REMODELING                                         05/13/05           2,000.00              2,000.00
1394.1     REMODELING                                         05/13/05               0.00                  0.00
1444       CONFERENCE ROOM DOOR                               05/13/05           3,040.00              3,040.00
1444.1     CONFERENCE ROOM DOOR                               05/13/05               0.00                  0.00
1445       REMODELING                                         05/13/05           3,000.00              3,000.00
1445.1     REMODELING                                         05/13/05               0.00                  0.00
1446       REMODELING                                         05/13/05           4,000.00              4,000.00
1446.1     REMODELING                                         05/13/05               0.00                  0.00
1447       REMODELING                                         05/13/05           4,000.00              4,000.00
1447.1     REMODELING                                         05/13/05               0.00                  0.00
1448       REMODELING                                         05/13/05           1,340.00              1,340.00
1448.1     REMODELING                                         05/13/05               0.00                  0.00
1449       REMODELING                                         05/13/05           1,694.00              1,694.00
1449.1     REMODELING                                         05/13/05               0.00                  0.00
1450       REMODELING                                         05/13/05           4,000.00              4,000.00
1450.1     REMODELING                                         05/13/05               0.00                  0.00
1452       REMODELING                                         05/13/05           1,383.00              1,383.00
1452.1     REMODELING                                         05/13/05               0.00                  0.00
2103       LEASEHOLD IMPROVEMENT                              05/13/05          41,542.00             41,542.00
2103.1     LEASEHOLD IMPROVEMENT                              05/13/05               0.00                  0.00
2104       LEASEHOLD IMPROVEMENT CARPET/PAINT ETC.            05/13/05          14,004.00             14,004.00
2104.1     LEASEHOLD IMPROVEMENT CARPET/PAINT ETC.            05/13/05               0.00                  0.00
Class = LI                                                                      80,003.00             80,003.00
Less disposals and transfers                                                         0.00

Net Subtotal                                                                    80,003.00             80,003.00


Class = ME
1212       Office Equipment                                   12/31/05              8,053.00           8,053.00
1212.1     Office Equipment                                   12/31/05                  0.00               0.00
1393       REMODELING                                         05/13/05              1,447.00           1,447.00
1393.1     REMODELING                                         05/13/05                  0.00               0.00
1395       REMODELING FF&E                                    05/13/05                659.00             659.00
1395.1     REMODELING FF&E                                    05/13/05                  0.00               0.00
1451       REMODELING                                         05/13/05              2,000.00           2,000.00
1451.1     REMODELING                                         05/13/05                  0.00               0.00
3082       DELL LAPTOP                                        05/07/12              1,901.00           1,901.00
3082.1     DELL LAPTOP                                        05/07/12                  0.00               0.00



                                                                                                    Page 152 of 153
               Case 8:20-bk-03608-CPM        Doc 110   Filed 06/03/20       Page 165 of 210


CFRA, LLC
Depreciation Expense Report
As of March 31, 2020
Book = Internal
FYE Month = December
                                                           In Svc        Acquired            Current Accum
Co Asset                                                   Date          Value               Depreciation
No

3466       MISSING DETAIL                                     12/31/12           1,125.00            1,125.00
3466.1     MISSING DETAIL                                     12/31/12               0.00                0.00
3579       Phone Upgrade/Watson Electrical                    05/07/13           2,747.00            2,747.00
3618       Interface/2 Polycom IP Phones                      07/16/13           1,097.00            1,097.00
3619       Interface/Digital Voice System                     07/16/13           5,350.00            5,350.00
           ADMIN Equipment                                    12/15/15           4,000.00            3,466.67
Class = ME                                                                      28,379.00           27,845.67
Less disposals and transfers                                                    (1,901.00)          (1,901.00)

Net Subtotal                                                                    26,478.00           25,944.67


Location = ADMIN                                                               664,827.45         657,491.96
Less disposals and transfers                                                   (55,103.00)        (55,103.00)

Net Subtotal                                                                   609,724.45         602,388.96


April 21, 2020 at 11:26 AM




                                                                                                  Page 153 of 153
                            Case 8:20-bk-03608-CPM                           Doc 110            Filed 06/03/20       Page 166 of 210

 Fill in this information to identify the case:

 Debtor name          CFRA, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)              8:20-bk-03609-CPM
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    IHOP Franchising, LLC                         Describe debtor's property that is subject to a lien                    Unknown                  Unknown
        Creditor's Name                               Lease equipment - multiple stores
        450 N. Brand Blvd.
        7th Floor
        Glendale, CA 91203
        Creditor's mailing address                    Describe the lien
                                                      Equipment Lease - UCCs filed
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed


 2.2    IHOP Restaurants, LLC                         Describe debtor's property that is subject to a lien                    Unknown                  Unknown
        Creditor's Name                               Leased Equipment - multiple stores
        450 North Brand Boulevard
        7th Floor
        Glendale, CA 91203
        Creditor's mailing address                    Describe the lien
                                                      Equipment Leases - UCCs filed
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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                           Case 8:20-bk-03608-CPM                            Doc 110            Filed 06/03/20          Page 167 of 210

 Debtor       CFRA, LLC                                                                                Case number (if know)    8:20-bk-03609-CPM
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed


       Raymond James Bank,
 2.3                                                                                                                     $11,276,340.00        Unknown
       N.A.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Blanket Lien
       710 Carillon Parkway
       Saint Petersburg, FL 33716
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Sysco Charlotte, LLC                           Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Proceeds of products sold by Sysco to CFRA,
                                                      LLC
       4500 Corporate Drive NW
       Concord, NC 28027
       Creditor's mailing address                     Describe the lien
                                                      UCC - purchase money security interest
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed


 2.5   Valley National Bank                           Describe debtor's property that is subject to a lien                 $8,269,316.00       Unknown
       Creditor's Name                                Blanket Lien
       4790 140th Avenue North
       Clearwater, FL 33762
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 3
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                           Case 8:20-bk-03608-CPM                            Doc 110            Filed 06/03/20          Page 168 of 210

 Debtor       CFRA, LLC                                                                                Case number (if know)       8:20-bk-03609-CPM
              Name

       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                               $19,545,656.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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                          Case 8:20-bk-03608-CPM                                Doc 110              Filed 06/03/20                Page 169 of 210

 Fill in this information to identify the case:

 Debtor name         CFRA, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)          8:20-bk-03609-CPM
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $44,670.11         $44,670.11
           see attached                                              Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $4,699,872.28
           see attached                                                             Contingent
                                                                                    Unliquidated
           Date(s) debt was incurred                                                Disputed
           Last 4 digits of account number                                         Basis for the claim:     Trade Payables
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $19,950.98
           see attached                                                             Contingent
                                                                                    Unliquidated
           Date(s) debt was incurred                                                Disputed
           Last 4 digits of account number                                         Basis for the claim:     Employee Claims - non priority
                                                                                   Is the claim subject to offset?      No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
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 Debtor       CFRA, LLC                                                                            Case number (if known)         8:20-bk-03609-CPM
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                      44,670.11
 5b. Total claims from Part 2                                                                        5b.   +   $                   4,719,823.26

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                      4,764,493.37




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 2
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                                                                         CFRA, LLC
            Case 8:20-bk-03608-CPM           Doc 110   Filed 06/03/20   Page  1718:20-bk-03609
                                                                         Case No.  of 210
                                                                         Attachment to Schedule E/F


CFRA, LLC                  Priority Claims

Payee                      Address                                                        Priority Claim
ACEVEDO, LEILANI           224 S EAST AVE      KANNAPOLIS NC 28083                                  143.95
ACHCHILLAGE, JANANI        3716 HILLBROOK DRIVE NASHVILLE TN 37211                                    5.97
ACOSTA, JADE               7312 CABOT DR        NASHVILLE TN 37209                                   18.94
ADAMS, LISA                367 PREYER ST      SHELBY, NC 28152                                       15.74
ADAMS, SHELBY              106 BEECHWOOD RD           STANLEY, NC 28164                              56.71
ADKINS, CHANTELL           514 COAPMAN STREET          GREENSBORO NC 27407                            4.48
AHFEROM, ROBEL             1180 DEVON LANE APRT A      HARRISONBURG, VA 22801                          0.6
ALLEN, DOMINIQUE           1012 SHERWOOD DRIVE APT D DURHAM, NC 27705                                 2.94
ALLEN, JONATHAN            270 TAMPA DR         NASHVILLE TN 37211                                  427.32
ALLEN, ZAHIRA              1422 WYLDEWOOD RD        DURHAM NC 27704                                  88.65
ALLISON, KEARA             6047 BURLINGTON RD      GIBSONVILLE NC 27249                               3.07
ALLISON, RICHARD           540 APRIL DR         SHELBY NC 28152                                      38.83
ALONSO, ILSE               3522 FARMINGTON DR         GREENSBORO NC 27407                         1775.59
ALZUGHAIER, ZAYNAB         3012 ARGYLL DR         SUMMERVILLE SC 29483                                9.31
ANDERSON, ALLISON          706 HUFFMAN MILL ROAD        BURLINGTON NC 27215                         255.39
ANDERSON, SHARON           515 11TH ST. NW       CHARLOTTESVILLE VA 22903                            59.64
ANDERSON, TATIANA          1017 TOWNBRANCH ROAD        GRAHAM NC 27253                                79.7
ANGLIN, DAVIDA             5800 MAUDINA AVE      NASHVILLE TN 37209                                  20.07
ANGULO, ASHLEY             315 ROSELYNN LANE         VIRGINIA BEACH VA 23454                         15.32
ARMSTRONG, AU              208 FACULTY ST         BOONE NC 28607                                     17.16
ARMSTRONG, EZRA            902 N 5TH ST         NASHVILLE TN 37207                                   12.87
ARRINGTON, CHASE           318 HILL ST         BOONE NC 28607                                        91.06
ARTIS, JAYLIN              4832 QUARRYMAN RD          RALEIGH NC 27610                                2.55
ASAN, JORGE                306 FAIRFAX ST        BERRYVILLE VA 22611                                 10.84
ATKINSON, ANNA             788 STARNES RD         SALISBURY NC 28146                                117.59
AUSMANN, LAURA             2003 CENTRAL DR         KANNAPOLIS NC 28083                               32.13
AUSTIN, NATHANIEL          630 TANNERS LN         EARLYSVILLE VA 22936                               64.71
AVENDANO, RAYMUNDO         201 MIRACLE MILE DRIVE 2-D ANDERSON SC 29621                            213.42
BAEZA, GUADALUPE           5080 OLDE VILLAGE LANE      WINSTON SALEM NC 27106                        37.95
BAKER, AMANDA              2962 FRALEY CHURCH RD      GASTONIA NC 28054                               7.47
BAKER, NICOLE              226 RAINTREE ROAD         VIRGINIA BEACH VA 23452                          3.34
BALDWIN, ANDREA            4600 HIGHLAKE DR.       CHARLOTTE NC 28215                                74.36
BANKS, KIERRA              810 EAST PRESNELL STREET       ASHEBOROR NC 27203                         22.81
BANKS, VERA                505 PICCADILLY ROW       ANTIOCH TN 37013                                 43.03
BARBER, ALEXIS             1916 BULL ST         COLUMBIA SC 29201                                    10.56
BARONE, THEA                121 BRIGSTOCK DR         WINCHESTER VA 22602                             77.73
BARRETT, DANIEL            346 WOODYCREST AVE       NASHVILLE TN 37209                               10.07
BARRETT, PETAGAY           6600 YATESWOOD DR          CHARLOTTE NC 28212                              32.5
BARRETT, SAMAUNEE          4916 N NEW HOPE RD         RALEIGH NC 27604                                15.7
BAUL, LEMEUL               747 E. ROCHAMBEAU DR        WILLIAMSBURG VA 23185                         61.61
BAXTER, NEKITA             109 A MAXWELL AVE       ANDERSON SC 29624                                 17.91
BAXTER, SUMMER             2112 BROAD ST         DURHAM NC 27705                                     99.29
BECKETT, SARA              566 ROSE COTTAGE CIR        GALLATIN TN 37066                            264.31
BELCHER, CHRISTOPHER       1705 PATHFINDER DRIVE       VIRGINIA VA 23454                             11.66
BENGE, CHEYENNE            3955 SEQUOIA DR         GRANITE NC 28630                                  12.98
BENSON, TERESA             8904 SUTHERLAND DR       HUNTERSVILLE NC 28078                              0.6
BICKERMAN, HANNAH          57 LYNWOOD CIR        CLARKSVILLE TN 37040                                21.12
BIGGERS, JOHN              208 NORTH WELDON           GASTONIA NC 28052                               0.78
BISBY, TAYLOR              3451 MARVIN RD         CHARLOTTE NC 28211                                 35.85
BISHOP, ALYSSA             3105 HIGH GLEN DR        CHARLOTTE NC 28269                               46.47
BLACKWELL, SANDRA          4349 WAKEMAN DR.          WINSTON SALEM NC 27105                          53.98
BLOUNT, DAETHYN            530 HIETTS LANE      CLARKSVILLE TN 37203                                 26.99
BLUNK, ERICK               3202 BLACKBURN DT         WAXHAW NC 28173                                103.21
BOBO, VALERIE              2842 CREEKBEND DR NASHVILLE TN 37207                                      13.19
BOGGS, BRIANNA             437 TANGLEWOOD CT           NASHVILLE TN 37211                            37.16
BONDARENK, LINDA           737 PLANTATION ESTATES DR MATTHEWS NC 28105                               74.19
BOSTIAN, KAYLA             8620 CROOKED OAK LANE         KANNAPOLIS NC 28081                          8.49
BOUCHABCHOUB, BADREDDINE   11624 RED KNOLL LANE       PINEVILLE NC 28134                             30.88
BOWEN, ROBERT              139 KENDRA DRIVE         MOORESVILLE NC 28117                             11.96
BOWMAN, ALYSA              1401 LONGCREEK DR          COLUMBIA SC 29210                               2.27
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CFRA, LLC                 Priority Claims

Payee                     Address                                                          Priority Claim
BOWMAN, EMMA              3183 LAKE POWELL ROAD          WILLIAMSBURG VA 23185                        79.66
BOWMAN, WHITNEY           1152 SEVEN OAKS BLVD.         SMYRNA TN 37167                                1.04
BOYD, KRISTINA            3960 BOSTON CREEK DR         CHARLOTTESVILLE VA 22902                       34.55
BREED, RYLEE              3109 GRIERTON CT     CHARLOTTE                                              78.27
BRICK, LINDSAY            400 LAWSON RD         ANDERSON SC 29621                                     76.79
BRIDE, MARY               1023 GRIDER DR           GALLATIN TN 37066                                  13.89
BRIGGS, KREETAY           22 LAFIETE LANE          WILLIAMSBURG VA 23185                               2.72
BROCK, AMANDA             1950 WINDSOR HILL DRIVE        MATTHEWS NC 28105                            74.54
BROOKMAN, NICHOLAS        429 GILES AVENUE          DUBLIN VA 24084                                   23.36
BROOKS, JOHN              371 TURNER        LINCOLNTON NC 28092                                        0.27
BROOKS, JOSHUA            1304 QUAIL CT E         NASHVILLE TN 37214                                  10.16
BROWN, CAROLYN            3735 MICHIGAN AVE      CHARLOTTE NC 28215                                   27.59
BROWN, JUSTIN             4824 WALTER OAK RD           CHARLOTTE NC 28211                             84.78
BROWN, MATTHEW            155 N HAMPTON DR      FAYETTEVILLE GA 30215                                 33.18
BROWN, MYJA               543 BELFAST DR        GASTONIA NC 28052                                     57.85
BROWN, MYYAH              3311 SHANNON RD            DURHAM NC 27707                                  11.02
BROWN, RICKELLE           3005 FIRTH RD          DURHAM NC 27704                                        2.7
BROWN, SUPERIOR           302 CAYMAN WAY            CHARLOTTE NC 28217                                49.43
BUCKNER, JENNIFER         60 COLLEGE STREET APT 4        CHRISTIANSBURG VA 24073                       5.48
BURLESON, ALLISON         203 ABEES GROVE CHURCH RD VALDESE NC 28690                                   9.05
BURNETT, JAQUAN           400 DEANNA LANE APT A CHARLOTTE NC 28217                                    303.6
BURRELL, DARIAN           1332 W HORAH ST           SALISBURY NC 28144                                 10.7
BUSTAMANTE, BRENDA        147 PARK FAIRFAX DR         CHARLOTTE NC 28208                              162.5
BUTLER, DEJAH             100 TANGLEWOOD              NASHVILLE TN 37211                              20.26
BUTLER, NAARAH            181 GLENDARE DRIVE           WINSTON SALEM NC 27104                         25.93
BUTTREY, GORDON           125 EDGEWATER FALLS           MURFREESBORO TN 37129                          6.92
BYRD, DARREON             135 WEEPING WILLOW WAY          GASTONIA NC 28052                            9.97
CAMP, LUTHER              1030 WARDS BRANCH RD           SUGAR GROVE NC 28679                          0.42
CAMPBELL, DAVONNE         123 WHITFORD PLACE           WINSTON SALEM NC 27107                          6.95
CAMPBELL, DONNA           5122 LINBAR RD        NASHVILLE TN 37211                                    10.49
CANNADY, SHANICE          2900 MLK JR DRIVE APT H       HIGH POINT NC 27260                           10.29
CANNON, BRITTANY          317 WEST LAKESIDE AVE         COLUMBIA SC 29203                             28.41
CANSECO, ANTONIO          2615 PEMBROKE RD APT 8 GASTONIA NC 28054                                      0.4
CANSECO, DOMINGO          910 AIRLANE           GASTONIA NC 28054                                     21.99
CANSECO, SANTIAGO         212 E. 8TH AVE         GASTONIA NC 28054                                   523.75
CANTY, SHANA              295 JOHN L HUDSON SR RD         LANCASTER SC 29720                           9.42
CARGILL, LADONNA          827 YOUNGS LANE            NASHVILLE TN 37207                               21.38
CARR, JESSICA             2302 SEDGEWICK DRIVE          VIRGINIA BEACH BA 23454                       64.97
CARSON, DEAHJANIQUE       707 SPRINGDALE RD           STATSVILLE NC 23677                             37.57
CARSON, WELDON            5330 GARDEN SPRINGS LN         RALEIGH NC 27610                             46.17
CARTER, CORY              507 ETHEL CT           CHARLOTTE NC 28214                                   22.22
CARTER, DWAYNE            7401 WARWICK BLVD            NEWPORT NEWS, VA 23607                          1.67
CARTER, WENDY             21 EDGEMOOR DRIVE            NEWPORT NEWS VA 23603                           1.59
CASAZZA, MICHELE          7305 CLABRIE           DURHAM NC 73022                                      30.95
CASEY, LEANNA             2170 BLAKEMORE DR           CLARKSVILLE TN 37040                             5.51
CASTERLINE, KIMBERLY      1 RIDGE DRIVE          LOVINGSTON VA 22949                                   36.9
CATES, TIFFANY            6626 RIVERWOOD RD            WALKERTOWN NC 27051                            19.55
CATLETT, DONNA            322 HARRISON ST           NASHVILLE TN 37211                                 6.58
CAUDILL, TIFANIE          P.O. BOX 1183         WILLIAMSBURG VA 23188                                 27.34
CHAIREZ, ELIZABETH        1633 RIO HILL DRIVE       CHARLOTTESVILLE VA 22901                          55.33
CHANCE, ANTHONY           1148 SEARS ST.          KANNAPOLIS NC 28083                                  4.17
CHARON, JESSICA           115 EMERY LANE           ZEBULON NC 27597                                    0.93
CHAVEZ, EMMANUEL          899 PORT REPUBLIC RD          HARRISONBURG VA 22801                        351.15
CIARLANRE, CYNTHIA        2214 SEDGEWICK DRIVE       VIRGINA BEACH VA 23454                           52.15
CLARK, DARRUS             4423 W TYVOLA RD          CHARLOTTE NC 28208                                 0.15
CLARK, DEONA              209 GALTS MILL AVE       WILLIAMSBURG VA 23185                               0.07
CLARK, JAMES              4210 OAKRIDGE DR           WINSTON SALEM NC 27105                           56.44
CLARK, JAMERSON           508 DEMOSS ST.           GALLATIN TN 37066                                  20.18
CLARK, MICHELLE           2 NORTH ST            GREENWOOD DE 19950                                      0.3
CLEARY, CHASITY           1606 N HAMILTON ST         HIGH POINT NC 27262                              34.24
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CFRA, LLC                    Priority Claims

Payee                        Address                                                     Priority Claim
CLEMENCE, ALLISON            3025 N MAIN          ANDERSON SC 29621                                 15.33
CLINE, COURTNEY              2310 2ND STREET         RADFORD VA 24141                               10.39
CLODFELTER, ALEXIS           9216 WESTBURY WOODS DR          CHARLOTTE NC 28277                      33.9
COBLE, NORA                  1327 POLLARD AVE         BURLINGTON NC 27217                           12.28
COBOS, DAVAID                9812 STONEYHILL CHURCH RD MIDDLESEX NC 27557                           87.34
COBOS, YERUSI                9812 STONEYHILL CHURCH RD MIDDLESEX NC 27557                           11.83
COLON, MIGUEL                2627 PEMBROKE APT. 1        GASTONIA NC 28054                          47.54
CONNARD, DUSTY               109 RUTHHAVEN DR           BESSEMER CITY NC 28016                      10.66
CONNELLY, REBECCA            1241 UNIVERSITY COURT         RALEIGH NC 27606                         27.52
CONWAY, LATAVIA              4391 GREENRIDGE LANE          KANNAPOLIS NC 28081                       7.98
COOKE, KATRELLE              1382 GREYSPOINT ROAD          TOPPING VA 23169                          0.11
COOPER, PAMELA               3324 DUMBAR LANE          INDIAN LAND SC 29707                         29.06
CORRAO, SAMANTHA             1118 HARMONY LANE       LA VERGNE TN 37086                             11.85
CORTES GONZALEZ, ALEJANDRA   1510 QUAIL RIDGE RD      RALEIGH NC 27609                              29.51
COURNOYER, BRITTNI           335 HAPPY LAKE RD         ROCKWELL NC 28138                            179.3
COVINGTON, CANDISE           1615 E LEXINGTON AVE        HIGH POINT NC 27262                        73.01
COX, CHELSEA                 167 TALBERT WOODS DR.         MOORESVILLE NC 28117                     43.38
CRADDOCK, JAYLA              201 KENWICK CIRCLE         GREENSBORO NC 27406                          9.85
CRAIG, CORTLAN               508 DEMOSS STREET         GALLATIN TN 37066                            59.33
CRAIG, JEFFERY               254 DARK HOLLOW RD           BOONE NC 28607                             9.51
CRAWFORD, TAWANA             1312 N BEAUMONT CT         BURLINGTON NC 27217                         17.67
CRISLER, IMANI               3041 DREWSKY LANE           FORT MILL SC 29715                          0.13
CRISP, KANIJAH               711 BARRINGTON DRIVE      CHARLOTTE NC 28215                            8.46
CRISS, JALISA                106 GRENADIER DR           FRANKLIN TN 37064                           15.54
CRUZ, JEYDI                  1052 BALL PARK RD        THOMASVILLE NC 27360                          31.11
DARBY, ERICA                 1202 PORTER RD          LAFAYETTE TN 37083                             75.97
DAVIS, ASHLAY                5628 LAUREL CREST DR         DURHAM NC 27712                            6.17
DAVIS, CATRINA               818 TREE ST          COLUMBIA SC 29206                                  2.37
DAVIS, DEMONTA               4202 PARKDALE DR         CHARLOTTE NC 28208                             2.55
DAVIS, MARY                  296 RICKYS WAY          BOONE NC 28607                                 12.16
DAVIS, ROLAND                130 LAYFETTE BLVD WILLIAMSBURG VA 23188                                46.17
DAVIS-RUBIANO, ISABELLA      6612           CHARLOTTE NC 28226                                      109.6
DAWSON, RAKASHA              215 COCONUT MEWS            CARY NC 27513                              17.19
DAY, MITZ                    1211 CLEARVIEW DR          MT JULIET TN 37122                          26.41
DE LA ROSA, NELLY            1941 CARRINGTON OAKS DRIV CHAROTTE NC 28273                           144.63
DEAL, MERRISSA               5228 FREEDOM DRIVE          CHARLOTTE NC 28208                          24.4
DEAZA, YANIRA                1329 CANARY DR          VIRGINIA BEACH VA 23453                         5.07
DEES, JADE                   3011 SPRUELL COURT          WAXHAW NC 28173                            35.53
DELGADO, ANDRES              5646 AMALIE DR. APT E 85 NASHVILLE TN 37211                            84.85
DELONG, NICHILAS             500 ROBEY STREET          RADFORD VA 24141                            360.97
DENIS, CHRIS                 909 FOREST DALE        NASHVILLE TN 37214                             103.05
DENISON, EVAN                329 WEST MAIN STREET         BERRYVILLE VA 22611                       43.62
DIAMOND, BRYCE               3234 Lakeford Dr      NASHVILLE TN 37214                               27.79
DICKERSON, TAYLOR            128 W CONCORD DR        CITY TN 37042                                  29.76
DICKQUIST, VICTORIA          135 SABLE ROAD          SALISBURY NC 28146                              3.23
DIXON, WANDA                 1100 CARYSBROOK LANE           CHARLOTTE NC 28217                     122.97
DOOLEY, CHRISTOPHER          1012EOZELLBLV           SPARTANBURG SC 29301                           81.46
DOUGLAS, DARIUS              215 DOVERSHIRE PARKWAY          DURHAM NC 27704                         2.03
DOUGLAS, EDGAR               118 ALEO NINTH AVE.       ROCKINGHAM NC 28379                          118.2
DOWDY, DANIEL                128 BROOKHAVEN DRIVE          WILLIAMSBURG VA 23185                     4.89
DU BOSE, ERICA               300 MAHONE ST           DURHAM NC 27713                                36.31
DUBOSE, TYRESE               100 RIVERBEND DRIVE      WEST COLUMBIA SC 29169                        44.63
DUNCAN, DALISA               CYPRESS POINT DR          CHARLOTTESVILLE VA 22901                     39.69
DUPONT, MARQUIST             7209 COLONY RD          CHARLOTTE NC 28277                              5.52
EDWARDS, ETHEL               5861 SHADY GROVE          RALEIGH NC 27609                              9.41
EICHER, CARRIE               608 CANTON PASS          MADISON TN 37115                               4.25
ELIAS MARTINEZ, DULCE        141 BROOKSIDE PL LOT #61 HARRISONBURG VA 22802                          8.25
ELLIS, SHONDA                151 DARLENE DR     CLARKSVILLE TN 37172                                74.48
EMLER, VICKIE                417 IDLEWILD AVE        MADISON TN 37115                              392.77
ESTES, PEGGY                 7068 RAWLEY PIKE         HINTON VA 22831                                0.74
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CFRA, LLC                 Priority Claims

Payee                     Address                                                     Priority Claim
ESTRADA, HECTOR           1324 PARKWOOD AVE            CHARLOTTE NC 28205                        25.65
EVANS, DESTINY            1027 FALLS CREEK LANE         CHARLOTTE NC 28209                     127.49
EVANS, MARTIA             208 LOFT LANE     RALEIGH NC 27609                                      6.36
EVERWINE, EERICKA         2035 HIGHSIDE DR         ELON NC 27244                                  8.24
FAIR, RACHEAL             7104 MCCONNELL DR           KERNERSVILLE NC 27284                       27.7
FAIRCLOTH, JEANA          7779 WINCHESTER AVE           INWOOD WV 25428                            0.2
FALL, RAMATOULAYE         2400 BLACKWOLF RUN LN           RALEIGH NC 27604                        9.78
FELTS, CASEY              900 OLD BROOK RD           CHARLOTTESVILLE VA 22901                     5.14
FERDINAND, GAETANE        701 WEST MONROE             SALISBURY NC 28144                         73.73
FERGUSON, SHERRY          708 CASCADE RD           MOORESVILLE NC 28115                           4.77
FLEMING, KHADEEM          904 HEARTHRIDGE COURT           RALEIGH NC 27609                        51.7
FLIS, TERRI               7208 POMPANO PLACE           GASTONIA NC 28056                         15.98
FLOWERS, PATRICK          1031 ASSEMBLY ST      COLUMBIA SC 29201                                47.26
FOCHT, RUSSELL            1453 GATE TREE CT         VIRGINIA BEACH VA 23454                        0.1
FOGG, ZHANEL              1300 S ALSTON AVE       DURHAM NC 27701                               123.29
FOLK, MARIAH              100 RIPPLEMEYER AVE          COLUMBIA SC 29203                         33.04
FOLLEY, JESSICA           827 RIDGE ST        CHARLOTTESVILLE VA 22902                           83.35
FORNEY, JANA              3877 CHANCERY LN           VIRGINIA BEACH VA 23452                      1.82
FORREST, TIFFANY          2414 TINNELL CT         MURFREESBORO TN 37129                          97.09
FORTNER, JULIET           589 STARLIGHT DR APT4         FORT MILL SC 29715                       28.63
FOWLER, ALLYSSA           919 PATIO DR          NASHVILLE TN 37214                               49.07
FOWLER, CHRISTY           1621BELL RD APT 122        NASHVILLE TN 37211                           5.32
FOWLER, DEMI              637 CHEROKEE PL        FRANKLIN TN 37064                               10.98
FOWLER, SARA              2214 ELLISTON PLACE         NASHVILLE TN 37203                         42.22
FRANCIS, SHEILA           303 ST THOMAS DR          NEWPORT NEWS VA 23606                        17.85
FRANCIS, TENAIZAH         9611 BROOKDALE DRIVE           CHARLOTTE NC 28075                       4.84
FRANKLIN, TINA            500 KENT CT.         HIGH POINT NC 27262                               39.62
FREEMAN, ASHYIA           7635 WALNUT WOOD DR            CHARLOTTE, NC 28212                      24.2
FREEMAN, ISABELLA         815 GOLFVIEW PL CLARKSVIL CLARKSVILLE TN 37043                        279.76
FREN, GABRIELLA           2014 SWEETBRIAR DR           CLARKSVILLE TN 37043                      34.86
FUENTES BLANDON, OSCAR    830 RUMNEL COURT            CHARLOTTESVILLE VA 22901                  140.12
FULWILEY, MONEY           6022DELTA CROSSING LANE          CHARLOTTE NC 28212                    11.72
GANTT, SONYA              456 WILLIAMSTON RD      ANDERSON SC 29621                              13.14
GARCIA, ADAM              1271 BIVINS ROAD         LEWISBURG TN 37091                            30.84
GARNER, JOSIAH            3001 HILLSBOROUGH ST           RALEIGH NC 27607                        49.24
GARST, JENNIFER           134 AUGUSTA STREET           VERONA VA 24482                           19.33
GARVIN, BRIAN             1142 CALDWELL STREET          GASTONIA NC 28052                       150.66
GEBREYESUS, FREHIWOT      400 CHANEY RD           SMYRNA TN 37167                               252.17
GIBSON, MELVIN            1011 ADDISON           RALEIGH NC 27610                                39.27
GILLARD-TONEY, CHERRELL   116 YESTER OAKS WAY E          GREENSBORO NC 27455                     14.75
GILMAN, JENEAN            624 SMITHFIELD AVE        WINCHESTER VA 22601                          14.97
GIRALDO, KAREN            10504 STONEACRE CT           PINEVILLE NC 28134                       158.65
GISSENDANNER, NAKETTA     2103 DIAMOND CREEK CIRLC CHARLOTTE NC 28273                             0.51
GIUSTINIANI, SEAN         5004 LAZY DAY LANE         INDIAN TRAIL NC 28079                       36.89
GOFF, SAMUEL              850 BLOWING ROCK ROAD           BOONE NC 28607                        125.05
GOINS, JADA               2625 INGLESIDE DR         HIGH POINT NC 27265                          23.44
GOINS, KRISTY             810-C ASHEBROOK DRIVE          GREENSBORO NC 27409                      2.15
GOINS, TIERRA             164 NORTH WIND PLACE APT 202 CHARLOTTE NC 28201                        11.16
GOMEZ, REGLA              120 LAWS LANE        KINGS MOUNTAIN NC 28086                            6.02
GOMEZ, STEPHANIE          114 CRYSTAL SPRINGS DR          TIMBERLAKE NC 28583                     23.5
GONZALEZ AVILES, ALANYS   BULLDOG CIRCLE            SMYRNA TN 37167                             126.85
GOOCH, JACQUESE           305 HICKORY CHASE CT          MADISON TN 37115                           2.3
GRAHAM, BRITTANY          581 WREN ROAD            GASTONIA NC 28056                             37.99
GRAHAM, SHATINA           630 N WENDOVER RD            CHARLOTTE NC 28211                         4.98
GRANT, ROBERT             145 ROSEWOOD LN             MOORESVILLE NC 28117                      605.97
GREEN, TIMMY JR           1824 ANDERSON STREET           CHARLOTTE NC 28205                     124.51
GRIER, AIYANNA            761 MILLER STREET         GASTONIA NC 28052                              7.6
GROSS, HANNAH             2200 HILLSBOROUGH STREET          RALEIGH NC 28277                     80.79
GUY, KRISTINA             2819 ROCHELLE APT           DURHAM NC 27703                           131.21
GUY, MARY                 6221 DONOVAN ST           CONOVER NC 28613                             42.67
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CFRA, LLC                 Priority Claims

Payee                     Address                                                     Priority Claim
HAAMID, SULTAAN           111 ELDERS POND CIR       COLUMBIA SC 29229                             0.13
HALL, CHRISTOPHER         RUSSELL ST STATESVILLE NC 28625                                      155.72
HALL, DESIREE             262 ARCHERS CROSSING          BOONE NC 28607                           48.74
HALL, SHANNON             10709 WAXHAW HWY        WAXHAW NC 28173                                 42.2
HALLMAN, WILLIAM          1126 S HOOVER ROAD         DURHAM NC 27703                            178.06
HAMEL, KATHERINE          136 PLEASANT HILL RD        HARRISONBURG VA 22801                      23.56
HAMILTON, ALICE           128 SIGNAL HILL DRIVE      STATESVILLE NC 28625                        169.2
HAMMITT, RONALD           3126       DURHAM NC 27705                                               5.2
HAMRICK, JACOB            510 BRANCHWOOD DR            BOILING SPRINGS SC 29316                 119.21
HANEY, MARGIE             614 CROWDERS CREEK RD          GASTONIA NC 20852                        8.65
HANKINS, JAMIL            945 N COLLEGE ST         CHARLOTTE NC 28206                            42.77
HARDY, ANGELA             641 FOX HOUND DRIVE         CLARKSVILLE TN 37040                       56.23
HARMON, ALEXANDRIA        1606 N HAMILTON ST       HIGH POINT NC 27262                           14.21
HARMON, TRAVIS            3345 WOODBAUGH DRIVE          CHESAPEAKE VA 23321                      11.28
HARRIS, DESTINY           304 OAKSHIRE DRIVE         VIRGINIA BEACH VA 23454                     44.05
HARRIS, KRISSA            2052 BUFFALO WAY          DURHAM NC 27704                              38.87
HARRISON, ANGEL           1 SAMSON CIRCLE         COLUMBIA SC 29203                              13.41
HAWKEY, BRITTNEY          223 JASMINE LN         SENECA SC 29672                                 19.05
HAWKINS, HEATHER          341 JIM KING ROAD        BURLINGTON NC 27217                            4.23
HAWKINS, JAZMEN           500 VENA STUART DR GALLATIN TN 37066                                   29.63
HAYES, DANJONNA           301 BLUESKY DR         WEST COLUMBIA SC 29172                          23.98
HAYES, KATHERINE          1281 WEST RD           CLARKSVILLE TN 37040                             6.61
HAYES, PERNELL            1101 WILLIAMSTON RD         ANDERSON SC 29621                         268.22
HAYNES, CRYSTAL           4524 NEWBY DRIVE          DURHAM NC 27704                               8.26
HAYNES, CYNTHIA           12640 SABAL PARK DRIVE APT 202      PINEVILLE NC 28134                  0.31
HEARSON, AMBER            1602 HAYNES ST          CLARKSVILLE TN 37042                           25.39
HEISHMAN, KATHERINE       283 FAY LANE          MOUNT JACKSON VA 22842                           11.49
HELMS, ANDREW             804 MCLAIN RD          KANNAPOLIS NC 28083                             31.86
HENRICKS, BRANDI          101 LONGRIFLE RD.        SMYRNA TN 37167                               57.01
HENSON, CARLEY            8675 HENRY HARRIS RD         FORTMILL SC 29707                         52.19
HERBRANDT, CHEYENNE       11689 BACK ROAD          TOMS BROOK VA 22660                           24.63
HERNANDEZ, AMY            410 W SOUTH 4TH ST SENECA SC 29678                                  2362.46
HERNANDEZ, EDWIN          4602 SEDGELANE DR GREENSBORO NC 27407                                   0.71
HERNANDEZ, GLENN          3095 APOLLO DR WINSTON SALEM NC 27101                                  51.64
HERRON, XAVIER            6625 DUPONT DR          CHARLOTTE NC 28217                              6.75
HILL JR., ANDRE           2400 BUENA VISTA PK        NASHVILLE TN 37218                         147.86
HILL, JULIE               3314 FLY RD SANTA FE TN 38382                                          37.06
HILL, MELAKIA             110 SOUTHPORT RD SPARTANBURG SC 29301                                  21.93
HILLS, QUINCY             713 ORTEGA RD           NASHVILLE TN 37214                             10.06
HINES, JAMEL              5779 AMES RD          COLUMBIA SC 29203                               117.16
HOBBS, MELANIE            1905 CENTENNIAL ST         HIGH POINT NC 27262                        254.17
HOGAN, KAYLA              3001 HILLSBOROUGH ST        RALEIGH NC 27605                           65.23
HOLLIFIELD, DANAH         2712 CARLYLE ST     WINSTON SALEM NC 27107                              1.38
HOLMES, KORON             6637 SPANISH OAK DR        RURAL HALL NC 27045                         27.13
HOLMES, KENNETH           567 PALMYRA RD          CLARKSVILLE TN 37043                            7.49
HOLMES-BRYANT, ALECIA     817 FIRST COLONIAL RD       VIRGINIA BEACH VA 23451                    56.29
HOLSHOUSER, MADISON       12015 HIGHWAY 52        ROCKWELL NC 28138                              13.31
HOUSE, SHANNON            4028 THOMAS JEFFERSON DR        VA BEACH VA 23452                      14.08
HUBBARD, VICTORIA         820 IVYWOOD DR           SHLBY NC 28152                                 6.89
HUDGINS, MEAGAN           150 FORREST CHAPEL RD         WESTMORELAND TN 37186                     8.68
HUDSON, MIKAYLA           7325 PEBBLESTONE DRIVE        CHARLOTE NC 28212                        15.98
HUFFMASTER, COURTNEY      5013 A ELTHA DR         WINSTON SALEM NC 27105                          34.8
HUGHEY, DESHAWN           1129 N PARK AVENUE         BURLINGTON NC 27217                         15.94
HUNT, TIFFANEY            112 FOUR WINDS DR          LAWNDALE NC 28090                           75.46
HUNTER, RAFFEAL           407 CEDAR POINT PKWY         ANTIOCH TN 37013                          18.44
HYVESSON, KRISTIN         9211 E INDEPENDENCE BLVD       MATTHEWS NC 28105                       53.01
INGRAM, KENYA             2509 AMBASSADOR COURT          HIGH POINT NC 27265                    287.53
IRVIN, ANTHONY            1035 HIGHLAND AVE        HICKORY NC 28601                             272.45
IRVIN, KAYLEY             8565 HIGHWAY 52       ROCKWELL NC 28138                                83.27
IRVIN, PATRICK            429 LAMBETH DRIVE         CHARLOTTE, NC 28213                         149.91
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CFRA, LLC                 Priority Claims

Payee                     Address                                                       Priority Claim
IVAN, DACIA               1034 BREEZE HILL ROAD APT 25B ASHEBOROR NC 27203                         14.89
JACKSON, JERMAINE         751 KENNEDY CT          BURLINGTON, NC 27217                              0.09
JASSO, CRISTAL            945 PARK DRIVE         STATESVILLE, NC 28677                             29.72
JEFFERSON, JOSHUA         509 NORTH BROAD STREET         GASTONIA, NC 28054                        15.15
JEFFERSON, MARIO          1313 HILLSBOROUGH ST         RALEIGH, NC 27605                           97.05
JEFFRIES, TSHINA          1124 GREGG STREET          RALEIGH, NC 27601                             14.04
JELINEK, SARA             893 WELLMAN STREET          GASTONIA, NC 28054                           24.56
JENKINS, ESSENCE          1050 SOUTHERN DRIVE         COLUMBIA, SC 29201                           11.89
JENKINS, JAYDEN           818 WESTBROOK DRIVE          NEWTON, NC 28658                           150.66
JESTICE, ASHLEY           1561 CORDOVA MILLS CV        CORDOVA, TN 38016                           39.01
JETER, RYESHA             170 KENSINGTON DR          SPARTANBURG, SC 29306                         14.47
JOHNSON, ALEXIS           158 ALBEMARLE DR          WILLIAMSBURG, VA 23185                         88.02
JOHNSON, CHANAE           1400 MIDDLE STREET APT326 WILLIAMSBURG, VA 23185                          22.3
JOHNSON, JOSEPH           824 MORGAN TRAIL          VIRGINIA BEACH, VA 23464                       41.43
JOHNSON, MALCOLM          4771 ONONDAGA RD           VIRGINIA BEACH, VA 23462                     178.17
JONES, ABONY              4257 FLOYD HWY NORTH         FLOYD, VA 24091                              2.41
JONES, CORTEZ             952 EUFOLA RD          STATESVILLE, NC 28677                            205.29
JONES, ISAIAH             1530 HARDEN ST          COLUMBIA, SC 29204                               68.69
JONES, MICHAEL            8515 RIVER BIRCH DR.      CHARLOTTE, NC 28210                             6.09
JONES, NAASIA             1803 DANIEL CT         COLUMBIA, TN 38401                                13.29
JONES, TAMI               1153 PARK ST          FRANKLIN, TN 37064                                  0.45
JONES, WILMA              8841 LANDSDOWNE AVE          HARRISBURG, NC 28075                       157.12
JORDAN, BRENDA            MAPLE GLEN LANE          CHARLOTTE, NC 28266                            122.05
JORDAN, JESSICA           591 NORTH DUPONT           MADISON, TN 37115                               0.5
JORDAN, OLIVIA            509 ESKEW CIRCLE          ANDERSON, SC 29621                             24.63
JORDAN, TINA              1435 ARCHIVE ST         ROCK HILL, SC 29730                              31.39
JOYNER, DEKNIVEYA         231 D AVE #90         SALISBURY, NC 28144                                 0.14
JUNE, KEISHA              7901 NATIONS FORD RD        CHARLOTTE, NC 28217                           2.15
JUSTICE, KIMBERLY         177 BROMLEY VILLAGE DR        FORT MILL, SC 29708                         29.7
KEATON, JEREMY            3102 KOOL PARK RD TRAILER 57 HICKORY, NC 28601                            1.43
KEITH, CHRISTOPHER        220 SNOW AVE           RALEIGH, NC 27603                                 39.35
KEITT, JUSTIN             303 TURNER STREET          THOMASVILLE, NC 27360                        160.38
KELLY, CONNIE             2855 WHITE MEADOW LANE         WINSTON SALEM, NC 27107                   33.33
KEMPLE, AMBER             705 CASTLETON CT          ANTIOCH, TN 37013                              10.58
KENDRICK, NATALIE         425 ALMA LANE          CLARKSVILLE, TN 37043                             60.39
KETCHAM, GRIFFIN          1613 CEDAR SPRINGS CIRCLE CLARKEVILLE, TN 37042                           0.14
KIRBY, JOSH               485 GREENWALT            MAUERTOWN, VA 22644                             10.27
KLEFFNER-SPENCE, ANNA     1304 RUSTIC TRAIL       LINCOLNTON, NC 28092                             10.92
KLINE, KAYLA              104 W. BOSCAWEN ST APT #2 WINCHESTER, VA 22601                            3.72
KLINE, SAVANNAH           2025 MAIN ST         COLUMBIA, SC 29201                                  16.36
KNAPP, NANCY              100 GILL HODGES         PORTLAND, TN 37148                               35.34
KONIK, KATELYNN           1163 PHELPS CT         CREEDMOOR, NC 27522                              103.45
KRING, CHRISTOPHER        2084 CROSSWAY CIR          GASTONIA, NC 28054                             17.7
KUBASTI, RHODA            582 WINDSOR GREEB BLVD         GOODLETTSVILLE, TN 37072                   0.21
LAMPKIN, FREDERICK        4398 HAVELOCK AVENUE         CHARLOTTE, NC 28208                           1.8
LANAI, MADISON            219 KING ARTHUR CIRCLE       FRANKLIN, TN 37067                          31.34
LANDRO, SUHEY             1266 W OCEAN VIEW AVE        NORFOLK, VA 23503                           16.09
LANGER, WILLIAM           2103 2ND STREET         GASTONIA, NC 28054                                2.02
LANIER, DORIAN            710 W. STAGECOACH RD         MEBANE, NC 27302                             4.02
LAURY, SAMANTHA           108 WATERHOUSE CT           MOORESVILLE, NC 28117                         0.27
LAWRENCE, RESHANA         417 TALDAN AVE          VIRGINIA BEACH, VA 23452                          21.3
LAYMAN, ALMA              123 HOLLY HILL STREET       BROADWAY, VA 22815                            0.72
LEACH, RODREGUS           476 RIVER HIGHWAY       MOORESVILLE, NC 28117                             5.93
LENKER, JENNILEE          2717 CAYUGA DR          MURFREESBORO, TN 37130                           26.85
LESKODY, DAWN             829 WESTWIND LANE          INDIAN LAND, SC 29707                         11.19
LILLY, ANTONIO            10492 GUNNISON LANE         CHARLOTTE, NC 28277                          17.08
LIMON-JIMENEZ, MARIA      301 BODENHEIMER DRIVE         BOONE, NC 28608                             12.3
LINDSEY, JOSHUA           129 TRAIL RIDGE DRIVE      HENDERSONVILLE, TN 37075                       4.29
LINDSLEY, ANTHONY         2400 BUENA VISTA PIKE      NASHVILLE, TN 37218                           91.63
LITTLE, DONITA            123 NEW KENT PLACE         CARY, NC 27511                                 0.03
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CFRA, LLC                 Priority Claims

Payee                     Address                                                     Priority Claim
LITTLE, KENYATTA          2713 AZALEA GARDEN RD          NORFOLK, VA 23513                      166.66
LIVINGSTON, MEKAIA        2405 ADAIR CT.        VIRGINIA BEACH, VA 23456                         13.52
LOPEZ, EMMANUEL           112 REDWOOD LN       GOODLETTSVILLE, TN 37072                           1.81
LOVE, JEREMY              8909 MONT CARMEL LN          CHARLOTTE, NC 28217                       142.8
LOVE, SHAQUITTA           2512 BLACKSBURG RD          GROVER, NC 28073                           21.65
LOVELACE, MISTY           902 CAROLINA MILL CIR       LINCOLNTON, NC 28092                       17.28
LOWERY, TEON              945 N. COLLAGE ST         CHARLOTTE, NC 28206                          25.84
LOWRY, TIFFANY            10699 MT SHARON RD          ORANGE, VA 22960                            4.15
LUCHAU, ROBERT            1148 REEL ST          NORFOLK, VA 23502                                13.39
LUNSFORD, CHRISHONDA      5 GOLDCREST CT            SPRINGFIELD, TN 37172                        38.54
LUTZ, SUMMER              419 2ND AVE SW           HICKORY, NC 28602                              6.48
LYLES, FABRIZIO           PO BOX 144           CHINA GROVE, NC 28023                              0.14
MAGNANI, JOEY             828 BLOWING ROCK RD           BOONE, NC 28607                          43.86
MANNING, LATISHA          2319 QUINCY ST          DURHAM, NC 27703                            1550.31
MANOGUE, DONOVAN          407 CEDAR POINTE PKWY ANTIOCH, TN 37013                                 3.88
MARABLE, SAMANTHA         6087 CREEKMONT DR            MURFREESBORO, TN 37129                   297.35
MARSHALL, KIANJA          3525 RAMSAY STREET        HIGH POINT, NC 27262                         37.38
MARTIN, MONIKA            1609 CHARLESTON PLACE LN         CHARLOTTE, NC 28212                   39.26
MARTINEZ, EARNESTO        5516 WEST MARKET ST          GREENSBORO, NC 27407                     130.35
MASSENBURG, TONYA         2512 MAYMONT COURT            VIRGINIA BEACH, VA 23454                 24.08
MATTHEWS, ROY             2025 MAIN ST          COLUMBIA, SC 29201                                7.44
MAY, TRACY                1440 ROCKY FACE CHURCH RD TAYLORSVILLE, NC 28681                        0.13
MAYA, DIANA               1910 FAIRLAMB AVE         COLUMBIA, SC 29223                          158.65
MAYBERRY, DEONICA         696 HOWARD ST            SPARTANBURG, SC 29303                         16.75
MCCARROLL, DAWN           1599 BAYNESVIEW DR           CLARKSVILLE, TN 37043                      5.28
MCCLELLAND, TYRA          2522 SCALYBARK RD          STATESVILLE, NC 28677                       41.92
MCDONALD, WILLIAM         1813 VALE STREET        DURHAM, NC 27704                               12.39
MCDONOUGH, CASSANDRA      113 SHUPING ST          MORGANTON, NC 28655                            38.22
MCFADDEN, TASHA           1411 VENTURA WAY DRIVE          CHARLOTTE, NC 28213                    61.74
MCGOWAN, KRISTIN          700S FARMHURST DR            CHARLOTTE, NC 28217                       13.19
MCKENZIE, ALEXIA          4910 NORTH CENTER ST          HICKORY, NC 28601                         0.33
MCKENZIE, KYDESHA         17 HINTON COURT           MARTINSBURG, WV 25404                         2.21
MCLAUGHLIN, CHARLY        1639 VILLAGE BROOK DR         CHARLOTTE, NC 28210                       7.92
MCLEOD, PHILLIP           312 TRYON ROAD           RALEIGH, NC 27603                             10.39
MCQUEEN, JASMINE          200 WOODCREST DRIVE            COLUMBIA, SC 29203                      27.95
MCRAE, LASHONDA           9311 AYLESBURY LANE          MINT HILL NC 28227                        20.61
MEALER, LUKE              115 ANGELA DR           fayetteville, ga 30215                        272.68
MEEKS, BRIA               1409 CIRCLE DR         GASTONIA, NC 28054                              19.66
MEJIA, SOFIA              433 8TH ST SW          HICKORY, NC 28602                                 2.5
MELENDEZ, MARIA           3890 OLD VINEYARD RD         WINSTON SALEM, NC 27104                   806.6
MENDEZ, ARTURO            744 JONESTOWN RD            W.S, NC 27103                              105.5
MENEFEE, NIYAH            1759 WOODBROOK PLACE            ROCK HILL, SC 29730                    34.12
MESSENGER, ANTHONY        945 MALLOW DR            MADISON, TN 37115                              5.48
MEYER, BARBARA            13918 LAWRENCE FARM LANE          CHARLOTTE, NC 28278                  18.53
MILES, AERIAL             218 OLD PEACH VALLEY RD         GALLATIN, TN 37066                    244.46
MILLER, CHAVELLE          4285 COBLE LN          HUDSON, NC 28638                                21.97
MILLER, HAYLEY            502 EAST LAFFYETTE          SALISBURY, FL 28144                        20.56
MILLER, JACQULYN          307 TRUCE ST           DURHAM, NC 27703                                 6.89
MILLER, TONESHIA          2206 MORENA ST APT C         NASHVILLE, TN 37208                       41.14
MINTER, KELSEY            3010 CRESCENT LANE           GASTONIA, NC 28052                         2.32
MINTZ, MARIE              120 FOX HILL DR        SHELBY, NC 28150                                12.14
MITCHELL, AMELIA          1803 SOLOMON RD            CHARLOTTEVILLE, VA 22901                    83.92
MITCHELL, CHARLOTTE       16 SALEM GARDENS            WINSTON SALEM, NC 27107                     2.35
MITCHELL, MONICA          2910 CAPITAL BLVD         RALEIGH, NC 27604                            30.91
MITCHELL, YASMINE         601 S MARTIN LUTHER KING        WINSTON SALEM, NC 27110                52.05
MOHRING, MALLORI          3704 SNOWDRIFT CIRCLE #303 VIRGINIA BEACH, VA 23462                 1060.46
MOISE, HOLLY              2609 KINGS MILL RD        GREENSBORO, NC 27407                         42.53
MONROE, PASHAIA           1905 FRANCISCAN DRIVE         WINSTON SALEM, NC 27127                 136.05
MONTALVO, JENNA           600 SALISBURY ROAD          STATESVILLE, NC 28677                      14.31
MOORE, MELONIE            664 ARTMIS LANE          MEBANE, NC 27302                               8.55
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Payee                     Address                                                         Priority Claim
MOORE, SHANKAL            531 BELVEDERE CIR         KINGS MOUNTAIN, NC 28086                          8.65
MOORE, WANDRA             3828 MIZELL ST APT M      GREENSBORO, NC 27405                             12.47
MOOREHEAD, ALESIA         801 ENGLEWOOD ST APT. B        GREENSBORO, NC 27403                       191.38
MORALES-TORRES, SUMMER    1602 HAYNES ST          CLARKSVILLE, TN 37042                               2.99
MORRIS, GABRIELLA         9301 BRANCHSIDE LANE         FAIRFAX, VA 22031                                24
MORRISON, DAISHA          1400 E CORNWALLIS RD        DURHAM, NC 27713                              141.32
MORRISON, GEORGE          416 HOLAND CR           STATESVILLE, NC 28677                               1.22
MORRISON, MARIA           222 MATTOON STREET          CHARLOTTE, NC 28216                             6.44
MORTON, CASSANDRA         1987 CYPRESS DR          CHARLOTTESVILLE, VA 22911                          53.7
MOSBY, ALEXIS             P.O. BOX 1615         HARRISONBURG, VA 22803                               57.15
MOSER, ABIGAIL            5867 ALBRIGHT DR         VIRGINIA BEACH, VA 23464                          93.14
MOSS, JENNIFER            56 10TH STREET          HICKORY, NC 28602                                  64.15
MUJA, NAZMIJA             228 OAKHURST RD          STATESVILLE, NC 28677                              0.67
MULLINS, AARON            517 FAIRFAX ST. APT.E     RADFORD, VA 24142                               234.09
MULLINS, KANISHA          37 SUMMIT HEIGHTS         CLARKSVILLE, TN 37040                            44.98
MURILLO, ARIANNA          250 CABIN CREEK DR         DENTON, NC 27239                                 49.5
MURPHY, KALA              799 VILLAGE DRIVE        CLARKSVILLE, TN 37043                             37.13
MURPHY, TENNAH            122 OLIVE STREET         PINEVILLE, NC 28134                               11.14
MURRAY, MEAGAN            840 DWYER RD            VIRGINIA BEACH, VA 23454                           17.77
MYERS, CELESTE            86 SAMSON CIRCLE          COLUMBIA, SC 29203                               19.12
MYERS, SHAUNI             1805 SAPLING           COLUMBIA, SC 29210                                   0.02
NALL, CAMMY               8146 S TRYON ST         CHARLOTTE, NC 28273                                58.25
NAPIER, DUSTIN            542 TABOR RD           OLIN, NC 28660                                          1
NASH, CHRISTOPHER         1198 RICHWINE ROAD          WILLIAMSBURG, VA 23185                          4.07
NASH, WILLIAM             116 HAMILTON STREET         BURLINGTON, NC 27217                          533.29
NATIONS, NOAH             160 HICKS ROAD          GROVER, NC 28073                                   25.38
NEGRETE, JAVIER           7554 QUAIL WOOD DRIVE        CHARLOTTE, NC 28226                           11.39
NESBITT, MIDRASIA         460 EAST BLACKSTOCK RD AP SPARTANBURG, SC 29301                            14.56
NESMITH, WILLIE           2408 MALTBY AVE          NORFOLK, VA 23509                                 39.69
NEWKIRK, JUSTIN           JKNEWKIRK92GMAILCOM            319 GEDDIT AVE, NC 27886                      5.7
NEWSOME, ASTARIA          713 BUNCHE DR           RALEIGH, NC 27610                                 484.87
NICHOLSON, RACHEL         270 TAMPA DRIVE          NASHVILLE, TN 37211                              101.38
NIESWANDER, CHASITY       405 SUMMIT STREET         HARRISONBURG, VA 22802                           204.5
NORMAN, WILLIAM           76 FEATHERSTONE DRIVE         LYNDHURT, VA 22952                           174.7
NORRIS, LATYRA            135 COLEMONT COURT           ANTIOCH, TN 37013                             28.17
NUNEZ, IRIS               POST OAK DR            ANTIOCH, TN 37013                                    2.04
OKORO, NOEL               13109 ROTHE HOUSE RD         CHARLOTTE, NC 28273                            10.1
OLDHAM, CAMERON           124 SOUTH ELM STREET         MYRTLE BEACH, SC 27203                        49.87
OLIVA, SANDRA             113 OCEANFRONT CIR N         ANTIOCH, TN 37013                             37.49
OLIVARES, JAZMIN          50 HARVARD ST           CLAYTON, NC 27520                                  58.21
OLIVER, CHRISTINA         114 HARTFORD COURT           CHARLOTTESVILLE, VA 22902                    562.62
OMAR, LARA                114 WEATHERWOOD CT            WINSTON SALEM, NC 27103                     114.36
OQUENDO, CALITO           417 WEST LANE           VIRGINIA, VA 23454                                 21.35
OREILLY, KEVIN            1021 FOXCROFT LN          STATESVILLE, NC 28677                              0.3
OROSCO, FAITH             3636 VILLAGE TRAIL       NASHVILLE, TN 37207                               70.42
OROZCO ZAVALA, YARALY     128 APOLLO CT E         ANTIOCH, TN 37013                                   7.99
ORTEGA, TAIDE             112 WOODYS PLACE           WINCHESTER, VA 22602                             0.22
OUTLAW, KEANNA            200 SALUDA RIVER RD        COLUMBIA, SC 29210                              11.11
PADGETT, NADIA            1869 JACKIE LORRAINE DR       CLARKSVILLE, TN 37042                         1.61
PAIGE, KIERRA             53 PLEASANT HILL ROAD        HARRISONBURG, VA 22801                        11.44
PALANG, MARK              146 HACKBERRY DR           STEPHENS CITY, VA 22655                         20.43
PALMER, ELISA             30 ASPEN DR           GREENSBORO, NC 27409                                 36.55
PALVADO, FLORA            1015 WEST AVE           GALLATIN, TN 37066                                  0.17
PAMUNGKAS, ARYO           9904 SOUTHAMPTON COMMONS           CHARLOTTE, NC 28277                     11.01
PARHAM, DANDREA           404 PARKTON CT           CARY, NC 27511                                     4.27
PARKER, WARREN            843 HR HOLT CIRCLE        TROY, NC 27371                                   23.57
PASILLAS, APRIL           695 HOWARD ST         SPARTANBURG, SC 29303                                 56.8
PASSKIEWICZ, RYAN         476 RIVER HWY           MOORESVILLE, NC 28117                              59.12
PATTERSON, ABRIEL         108 RIDGE HILL CT       LEXINGTON, NC 27295                                 2.64
PATTIE, TABITHA           121 B EAST ROBERTSON RD         CASTALIAN SPRINGS, TN 37031                 3.06
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CFRA, LLC                   Priority Claims

Payee                       Address                                                      Priority Claim
PAYNE, MICHAEL              2009 QUEEN MARY CT          VIRGINIA BEACH, VA 23454                    15.69
PEACOCK, KAITLYN            130 VIVIAN RD         CHINA GROVE, NC 28023                             32.79
PEAN, IMANI                 1000 17TH AVENUE NORTH         NASHVILLE, TN 37208                      40.66
PEREZ, IYSHANTI             170 KENSINGTON DRIVE         SPARTANBURG, SC 29301                      15.41
PEREZ, MARILYN              226 STONE POST RD          CHARLOTTE, NC 28217                          13.39
PERRY, GWYNA                405 BURGOYNE ROAD         CHARLOTTESVILLE, VA 22901                     82.78
PETERS, JAMIE               380 HARDING PLACE          NASHVILLE, TN 37211                          28.31
PHILLIPS, JUSTICE           545 12TH ST APT. H2      CLARKSVILLE, TN 37040                          15.37
PHINNEY, LYNNE              400 TRAIL THREE         BURLINGTON, NC 27215                             0.47
PINSON, BRITNEY             1229 OLD DICKERSON RD         GOODLETTSVILLE, TN 37072                  26.05
PITTS, ASHLEY               1753 YELLOW STONE COURT         GASTONIA, NC 28054                       3.54
PONDER, SETH                328 ABBY LANE          ASHEBORO, NC 27205                               94.19
POSTON, SIDNIE              261 PIN OAK DR         CLARKSVILLE, TN 37040                            18.81
POWELL, AUSTIN              626 HILLTOP DR        RALEISH, NC 27610                                  14.7
POWELL, HEATHER             338 23RD ST SW          HICKORY, NC 28602                               17.28
POWERS, MARGARET            2131 ELM HILL PIKE APT J201 NASHVILLE, TN 37210                         30.58
PRIME, BRANDIAN             956 STROUSE AVE. APT # B      NASHVILLE, TN 37206                        61.9
PUMMEL, TIFFANY             600 WHISPERING HILLS DR       NASHVILLE, TN 37211                       20.22
PUTMAN, DEONDRAY            920 FLINTLOCK PLACE        NASHVILLE, TN 37217                           0.07
QUESENBERRY, SHENOA         189 FRONT DRIVE          WINCHESTER, VA 22602                           10.56
RAGLAND, LAMAR              8331 VENABLE RD          KENTSTORE, VA 23084                             0.45
RAKES, SHANIA               99 JAN RAE CIR         WILLIAMSBURG, VA 23185                            3.84
RAMIREZ, ASHLY              113 ROSES DR           KANNAPOLIS, NC 28081                             18.29
REAVES, CORY                MASSEY RIDGE CT           RALEISH, NJ 27616                             36.75
REDDISH, JAMES              1082 NORTH FORK DR          ASHLAND CITY, TN 37015                     111.51
REDEEMER, NKEYAH            1602 HAYNES IHOP          CLARKSVILLE, TN 37042                          8.35
RETCHER, BRYTNI             4921 CORAL RIDGE COURT         RALEISH, NC 27616                        26.12
REYES, DORIS                4001 MERIWETHER DR APT M14 DURHAM, NC 27704                            180.27
REYES, JEANETTE             1775 MULBERRY ACADEMY STREET FRANKLINVILLE, NC 27248                    10.56
REYNOLDS, GLENDA            609 FOXCROFT TERRACE #A-6 STATEVILLE, NC 28677                            0.6
REYNOLDS, LYN               1413 W RANKIN AVE         GASTONIA, NC 28054                             3.62
RHODES, SHAMAR              40 WILTON PASTURE LN         CHARLOTTESVILLE, VA 22911                 322.13
RICHARDSON, AMBER           66 RICKIE DAVY LN        CAPON BRIDGE, WV 26711                         17.56
RICHMOND, VIVIAN            PO BOX 1029           COLUMBIA, SC 29202                               304.36
RIVAS, SALVADOR             950 20TH ST NE APT 2G      HICKORY, NC 28601                           272.69
ROBERTS, ANDRE              4824 HINESDALE STREET        VIRGINIA BEACH, VA 23462                   17.92
ROBINS, DESTINY             143 TUNNEL CIRCLE         CHRISTIANBURG, VA 24068                       31.76
ROBINSON, ESTELLE           1504 W HORAH ST          SALISBURY, NC 28144                             9.18
ROBINSON, JEHANNE           7113 ELWOOD RD           SUFFOLK, VA 23437                                 32
ROBINSON, MIA               3530 FARMINGTON DR          GREENSBORO, NC 27407                       111.49
ROBINSON, OTTIANA           4214 HEWITT ST          GREENSBORO, NC 27407                            46.55
ROBINSON, SHELLEY           1109 WEST MURRY AVE          DURHAM, NC 27706                           68.16
RODRIGUEZ, ANA              338 BROOK HOLLOW RD           BOONE, NC 28607                           15.23
RODRIGUEZ, MICHELE          4333 SUMMER BROOK DR          APEX, NC 27539                            25.84
RODRIGUEZ, TRISTAN          114 N CARPENTER ST         GASTONIA, NC 28054                           12.96
ROEBUCK, PHILLIP            344 S MAIN ST         MOOREVILLE, NC 28115                             216.07
ROSCOE, CHEYENNE            351 BELLE VALLEY DR        NASHVILLE, TN 37209                          61.61
ROYSTER, JIMMIE             8936 GLADE SPRING LN        CHARLOTTE, NC 28216                         79.58
RUSHING, ANTONIO            6045 PINEBURR RD APT C       CHARLOTTE, NC 28211                       258.64
RUSSELL, AMANDA             101 MINE STREET        WINSTON SALEM, NC 27023                         310.91
RYAN, BRITTANY              337 MAPLE LANE APT B        DAYTON, VA 22821                             0.92
SALAZAR, ROBERT             201 GILLESPIE DR        FRANKLIN, TN 37067                              16.93
SANCHEZ ALONSO, ELIZABETH   3522 FARMINGTON DRIVE APT L GREENSBORO, NC 27407                        32.15
SANCHEZ, JUAN               11747 OLD NASHVILLE HWY APTB-8 SMYRNA, TN 37167                       501.13
SANCHEZ, KAREN              4 DENNIS ST           MONROE, NC 28110                                 328.42
SANDERS, CHASITY            350 FLOWER HOUSE LOOP          TROUTMAN, NC 28166                          47
SANTANA LARA, JOSEFINA      509 N. SALISBURY AVE       SPENCER, NC 28159                         1041.56
SANTIAGO, TARASA            8700 BROOMSAGE LN       CHARLOTTE, NC 28217                              4.73
SANTOS, CARLOS              11747 OLD NASHVILLE HWY APTB-8 SMYRNA, TN 37167                          0.17
SAPPE, MICHAEL              723 20TH ST          VIRGINIA BEACH, VA 23451                               2
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CFRA, LLC                 Priority Claims

Payee                     Address                                                           Priority Claim
SAWYERS, JELISHA          348 BROOKSIDE DR           ASHEBORO, NC 27203                                 0.03
SAYLOR, ZACHARIA          115 BOWKER ST           ASHLAND CITY, TN 37015                              349.04
SCHANE, SKYLHAR           15428 SCHOLASTIC DRIVE           CHARLOTTE, NC 28277                         28.64
SCOTT, ASHLEY             2141 FERRY RD            CLARKSVILLE, TN 37042                               24.85
SCOTT, DAVON              21 LAWN ST              CLARKSVILLE, TN 37040                                40.64
SCOUTEN, MELENDA          1004 GRANADA RD             ASHLAND CITY, TN 37015                            11.7
SEAGER, NICHOLAS          1873 COLONIAL ARM CIRL          VIRGINIA BEACH, VA 23454                    247.94
SENSING, DESIRAE          806 JOSEPHINE ST          SPRINGFIELD, TN 37172                               65.4
SESSOMS, KATRINA          411 YORK STREET APT 647          WILLIAMSBURG, VA 23185                      24.13
SEWELL, HILLARY           193 MISS ELLIE DRIVE         LAVERGNE, TN 37086                               6.12
SHACKELFORD, RAYMARIO     1400 MIDDLE STREET            WILLIAMSBURG, VA 23185                         41.71
SHANE, PAMELA             3419 ROBINS NEST ARCH           VIRGINIA BEACH, VA 23456                     24.84
SHEETZ, STEVIE            815 GOLFVIEW PLAZA            CLARKSVILLE, TN 37043                          26.56
SHELTON, JOLISA           1902 BOROWOOD DR              NASHVILLE, TN 37217                            58.79
SHIRLEY, GILES            243 BAMBOO RD            BOONE, NC 28607                                     22.63
SHIVERS, STEDMINN         744 GREEN TREE CIRCLE           CHESAPEAKE, VA 23320                        344.04
SHOOK, STEPHANIE          1726 SUMTER STREET            COLUMBIA, SC 29201                             47.92
SHUFORD, CAMBRIA          803 ALEXANDER STREET             STATESVILLE, NC 28677                       10.85
SHUPING, TIMOTHY          219 6TH STREET SE           HICKORY, NC 28602                                51.23
SILVA, RAINA              711 CAPSTONE AVE            CONCORD, NC 28025                                18.07
SINGER, JERRY             1200 NEEDHAM DRIVE          SMYRNA, TN 37086                                240.93
SINGER, TRACY             902 GREENLAND DR              MURFREESBORO, TN 37130                          8.66
SINGLETON, TIANA          6541 GREEDY HIGHWAY             HICKORY, NC 28602                             4.85
SIPPLE, OLIVIA            321 PATTERSON FARM ROAD            MOORESVILLE, NC 28115                      7.48
SITES, MCKAYLA            30 EDEN RD          LURAY, VA 22835                                           3.25
SKEEN, RONALD             521 GUILFORD AV            HIGH POINT, NC 27262                              25.61
SMITH, ANGELA             910 LAKEVIEW AVENUE DAVID DAVIDSON, NC 28035                                 11.44
SMITH, BRANDON            601 PEACHERS MILL RD APT 2 CLARKSVILLE, TN 37042                             22.08
SMITH, DAILIA             17029 COMMONS CREEK DR.            CHARLOTTE, NC 28277                        3.16
SMITH, JANAI              108 ARCHWOOD MEADOWS PL              MADISON, TN 37115                      153.77
SMITH, KA                 2224 JENNINGS ST          CHARLOTTE, NC 28216                                48.46
SMITH, LISA               902 BLANK ST           NASHVILLE, TN 37208                                    5.83
SMITH, SYLVIA             476 RIVER HIGHWAY            MOORESVILLE, NC 28117                           12.13
SOLES, BRANDIE            710 WESTCHESTER DRIVE             HIGH POINT, NC 27262                       69.41
SOLOKMON, STARASIA        5017 EDMONDSON PIKE             NASHVILLE, TN 37211                          13.73
SONDHI, GEETANJALI        5023 KNOLL RIDGE CT.          CHARLOTTE, NC 28208                            19.42
SOWELL, JESSICA           406 MADISON DRIVE            LAVERGNE, TN 37086                               22.6
SPENCE, ANTEIA            2212 MINSTRELS WAY            INDIAN LAND, SC 29707                          40.68
SPRIGGS, DARNELL          1151 Ridgecrest Avenue      SPARTANBURG, SC 29301                           181.57
SPRIGGS, SHATERA          4301 ROCKPORT LANE             BOWIE, MD 20720                                7.49
ST. GERMAINE, JEANINE     406 E. WASHINGTON AVE.          BESSEMER CITY, NC 28016                       0.45
STAMEY, ALEXIS            215 CEDARWOOD LANE              ANDERSON, SC 29626                            6.76
STAPLE, ONAN              1521 STACKHOUSE DR             FAYETTEVILLE, NC 28314                         9.14
STARK, JACOB              100 SKYHAWK DRIVE             BOILING SPRINGS, SC 29316                       58.1
STERLACHINI, TYLER        1400 MIDDLE STREET          WILLIAMSBURG, VA 23185                            9.36
STEVENSON, DYNADIA        3336 GRIFFITH ST         CHARLOTTE, NC 28203                                 20.58
STILES, JESSICA           1026 GLENFIDDICH DRIVE          CHARLOTTE, NC 28215                           16.4
STOKES, TRAISHAWN         1550 E KNOLLWOOD CIR            CLARKSVILLE, TN 37043                        16.38
STOWE, NATHENE            8136 SOUTH TRYON ST            CHARLOTTE, NC 28216                             149
STRANGE, HYLAS            2806 MORELAND AVE         HIGH POINT, NC 27260                               77.88
STRICKLAND, JALEN         1230 PENDELTON STREET             COLUMBIA, SC 29201                        195.55
STRONG, CHERICE           3511 MARKLAND DR         CHARLOTTE, NC 28208                                 58.71
STUART, KRYSTIAN          2472 WELDON COBB TRAIL            BURLINGTON, NC 27217                        6.16
STUDIVANT, TAMIA          743 LARK GLEN DR            MOORESVILLE, NC 28115                            19.06
SUMTER, JARRELL           114 PARKLAKE DRIVE            PINEVILLE, NC 28134                            65.19
SURBER, DOROTHY           1157 RUSHING RD            BLYTHEWOOD, SC 29016                               12.4
SUTER, AUTUMN             1508 DICKERSON PIKE LOT B5 NASHVILLE, TN 37207                                3.97
SWAIN, CHELSIE            7111 MARLBROOK DR              CHARLOTTE, NC 28212                           80.67
TATE, TIMAYA              1631FERNWOOD GLENDALE RD             SPARTANBURG, SC 29307                   13.85
TAYES, JOSEPH             412 E STREET             CLARKSVILLE, TN 37042                               11.22
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CFRA, LLC                  Priority Claims

Payee                      Address                                                      Priority Claim
TAYLOR, DYLAN              2423 SOUTH TRYON STREET        CHARLOTTE, NC 28217                      45.14
TAYLOR, FREDERA            422 LINCOLNTON RD         SALISBURY, NC 28146                          138.63
TAYLOR, LISA               290 N. HAMPTON RD       BOONE, NC 28607                                116.26
TEKLEGORIS, HAVEN          236 JOHNNA CT          NASHVILLE, TN 37207                               8.36
THOMPSON, MAKYLA           415 TUSCULUM RD. E3        NASHVILLE, TN 37211                         106.56
THOMPSON, NASHALA          1340 BUFFALO SHOALS ROAD       CATAWBA, NC 28609                         5.45
THREAT, SHADARRYL          6512 N MILITARY HWY       NORFOLK, VA 23518                             25.44
TINDALL, KEVIN             1902 NEWBERN AVE        RALEIGH, NC 27610                              135.36
TINSLEY, ANDREA            540 HAMLET AVENUE         WAYNESBORO, VA 22980                           8.82
TORRES, VERONICA           9812 STONEY HILL CHURCH RD MIDDLESEX, NC 27557                         329.51
TREVINO, JESSENIA          1053 SHENANDOAH ST          HARRISONBURG, VA 22802                      12.03
TYLER, CHERI               165 JORDAN CREST LN        STONY POINT, NC 28678                         2.22
TYLER, KIARA               125 LAFAYETTE BLVD        WILLIAMSBURG, VA 23185                         20.6
TYSON, BRIANA              8935 HEDGE MAPLE RD         CHARLOTTE, NC 28269                         16.23
UPTON, CALEB               7033 WINDSONG WAY        CHARLOTTE, NC 28273                            30.07
VANDERWERF, TASHIRA        5 SUMMIT HEIGHTS       CLARKSVILLE, TN 37040                            48.36
VANSLYKE, RAYMOND          1516 BURGANDY ST APT A       RALEIGH, NC 27604                         233.02
VARGAS, EDDIE              HARDING PL           NASHVILLE, TN 37211                                13.93
VAZQUEZ, YONATHAN          3924 GREEN ROAD          RALEIGH, NC 27604                              12.53
VEALS, MARISA              1603 GREENLAND DRIVE      MURFREESBORO, TN 37130                        41.42
VEGA, JOSHUA               16403 HOLLY CREST LN       HUNTERSVILLE, NC 28078                       19.25
VELAZCO, ARCELIA           1508 DICKERSON PK B-13      NASHVILLE, TN 37207                         43.18
VELEZ, IBIS                1310 N RUTHERFORD BLVD        MURFREESBORO, TN 37130                   170.66
VERNON, FRASCO             1019 ATLANTIS DRIVE 101     VIRGINIA BEACH, VA 23451                    53.85
VILLALPANDO, DIANA         1897 MADISON STREET         CLARKSVILLE, TN 37043                       19.63
VINES, ANGELIQU            124 MCDANIELS CIRCLE        NEWTON, NC 28658                            16.11
WADE, XAVIER               3451 MARVIN RD         CHARLOTTE, NC 28211                              31.77
WAITHE, JAZMINE            5001 EDMONDSON PIKE        NASHVILLE, TN 37211                          20.22
WALDROP, JOSHUA            6042 MANUS RD          MURFREESBORO, TN 37127                           30.78
WALKER, ARTAVIA            211 BROAD STREET         SHELBY, NC 28152                               35.84
WALKER, DYRON              103 W HARRISON AVE         GASTONIA, NC 28052                           16.01
WALKER, JONATHAN           105 TILGHMAN CT APT B       WILLIAMSBURG, VA 23188                      31.04
WALKER, KENDRIA            960 EAST HAPPY HOLLOW DR       CLARKSVILLE, TN 37043                    31.66
WALKER, MEGHAN             500 KRAFT STREET         CLARKSVILLE, TN 37040                           8.59
WALKER, STANLEY            2506 N PINE ST        CHARLOTTE, NC 28206                               32.94
WALKER, TRONEY             813 DRESDEN CT         ANTIOCH, TN 37013                                13.39
WALLACE, VICTORIA          1226 PENNIMAN ROAD         WILLIAMSBURG, VA 23185                        4.04
WALLING, AMBER             126 RUTH LN          WILLIAMSBURG, VA 23188                              7.87
WALLS, REGINALD            1005 EUSTACE RICHARDSON RD MONROE, NC 28112                             22.77
WALTERS, VICKIE            2527 CROSS POINT CIRCLE       MATTHEWS, NC 28105                        42.75
WALTON, MARLON             612 EAST LYLERLY STREET       GRANITE QUARRY, NC 28072                 172.08
WALTON, NICOLE             7648 GARNERS FERRY RD         COLUMBIA       SC29209                    25.23
WARDLOW, MICHAEL           310 PIERCE DR         WINSTON SALEM, NC 27107                          109.17
WASHINGTON, CHARLESZETTA   1404 OAKHURST DR         NASHVILLE, TN 37216                            39.67
WASHINGTON, JENNIFER       2921 GEORGE WASHINGTON ME YORKTOWN, VA 23693                             4.23
WASHINGTON, VICTORIA       67 FRONT ROYAL RD         STRASBURG, VA 22657                           64.78
WASHINGTON, ZYKIRRIA       914 GRAND OAK DRIVE       SMYRNA, TN 37013                              22.65
WATKINS, ERICA             811 W SHELBY STREET         SHELBY, NC 28012                            11.91
WATSON, ALIYAH             520 SANDSTONE CT APT 305      NEWPORT NEWS, VA 23608                    23.24
WATSON, SAMANTHA           491 FEEZOR RD LOT 11       LEXINGTON, NC 27292                          23.57
WELCH, CHRISTY             1611 EAST COLE STREET        GASTONIA, NC 28054                           4.1
WESSON, JAMAIA             273 BIG STATION CAMP BLVD GALLATIN, TN 37066                            50.22
WESTER, STEVEN             905 S EAST ST         RALEIGH, NC 26801                                239.96
WHEELER, AARON             145 DELMAR DRIVE         CLARKSVILLE, TN 37040                          66.87
WHITE, BRYANNA             320 SPRUCE STREET         SPARTANBURG, SC 29301                         16.38
WHITE, CASSANDRA           3191 N MAIN STREET       ANDERSON, SC 29621                             14.46
WHITE, MATEO               533 RIVER ROUGE DR        NASHVILLE, TN 37209                           276.1
WHITNER, J                 109 GIBSON STREET         SPARTANBURG, SC 29306                          4.87
WIKE, DANIEL               338 BROOK HOLLOW RD         BOONE, NC 28607                             99.94
WILLIAMS, ASHLEY           1701 EAST CREST APT E       CHARLOTTE, NC 28273                          9.96
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CFRA, LLC                     Priority Claims

Payee                         Address                                                      Priority Claim
WILLIAMS, BREVIN              1400 E CORNWALLIS RD       DURHAM, NC 27703                             36.42
WILLIAMS, HANNAH              130 ORCHARD DRIVE         OLD HICKORY, TN 37138                          2.58
WILLIAMS, JALYNN              536-B PERRONEAU         SPARTANBURG, SC 29306                            5.25
WILLIAMS, SARAH               11524 CHAPECLANE RD        CHARLOTTE, NC 28278                          24.41
WILLIAMS, TRACEY              241 BENNS ROAD         NEWPORT NEWS, VA 23601                           83.11
WILSON, HEATHER               1872 LUCKY LANE        NEWTON, NC 28658                                  0.27
WILSON, MARY                  163 MAGIC FOREST DRIVE      TROUTMAN, NC 28166                          25.72
WINFREY, QUINTAVIUS           5706 CEDARS EAST COURT       CHARLOTTE, NC 28210                         23.3
WINTERS, DAWN                 3100 CLOVERLEAF PLAZA       KANNAPOLIS, NC 28082                        19.08
WISE, ASHLEY                  3521 TAZ HEEL LN       VALE, NC 28168                                   44.75
WOBENSMITH, WENDI             1006 BETTY LOU LN.      LAVERGNE, TN 37086                               6.21
WOLFE, TERRY                  1721 SPENCER MOUNTAIN RD      RANLO, NC 28054                           45.21
WOMACK, MARA                  286HARDIN ST       BOONE, NC 28608                                       4.93
WOODEN, OLIVIA                335 KELFORD LANE        CHARLOTTE, NC 28270                              6.49
WOODLE, DACIA                 1034 BREEZE HILL ROAD APT 25B ASHEBORO, NC 27203                        43.54
WORKMAN, AMBER                2781 OLD BLUE RIDGE LANE     CONNELLY SPRINGS, NC 28612                  3.46
WORLEY, ANDREW                137 CENTER STREET        TIMBERVILLE, VA 22853                          54.66
WRIGHT, DEMONICA              116 DREW ROAD          WILLIAMSBURG, VA 23185                           25.39
WRIGHT, JOSHUA                270 TEMPAR DRV         NASHVILLE, TN 37211                             351.28
WRIGHT, VICTORIA              4772 WORDEN DR          SPARTANBURG, SC 29301                            55.9
XIN, BRIENNA                  8424 ROYSTER RUN         WAXHAW, NC 28173                               20.65
YATES, CHELSEA                122 LIBERTY LN        MADISON, TN 37115                                 17.66
YONAN, SARAH                  523 S CAMERON ST        WINCHESTER, VA 22601                            12.34
YORK, JOSHUA                  1342 HIDDEN CIRCLE       SALISBURY, NC 28147                             0.45
YOUNG, BRYAN                  3212 AVALON AVE        CHARLOTTE, NC 28208                             148.74
YOUNG, KIERA                  823 GAITHER POE ROAD       LAUREL SPRINGS, NC 28644                      4.04
YOUNG, RAIVEN                 2832 SARATOGA DR         WINCHESTER, VA 22601                           19.19
YOUNG, TIFFANY                10325 LANTERN LANE        HAGERSTOWN, MD 21740                          17.93
ZARROUKI, ZAHRA               6701 SUMMERGOLD WAY          CHARLOTTE, NC 28269                         7.47
ZAVALA, AMY                   1140 PLESS ST NW CONCORD, NC 28027                                      36.27

                      Total                                                                      44670.11
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CFRA, LLC                        Non-Priority Unsecured Claims (Trade Payables)




                                                                                                                       Unliquidated

                                                                                                                                      Contingent

                                                                                                                                                   Disputed
Name                             Address                        City               State        Zip     TOTAL
5 Star Radio Group               Address                        Clarksville        TN          37043        3,357.50

 6851 Lennox, LLC/Moss Group     6345 Balboa Blvd, Ste 310      Encino             CA          91316       20,120.63
 A Clean Bay Plumbing, Inc       3300 Elmhurst Lane             Portsmouth         VA          23701        2,851.00
 A Cut Above Landscape Mgt
LLC                              4005 Timber Ridge Court        Mt Juliet          TN          37122        9,154.37
 A. O. Smith Corporation         12024 Collections Center Dr    Chicago            IL          60693        4,586.06
 Alcimedes, Inc.                 12800 The Glebe Ln             Charles City       VA          23030       15,435.00
 AllPoints Foodservice Parts &
Supplies                         607 W Dempster St              Mt Prospect        IL        60056          5,975.76
AmGuard Corporation              1625 Fatherland St             Nashville          TN        37206            400.00
 Appalcart                       305 NC Hwy 105 Bypass          Boone              NC        28607            900.00
 Aramark                         22808 Network Place            Chicago            IL        60673         10,960.70
 ARC3 Gases                      PO Box 1708                    Dunn               NC        28335          4,288.40
 AT&T                            PO Box 105262                  Atlanta            GA      30348-5262       1,191.83
 Atmos Energy                    PO Box 790311                  St. Louis          MO      63179-0311       1,070.27
 Authorized Commercial           PO Box 602739                   Charlotte         NC        28260            861.39
 Averus USA, Inc.                3851 Clearview Ct              Gurnee             IL        60031            666.04
 Background Bureau, Inc.         2019 Alexandria Pike           Newport            KY        41076          2,119.65
 Ballantyne Property Group       8315 Beverly Blvd Ste 101W     Los Angeles        CA        90048         13,438.48
 Beasley Media Group, Inc.       PO Box 2273                    Columbus           GA        31902         12,744.25
 Bell Electric                   PO Box 385                     Blacksburg         VA        24063            305.92
 Beltram Edge Tool Supply        PO Box 844620 Dept 101         Boston             MA        02284         33,234.62
 Benfield Sanitation Services    282 Scotts Creek Road          Statesville        NC        28625            373.28
 Bessingers Backflow Service     PO Box 9489                    Hickory            NC        28603          2,908.06

BFC Solutions                    One Vantage Way Suite D210     Nashville          TN          37228          188.66
Bonded Filter Co.                PO Box 830525                  Birmingham         AL          35283           94.10
Boone Iron Works                 253 Ray Brown Rd               Boone              NC          28607        3,266.55
Brady                            3101 S. Elm/Eugene St          Greensboro         NC          27406        6,767.09
Bristol Broadcasting Co.         PO Box 1389                    Bristol            VA          24203        4,685.10
Broadway Lights LLC              PO Box 16253                   Greenville         SC          29606       37,207.59
C&D Printing Company             12150 28th St North            St Petersburg      FL          33716        3,308.35
C&J Associates                   PO Box 366                     Statesville        NC          28687        5,703.15
Cain's Able Plumbing Inc.        3111 Mocking Bird Ln           Kannapolis         NC          28083          219.35
Capitol Special Police           9650 Strickland Rd Ste 103     Raleigh            NC          27615       11,981.25
CaptiveAire                      4651 Paragon Park Road         Raleigh            NC          27616        4,673.27
Casual Dining Smyrna             26 Knights Court Upper         Saddle River       NJ          07458       24,075.52
CDW Direct, LLC                  PO Box 75723                   Chicago            IL          60675          466.01
Charlotte Alarm Mgmt             PO Box 602486                  Charlotte          NC          28260          450.00
Charlottesville Radio Group      1140 Rose Hll Dr               Charlottesville    VA          22903        4,036.50
Cigar City Marketing, LLC        1228 E. 7th Ave Suite 200      Tampa              FL          33605       73,750.60
City Lighting Products           P Box 33417                    Kansas City        MO          64120          160.78
City of Asheboro                 146 N. Church Street           Asheboro           NC          27203          304.15
City of Burlington, NC           PO BOx 1358                    Burlington         NC          27216          374.80
City of Charlotte                PO Box 1316                    Charlotte          NC          28201        4,195.62
City of Charlottesville          PO Box 911                     Charlottesville    NC          22902        1,734.74
City of Columbia                 PO Box 7997                    Columbia           SC          29202          392.48
City of Durham                   PO Box 30041                   Durham             NC          27702        1,184.73
City of Franklin                 PO Box 306097                  Nashville          TN          37230        1,158.00
City of Gastonia                 PO BOx 580068                  Charlotte          NC          28258        2,263.36
City of Greensboro, NC           PO BOx 1170                    Greensboro         NC          27402          784.32
City of Harrisonburg Public
Utilities                        PO Box 1007                    Harrisonburg       VA          22803        1,313.91
City of High Point               PO BOx 10039                   High Point         NC          27261        1,729.72
City of Kannapolis               PO BOx 1190                    Kannapolis         NC          28082          662.05
City of Raleigh                  PO Box 71081                   Charlotte          NC          28272          420.51
City of Salisbury                PO BOx 740600                  Atlanta            GA          30374        1,777.28
City of Shelby                   PO Box 207                     Shelby             NC          28151        4,167.95
City of Williamsburg             401 Lafayette St               Williamsburg       VA          23185          185.50
City of Winston-Salem            PO Box 2753                    Winston Salem      NC          27102          500.00
                                 Municipal Center Bldg 12 041
City Treasurer                   Courthouse Drive               Virginia Beach     VA          23456          531.93
Clarksville Electric LLC         228 Excell Rd                  Clarksville        TN          37043          663.81
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CFRA, LLC                        Non-Priority Unsecured Claims (Trade Payables)




                                                                                                                         Unliquidated

                                                                                                                                        Contingent

                                                                                                                                                     Disputed
Name                             Address                        City               State        Zip     TOTAL
Clarksville Gas & Water          2215 Madison St                Clarksville        TN          37043            690.78

Cleantech Carpet & Furn. Clean   PO Box 504                     Lawndale           NC          28090          225.00
Columbia Gas                     PO Box 70319                   Philadelphia       PA          19176        2,331.20
Comfort Inn & Suites             3033 Cloverleaf Parkway        Kannapolis         NC          28083       12,415.50
Concord Printing Company         420 Copperfield Blvd           Concord            NC          28025        2,585.12
Cooke & Cooke Properties         PO Box 330988                  Nashville          TN          37203        8,973.03
County of Albemarle              60 Stagecoach Rd               Charlottesville    VA          22902          400.00
Courtyard by Marriott Bristol    3169 Linden Drive              Bristol            VA          24202          341.95
                                 210 Marlboro Ave Ste 25 PMB
CR Global, LLC                   391                            PMB 391 Easton     MD        21601          2,027.07
Crawford Sprinkler Company       PO Box 1267                    Lugoff             SC        29078            680.00
Critter Control Operations       PO Box 6849                    Marietta           GA        30065            283.50
Crossfire Exhaust System         PO Box 1391                    Ozark              MO        65721            495.00
Cumulus Media-Tri Cities         3615 Momentum Place            Chicago            IL      60689-5336       3,868.63
CW Hayes Construction Comp       821 Executive Dr               Oviedo             FL        32765            178.20
Daniel B Hefner Plumbing         5527 Racine Av                 Charlotte          NC        28269          1,062.63
Darrell's Lawn Care              PO Box 1552                    Jamestown          NC        27282          1,785.00
                                  6251 Park of Commerce Blvd
Datamax Services, Inc.           Suite D                        Boca Raton         FL        33487           2,303.76
DataSource                        PO Box 660919                 Dallas             TX      75266-0919        3,876.71
David Nakahara                   415 Oneida Ct                  Danville           CA        94526          19,400.16
DDR Cotswold LP/DDR Corp         PO Box 83400                   Chicago            IL      60691-3400       21,134.15
Delaware Secretary of State       PO Box 5509                   Binghamton         NY        13902           2,180.00
Delta Protection Agency           PO Box 368                    Morganton          NC        28680           1,104.00
Dine Brands/IHOP                  450 N. Brand Blvd 3rd Floor   Glendale           CA      91203-4415   Undetermined x                                 x
Dnashville                        PO Box 40506                  Nashville          TN        37204             425.00
Dominion Energy Virginia         PO Box 26543                   Richmond           VA      23290-0001       21,728.95
Dominion Virginia Power          PO Box 26543                   Richmond           VA      23290-0001        1,586.80
Dr. Rooter                       1840 Two Notch Rd              Lexington          SC        29073             135.91
Drury Inn & Suites-Nashville
Airport                          555 Donelson Pike              Nashville          TN        37214          3,310.88
DSI/Data Source, Inc.            1400 Universal Ave.            Kansas City        MO        64120          3,701.83
Duke Energy                      PO Box 70516                   Charlotte          NC      28272-0516      28,530.48
Dynamic Cards, Inc.              PO Box 1261                    White House        TN        37188            233.90
Eastway Lock & Key, Inc.         3807 Monroe Rd                 Charlotte          NC        28205          2,981.48

Ecolab Food Safety Specialties   PO Box 32027                   New York           NY        10087          3,340.74
Ecolab Inc.                      PO Box 32027                   New York           NY        10087         18,073.01
Economy Exterminators            PO Box 4493                    Cary               NC        27519             87.55
EcoSure                          26397 Network Place            Chicago            IL      60473-1263         452.22
Electric City Utilities          601 South Main St              Anderson           SC        29624            708.60
Elliston Place Partners LLC      PO Bx 22149                    Nashville          TN        37202         10,635.73
Envysion, Inc.                   PO Box 46138                   Houston            TX      77210-6138         171.60
Etheridge Roofing, Inc.          1211 Tarboro St SW             Wilson             NC        27893         79,966.30
Eunice Ferguson                  136 Mayland Court              Irmo               SC        29063            175.00
Facilities Plus, Inc.            12225 Amos Lanes Unit 102      Fredericksburg     VA        22407          7,705.80
FedEx                            PO Box 371461                  Pittsburgh         PA      15250-7461         662.06
Ferguson Enterprises, LLC        PO Box 100286                  Atlanta            GA      30384-0286       1,031.63
Fire-X Corporation               Acct Rec Dep PO Box 9757       Richmond           VA        23228            559.27
Foothills Outdoor Solutions      707 6th Ave NE                 Concover           NC        28613            850.00
Foundation of VA LLC             146 Hill Drive                 Fincastle          VA        24090            600.00
Four Seasons Lawn Care           1530 Radford Rd                Christiansburg     VA        24073            695.34

Franklin Machine Products, LLC   PO Box 7400731                 Chicago            IL      60674-7311       7,864.88
Frontier Natural Gas              110 PGW Drive                 Elkin              NC      28621-2105       1,229.02
Gallatin Public Utilities        239 Hancock Street             Gallatin           TN        37066          1,284.64
GFL Environmental                PO Box 791519                  Baltimore          MD      21279-1519       3,999.20
                                 117 Manchester Street Suite
Goodwin Recruiting               5A                             Concord            NH          03301        5,160.00
H&W Construction Company         PO Box 468                     Winchester         VA          22604          290.00
Hamco Raleigh                    1314 Fairview Rd               Raleigh            NC          27608        4,696.62
Harrisonburg Electric
Commission                       89 W. Bruce St                 Harrisonburg       VA          22801        5,127.98
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CFRA, LLC                         Non-Priority Unsecured Claims (Trade Payables)




                                                                                                                           Unliquidated

                                                                                                                                          Contingent

                                                                                                                                                       Disputed
Name                              Address                       City               State           Zip      TOTAL
Harrisonburg Radio Group          1820 Heritage Center Way      Harrisonburg       VA            22801          6,467.90
Highland Creek Retail LLC         301 S College St Ste 2800     Charlotte          NC            28202         14,475.37
HIlton Displays                   125 Hillside Dr               Greenville         SC            29607         11,237.50
Hobbs Mechanical, LLC             22313 Brewers Neck Blvd       Carrollton         VA            23314          1,643.97
Holston Valley Broadcasting       222 Commerce St               Kingsport          TN            37660          3,151.93
Hoyle Plumbing Co                 1661 South Lafayette St       Shelby             NC            28152          1,138.34
HPI Direct, Inc.                  PO Box 748000                 Cincinnati         OH          45274-8000      27,159.03
HRSD/HRUBS                        PO Box 37097                  Boone              IA          50037-0097         808.04
Hunter Mechanical                 226 Salters Creek Rd          Hampton            VA            23661          1,180.93
                                  Attn: A/R 7900 Forect Point
Hyatt Place Charlotte             Blvd                          Charlotte          NC            28273          1,633.06
Hydes Lawncare                    508 Dunlap St                 Kannapolis         NC            28081          1,873.30
IHCKS                             PO Box 421                    Arden              NC            28704            402.90
Iheartmedia-Harrisonbug Mark      PO Box 419499                 Boston             MA          02241-9499       1,353.84
Iheartmedia-Nashville Market      PO BOx 406372                 Atlanta            GA          30384-6372      13,972.59
IHOP Corp                         450 N. Brand Blvd             Glendale           CA            91203          6,689.93
Industrial Hood Cleaning          PO Box 421                    Arden              NC            28704            750.00
Industrial Hood Cleaning 2         Box 12297                    Charlotte          NC            28220            390.00
Industrial Steam Cleaning         9813 Leitersburg Pike #309    Hagerstown                 -       0              375.00

Interface Security Systems LLC    8339 Solutions Center         Chicago            IL          60677-8003      41,537.51

Intown Suites Management, Inc.    980 Hammond Dr Suite 1400     Atlanta            GA            30328             83.90

J.D. Eatherly                     1720 West End Ave Suite 600   Nashville          TN            37203          9,176.98
Janet Fisher-Hughes               1900 Hollinshed Av            Pennsauken         NJ            08110          5,700.00
Jennifer A. Meadows               4002 W. Coachman Ave          Tampa              FL          33611-2207       1,105.00

Jimmy's Plumbing & Repair, Inc.   PO BOx 14335                  Archdale           NC            27263          6,843.14
John's Plbg, Heating & Air        PO Box 8496                   Greensboro         NC            27419            336.70
K&D Window Cleaning               1626 W. Colonial Dr           Salisbury          NC            28144             30.00
Kenneth Phillips                  507 Fox Trail Ln              Lexington          SC            29073            250.00
Kescor                            PO Box 12297                  Charlotte          NC            28220            390.00
Konig Media                       PO Box 708                    Cayucos            CA            93430          3,320.00
L&W Supple Corporation            2800 Foster Ave               Nashville          TN            37210            189.24
L&W Supply Corporation            PO Box 281937                 Atlanta            GA          30384-1937         310.22
Lamar Companies                   PO BOx 96030                  Baton Rouge        LA            70896          1,980.00
Larry's Lawn Care                 PO Box 351                    Stephenson         VA            22656            706.66
Learfield Communication, LLC      PO Box 843038                 Kansas City        MO            64184         13,500.00
Lee Bray DBA Prestige             3651 Bluewater Dr             Moneta             VA            24121          2,472.50
Level 3 Communications LLC        PO Box 910182                 Denver             CO          80291-0182         832.08
Light Bulb Depot 7 LLC            PO Bo 410                     Aurora             MO          65605-0410       1,689.58
Lowes Business Account            PO BOx 530970                 Atlanta            GA          30353-0970         443.34
Madison Suburban Utility Dist     PO Box 175                    Madison            TN            37116            283.50

Main Street Main of Tennessee     PO BOx 8156 Gallatin          Gallatin           TN            37066            600.00
Manheim Township                  510 E. Main St                Lititz             PA            17543         32,024.17
May's Lawn Services               153 Macarthur Ln              Burlington         NC            27217            325.00
MCT Enterprises                   PO Box 51404                  Piedmont           SC            29673          1,050.08
Merric Millwork & Seating         213 S. Cool Springs Rd        Ofallon            MO            63366          1,324.35
Metro Water Services              PO Box 305225                 Nashville          TN          37230-5225       5,900.37
Mitchell Montgomery LLC           9019 Overlook Blvd Suite C2   Brentwood          TN            37027         10,800.00
Monticello Media LLC              481 Hillsdale Dr Ste 300      Charlottesville    VA            22901          3,759.15
Mood Media                        PO BOx 71070                  Charlotte          NC          28272-1070       1,879.46
Morrison Service Company          1134 Old Clarsville Pike      Plesant View       TN            37146          6,209.38
                                  Dallas Lock Box PO Box
MSPark                            848469                        Dallas             TX          75284-8469      18,457.98
Music City Processing             PO BOx 140456                 Nashville          TN          37214-0456       2,412.00
MWC Media                         PO Box 40506                  Nashville          Nv            37204         14,165.25
My1Stop.com                       3200 Liberty Bell Rd          Fort Scott         KS            66701          3,341.07
Nashville Electric Service        PO Box 305099                 Nashville          TN          37230-5099      16,043.29

Nashville West Shopping Center PO BOx 680176                    Prattville         AL            36068         14,637.02
National Recovery              1100 Locust St                   Des Moines         IA            50391          2,250.00
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CFRA, LLC                         Non-Priority Unsecured Claims (Trade Payables)




                                                                                                                             Unliquidated

                                                                                                                                            Contingent

                                                                                                                                                         Disputed
Name                              Address                         City              State          Zip       TOTAL
National Tax Credit Holding       10499 W. Bradfod Rd #102        Littleton         Co            80127          3,808.75
New River Radio Group             7080 Lee Highway                Radford           VA            24141          7,322.40
North Carolina Department of
Sec of State                      PO Box 29622                    Raleigh           NC            27626            237.00
North State                       PO Box 612                      High Point        NC          27261-0612          51.96

Northcross Land & Development PO BOx 603021                       Charlotte         NC          28260-3021      11,696.67
Ogletree, Deakins, Nash       PO Box 89                           Columbia          SC            29202         12,589.50

Old Seville Expenses Reduction    PO Box 967                      Gulf Breeze       FL            32562           1,228.71

Oracle America Inc.               500 Oracle Parkway              Redwood Shores    CA            94065             491.62
Oracle America, Inc               PO Box 203448                   Dallas            TX          75320-3448        1,754.98
Orca Imaging Systems              PO Box 161093                   Ft Worth          TX            76161             375.50
Orkin                             PO Box 638898                   Cincinnati        OH          45263-8898        9,430.00
Paul Northrop                     790 Startown Rd                 Lincolnton        NC            28092             552.54
Pepsi-Cola                        PO BOx 75948                    Chicago           IL          60675-5948          184.87
Performance Foodservice           7420 Ranco Rd                   Richmond          VA          23228-0000      700,349.94
PFRH                              1340 Hamlet Ave                 Clearwater        FL            33756       2,186,695.97 x                               x
Piedmont Natural Gas              PO Box 1246                     Charlotte         NC          28201-1246       20,349.66
Promenade Shopping Center         301 S College St Suite 2800     Charlotte                 -       0             8,860.56

 Pure Line Plumbing LLC           4611 Hillsborough Rd Bldg 200   Durham            NC            27705          1,339.01
 Putnam Mechanical                PO Box 3592                     Mooresville       NC            28117        180,817.79
 Pye-Barker Fire & Safety, LLC    13142 Albemarle Rd              Charlotte         NC          28227-6923       5,752.83
 Quality Inn & Suites             131 Bristol East Rd             Bristol           VA            24202          1,659.46
 Queen City Disposal              PO Box 535233                   Pittsburgh        PA            15253            163.30
 R&M Supply Company               3413 Griffin St                 Portsmouth        VA            23707            418.32
 Randolph Electric                PO Box 40                       Asheboro          NC          27204-0040       4,999.15
 Rapid-Rooter, Inc                PO Box 562002                   Charlotte         NC            28256          2,972.51
 Rappahannock Electric Coop       PO Box 34757                    Alexandria        VA          22334-0757       2,127.40
 Realiscape, Inc.                 500 Averette Rd                 Wake Forest       NC            27587            325.00
 Republic Services                PO Box 9001099                  Louisville        KY          40290-1099       3,346.33
 Restaurant Speciality Repairs,
Inc.                              PO Box 53                       Wake Forest       NC            27588          7,416.27
 Retail Technology Group          1663 Fenton Business Park       Fenton            MO            63026         14,102.05
 Reynolds Design Group            223 Fairview St                 Laguna Beach      CA            92651          4,250.00
                                  8500 NW River Park Drive,
ROS Technology Services, Inc.     Suite 342                       Parkville         MO            64152         23,800.00
Rose Lawn Care                    2005 Bachelor Rd                Mooresboro        NC            28114            200.00
Rosnet                            8500 NW River Park Dr           Parkville         MO          64152-4377      22,200.00
Roto-Rooter                       136 Tanner Rd Green             Greenville        SC            29607            882.92
S&D Coffee, Inc.                  PO BOx 1628                     Concord           NC            28027          9,445.85
Seating Consultant, Inc.          23 Pierce St NW                 Minneapolis       MC            55413            909.82

Sentry Security Services, Inc.    229 E. Walnut St PO Box 432     Goldsboro         NC            27533            658.24
Sharon Cobb Jones                 432 Bakers St Ext               Rock Hill         SC            29730          1,120.00
                                  Sherwin-Williams Accounts
                                  Receivable Dept 10201 N
Sherwin-Williams                  Tryon St                        Charlotte         NC          28262-2432         184.82
Sherwin Williams #2575            3246 S. Church St.              Burlington        NC          27215-9149          46.41
Sherwin Williams #2930            2421 Highway 70 SE              Hickory           NC          28602-8301          60.02
Sherwin Williams #3637            1017 N. Wendover Rd             Charlotte         NC          28211-1124          43.37

Shipp's Fire Equipment Service    52 Wilshire Dr/PO Box 1641      Concord           NC          28026-1641       3,485.52
Smartvision Construction, LLC     1155 East Isle of Palms Ave     Myrtle Beach      SC            29579        147,575.00
Smyra Utilities                   860 Buttner Pl                  Dover             DE            19904          1,334.81
Solid Rock Outdoor Concepts       1523 Roman Rd                   Mt Sidney         VA            24467            470.00
Spartanburg Water System          200 Commerce Street             Spartanburg       SC            29306          1,260.01
Speed Pro Imaging                 2748 25th St N                  St Petersburg     FL            33713          4,428.08
Stanhope 2013, LLC                PO Box 19107                    Raleigh           NC            27619         10,592.31
State Electric Supply Co          2010 2nd Ave PO Box 5397        Huntington        WV            25703          2,089.34

State Industries, Inc.            12610 Collections Center Drive Chicago            IL            60693           7,169.86
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CFRA, LLC                       Non-Priority Unsecured Claims (Trade Payables)




                                                                                                                      Unliquidated

                                                                                                                                     Contingent

                                                                                                                                                  Disputed
Name                            Address                       City               State       Zip      TOTAL
Steam Pro Hood Cleaning         1720 Hasta Lane Ste B         Vale               NC        28168            428.00
Steamway Central Virginia       304 Oakley Av                 Lynchburg          VA        24501            435.00
Sun Graphic Technologies        2310 Whitfield Park Avenue    Sarasota           FL        34243         12,086.81
Superior Properties             PO BOx 5339                   Stateville         NC        28687          3,600.00
Superior Uniform Group          PO Box 748000                 Cincinnati         OH      45274-8000      27,318.65
The Cincinnati Insurance        PO BOx 145620                 Cincinnati         OH      45250-5620       2,254.00
The Seat Doctor                 110 Herndon Springs           Grover             NC        28073            700.00
TL Connects                     2006 Lindell Av               Nashville          TN        37203         18,049.82
TNB Financial Services          PO Box 5067                   Spartanburg        SC        29304         14,666.67
Total Refrigeration Gaskets     2205 Platinum Rd              Apopka             FL        32703            298.85
Town of Boone                   567 West King St              Boone              NC        28607          1,840.42
Town of Christiansburg          100 E. Main St                Christiansburg     VA      24073-1067         791.69
Town of Mooresville             PO Box 602113                 Charlotte          NC      28260-2113         504.74
Trane                           PO Box 406469                 Atlanta            GA      30384-6469      24,732.69
Treasurer of Frederick County   30 N. Market Street           Frederick          MD        21701          4,074.19
Treasurer, County of York       PO Box 10                     Yorktown           VA        23690            537.20
Trilogy, Inc                    1220Richmond Rd.              Wlliamsburg        VA        23185         18,191.25
Trimark                         PO Box 6939                   Stream             IL      60197-6939      14,810.50
TriMark Foodservice Equip       14603 W. 112th Street.        Lenexsa            KS      66215-4096      14,810.56
Tuyen D. Lecong                 11823 Quartz Circle           Valley             CA      92708-2601      15,228.72
U.S. Lawns of South Charlotte   280 Ervin Woods Dr            Kannapolis         NC        28081          3,508.00
Unifour Fire & Safety           PO Box 9489                   Hickory            NC        28603          4,105.82
Union Power Cooperative         PO Box 5014                   Monroe             NC      28111-5014       4,542.84
United Referigeration           PO BOx 740703                 Atlanta            GA      30374-0703       2,669.63
UPS                             PO Box 809488                 Chicago            IL      60680-9488       1,683.78
Valassis Direct Mail            90469 Collections Drive       Chicago            il        60693         48,701.25
Valley Proteins, Inc.           PO Box 643393                 Cincinnati         OH        45264         11,054.08
Verizon                         PO Box 4830                   Trenton            NJ      08650-4830         800.90
Virginia Natural Gas            PO Box 5409                   Stream             IL      60197-5409       3,045.88
W.N. Kirkland, Inc.             PO Box 5425                   Spartanburg        SC        29304            300.00
Washington Gas                  PO Box 37747                  Philadelphia       PA        19101          1,250.87
Wasserstrom                     PO Box 182056                 Columbus           OH        43218         10,523.89
Waste Management                PO Box 13648                  Philadelphia       PA      19101-3648         275.20
Waste Mgmt of Virginia          PO Box 13648                  Philadelphia       PA      19101-3648          85.14
Whaley Foodservice              PO BOx 615                    Lexington          SC        29071         14,277.50
Winchester Public Utilities     PO Box 75                     Winchester         VA        22604          2,805.73
XTRA Lease                      301 W Taft-Vineland Rd        Orlando            FL        32824          1,527.28


                                                                                           Total       4,699,872.28
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CFRA,LLC                     Schedule F - Employee Non-Priority Claims

Payee                        Address                                                   Schedule F Amount
ABDULLAH, ASHIA              1616 SUMTER AVE CHARLOTTE NC 28208                                     39.47
ABRAM, BETHANY               2305 PORTER ROAD NASHVILLE TN 37216                                   128.99
ACOSTA-RODRIGUE, ESMERALDA   2028 BALLSTON PLACE KNIGHTDALE NC 27545                                 7.08
ADAMS, BLAIR                 1316 WATERLILY LN    CHARLOTTE NC 28262                                16.64
ADAMSON, KIARA               4439 STONEWALL DRIVE RALEIGH NC 27604                                 249.32
ADDINGTON, BRODY             702 BRANTON DR          SHELBY NC 28152                               112.66
ADDISON, CIERA               1716 EILEEN ST      COLUMBIA SC 29203                                  24.05
AGOGLITTA, NICOLO            1676 LOWELL BETHESDA RD APT G GASTONIA NC 28056                        89.65
AHFEROM, ROBEL               1180 DEVON LANE APRT A      HARRISONBURG, VA 22801                       8.8
ALLISON, RICHARD             540 APRIL DR         SHELBY NC 28152                                    69.5
ALSADOUM, AWATIF             850 RICHARD RD         ANTIOCH TN 37016                                15.03
ALSTON, SYCOUYA              512 EASTWAY AVE        DURHAM, NC 27703                                 2.66
ANDREWS, SARAI               15264 ERIC KYLE DR      HUNTERSVILLE NC 28078                          12.24
ANGLIN, DAVIDA               5800 MAUDINA AVE      NASHVILLE TN 37209                               30.54
ANGUIANO, KHRISTOPHER        721 HAMRICK RD         SHELBY NC 28152                                184.33
APPERSON, MATTHEW            501 ROSELAND ST         HIGH POINT NC 27265                            31.31
ARDENO, NIKOLE               5912 MONROE RD          CHARLOTTE NC 28212                             16.88
ARELLANO, VERONICA           1020 KENILWORTH          CONCORD NC 28027                               8.97
ARMSTRONG, DESTINY           164 TROUT LILY DR       LAKE FREDERICK VA 22630                        52.45
ARMSTRONG, IMANI             917 CAPITOL LANDING RD      WILLIAMSBURG VA 23185                       7.43
ARTIS, JAYLIN                4832 QUARRYMAN RD          RALEIGH NC 27610                             5.74
AUSTIN, AMY                  3703 ANDREW JACKSON WAY        HERMITAGE TN 37076                       4.37
AVERY, ANDREA                9316 OREN THOMPSON RD         CHARLOTTE NC 28213                        0.14
BAILEY, JANIECE              3344 SHASTA COURT         VIRGINIA BEACH VA 23452                      35.57
BAKER, SHAKEYDRA             134 FLINT LANE        GREER SC 29651                                    3.87
BAKER, SEAIRA                1045 HUNT CLUB LN        SPARTANBURG SC 29651                          10.42
BALLADARES, GUSTAVO          402 VICTORIAN LANE LANE      GRANITE FALLS, NC 28630                    8.62
BARRETT, SAMAUNEE            4916 N NEW HOPE RD         RALEIGH NC 27604                            42.59
BATES, SHANIKA               105 OAKMONT CIRCLE         WILLIAMSBURG VA 23185                       11.71
BEAM, BILLIE                 2861 COURT DRIVE        GASTONIA NC 28054                              10.88
BEAN, KAITLYN                3655 SHIP CHANDLERS WHARF VA BEACH VA 23453                            24.29
BELCHER, CHRISTOPHER         1705 PATHFINDER DRIVE       VIRGINIA VA 23454                           65.7
BENFIELD, MIRIAM             6419 FRIEDAN CHURCH RD       GIBSONVILLE NC 27249                       5.05
BENTLEY, JASMINE             2519 E LITTLE CREEK ROAD     NORFOLK VA 23451                           0.54
BISLIMI, AGNESA              13 PATRIOT LN         PALMYRA VA 22963                                  27.9
BLACKWELL, SANDRA            4349 WAKEMAN DR.         WINSTON SALEM NC 27105                         8.45
BLAKE, KENDRICA              3815 GALLATIN PIKE      NASHVILLE TN 37216                              5.29
BLOCH, BETHANY               231 ATKINSON FARM CIRCLE      GARNER NC 27529                           5.59
BLUNK, ERICK                 3202 BLACKBURN DT         WAXHAW NC 28173                               42.2
BOGGS, CARMEN                625 GREEN WAVE          GALLATIN TN 37066                              54.91
BOHLING, GABRIELLA           925 THOUSAND OAKS DRIVE       VIRGINIA BEACH VA 23454                   2.41
BOLTON, MONICA               901 COLLETON ST         COLUMBIA SC 29203                              43.66
BOOKER, NIA                  10814 AZURE VALLEY PL      CHARLOTTE NC 28269                          13.75
BOSWELL, SARAH               4608 NEWBERN HEIGHTS DR       PULASKI VA 24301                         79.92
BOULET, KAYCEE               1552 WEST KING ST       BOONE NC 28607                                 45.49
BOWEN, ROBERT                139 KENDRA DRIVE         MOORESVILLE NC 28117                           6.54
BOWERS, CIERA                3402 CRAIG AVE         CHARLOTTE NC 28211                              23.17
BOWMAN, ALYSA                1401 LONGCREEK DR         COLUMBIA SC 29210                              3.1
BRADSHAW, KARIE              6402 HELENS WAY       DENVER NC 28037                                  10.87
BRANCH, JOSHUA               14244 EHEART LANE        BARBOURSVILLE VA 22923                       120.33
BREEDEN, ANA                 9 CHOCTAW PL           PALMYRA VA 22963                                19.44
BRETTNER, TAYLOR             139 LAKE SHORE DR        NASHVILLE TN 37214                            67.16
BRIDE, MARY                  1023 GRIDER DR         GALLATIN TN 37066                                6.12
BRIDGERS, KIMBERLY           1295 SILAS CREEK PARKWAY      WINSTON SALEM NC 27127                   11.89
BRISTOL, RICHARD             104 LKE RIDGE DRIVE      HENDERSONVILLE TN 37075                       25.95
BRITTON, JASMINE             6716 SAINT JULIAN WAY     FAYETTEVILLE NC 28314                        97.77
BROOKS-STOREY, LINZIE        1353 FINLAY DRIVE    WEST COLUMBIA SC 29169                            11.15
BROWN, ARNOLD                1203 NORTH GREGSON STREET                                              42.51
BROWN, CAROLYN               3735 MICHIGAN AVE     CHARLOTTE NC 28215                                 2.3
BROWN, CHRISTIAN             9224 GARNET FIELD CT      CHARLOTTE NC 28269                           15.67
BROWN, LAKISHA               7908 STERLING COURT        TOANA VA 23168                              44.32
BROWN, SABREYANA             2173 TROPHY TRACE CLARKSVILLE TN 37040                                  18.7
BROWN, SUPERIOR              302 CAYMAN WAY          CHARLOTTE NC 28217                              0.38
BROWN, TORI                  2115 SPRING GARDEN STREET GREENSBORO NC 27403                          12.96
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BUCHANAN, CORDERO            1041 WOOD FERRY            GALLATIN TN 37066                              64.64
BUCK, TONYA                  2620 BRIDGEWAY DRIVE          COOKEVILLE TN 38506                          29.6
BUELL, ERIN                  12524 NEWSTEAD RD           HUNTERSVILLE NC 28078                        177.34
BULLOCK, GREGORY             2225 RICHMOND ROAD RM 137 WILLIAMSBURG VA 23185                            6.71
BURKE, BRANDON               205 OGDEN DRIVE           GASTONIA NC 28054                              148.86
BURKE, TAYLOR                4214 SAXONBURY WAY       CHARLOTTE NC 28269                               105.1
BURLESON, ALLISON            203 ABEES GROVE CHURCH RD VALDESE NC 28690                                 3.06
BUSH, JERESHIA               1300 LONGCREEK DRIVE          COLUMBIA SC 29210                           37.17
BUTLER, DEJAH                100 TANGLEWOOD             NASHVILLE TN 37211                              6.55
BUTLER, JREISHA              2112 BROAD ST           DURHAM NC 27705                                    5.19
BUTTREY, GORDON              125 EDGEWATER FALLS           MURFREESBORO TN 37129                       97.88
CAMPBELL, BAILEY             7456 STACY DR           NASHVILLE TN 37221                                25.74
CAMPBELL, IOLA               1001E 74 BUS HWY          ELLENBORO NC 28040                              47.66
CAMPBELL, JAMARA             4 YORKSHIRE COURT           STAFFFORD VA 22554                             0.82
CANAVAN, CHRISTOPHER         620 SUHTAI COURT          VIRGINIA BEACH VA 23451                         24.16
CANSECO, DOMINGO             910 AIRLANE           GASTONIA NC 28054                                    5.97
CARDER, KIMBERLY             68 MUSIC SQ EAST          NASHVILLE TN 37203                              43.99
CARR, JORDAN                 735 TULIP GROVE RD         HERMITAGE TN 37076                              4.64
CARTER, CORY                 507 ETHEL CT           CHARLOTTE NC 28214                                 46.83
CATHEY, JOSHUA               1704 CHARLOTTE AVE. APT 200 NASHVILLE TN 37115                            63.48
CHAMBERS, JAYE               510 CARTER RD           GRAHAM NC 27253                                    0.07
CHAMBERS, STENNISHA          6311 TIARA LN APT 204      CHARLOTTE NC 28212                              53.7
CHANCE, ANTHONY              1148 SEARS ST.          KANNAPOLIS NC 28083                                5.51
CHAPLIN, GRACIE              137 SAVELY DRIVE HENDERSONVILLE TN 37075                                  46.56
CHAVIRA, JUAN                2209 TUCCA WAY RALEIGH NC 27604                                           61.84
CHEN, YUE                    5437 RICHMOND ROAD WILLIAMSBURG VA 23188                                 105.56
CHESSON, ARIANNA             3251 YORKBOROUGH WAY            VIRGINIA BEACH VA 23513                    4.82
CHESTON, STEPHON             7204 CANAAN LANE 106         RALEIGH NC 27615                             47.46
CHICAS, IRENE                QUARRY RALEIGH NC 27610                                                   10.05
CHRISTIAN, K.                1656 LOWELL BETHESDA 2397 GASTONIA NC 28056                              106.78
CHUNN, TYEISHA               3998 HIGHWAY 601 SOUTH         MOCKSVILLE NC 27028                         0.67
CID, VIVIAN                  600 ERMINE RD LOT 587       WEST COLUMBIA SC 29170                       259.81
CLARK, ATIRE                 5321 DEWMORN PLACE            CHARLOTTE NC 28269                          11.94
CLARK, DAEFEAREO             4916 BARRINGTON DRIVE         COLUMBIA SC 29203                          104.82
CLARK, JOHN                  404 WOODROW AVE             HIGH POINT NC 27262                            2.18
CLAY, DARYALLE               1602 HAYNES IHOP      CLARKSVILLE TN 37042                                25.47
CLEARY, CHASITY              1606 N HAMILTON ST         HIGH POINT NC 27262                             3.17
CLEMENT, LONNIE              1624 LASKIN ROAD SUITE 73 VIRGINIA BEACH VA 23451                          8.12
CLINE, COURTNEY              2310 2ND STREET          RADFORD VA 24141                                 36.17
COE, ADRIANA                 1416 ASHE ST           BRULINGTON NC 27217                                12.95
COKLEY, LAMYSHA              18250 MARSH LN           DALLAS TX 75287                                  79.61
COLEMAN, AALYAS              3988 MOLA LANE           EARLYSVILLE VA 22936                             26.16
COLLINS, JASMINE             343 BUCKLAND MILLS COURT        CARY NC 27513                              4.64
COLLINS, SYDNEE              1601 LINDLEY TRAIL        GRAHAM NC 277253                                17.66
COLUCCI, ERICA               7337 SEXTONS CREEK DRIVE        RALEIGH NC 27614                          12.37
COMMEDO, SELENA              517 VAN THOMA DR         RALEIGH NC 27609                                 15.21
CONNARD, DUSTY               109 RUTHHAVEN DR           BESSEMER CITY NC 28016                         26.04
CONNARD, SERENITY            109 RUTHHAVEN DR           BESSEMER CITY NC 28016                         15.24
COOKE, BETH                  93 WEAKLY LN. APT.D-38       SMYRNA TN 37167                               0.31
COOPER, ERICKA               13 HARPOON CT.           WILLIAMSBURG VA 23185                             1.21
CORTES GONZALEZ, ALEJANDRA   1510 QUAIL RIDGE RD       RALEIGH NC 27609                                 6.56
COURNOYER, BRITTNI           335 HAPPY LAKE RD          ROCKWELL NC 28138                              85.74
COWAN, SHAKERRA              1212 ASCENDING LANE        STATESVILLE, NC 28625                          23.98
COX, NEMICHA                 20324 CARRINGTON TRACE DR CORNELIUS NC 28031                              20.63
CRAIG, MYAH                  2635 INGLESIDE DR         HIGH POINT NC 27265                             60.46
CRAWFORD, EMILY              1462 COUNTRY CLUB CT        HARRISONBURG VA 22802                         17.84
CRENSHAW, KEVIN              1309 HUDSON AVE DURHAM NC 27705                                          129.21
CRONAN, CAITLIN              15537 NORTHSTONE DRIVE         HUNTERSVILLE NC 28078                      23.92
CROW, KIMBERLY               150 MARLO LOOP           MOORESVILLE NC 28166                             16.47
DALTON, MELODY               1536 W INTRUDER CIR         VIRGINIA BEACH VA 23545                       23.76
DANILOV, IGOR                600 RICHARDSON RUN           WILLIAMSBURG VA 23188                        22.35
DAUGHERTY, JAMIE             2214 ELLISTON PLACE         NASHVILLE TN 37203                             8.22
DAVIS, BOBBI                 350 BRYANT ROAD APT A30        SPARTANBURG SC 29303                      149.03
DAVIS, KASEY                 1224 ROCK RD          CHRISTIANSBURG VA 24073                              3.51
DAVIS, PAMELA                119 INDIANA LANE         WILLIAMSBURG VA 23188                             4.51
DAVIS, SHERKYRA              1208 REDBUD STREET           CAHRLOTTE NC 28216                           28.63
DAVIS, TANIA                 1204 GORRELL ST           GREENSBORO nc 27401                             16.76
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DAWSON, RAKASHA            215 COCONUT MEWS            CARY NC 27513                                     9.8
DEAZA, YANIRA              1329 CANARY DR          VIRGINIA BEACH VA 23453                             14.72
DEES, JADE                 3011 SPRUELL COURT          WAXHAW NC 28173                                 35.91
DEPENBROCK, JOY            204 NORMAN DAVIS DR         TOANO VA 23168                                  56.79
DEWBERRY, SHANIKA          113 SALUDA STREET        COWPENS SC 29330                                    3.91
DICKERSON, JACOB           1808 CITADEL COURT         VIRGINIA BEACH VA 23464                          21.23
DICKERSON, TAYLOR          128 W CONCORD DR       CITY TN 37042                                        41.29
DIXON, BRIANACA            3850 PEA RIDGE         LAWNDALE NC 28090                                    39.97
DIXON, WANDA               1100 CARYSBROOK LANE          CHARLOTTE NC 28217                            36.88
DOKUM, ALISHA              1103 13TH AVE NE        HICKORY NC 28601                                     7.84
DONNELL, BRAYDON           4382 MEMORY LN          ADAMS TN 37010                                      41.95
DOSS, JACOB                504 HOLLERMAN LANE          GALLATIN TN 37066                              177.97
DOUGLAS, MIRACLE           518 LOACH STREET          ASHEBORO NC 27203                                  7.79
DU BOSE, ERICA             300 MAHONE ST          DURHAM NC 27713                                       8.38
DUDGINSKI, JACKIE          1944 HINSHAW AVE APT 1A       WINSTON SALEM NC 27104                         1.29
DULO, LYUDMILA             1762 CROSSKEYS ROAD           HARRISONBURG VA 22801                         11.94
DUNCAN, DALISA             CYPRESS POINT DR          CHARLOTTESVILLE VA 22901                         124.81
DUNCAN, MALLORY            2609 FINES CREEK DR        STATESVILLE NC 28625                             28.59
DUNCAN, SYDNEY             311 HANCOCK ST B301        GALLATIN TN 37066                                 4.17
DYE, TROY                  1152 EDGEWOOD DR           GALLATIN TN 37066                                 5.72
EASLEY, BETHANY            1127 DONELEA LN NW         CONCORD NC 28027                                 23.77
ECKLIN, KAYIN              1800 BLUE KNOB RD      VIRGINIA BEACH VA 23464                              16.55
EDWARDS, TOMMI             301 GINENS LANE LOT 121      BLACKSBURG VA 24060                             4.09
EICHER, CARRIE             608 CANTON PASS          MADISON TN 37115                                    11.7
ELIAS MARTINEZ, DULCE      141 BROOKSIDE PL LOT #61 HARRISONBURG VA 22802                              13.49
ELLIOT, MARIA              5420 TARGET DR          ANTIOCH TN 37013                                     2.85
ELLIS, RHIANNAN            6 SUMMIT HEIGHTS         CLARKSVILLE TN 37043                                0.13
ELTAHIR, TASNEEM           4024 JESSICA LEIGH LANE      CHARLOTTE NC 28269                             55.32
EMAM, GBANNA               6857 PULASKI AVE        FAIRLAWN VA 24141                                   20.69
EMERSON, LEAH              1131 MECKLENBURG HWY MOORESVILLE NC 28115                                  216.01
ESCAMILLA, MATUS           137 ASSEMBLY DRIVE         MOORESVILLE NC 28117                             45.05
ESTRADA, HECTOR            1324 PARKWOOD AVE           CHARLOTTE NC 28205                               9.21
EVANS, CANDACE             6315 OLD MOORETOWN ROAD           WILLIAMSBURG VA 23188                      2.94
FAISON, DAMICA             167 MIAMOSA DR          WILLIAMSBURG VA 23185                                1.23
FEDORENKO, ANDRIY          600 RICHARDSON RUN APT D        WILLIAMSBURG VA 23188                        2.54
FELLOWS, SAMANTHA          2524 WARD AVE          CONCORD NC 28025                                     36.75
FELTS, CASEY               900 OLD BROOK RD          CHARLOTTESVILLE VA 22901                          15.98
FEY, MONTANA               5927 COLCHESTER DR          HERMITAGE TN 37076                              47.83
FISCHER, LAUREN            1540 GENERAL BOOTH BLVD         VIRGINIA BEACH VA 23454                     57.63
FORD, MONTREGG             26 WALNUT AVE          CONCORD NC 28027                                     12.07
FORNEY, JANA               3877 CHANCERY LN          VIRGINIA BEACH VA 23452                           26.61
FORT, BRIANA               425 WARRIOR DR          MURFREESBORO TN 37128                                7.67
FOSTER, DAIQUAN            102KATLINE DRIVE         DURHAM NC 27703                                     5.69
FRANCO, IMANI              6009 LANDMARK CENTER BLVD GREENSBORO NC 27407                                15.7
FREEMAN, ASHYIA            7635 WALNUT WOOD DR           CHARLOTTE, NC 28212                           29.86
GANOLLI, SARAH             12139 REGENT RIDGE LN        CHARLOTTE NC 28279                              7.24
GANTT, MERCEDES            5732 KNIGHTNER ST         COLUMBIA SC 29203                                 19.88
GANTT, SONYA               456 WILLIAMSTON RD     ANDERSON SC 29621                                     7.25
GARCIA, ESTHER             152 WINECOFF AVE        CONCORD NC 28025                                    40.81
GARST, JENNIFER            134 AUGUSTA STREET          VERONA VA 24482                                  3.96
GARVIN, ROBIN              702 ALMONDWOOD PL.           LAVERGNE TN 37086                               2.43
GATES, ANDREA              171 HOWARD WOODY DR            LAVERGNE TN 37086                           175.64
GETER, ERICA               8410 STRATHBURN COURT          HUNTERSVILLE NC 28078                         2.23
GETZ, BRITTANY             716 E IRELAND      HERNANDO FL 34442                                        57.06
GILLIAM, ROBERT            2117 BEDFORD ST APT 11       DURHAM NC 27707                                26.19
GILMAN, JENEAN             624 SMITHFIELD AVE        WINCHESTER VA 22601                                3.67
GLOVER, YASHICA            2523 EDDINGTON ST         CHARLOTTE NC 28208                                31.48
GOINS, CAITLIN             1107 CEDAR POINTE PARKWAY ANTIOCH TN 37013                                      1
GOLDSBERRY, KAYLA          12428 WILLINGDON RD        HUNTERSVILLE NC 28078                            16.15
GONZALES, E.               12019 ULSTEN LANE         HUNTERSVILLE NC 28078                             48.29
GONZALEZ, GINA             131 DEVON FOREST DR.         MOORESVILLE NC 28115                           34.78
GOOCH, JACQUESE            305 HICKORY CHASE CT         MADISON TN 37115                               21.12
GOTTFREID, RICHARD         103 SANDFIDDLER LANE         RALEIGH NC 27614                               11.66
GRAVES, MARYBETH           6585 CLARKSVILLE PIKE       JOELTON TN 37080                                20.08
GRAY, LYDIA                501 BINGHAM           DURHAM NC 27703                                        22.5
GRAY, NASAIR               8358 BREMO RD         FORK UNION VA 23055                                    29.7
GREEN, NATASHA             366 SHINNVILLE RD        MOORESVILLE NC 28115                               27.56
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GROSSE, LAUREN             262 ARCHERS CROSSING              BOONE NC 28607                                34.39
GUADARRAMA, JAIRO          120 N OAKHURST DR              SALISBURY NC 28147                              155.12
GYAPONG, NANA              5206 FOX HUNT DRIVE APT.G GREENSBORO NC 27407                                   35.94
HALL, DEBRA                401 NORTH PINE ST GASTONIA NC 28052                                              1.31
HALL, DESIREE              262 ARCHERS CROSSING              BOONE NC 28607                               120.32
HALL, SABURA               2628 BEECH NUT RD         CHARLOTTE NC 28208                                    39.41
HAM, JASEY                 2278 SILVERSTONE RD             ZIONVILLE NC 28607                              41.33
HAMEL, KATHERINE           136 PLEASANT HILL RD           HARRISONBURG VA 22801                             4.56
HAMILTON, JACKIE           105 FAIRVIEW ST           CLOVER SC 29771                                        1.26
HANKINS, JAMIL             945 N COLLEGE ST             CHARLOTTE NC 28206                                 37.74
HANNAH, BETHANY            7228 CABOT DR              NASHVILLE TN 37209                                   10.55
HARDING, REGINA            1701 ANGIER AVE             DURHAM NC 27703                                      4.71
HARE, ASHLEY               1356 WATERLILY LN            CHARLOTTE NC 28262                                 58.84
HARKEY, BRITTANY           530 E PRESNELL ST            ASHEBORO NC 27203                                  71.15
HARLAN, CHELSEA            134 W WOODLAWN RD              CHARLOTTE NC 28217                                3.81
HARMON, ANTONIO            319 N 2ND STREET             NASHVILLE TN 37207                                 166.8
HARRIS, ALEXIS             12610 FAY ST      WINCHESTER VA 22601                                           71.19
HARRIS, DESTINY            304 OAKSHIRE DRIVE             VIRGINIA BEACH VA 23454                          26.65
HARRIS, KHAI               8324 LODGE SOUTH CIR             CHARLOTTE NC 28217                             10.82
HARRIS, TAYLOR             401 VIRGINIA AVE GARNER NC 27529                                                  0.2
HARRIS-JONES, TYAZIA       18 BRIARWOOD AVE               WILLIAMSBURG VA 23185                            19.49
HARTWICK, STEPHANIE        3905 Valley String Drive   RALEIGH NC 27606                                      1.02
HAZELWOOD, MARRICA         1207 LAWERENCE ST APT G            RADFORD VA 24141                             11.83
HEARSON, AMBER             1602 HAYNES ST              CLARKSVILLE TN 37042                                21.79
HENDERSON, TAYLOR          2110 AVENT FERRY RD             RALEIGH NC 27606                                10.65
HERNANDEZ, JOSSELYN        2901 HOSTA DRIVE CHARLOTTE NC 28269                                            107.03
HERNANDEZ, RUBEN           109 ALTA VISTA DR.          WINCHESTER VA 22602                                 96.97
HERRERA, JOSELINE          3864 GOLDENEYE DR          CONCORD NC 28025                                     78.24
HICKS, LAKESHA             3401 SINGLE LEAF LANE           RALEIGH NC 27616                                 0.81
HILL, LAKEESHA             24 LINCOLN DR              CLARKSVILLE TN 37040                                  2.74
HILLS, QUINCY              713 ORTEGA RD               NASHVILLE TN 37214                                  25.41
HILLSBURY, HALEY           570 CHURCH ST E             BRENTWOOD TN 37027                                  20.77
HODGES, IESHA              4325 GROVE AVE APT C            WINSTON SALEM NC 27105                           2.95
HOLLAND, JORDAN            8146 S TRYON ST          CHARLOTTE NC 28273                                     63.01
HOLLOWAY, LASHAUN          836 MULLEN RD          CHESAPEAKE VA 23320                                      26.32
HOLTZ, ANDREW              407 MILLER FARM ROAD             STATESVILLE NC 28625                            0.21
HOWARD, TANISHA            510 N HILL ST            DALLAS NC 28034                                         0.43
HOWERTON, KERRY            99 1ST             VIRGINIA BEACH VA 23454                                      19.63
HUANG, JO                  5001 SAND COVE CT             RALEIGH NC 27616                                 113.15
HUGGINS, EMANUEL           1400 MIDDLE STREET APT 318 WILLIAMSBURG VA 23168                                15.79
HUGGINS, SHEILA            805 14TH AVE SOUTH NASHVILLE TN 37203                                           25.26
HUNTER, CHRISTIAN          519 VALLEY ST APT A           STATESVILLE NC 28677                              61.02
HURD, CHARLES              639 LAFAYETTE              NASHVILLE TN 37203                                  106.61
HURDLE, SIERRA             1141 DREW STREET              DURHAM NC 27701                                   12.58
HYATT, DEJA                10707 DAPPLE GREY LN            CHARLOTTE NC 28213                               8.86
HYVESSON, KRISTIN          9211 E INDEPENDENCE BLVD            MATTHEWS NC 28105                           81.49
IRVIN, ENIZAHA             6200 BENNETTSVILLE LANE            KINGS MOUNTAIN NC 28086                       0.25
IRWIN, KAREESA             969 SANDOVAL DR              VIRGINIA BEACH, VA 23454                            8.07
ISIDRO, THOMAS             3573 REGRET LANE              VIRGINIA BEACH, VA 23453                          16.42
IVAN, DACIA                1034 BREEZE HILL ROAD APT 25B ASHEBOROR NC 27203                                16.96
JACKSON, BYRON             1209 SCOLLEGE ST             CHARLOTTE, NC 28203                                16.62
JACKSON, MONIQUE           315 BRANCHWOOD RD                STATESVILLE, NC 28625                           9.85
JACKSON, VERONICA          3301 ABBEYVILLE HWY APT H62 ANDERSON, SC 29624                                  29.52
JAMES, KAYLA               813 WESTMINSTER LANE              VIRGINIA BEACH, VA 23454                       5.13
JARMEY, LEANNA             141 NEESE DRIVE             NASHVILLE, TN 37211                                 61.07
JEFFREYS, JASMINE          421 IDLEWOOD DR              DURHAM, NC 27703                                    7.62
JENKINS, AALIYAH           1050 SOUTHERN DR              COLUMBIA, SC 29201                                19.48
JENKINS, ESSENCE           1050 SOUTHERN DRIVE             COLUMBIA, SC 29201                               7.12
JENNELLE, JACOB            3001 MILLSTONE DR             GASTONIA, NC 20854                                 26.9
JOHNSON, ALEXIS            158 ALBEMARLE DR              WILLIAMSBURG, VA 23185                            28.65
JOHNSON, CHANAE            1400 MIDDLE STREET APT326 WILLIAMSBURG, VA 23185                                  7.5
JOHNSON, DONNA             1104 JOHN DIMREY DR             GREENSBORO, NC 27405                            32.79
JOHNSON, JOSEPH            824 MORGAN TRAIL              VIRGINIA BEACH, VA 23464                           0.38
JOHNSON, LADARIUS          3770 DANIELEY WATER WHEEL RD BURLINGTON, NC 27217                               44.66
JOHNSON, REGINALD          3829 HICKSWOOD CREEK DR             HIGH POINT, NC 27265                        36.83
JONES, JARON               9608 STONEY GLEN DR             MINT HILL, NC 28277                             27.78
JONES, MICHAEL             8515 RIVER BIRCH DR.          CHARLOTTE, NC 28210                               23.63
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JONES, RUSSELL            739 NORTH WATER AVE          GALLATIN, TN 37066                             2.15
JONES, WILMA              8841 LANDSDOWNE AVE          HARRISBURG, NC 28075                         549.79
JUAREZ, ABRAHAM           27 HILLSIDES LN        HICKORY, NC 28601                                   75.36
JUSTICE, ALEXIS           300 A WEST CHESTNUT STREET STANLEY, NC 28164                                0.15
KANG, YOSSAWADEE          5351 RICHMOND RD          WILLIAMSBURG, VA 23188                           52.13
KEEVER, KRISTY            10441 GROBIE WAY APT 102      CHARLOTTE, NC 28216                           7.12
KEITH, CHRISTOPHER        220 SNOW AVE           RALEIGH, NC 27603                                    5.79
KELLER, APRIL             123 MORRISON AVENUE          VIRGINIA BEACH, VA 23452                      66.35
KILBURNE, HUNTER          465 LYMAN HILLS DR        CHARLOTTESVILLE, VA 22902                         93.5
KILPATRICK, NYA           5832 CASHION RD         HUNTERSVILLE, NC 28078                              0.16
KING, KAREEM              184 WEST BAY AVE         NORFOLK, VA 23503                                  1.55
KING, MICHAEL             1715 POGO RD           WINSTON SALEM, NC 27051                               0.6
KING, UNQUAE              821 NANCE AV          HIGHPOINT, NC 27263                                  18.89
KLINE, KAYLA              104 W. BOSCAWEN ST APT #2 WINCHESTER, VA 22601                              2.18
KNIGHT, CALLIE            127 CRANBERRY TRL          ZIONVILLE, NC 28698                               0.6
KOCH, HAYLEIGH            3940 APACHE TRAIL        ANTIOCH, TN 37011                                 20.04
KUBASTI, RHODA            582 WINDSOR GREEB BLVD         GOODLETTSVILLE, TN 37072                     3.92
KUNDU, GOURAB             14709 PROVENCE LANE         CHARLOTTE, NC 28277                             33.3
LACKEY, CHATNEY           2633 ANDES DRIVE         STATESVILLE, NC 28625                              32.4
LACOMA, AIDEN             261 LAGOON DRIVE CHRISTIA CHRISTIANBURG, VA 24073                          46.77
LAGUNA-CELAYA, MARIA      10318 BATTLE CT         CHARLOTTE, NC 28215                                16.14
LANDES, BRITTANY          2329 COMMONWEALTH DRIVE          CHARLOTTESVILLE, VA 22901                 42.45
LANDRO, SUHEY             1266 W OCEAN VIEW AVE        NORFOLK, VA 23503                             47.98
LANGLOIS, KELLI           402 S ROSE AVE         KANNAPOLIS, NC 28083                                21.25
LAPPIN, GRADEA            6700 CABOT DRIVE      NASHVILLE, TN 37209                                  15.72
LAWSON, ROBERT            76 B KEOWEE RD          IVA, SC 29655                                      22.12
LAWWELL, BRANDON          1510 HUNTINGTON DR. APT CC5 MURFREESBORO, TN 37130                         32.09
LEACH, RODREGUS           476 RIVER HIGHWAY      MOORESVILLE, NC 28117                                3.84
LEBEAU, BRITTANY          900 W WILSON AVE         MOORESVILLE, NC 28117                             68.16
LEE, CONNOR               3100 CHICKAHOMINY ROAD         TOANO, VA 23168                                29
LEE, DEQUINA              158 DUBLIN SQUARE RD        ASHEBORO, NC 27203                             61.29
LEE, QUAJUAN              7048 PROVIDENCE SQUARE DR CHARLOTTE, NC 28270                              74.57
LEE, REBEKAH              1010 EMERALD VALLEY DR        CASTALIAN SPRINGS, TN 37031                   7.48
LENTZ, CARMELLA           21 TIMLIC AVENUE        WINSTON SALEM, NC 27107                            12.02
LIMON-JIMENEZ, MARIA      301 BODENHEIMER DRIVE         BOONE, NC 28608                              57.03
LINDLY, SAGE              876 CULBREATH SMITH RD        ELIZABETHTOWN, NC 28337                      35.57
LINDSEY, JOSHUA           129 TRAIL RIDGE DRIVE      HENDERSONVILLE, TN 37075                         4.02
LINGARD, QUI              2912 JOHN CABOT DR         NORTH CHARLESTON, SC 29406                      84.37
LINK, CASSIE              512 MARTIN LUTHER KING JR ASHEBORO, NC 27203                               43.67
LISS, HARLEY              2023 CROSSWAY CIRCLE         GASTONIA, NC 28054                             2.21
LITTLE, DONITA            123 NEW KENT PLACE         CARY, NC 27511                                   1.14
LOGAN, TIANNA             530 E PRESNELL ST      ASHEBORO, NC 27203                                  77.64
LONG, KYRA                117 RICHLAND AVE        SMYRNA, TN 37167                                    0.16
LOPEZ, APOLONIO           801 ENGLEWOOD ST APT. B       GREENSBORO, NC 27403                          29.6
LOPEZ, CATHERINE          4673 OLD BLUE RIDGE TPKE      SYRIA, VA 22727                              26.72
LOPEZ, DEBRA              179 MERRIMAC TRAIL        WILLIAMSBURG, VA 23185                            6.78
LOWE, DAKOTA              416 SOUTH BEAVER STREET        LANDIS, NC 28088                             87.1
LOWMAN, KIRSTEN           165 RIPPING RUN ROAD        RUCKERSVILLE, VA 22968                          8.35
LOZELL, MATTHEW           123 MARKET RD          MOORESVILLE, NC 28115                                  50
LYLES, FABRIZIO           PO BOX 144           CHINA GROVE, NC 28023                                 49.94
LYONS, JESSICA            439 EWING DRIVE         NASHVILLE, TN 37207                                 6.07
MABRY, SAVANNAH           4789 ONONDAGA RD           VIRGINIA BEACH, VA 23462                        44.26
MACKA, MADISON            2405 NONAVILLE RD        MOUNT JULIET, TN 37122                             9.99
MALSBY, CHRISTIAN         1538 B BROOKE DR         NEWPORT NEWS, VA 23603                            13.24
MANDELL, DARLENE          165 RIPPIN RUN ROAD        CHARLOTTSVILLE, VA 22968                        17.17
MARIANO, GILBERT          2705 HAYSTACK DR          VIRGINIA BEACH, VA 23453                         14.74
MARIN, KIMBERLY           156 FISHER RD         WINSTON SALEM, NC 27101                              13.13
MARKEL, ANISSA            4380 TURNWORTH ARCH           VIRGINIA BEACH, VA 23456                     25.73
MARROW, OCTAVIA           9455 GRANBY ST          NORFOLK, VA 23503                                   3.61
MARRS, MICHELE            1631 ROTARY DR. APT. B      HIGH POINT, NC 27260                            9.55
MARSHALL, ALICE           112 GLENWWOD AVE           BURLINGTON, NC 27215                           343.63
MARTIN, TERESA            9 GALAXY COURT           DURHAM, NC 27705                                  43.49
MARTINEZ, JADAH           2805 OSHANTER PLC          RALEIGH, NC 27604                               35.17
MCALISTER, NASHAJAY       10315 PINESHADOW DR         CHARLOTTE, NC 28262                            74.45
MCCALL, SAVANNAH          32 WELLINGFORD DR          HIGH POINT, NC 27265                            53.56
MCCLAY, PHELISHA          MARTION           CLARKSVILLE, TN 37040                                      4.3
MCCREARY, AAYANAH         1043 FALLVIEW LANE        BOONE, NC 28607                                   1.43
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MCCULLY, SHELLY            302 W. CHESTNUT ST.        STANLEY, NC 28164                                11.83
MCDONALD, FELICIA          2210 RESERVOIR ST         HARRISONBURG, VA 22801                            84.08
MCFADDEN, KENNETH          818 MOTLEY RD           HOPKINS, SC 29061                                    9.52
MCFARLANE, FRANSHELL       1119 MORNINGSIDE PARK DR         GASTONIA, NC 28054                          6.69
MCGILL, JOSLYN             7215 FINN HALL AVE APT 101 CHARLOTTE, NC 28216                              22.19
MCGOWAN, KRISTIN           700S FARMHURST DR           CHARLOTTE, NC 28217                             30.53
MCKENZIE, ALEXIA           4910 NORTH CENTER ST          HICKORY, NC 28601                             42.42
MCLAUGHLIN, CHARLY         1639 VILLAGE BROOK DR         CHARLOTTE, NC 28210                           15.69
MCMAHAN, DEVON             2014 SWEETBRIAR DRIVE         CLARKSVILLE, TN 37043                         59.54
MCSHANE, CIARA             8402 IDLEWILD ROAD         INDIAN TRAIL, NC 28079                            1.01
MEADOWS, TRYNITY           2813 PINEBROOK TRL          ANTIOCH, TN 37013                               39.99
MEDINA, LESLIE             448 HARTNESS RD           STATESVILLE, NC 28677                             23.56
MENEFEE, NIYAH             1759 WOODBROOK PLACE            ROCK HILL, SC 29730                           7.5
MILES, CHANTAL             2705 HAYSTACK DRIVE          VIRGINIA BEACH, VA 23453                        1.58
MILLAN, STEPHANIE          3939 APACHE TRAIL         ANTIOCH, TN 73013                                 26.78
MILLER, ANGEL              808 8TH            SPENCER, NC 28159                                        18.68
MILLER, KENNETH            587 WILDWOOD DR           SPARTANBURG, SC 29301                             13.81
MILLS, NECASIA             1400 KIRK FARM LN        CHARLOTTE, NC 28213                                28.59
MIRA, MISTY                469 LISA SQUARE         VIRGINIA BEACH, VA 23454                            23.57
MIRANDA, ALESIA            15739 HOMECOMING WAY            CHARLOTTE, NC 28278                         22.79
MITCHELL SHANNO, TALIYAH   1628 CASCADE FALLS LANE         WENDELL, NC 27591                            21.6
MITCHELL, TAMMARIA         1963 MILL CREEK DR        VIRGINIA BEACH, VA 23456                           7.02
MOHAMMED, SHANICE          12701 MEADOW CREEK LANE          PINEVILLE, NC 28134                        31.69
MOLINA, JOSE               1508 DICKERSON PK H-3        NASHVILLE, TN 37207                            32.27
MOORE, ASHLEY              801 ENGLEWOOD ST APT. B         GREENSBORO, NC 27403                         8.72
MORALES FLORES, CARLOS     2085 EAST HUDSON BLVD          GASTONIA, NC 28054                            9.23
MORALES TORRES, SUMMER     1602 HAYNES ST          CLARKSVILLE, TN 37042                                5.87
MORALES-TORRES, SUMMER     1602 HAYNES ST          CLARKSVILLE, TN 37042                               15.22
MORRIS, DESTINY            1101 WILLIAMSTON RD         ANDERSON, SC 29621                               4.78
MORRISON, LATISHA          3100 DEARBORN DR           DURHAM, NC 27704                                 58.26
MOUNTAIN, NICHELLE         17 SUMMIT HEIGHTS DR         CLARKSVILLE, TN 37040                           7.47
MURPHY, TENNAH             122 OLIVE STREET         PINEVILLE, NC 28134                                26.06
MURRAY, MEAGAN             840 DWYER RD           VIRGINIA BEACH, VA 23454                              0.55
MYERS, KENNETH             26 EVELYN DR           NEWPORT NEWS, VA 23602                                6.72
NALL, CAMMY                8146 S TRYON ST         CHARLOTTE, NC 28273                                  4.49
NAPPER, NEADRA             716 SADDLETREE DR           WOODRUFF, SC 29388                               5.22
NEGRETE, JAVIER            7554 QUAIL WOOD DRIVE         CHARLOTTE, NC 28226                           13.98
NEUMANN, KIMBERLY          130 LOWDER DRIVE          NEBO, NC 28761                                    469.8
NEWKIRK, JUSTIN            JKNEWKIRK92GMAILCOM            319 GEDDIT AVE, NC 27886                     10.13
NEWSOME, KEVIN             856 SANTIATO DRIVE         FAYETTEVILLE, NC 28314                           37.65
NGUYEN, BRANDON            5816 SILVER EAGLE DR        CHARLOTTE, NC 28214                             12.05
NICHOLSON, TAMEKA          1815 UNITY DRIVE        STATESVILLE, NC 28625                                0.21
NICKLOW, KAYA              407 LAKESIDE DRIVE        GARNER, NC 27529                                  18.03
NORRIS, LATYRA             135 COLEMONT COURT            ANTIOCH, TN 37013                              4.84
OLIVARES, ADRIANA          1114 RALEIGH CT         HIGH POINT, NC 27262                                21.34
OLIVER, KIYA               5767 HWY 150 E         DENVER, NC 28037                                     71.73
ORGAN, AMIE                2214 ELLISTON PLACE        NASHVILLE, TN 37203                               13.9
ORR, ALIYA                 1577 BAYMEADOWS AVE            CONCORD, NC 28027                            73.65
OWENS, SIERRA              3430 RAINTREE DR       HUDSON, NC 28638                                     12.24
PAGE, SHANTAYA             10211 RATTERSLY CT          CHARLOTTE, NC 28277                             29.73
PAINTER, TIMBERLAND        516 KERR ST          STATESVILLE, NC 28677                                  39.86
PALVADO, FLORA             1015 WEST AVE          GALLATIN, TN 37066                                    4.13
PARADA, CHELSIE            3604 EPPERLY CT          RALEIGH, NC 27616                                     12
PARHAM, AVANTE             333 ALEXANDER STREET          MOORESVILLE, NC 28115                          3.96
PARKER, ANGELA             6466 BEULAH CHURCH RD          LIBERTY, NC 27298                             8.99
PARKER, KARLIYAH           422 SEDGEWICK CT       VIRGINIA BEACH, VA 23454                             79.68
PARR, RANEY                8940 HINSHAW SHOP RD          LIBERTY, NC 27298                             39.76
PARRISH, DAEDRA            530 HIETTS LANE UNIT A      CLARKSVILLE, TN 37043                            0.13
PAYNE, MICHAEL             2009 QUEEN MARY CT          VIRGINIA BEACH, VA 23454                        10.58
PEAN, IMANI                1000 17TH AVENUE NORTH         NASHVILLE, TN 37208                          27.61
PEARSON, AJA               3277 FORK CREEK LANE          CLAREMONT, NC 28610                            3.52
PEARSON, RANDI             480 ROSEMAN ROAD            SALISBURY, NC 28147                              3.01
PELTONEN, ABIGAEL          5094 KRATZER RD          ROCKINGHAM, VA 22802                              148.78
PENA, BRIANNE              1100 ROBEY ST          RADFORD, VA 24141                                    18.08
PERDUE, AMANDA             3484 HOLLOW POND ROAD           HAYES, VA 23072                             22.04
PEREZ-JARAMILLO, CYNTHIA   516 KERNODLE DRIVE          GRAHAM, NC 27253                                 98.3
PERRY, DANNIELLE           43 HIGHLAND WAY           FRANKLINTON, NC 27525                              1.43
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PERRY, JASMINE             6269 OLD MOORTOWN RD          WILLIAMSBURG, VA 23185                        40.8
PERRY, WILLIAM             6546 QUAIL HOLLOW ROAD        CHARLOTTE, NC 28210                          33.25
PERSON, RANDI              118 E SOUTH ST     RALEIGH, NC 27601                                        7.66
PETERS, JAMIE              380 HARDING PLACE         NASHVILLE, TN 37211                              11.19
PETERSOHN, WAYNE           1526 RIDGE RD         CHARLOTTE, NC 28262                                 376.32
PHILLIPPE, DEJA            1116 EDGEDALE DR         SALISBURY, NC 28144                               56.51
PICADO, SUSAN              5177 MAGNOLIA TREE LN        CHARLOTTE, NC 28215                           11.52
PINCKNEY, LYZETTE          901 WILMINGTON AVENUE         STATESVILLE, NC 28677                         3.93
PINEDA CUELLAR, HUMBERTO   9040 ROBINS NEST WAY        SUMMERVILLE, SC 29485                          220.1
PINKNEY, ANYSSA            3911 CAPE HENRY AVE        NORFOLK, VA 23513                               96.41
PIRTLE, KAYLA              1121 BELL RD         ANTIOCH, TN 37013                                     29.59
POLLARD, ANTHONY           411 YORK ST.         WILLIAMSBURG, VA 23185                               118.66
PONDER, SETH               328 ABBY LANE         ASHEBORO, NC 27205                                   11.43
PONGE, MARISA              408 MICHELLE LINNEA DR APT9 CHARLOTTE, NC 28262                            26.25
POPE, SHARON               4660 ANDY HICKS RD        BANNER ELK, NC 28607                              8.97
POST, SHAWN                2752 RENAISSANCE WAY         VIRGINIA BEACH, VA 23456                       7.54
POWELL, AUSTIN             626 HILLTOP DR       RALEISH, NC 27610                                     16.07
PRESTON, MONICA            4172 BRISTOL PL NW       CONCORD, NC 28027                                  8.25
PRICE, CHELSEA             5217 COPPER CREEK CT         CHARLOTTE, NC 28227                           38.65
PRINDLE, MERANDA           712 WARWICK AVE          NORFOLK, VA 23503                                  9.53
QUANDER, KAI               3940 BLAINE ST NE       WASHINGTON DC 20019                                 9.05
QUINONES RODRIG, JOHNNY    488 COPPER BEECH CIR        HARRISONBURG, VA 22801                          9.89
RAKES, SHANIA              99 JAN RAE CIR        WILLIAMSBURG, VA 23185                                9.51
RAMON-GONZALEZ, VALERIA    53184 GASKILL CT E     SHELBY TOWNSHIP, MI 48316                           39.53
RAMOS, ANNABEL             1912 MISS ELLIE DR      GREENSBORO, NC 27405                                0.14
RECINOS, MARIO             429 MONCURE DRIVE       CHARLOTTE, NC 28216                                22.53
REDDING, CAMREN            2605 PEMBROKE RD          GASTONIA, NC 28054                               19.22
REPASS, RHADERICA          1339 SOUTH MAIN ST        HARRISONBURG, VA 22801                           28.14
REVLETT, VICKIE            811 TUCKAHOE DR MADISON T MADISON, TN 37115                                84.27
RHODES, MARIA              1708 A 25TH AVE       NASHVILLE, TN 37208                                  22.94
RICE, CHELSEY              4224 TIMBERBROOK DR         RALEISH, NC 27610                               26.5
RICE, PEGGY                303 TWIN FALLS DRIVE      SIMPSONVILLE, SC 29680                            5.91
RICH, JESSICA              105 RIA CT         SHELBY, NC 28152                                          9.9
RICHARDSON, AMBER          66 RICKIE DAVY LN       CAPON BRIDGE, WV 26711                             14.68
RIDDLE, JESSICA            444 GUYNN AVE          CHESAPEAKE, VA 23323                                45.19
RINCON-BARQUERO, ANDRES    1819B FAIRVIEW ST       BURLINGTON, NC 27215                                0.44
ROA GERONIMO, CARLOS       3808 E STEEPLECHASE WAY        WILLIAMSBURG, VA 23188                      65.65
ROBBINS, ANGEL             286 CAROLINA ACRES RD        LEXINGTON, NC 27295                            0.02
ROBINSON, ALEXIS           11 SIDEWINDER CT       WILLIAMSBURG, VA 23185                             101.37
ROBINSON, JEHANNE          7113 ELWOOD RD         SUFFOLK, VA 23437                                   76.95
ROBLETO, ZEYRA             12011 STEWART CROSSING DR CHARLOTTE, NC 28215                              31.83
ROGERS, MICHAEL            2620 MARTIN LUTHER KING K ELIZABETHTOWN, NC 28337                          46.29
ROGERS, STEPHANIE          230CAROLINA AVE        CONCORD, NC 28025                                   26.65
ROJAS, BRANDON             4820 CHESNEY STREET NW        CONCORD, NC 28027                             1.74
ROSALES, CARLOS            107 SINKING CREEK CIRCLE      LAVERGNE, TN 37086                          140.19
ROSCOE, CHEYENNE           351 BELLE VALLEY DR       NASHVILLE, TN 37209                               9.27
ROSE, AIDEN                1416 DECATUR DR      CHARLOTTESVILLE, VA 22911                             89.59
ROSE, WILLIAM              57 LYNWOOD CIRCLE          CLARKSVILLE, TN 37040                           33.73
ROSS, KIMBERLY             1024 COVE BRIDGE RD        RALEIGH, NC 27604                               31.24
RUSSELL, TAMARALYNN        1003 43RD AVE         NASHVILLE, TN 37209                                  86.17
RUTH, KRISTINN             1965 EASTWOOD VILLA LN       VIRGINIA BEACH, VA 23454                      44.79
RUTLEDGE, JAYLYN           5401 COTTON TOP COURT         WAXHAW, NC 28173                             68.09
SALINAS, MARIA             6513 WILDGROVE DR         ANTIOCH, TN 37013                                 15.1
SAMPLE, DONAVEN            6079 LEBANON RD        MURFREESBORO, TN 37129                               23.6
SANCHEZ, JUAN              11747 OLD NASHVILLE HWY APTB-8 SMYRNA, TN 37167                               20
SANSONE, CRYSTAL           1114 WILSON LEE BLVD       STATEVILLE, NC 28677                            30.14
SCHAEFER, APRIL            6 COUNTRY MANOR DR           THOMASVILLE, NC 27360                         91.46
SCHAFER, SIERRA            1820 COLONIAL ARMS CR 3B      VIRGINIA BEACH, VA 23454                     46.58
SCHMELZINGER, SHAQUILLE    422 TAMPA DR         NASHVILLE, TN 37211                                    27.4
SCHOLZ, ROBERT             232 PANAMINT DR      ANTIOCH, TN 37013                                     21.76
SCOUTEN, MELENDA           1004 GRANADA RD          ASHLAND CITY, TN 37015                             7.01
SEARSON, DONALD            206 SIREDELL AV        e spencer, nc 28159                                229.02
SENSING, DESIRAE           806 JOSEPHINE ST      SPRINGFIELD, TN 37172                                17.89
SHARPE, COURTNEY           723 20TH STEET        VIRGINIA BEACH, VA 23451                             39.24
SHELTON, JOLISA            1902 BOROWOOD DR           NASHVILLE, TN 37217                              0.73
SHERRON, SARA              503 FORREST ST         HILLSBOROUGH, NC 27278                               4.32
SHIELDS, JULIANNA          2605 PEMBROKE RD       GASTONIA, NC 28054                                  38.97
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SHORT, REBECCA                66 BECKY LANE        MILL SPRING, NC 28756                                21.41
SIC, ALISA                    1300 JENKINS AVE        CHARLOTTE, NC 28211                               42.38
SIGNAL, TAMECA                814DILLARD ST         GREENSBORO, NC 27406                                14.52
SINGER, TRACY                 902 GREENLAND DR          MURFREESBORO, TN 37130                          14.17
SITES, MCKAYLA                30 EDEN RD        LURAY, VA 22835                                          2.71
SLATTERY, MELENIE             6045 WEANT RD          ARCHDALE, NC 27263                                 13.27
SMITH, ANGELA                 910 LAKEVIEW AVENUE DAVID DAVIDSON, NC 28035                              18.88
SMITH, BRANDON                601 PEACHERS MILL RD APT 2 CLARKSVILLE, TN 37042                          63.88
SMITH, DAILIA                 17029 COMMONS CREEK DR.        CHARLOTTE, NC 28277                       111.18
SMITH, KA                     2224 JENNINGS ST      CHARLOTTE, NC 28216                                 32.71
SMITH, LISA                   902 BLANK ST        NASHVILLE, TN 37208                                   26.03
SMITH, MORGAN                 600 BALDWIN CT         NASHVILLE, TN 37207                                85.98
SMITH, NIGERIA                10303 TAVERNAY PARKWAY        CHARLOTTE, NC 28262                          7.32
SMITH, SYLVIA                 476 RIVER HIGHWAY        MOORESVILLE, NC 28117                             6.34
SNIDER, LINDSEY               7000 EBIZEIZER CHURCH RD      RALEIGH, NC 27612                            53.8
SOLIS, JONATHON               3303 WARWICK DRIVE        JAMESTOWN, NC 27282                              28.1
SORRELL, MATTHEW              429 N MAIN ST        SALISBURY, NC 28144                                  17.85
SPEIGHT, NIKAI                3595 WEST KING STREET APT. 6A BOONE, NC 28607                              0.74
STEWART, TAYLOR               8146 S TRYON STREET        CHARLOTTE, NC 28273                            42.64
STILES, JESSICA               1026 GLENFIDDICH DRIVE      CHARLOTTE, NC 28215                            27.5
STRATTON, TESSA               400 CHANEY ROAD        SMYRNA, TN 37167                                    11.9
STRICKLAND, KADARIUS          2530 LIBERTON COURT        CHARLOTTE, NC 28216                             4.22
SUMMERS, NAKIYAH              279 DRUMSTAND RD.         STONY POINT, NC 28678                           19.61
SUTTON, SHARONA               1700 SHELBY ROAD        KINGS MOUNTAIN, NC 28086                           8.55
SWAIN, CATHERINE              1768 BOX ELDER ARCH        VIRGINIA BEACH, VA 23454                       13.93
SWINDLEHURST, SARAH           6924 COLONIAL GARDEN DR       HUNTERSVILLE, NC 28078                       0.41
TALLEY-POZEG, RYAN            798 FRANKLIN PIKE       FLOYD, VA 24091                                     1.5
TANGPAITOONSAKU, PRAPATSORN   5351 RICHMOND RD         WILLIAMSBURG, VA 23188                           11.75
TATE, CHERYL                  2225 WILLIAMSPORT PK       COLUMBIA, TN 38401                              7.43
TATE, TIMAYA                  1631FERNWOOD GLENDALE RD         SPARTANBURG, SC 29307                     2.99
TAYLOR, JUMAMO                4615 FOREST RIDGE DR       HERMITAGE, TN 37076                            510.5
THOMPSON, LACARLA             100 PRINCE HALL LN       SPARTANBURG, SC 29306                             6.38
THOMPSON, MAKYLA              415 TUSCULUM RD. E3       NASHVILLE, TN 37211                             59.33
THORN, SHAUN                  400 CHANEY ROAD          SMYRNA, TN 37167                                 14.77
TILLMAN, SYDNEY               10 APPLETREE ROAD         PALMYRNA, VA 22963                              24.32
TORGERSON, GYPSY              305 MONUMENT AVE          HARRISONBURG, VA 22801                          17.43
TORMOEHLEN, BRITTNEY          3481 SAM BONEY DR         NASHVILLE, TN 37211                            169.69
TORRES, ALEXIS                2501 PENNSYLVANIA AVE.      KANNAPOLIS, NC 28081                          66.23
TORRES, NATALIE               343 WILSHIRE AVE SW       CONCORD, NC 28025                               10.23
TOVAR, MINNIE                 1320 WEBSTER ST         GALLATIN, TN 37066                               121.91
TURNER, SHANNON               6706 ARVIN AVE     JAMESTOWN, NC 27282                                     0.15
TYSON, ELIJAH                 1503 SOUTH RIDGE AVE       KANNAPOLIS, NC 28083                            0.16
VARGAS, EDDIE                 HARDING PL           NASHVILLE, TN 37211                                  26.78
VAZQUEZ, YONATHAN             3924 GREEN ROAD          RALEIGH, NC 27604                                 39.9
VILLELA, JORGE                4427 NORTHAVEN        CHARLOTTE, NC 28206                                 24.04
VILORIO, BRIAN                1361 MUTUAL DR         CLARKSVILLE, TN 37042                              18.66
WALKER, ARTAVIA               211 BROAD STREET         SHELBY, NC 28152                                 65.38
WALKER, DYRON                 103 W HARRISON AVE        GASTONIA, NC 28052                               1.23
WALKER, JONATHAN              105 TILGHMAN CT APT B      WILLIAMSBURG, VA 23188                         57.34
WALKER, KENDRIA               960 EAST HAPPY HOLLOW DR       CLARKSVILLE, TN 37043                      67.46
WALKER, LENA                  1600 HARTFORD DRIVE        CHARLOTTE, NC 28207                            72.86
WALLACE, VICTORIA             1226 PENNIMAN ROAD         WILLIAMSBURG, VA 23185                         12.28
WALTERS, SAMANTHA             420 HOFFMAN LANE         SALISBURY, NC 28147                              19.41
WALTON, NICOLE                7648 GARNERS FERRY RD        COLUMBIA        SC29209                      17.53
WARDLOW, MICHAEL              310 PIERCE DR         WINSTON SALEM, NC 27107                              38.3
WARF, MADISON                 4960 JONES VALLEY RD       WILLIAMSPORT, TN 38487                         12.29
WARREN, DESHAWNTE             1115 E RUSSELL AVE       HIGH POINT, NC 27260                              4.35
WASHINGTON, PATRICIA          3315 DUNN COMMONS PKWY          CHARLOTTE, NC 28216                       10.97
WATSON, BRIANNIE              5129 GRAPEVINE DRIVE       CHARLOTTE, NC 28217                            33.86
WATSON, MONIQUE               6114 GOLDENFIELD DR        CHARLOTTE, NC 28269                            34.32
WATSON, NIKIYA                1701 WEST BOULEVARD APT A4 CHARLOTTE, NC 28208                             0.43
WATSON, SAMANTHA              491 FEEZOR RD LOT 11      LEXINGTON, NC 27292                               0.5
WEAVER, ARDEN                 2243 JOANN DR         SPRING HILL, TN 37174                               19.94
WEBB, DESTINY                 884 HILLSIDE AVENUE       HARRISONBURG, VA 22802                          12.07
WELCH, CHRISTY                1611 EAST COLE STREET       GASTONIA, NC 28054                             2.26
WELLS, BRYANA                 3156 CENTRAL AVE         CHARLOTTE, NC 28205                               0.49
WEST, COURTNEY                2568 HENRY FALLS DR       HICKORY, NC 28602                              209.46
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WEST, DANEEN              7814 EAST BERKELEYS DRIVE DENVER, NC 28037                              27.36
WHIPPLE, IAN              1801 CHASWOOD DRIVE        CHARLOTTE, NC 28212                         230.87
WHISNANT, JAIDA           1345 WENLON DR         MURFREESBORO, TN 37130                           33.54
WICKIZER, CHARLES         225 WINDBROOKE LN       VIRGINIA BEACH, VA 23462                        19.46
WILBANKS, ALANA           1002 44TH AVE N       NASHVILLE, TN 37209                               21.95
WILKINS, TIARA            3215 CAPITAL BLVD APT#239 RALEIGH, NC 27604                              8.61
WILLIAMS, SARAH           11524 CHAPECLANE RD        CHARLOTTE, NC 28278                           1.11
WILLIAMS, TRACEY          241 BENNS ROAD          NEWPORT NEWS, VA 23601                          10.24
WILSON, MARY              163 MAGIC FOREST DRIVE      TROUTMAN, NC 28166                          24.08
WOBENSMITH, WENDI         1006 BETTY LOU LN.      LAVERGNE, TN 37086                                1.2
WRIGHT, DEMONICA          116 DREW ROAD          WILLIAMSBURG, VA 23185                            0.57
WRIGHT, VICTORIA          4772 WORDEN DR          SPARTANBURG, SC 29301                           31.29
YARRELL, LAKESHA          10121 FOREST LANDING DR      CHARLOTTE, NC 28213                         13.3
ZAKI, NARDIN              2304 LAZY RIVER DR       RALEIGH, NC 27610                              61.01
ZAPATA, JASMINE           8319 HOLLISTER HILLS DR    RALEIGH, NC 27616                            75.66
ZARROUKI, ZAHRA           6701 SUMMERGOLD WAY         CHARLOTTE, NC 28269                          2.83
ZURITA, DOMINGO           2654 PEMBROKE RD APT 5      GASTONIA, NC 28054                           1.55

TOTAL                                                                                          19950.98
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 Fill in this information to identify the case:

 Debtor name         CFRA, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03609-CPM
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Franchise Agreements,
              lease is for and the nature of              Equipment Leases,
              the debtor's interest                       Leases and Subleaess

                  State the term remaining

              List the contract number of any                                        see attached
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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Debtor: CFRA, LLC
United States Bankruptcy Court for the: Middle District of Florida
Case Number: 8:20-bk-03609-CPM

Attachment to Schedule G: Executory Contracts and Unexpired Leases

Nature of Contract/Lease                         Counterparty Name and Address
Franchise Agreement – Store #419                 IHOP Restaurants LLC
1031 Assembly Street                             450 North Brand Blvd., 7th Floor
Columbia, SC 29201                               Glendale, CA 91203
Franchise Agreement – Store #470                 International House of Pancakes, Inc.
4098 Nolensville Pike                            450 North Brand Blvd., 7th Floor
Nashville, TN 37211                              Glendale, CA 91203
Franchise Agreement – Store #476                 International House of Pancakes, Inc.
2219 Gallatin Pike N.                            450 North Brand Blvd., 7th Floor
Madison, TN 37115                                Glendale, CA 91203
Franchise Agreement – Store #477                 International House of Pancakes, Inc.
9940 Pineville-Matthews Road                     450 North Brand Blvd., 7th Floor
Pineville, NC 28134                              Glendale, CA 91203
Franchise Agreement – Store #491                 IHOP Franchisor LLC
1101 Linda Drive                                 450 North Brand Blvd., 7th Floor
Greensboro, NC 27407                             Glendale, CA 91203
Franchise Agreement – Store #492                 IHOP Franchisor LLC
9253 E. Independence Blvd.                       450 North Brand Blvd., 7th Floor
Matthews, NC 28105                               Glendale, CA 91203
Franchise Agreement – Store #494                 International House of Pancakes, Inc.
1661 E. Broad Street                             450 North Brand Blvd., 7th Floor
Statesville, NC 28625                            Glendale, CA 91203
Franchise Agreement – Store #498                 IHOP Franchisor LLC
900 Longpine Road                                450 North Brand Blvd., 7th Floor
Burlington, NC 27215                             Glendale, CA 91203
Franchise Agreement – Store #530                 IHOP Franchisor LLC
1412 Richmond Road                               450 North Brand Blvd., 7th Floor
Williamsburg, VA 23185                           Glendale, CA 91203
Franchise Agreement – Store #574                 International House of Pancakes, Inc.
65 Peppers Ferry Road NW                         450 North Brand Blvd., 7th Floor
Christiansburg, VA 24073                         Glendale, CA 91203
Franchise Agreement – Store #585                 International House of Pancakes, Inc.
1540 General Booth Blvd.                         450 North Brand Blvd., 7th Floor
Virginia Beach, VA 23454                         Glendale, CA 91203
Franchise Agreement – Store #587                 International House of Pancakes, Inc.
109 University Blvd.                             450 North Brand Blvd., 7th Floor
Harrisonburg, VA 22801                           Glendale, CA 91203
Franchise Agreement – Store #595                 International House of Pancakes, Inc.
1740 Rio Hill Center                             450 North Brand Blvd., 7th Floor
Charlottesville, VA 22901                        Glendale, CA 91203
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Nature of Contract/Lease                       Counterparty Name and Address
Franchise Agreement – Store #597               International House of Pancakes, Inc.
170 Front Royale Pike                          450 North Brand Blvd., 7th Floor
Winchester, VA 22602                           Glendale, CA 91203
Franchise Agreement – Store #2027              International House of Pancakes, Inc.
747 East Rouchambeau Drive                     450 North Brand Blvd., 7th Floor
Williamsburg, VA 23188                         Glendale, CA 91203
Franchise Agreement – Store #3105              International House of Pancakes, Inc.
700 E. Dixon Blvd.                             450 North Brand Blvd., 7th Floor
Shelby, NC 28152                               Glendale, CA 91203
Franchise Agreement – Store #3139              IHOP Franchisor LLC
16815 Caldwell Creek Drive                     450 North Brand Blvd., 7th Floor
Huntersville, NC 28078                         Glendale, CA 91203
Franchise Agreement – Store #3218              IHOP Franchising, LLC
779 Team Blvd.                                 450 North Brand Blvd., 7th Floor
Smyrna, TN 37167                               Glendale, CA 91203
Franchise Agreement – Store #3326              IHOP Franchise Company, LLC
6800 Charlotte Pike, Suite 117                 450 North Brand Blvd., 7th Floor
Nashville, TN 37209                            Glendale, CA 91203
Franchise Agreement – Store #3327              IHOP Franchise Company, LLC
336 S. Sharon Amity Road                       450 North Brand Blvd., 7th Floor
Charlotte, NC 28211                            Glendale, CA 91203
Franchise Agreement – Store #3367              IHOP Franchise Company, LLC
478 River Highway                              450 North Brand Blvd., 7th Floor
Mooresville, NC 28117                          Glendale, CA 91203
Franchise Agreement – Store #3383              IHOP Franchise Company, LLC
1203 Murfreesboro Road, Suite 190              450 North Brand Blvd., 7th Floor
Franklin, TN 37064                             Glendale, CA 91203
Franchise Agreement – Store #3423              International House of Pancakes, LLC
16015-A Lancaster Highway                      450 North Brand Blvd., 7th Floor
Charlotte, NC 28277                            Glendale, CA 91203
Franchise Agreement – Store #3427              International House of Pancakes, LLC
2214 Elliston Place                            450 North Brand Blvd., 7th Floor
Nashville, TN 37203                            Glendale, CA 91203
Franchise Agreement – Store #3450              International House of Pancakes, LLC
825 Nashville Highway, Suite D                 450 North Brand Blvd., 7th Floor
Gallatin TN 37060                              Glendale, CA 91203
Franchise Agreement – Store #3453              International House of Pancakes, LLC
5335 Ballantyne Commons Pkwy, #200             450 North Brand Blvd., 7th Floor
Charlotte, NC 28277                            Glendale, CA 91203
Franchise Agreement – Store #3472              International House of Pancakes, LLC
702 Blowing Rock Road                          450 North Brand Blvd., 7th Floor
Boone, NC 28607                                Glendale, CA 91203
Franchise Agreement – Store #3487              IHOP Franchisor LLC
3001 Hillsborough Street                       450 North Brand Blvd., 7th Floor
Raleigh, NC 27607                              Glendale, CA 91203
       Case 8:20-bk-03608-CPM       Doc 110     Filed 06/03/20    Page 200 of 210




Nature of Contract/Lease                      Counterparty Name and Address
Franchise Agreement – Store #3488             IHOP Franchisor LLC
5815 Highland Shoppes Dr.                     450 North Brand Blvd., 7th Floor
Charlotte, NC 28269                           Glendale, CA 91203
Franchise Agreement – Store #3502             International House of Pancakes, LLC
1602 Haynes Street                            450 North Brand Blvd., 7th Floor
Clarksville, TN 37043                         Glendale, CA 91203
Franchise Agreement – Store #4403             International House of Pancakes, Inc.
1295 Silas Creek Parkway                      450 North Brand Blvd., 7th Floor
Winston-Salem, NC 27127                       Glendale, CA 91203
Franchise Agreement – Store #4405             International House of Pancakes, Inc.
504 Cox Road                                  450 North Brand Blvd., 7th Floor
Gastonia, NC 28054                            Glendale, CA 91203
Franchise Agreement – Store #4407             International House of Pancakes, Inc.
110 E. Parris Avenue                          450 North Brand Blvd., 7th Floor
High Point, NC 27262                          Glendale, CA 91203
Franchise Agreement – Store #4408             International House of Pancakes, Inc.
3009 Capital Blvd.                            450 North Brand Blvd., 7th Floor
Raleigh, NC 27604                             Glendale, CA 91203
Franchise Agreement – Store #4414             International House of Pancakes, Inc.
2415 US 70 SE                                 450 North Brand Blvd., 7th Floor
Hickory, NC 28602                             Glendale, CA 91203
Franchise Agreement – Store #4416             IHOP Franchisor LLC
3191 N. Main Street                           450 North Brand Blvd., 7th Floor
Anderson, SC 29621                            Glendale, CA 91203
Franchise Agreement – Store #4417             International House of Pancakes, Inc.
800 Cloverleaf Plaza                          450 North Brand Blvd., 7th Floor
Kannapolis, NC 28083                          Glendale, CA 91203
Franchise Agreement – Store #4423             International House of Pancakes, Inc.
105 Faith Road                                450 North Brand Blvd., 7th Floor
Salisbury, NC 28146                           Glendale, CA 91203
Franchise Agreement – Store #4424             International House of Pancakes, Inc.
817 First Colonial Road                       450 North Brand Blvd., 7th Floor
Virginia Beach, VA 23451                      Glendale, CA 91203
Franchise Agreement – Store #4431             International House of Pancakes, Inc.
134 W. Woodlawn Road                          450 North Brand Blvd., 7th Floor
Charlotte, NC 28217                           Glendale, CA 91203
Franchise Agreement – Store #4442             International House of Pancakes, Inc.
5016 Old Hickory Blvd.                        450 North Brand Blvd., 7th Floor
Hermitage, TN 37076                           Glendale, CA 91203
Franchise Agreement – Store #4448             International House of Pancakes, Inc.
8135 Warren H. Abernathy Hwy.                 450 North Brand Blvd., 7th Floor
Spartansburg, SC 29301                        Glendale, CA 91203
Franchise Agreement – Store #4451             International House of Pancakes, Inc.
5420 Target Drive                             450 North Brand Blvd., 7th Floor
Antioch, TN 37013                             Glendale, CA 91203
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Nature of Contract/Lease                      Counterparty Name and Address
Franchise Agreement – Store #4458             International House of Pancakes, Inc.
1106 East Dixie Drive                         450 North Brand Blvd., 7th Floor
Asheboro, NC 27203                            Glendale, CA 91203
Franchise Agreement – Store #4505             International House of Pancakes, Inc.
1821 N. Pointe Drive                          450 North Brand Blvd., 7th Floor
Durham, NC 27705                              Glendale, CA 91203
Franchise Agreement – Store #4506             International House of Pancakes, Inc.
8146 S. Tryon Street                          450 North Brand Blvd., 7th Floor
Charlotte, NC 28273                           Glendale, CA 91203
Sublease – Store #470                         IHOP Properties, Inc.
4098 Nolensville Pike                         450 North Brand Blvd., 7th Floor
Nashville, TN 37211                           Glendale, CA 91203
Sublease – Store #476                         IHOP Properties, Inc.
2219 Gallatin Pike N.                         450 North Brand Blvd., 7th Floor
Madison, TN 37115                             Glendale, CA 91203
Sublease – Store #477                         IHOP Properties, Inc.
9940 Pineville-Matthews Road                  450 North Brand Blvd., 7th Floor
Pineville, NC 28134                           Glendale, CA 91203
Sublease – Store #491                         IHOP Properties, Inc.
1101 Lanada Drive                             450 North Brand Blvd., 7th Floor
Greensboro, NC 27407                          Glendale, CA 91203
Sublease – Store #492                         IHOP Properties, Inc.
9253 E. Independence Blvd.                    450 North Brand Blvd., 7th Floor
Matthews, NC 28105                            Glendale, CA 91203
Sublease – Store #498                         IHOP Properties, Inc.
900 Longpine Road                             450 North Brand Blvd., 7th Floor
Burlington, NC 27215                          Glendale, CA 91203
Sublease – Store #574                         IHOP Properties, Inc.
65 Peppers Ferry Road NW                      450 North Brand Blvd., 7th Floor
Christiansburg, VA 24073                      Glendale, CA 91203
Sublease – Store #585                         IHOP Properties, Inc.
1540 General Booth Blvd.                      450 North Brand Blvd., 7th Floor
Virginia Beach, VA 23454                      Glendale, CA 91203
Sublease – Store #587                         IHOP Properties, Inc.
109 University Blvd.                          450 North Brand Blvd., 7th Floor
Harrisonburg, VA 22801                        Glendale, CA 91203
Sublease – Store #595                         IHOP Properties, Inc.
1740 Rio Hill Center                          450 North Brand Blvd., 7th Floor
Charlottesville, VA 22901                     Glendale, CA 91203
Sublease – Store #4403                        IHOP Properties, Inc.
1295 Silas Creek Parkway                      450 North Brand Blvd., 7th Floor
Winston-Salem, NC 27127                       Glendale, CA 91203
Sublease – Store #4405                        IHOP Properties, Inc.
504 Cox Road                                  450 North Brand Blvd., 7th Floor
Gastonia, NC 28054                            Glendale, CA 91203
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Nature of Contract/Lease                  Counterparty Name and Address
Sublease – Store #4407                    IHOP Properties, Inc.
110 E. Parris Avenue                      450 North Brand Blvd., 7th Floor
High Point, NC 27262                      Glendale, CA 91203
Sublease – Store #4408                    IHOP Properties, Inc.
3009 Capital Blvd.                        450 North Brand Blvd., 7th Floor
Raleigh, NC 27604                         Glendale, CA 91203
Sublease – Store #4414                    IHOP Properties, Inc.
2415 US 70 SE                             450 North Brand Blvd., 7th Floor
Hickory, NC 28602                         Glendale, CA 91203
Sublease – Store #4416                    IHOP Properties, Inc.
3191 N. Main Street                       450 North Brand Blvd., 7th Floor
Anderson, SC 29621                        Glendale, CA 91203
Sublease – Store #4417                    IHOP Properties, Inc.
800 Cloverleaf Plaza                      450 North Brand Blvd., 7th Floor
Kannapolis, NC 28083                      Glendale, CA 91203
Sublease – Store #4423                    IHOP Properties, Inc.
105 Faith Road                            450 North Brand Blvd., 7th Floor
Salisbury, NC 28146                       Glendale, CA 91203
Sublease – Store #4424                    IHOP Properties, Inc.
817 First Colonial Road                   450 North Brand Blvd., 7th Floor
Virginia Beach, VA 23451                  Glendale, CA 91203
Sublease – Store #4431                    IHOP Properties, Inc.
134 W. Woodlawn Road                      450 North Brand Blvd., 7th Floor
Charlotte, NC 28217                       Glendale, CA 91203
Sublease – Store #4442                    IHOP Properties, Inc.
5016 Old Hickory Blvd.                    450 North Brand Blvd., 7th Floor
Hermitage, TN 37076                       Glendale, CA 91203
Sublease – Store #4448                    IHOP Properties, Inc.
8135 Warren H. Abernathy Hwy.             450 North Brand Blvd., 7th Floor
Spartansburg, SC 29301                    Glendale, CA 91203
Sublease – Store #4451                    IHOP Properties, Inc.
5420 Target Drive                         450 North Brand Blvd., 7th Floor
Antioch, TN 37013                         Glendale, CA 91203
Sublease – Store #4458                    IHOP Properties, Inc.
5420 Target Drive                         450 North Brand Blvd., 7th Floor
Antioch, TN 37013                         Glendale, CA 91203
Sublease – Store #4505                    IHOP Properties, Inc.
5420 Target Drive                         450 North Brand Blvd., 7th Floor
Antioch, TN 37013                         Glendale, CA 91203
Sublease – Store #4506                    IHOP Properties, Inc.
8146 S. Tryon Street                      450 North Brand Blvd., 7th Floor
Charlotte, NC 28273                       Glendale, CA 91203
Equipment Lease – Store #470              IHOP Properties, Inc.
4098 Nolensville Pike                     450 North Brand Blvd., 7th Floor
Nashville, TN 37211                       Glendale, CA 91203
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Nature of Contract/Lease                  Counterparty Name and Address
Equipment Lease – Store #476              IHOP Properties, Inc.
2219 Gallatin Pike N.                     450 North Brand Blvd., 7th Floor
Madison, TN 37115                         Glendale, CA 91203
Equipment Lease – Store #477              IHOP Properties, Inc.
9940 Pineville-Matthews Road              450 North Brand Blvd., 7th Floor
Pineville, NC 28134                       Glendale, CA 91203
Equipment Lease – Store #491              IHOP Properties, Inc.
1101 Lanada Drive                         450 North Brand Blvd., 7th Floor
Greensboro, NC 27407                      Glendale, CA 91203
Equipment Lease – Store #492              IHOP Properties, Inc.
9253 E. Independence Blvd.                450 North Brand Blvd., 7th Floor
Matthews, NC 28105                        Glendale, CA 91203
Equipment Lease – Store #498              IHOP Properties, Inc.
900 Longpine Road                         450 North Brand Blvd., 7th Floor
Burlington, NC 27215                      Glendale, CA 91203
Equipment Lease – Store #574              IHOP Properties, Inc.
65 Peppers Ferry Road NW                  450 North Brand Blvd., 7th Floor
Christiansburg, VA 24073                  Glendale, CA 91203
Equipment Lease – Store #585              IHOP Properties, Inc.
1540 General Booth Blvd.                  450 North Brand Blvd., 7th Floor
Virginia Beach, VA 23454                  Glendale, CA 91203
Equipment Lease – Store #587              IHOP Properties, Inc.
109 University Blvd.                      450 North Brand Blvd., 7th Floor
Harrisonburg, VA 22801                    Glendale, CA 91203
Equipment Lease – Store #595              IHOP Properties, Inc.
1740 Rio Hill Center                      450 North Brand Blvd., 7th Floor
Charlottesville, VA 22901                 Glendale, CA 91203
Equipment Lease – Store #4403             IHOP Properties, Inc.
1295 Silas Creek Parkway                  450 North Brand Blvd., 7th Floor
Winston-Salem, NC 27127                   Glendale, CA 91203
Equipment Lease – Store #4405             IHOP Properties, Inc.
504 Cox Road                              450 North Brand Blvd., 7th Floor
Gastonia, NC 28054                        Glendale, CA 91203
Equipment Lease – Store #4407             IHOP Properties, Inc.
110 E. Parris Avenue                      450 North Brand Blvd., 7th Floor
High Point, NC 27262                      Glendale, CA 91203
Equipment Lease – Store #4408             IHOP Properties, Inc.
3009 Capital Blvd.                        450 North Brand Blvd., 7th Floor
Raleigh, NC 27604                         Glendale, CA 91203
Equipment Lease – Store #4414             IHOP Properties, Inc.
2415 US 70 SE                             450 North Brand Blvd., 7th Floor
Hickory, NC 28602                         Glendale, CA 91203
Equipment Lease – Store #4416             IHOP Properties, Inc.
3191 N. Main Street                       450 North Brand Blvd., 7th Floor
Anderson, SC 29621                        Glendale, CA 91203
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Nature of Contract/Lease                  Counterparty Name and Address
Equipment Lease – Store #4417             IHOP Properties, Inc.
800 Cloverleaf Plaza                      450 North Brand Blvd., 7th Floor
Kannapolis, NC 28083                      Glendale, CA 91203
Equipment Lease – Store #4423             IHOP Properties, Inc.
105 Faith Road                            450 North Brand Blvd., 7th Floor
Salisbury, NC 28146                       Glendale, CA 91203
Equipment Lease – Store #4424             IHOP Properties, Inc.
817 First Colonial Road                   450 North Brand Blvd., 7th Floor
Virginia Beach, VA 23451                  Glendale, CA 91203
Equipment Lease – Store #4431             IHOP Properties, Inc.
134 W. Woodlawn Road                      450 North Brand Blvd., 7th Floor
Charlotte, NC 28217                       Glendale, CA 91203
Equipment Lease – Store #4442             IHOP Properties, Inc.
5016 Old Hickory Blvd.                    450 North Brand Blvd., 7th Floor
Hermitage, TN 37076                       Glendale, CA 91203
Equipment Lease – Store #4448             IHOP Properties, Inc.
8135 Warren H. Abernathy Hwy.             450 North Brand Blvd., 7th Floor
Spartansburg, SC 29301                    Glendale, CA 91203
Equipment Lease – Store #4451             IHOP Properties, Inc.
5420 Target Drive                         450 North Brand Blvd., 7th Floor
Antioch, TN 37013                         Glendale, CA 91203
Equipment Lease – Store #4458             IHOP Properties, Inc.
5420 Target Drive                         450 North Brand Blvd., 7th Floor
Antioch, TN 37013                         Glendale, CA 91203
Equipment Lease – Store #4505             IHOP Properties, Inc.
5420 Target Drive                         450 North Brand Blvd., 7th Floor
Antioch, TN 37013                         Glendale, CA 91203
Equipment Lease – Store #4506             IHOP Properties, Inc.
8146 S. Tryon Street                      450 North Brand Blvd., 7th Floor
Charlotte, NC 28273                       Glendale, CA 91203
Lease – Store #494                        C&J Associates
1661 E. Broad Street                      Po Box 366
Statesville, NC 28625                     Statesville, NC 28687
Lease – Store #530                        Trilogy, Inc.
1412 Richmond Road                        1220 Richmond Rd.
Williamsburg, VA 23185                    Williamsburg, VA 23185
Lease – Store #597                        6851 Lennox, LLC
170 Front Royale Pike                     6345 Balboa Blvd, Ste 310
Winchester, VA 22602                      Encino, CA 91316
                                          Attn: Richard Moss
Lease – Store #2027                       Alcimedes, Inc.
747 East Rouchambeau Drive                12800 The Glebe Ln
Williamsburg, VA 23188                    Charles City, VA 23030
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Nature of Contract/Lease                       Counterparty Name and Address
Lease – Store #3105                            David, Elizabeth & Robert Nakahara
700 E. Dixon Blvd.                             415 Oneida Ct.
Shelby, NC 28152                               Danville, CA 94526
Lease – Store #3139                            NorthCross Land & Development, LLC
16815 Caldwell Creek Drive                     Po Box 603021
Huntersville, NC 28078                         Charlotte, NC 28260-3021
Lease – Store #3218                            Casual Dining Smyrna, LLC
779 Team Blvd.                                 c/o Richard Nasano
Smyrna, TN 37167                               26 Knights Court
                                               Upper Saddle River, NJ 07458
Lease – Store #3326                            Nashville West Shopping Center, LLC
6800 Charlotte Pike, Suite 117                 PO Box 680176
Nashville, TN 37209                            Prattville, AL 36068
Lease – Store #3327                            DDR Cotswold, LLC
336 S. Sharon Amity Road                       Dept 328818 21089 41909
Charlotte, NC 28211                            Po Box 83400
                                               Chicago, IL 60691-3400
Lease – Store #3367                            Tuven D. Lecong, as Trustee under the Lecong
478 River Highway                              Revocable Trust Declaration
Mooresville, NC 28117                          11823 Quartz Circle
                                               Fountain Valley, CA 92708-2601
Lease – Store #3383                            Cooke Properties
1203 Murfreesboro Road, Suite 190              Po Box 330988
Franklin, TN 37064                             Nashville, TN 37203
Lease – Store #3423                            Ballantyne Property Group, LLC
16015-A Lancaster Highway                      W Third St Mgmt, LLC, Mgr
Charlotte, NC 28277                            8315 Beverly Blvd, Ste 101
                                               Los Angeles, CA 90048
Lease – Store #3427                            Elliston Place Partners LLC
2214 Elliston Place                            c/o The Mathews Company
Nashville, TN 37203                            Po Box 22149
                                               Nashville, TN 37202
Lease – Store #3450                            J.D. Eatherly
825 Nashville Highway, Suite D                 Vastland Companies
Gallatin TN 37060                              1720 West End Ave., Suite 600
                                               Nashville, TN 37203
Lease – Store #3453                            Promenade Shopping Center, LLC
5335 Ballantyne Commons Pkwy, #200             c/o Childress Klein Retail
Charlotte, NC 28277                            301 S. College St., Suite 2800
                                               Charlotte, NC 28202
Lease – Store #3472                            Manheim Township Development
702 Blowing Rock Road                          510 East Main Street
Boone, NC 28607                                Lititz, PA 17543
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Nature of Contract/Lease                   Counterparty Name and Address
Lease – Store #3487                        Stanhope 2013, LLC
3001 Hillsborough Street                   c/o Kane Realty Corporation
Raleigh, NC 27607                          P.O. Box 19107
                                           Raleigh, NC 27619
Lease – Store #3488                        Highland Creek Retail, LLC
5815 Highland Shoppes Dr.                  c/o Childress Klein
Charlotte, NC 28269                        301 S. College Street, Ste 2800
                                           Charlotte, NC 28202
Lease – Store #3502                        Mitchell Montgomery I, LLC
1602 Haynes Street                         9019 Overlook Blvd Suite C2
Clarksville, TN 37043                      Brentwood, TN 37027
Dishwasher Lease – Store #419              Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #491              Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #498              Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #574              Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #595              Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4403             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4405             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4407             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4408             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4416             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4423             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
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Nature of Contract/Lease                   Counterparty Name and Address
Dishwasher Lease – Store #4424             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4431             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4451             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4458             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4505             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
Dishwasher Lease – Store #4506             Ecolab, Inc.
                                           1 Ecolab Place
                                           St. Paul, MN 55102
CO2 Gas & Fixtures Contract                Arc3 Gases South
                                           1700 Chamberlayne Avenue
                                           Richmond, VA 23222
Uniforms Contract                          Aramark Uniform Services
                                           2400 Market Street
                                           Philadelphia, PA 19103
Fire Safety Services Agreement             Pye Barker Fire and Safety
                                           11605 Haynes Bridge Road, Ste. 350
                                           Alpharetta, GA 30009
Labor Management Software                  ROS Technology Services Inc.
                                           8500 NW River Park Dr.
                                           Kansas City, MO 64152
POS sales tracking                         ROS Technology Services Inc.
                                           8500 NW River Park Dr.
                                           Kansas City, MO 64152
Website, email and technology              ROS Technology Services Inc.
                                           8500 NW River Park Dr.
                                           Kansas City, MO 64152
Software                                   ROS Technology Services Inc.
                                           8500 NW River Park Dr.
                                           Kansas City, MO 64152
Uniform services agreement                 ROS Technology Services Inc.
                                           8500 NW River Park Dr.
                                           Kansas City, MO 64152
Fountain Support Agreement                 Dr Pepper/Seven Up, Inc.
                                           5301 Legacy Drive
                                           Plano, TX 75024
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 Fill in this information to identify the case:

 Debtor name         CFRA, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03609-CPM
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      CFRA Holdings,                    1340 Hamlet Avenue                               Raymond James                   D       2.3
             LLC                               Clearwater, FL 33756                             Bank, N.A.                       E/F
                                                                                                                                G



    2.2      CFRA Holdings,                    1340 Hamlet Avenue                               Valley National Bank            D       2.5
             LLC                               Clearwater, FL 33756                                                              E/F
                                                                                                                                G



    2.3      CFRA Holdings,                    1340 Hamlet Avenue                               IHOP Franchisor,                D
             LLC                               Clearwater, FL 33756                             LLC                              E/F
                                               Guarantor - Store ## 492, 494 and 498                                            G



    2.4      CFRA Holdings,                    1340 Hamlet Avenue                               IHOP Restaurants,               D
             LLC                               Clearwater, FL 33756                             LLC                              E/F
                                               Guarantor - Store #492                                                           G



    2.5      CFRA Holdings,                    1340 Hamlet Avenue                               IHOP Leasing, LLC               D
             LLC                               Clearwater, FL 33756                                                              E/F
                                               Guarantor - Store #492                                                           G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 2
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 Debtor       CFRA, LLC                                                                 Case number (if known)   8:20-bk-03609-CPM


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      CFRA Tri-Cities,                  1340 Hamlet Avenue                            Raymond James                D       2.3
             LLC                               Clearwater, FL 33756                          Bank, N.A.                    E/F
                                                                                                                          G



    2.7      CFRA Tri-Cities,                  1340 Hamlet Avenue                            Valley National Bank         D       2.5
             LLC                               Clearwater, FL 33756                                                        E/F
                                                                                                                          G




Official Form 206H                                                       Schedule H: Your Codebtors                                   Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         CFRA, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03609-CPM
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 3, 2020                            X /s/ J. Tim Pruban
                                                                       Signature of individual signing on behalf of debtor

                                                                       J. Tim Pruban
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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